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                              Schedule 4
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                                                  Schedule 4 - Registrations that Cover Multiple Asserted Sound Recordings



                              Track                                              Artist                                            Plaintiff       PX-01 #    Reg. No.
1    Ma Ma Ma Belle                                      Electric Light Orchestra                                 Sony Music Entertainment         1410    N11365
2    Showdown                                            Electric Light Orchestra                                 Sony Music Entertainment         1416    N11365
3    Piano Man                                           Billy Joel                                               Sony Music Entertainment         871     N11702
4    You're My Home                                      Billy Joel                                               Sony Music Entertainment         882     N11702
5    I Don't Know                                        Bill Withers                                             Sony Music Entertainment         850     N1596
6    I Don't Want You on My Mind                         Bill Withers                                             Sony Music Entertainment         851     N1596
7    Kissing My Love                                     Bill Withers                                             Sony Music Entertainment         852     N1596
8    Lean On Me                                          Bill Withers                                             Sony Music Entertainment         853     N1596
9    Lonely Town, Lonely Street                          Bill Withers                                             Sony Music Entertainment         854     N1596
10   Use Me                                              Bill Withers                                             Sony Music Entertainment         855     N1596
11   Electric Funeral                                    Black Sabbath                                            Warner Bros. Records Inc.        6249    N20213
12   Hand Of Doom                                        Black Sabbath                                            Warner Bros. Records Inc.        6250    N20213
13   Iron Man                                            Black Sabbath                                            Warner Bros. Records Inc.        6251    N20213
14   Jack The Stripper/Fairies Wear Boots                Black Sabbath                                            Warner Bros. Records Inc.        6252    N20213
15   Paranoid                                            Black Sabbath                                            Warner Bros. Records Inc.        6253    N20213
16   Planet Caravan                                      Black Sabbath                                            Warner Bros. Records Inc.        6254    N20213
17   Rat Salad                                           Black Sabbath                                            Warner Bros. Records Inc.        6255    N20213
18   Houses Of The Holy                                  Led Zeppelin                                             Atlantic Recording Corporation   5684    N21799
19   Kashmir                                             Led Zeppelin                                             Atlantic Recording Corporation   5686    N21799
20   Trampled Underfoot                                  Led Zeppelin                                             Atlantic Recording Corporation   5691    N21799
21   How Sweet It Is (To Be Loved By You)                James Taylor                                             Warner Bros. Records Inc.        6522    N24380
22   Mexico                                              James Taylor                                             Warner Bros. Records Inc.        6523    N24380
23   Adam's Apple (Audio)                                Aerosmith                                                Sony Music Entertainment         713     N25838
24   Big Ten Inch Record                                 Aerosmith                                                Sony Music Entertainment         715     N25838
25   Round And Round                                     Aerosmith                                                Sony Music Entertainment         739     N25838
26   Sweet Emotion                                       Aerosmith                                                Sony Music Entertainment         741     N25838
27   Toys In The Attic                                   Aerosmith                                                Sony Music Entertainment         743     N25838
28   Walk This Way                                       Aerosmith                                                Sony Music Entertainment         745     N25838
29   You See Me Crying                                   Aerosmith                                                Sony Music Entertainment         746     N25838
30   Evil Woman                                          Electric Light Orchestra                                 Sony Music Entertainment         1404    N27257
31   Nightrider                                          Electric Light Orchestra                                 Sony Music Entertainment         1412    N27257
32   Strange Magic                                       Electric Light Orchestra                                 Sony Music Entertainment         1418    N27257
33   Achilles Last Stand                                 Led Zeppelin                                             Atlantic Recording Corporation   5681    N31545
34   Nobody's Fault But Mine                             Led Zeppelin                                             Atlantic Recording Corporation   5688    N31545
35   Dance Sister Dance (Baila Mi Hermana)               Santana                                                  Sony Music Entertainment         2644    N33113
36   Europa (Earth's Cry Heaven's Smile)                 Santana                                                  Sony Music Entertainment         2645    N33113
37   Back In The Saddle                                  Aerosmith                                                Sony Music Entertainment         714     N33961
38   Last Child                                          Aerosmith                                                Sony Music Entertainment         727     N33961
39   Lick And A Promise (Audio)                          Aerosmith                                                Sony Music Entertainment         729     N33961
40   Nobody's Fault                                      Aerosmith                                                Sony Music Entertainment         734     N33961
41   Rats In The Cellar (Audio)                          Aerosmith                                                Sony Music Entertainment         737     N33961
42   Golden Moments                                      James Taylor                                             Warner Bros. Records Inc.        6521    N35786
43   Shower The People                                   James Taylor                                             Warner Bros. Records Inc.        6524    N35786
44   Do Ya                                               Electric Light Orchestra                                 Sony Music Entertainment         1403    N36991
45   Livin' Thing (Audio)                                Electric Light Orchestra                                 Sony Music Entertainment         1409    N36991
46   Rockaria!                                           Electric Light Orchestra                                 Sony Music Entertainment         1413    N36991
47   Telephone Line                                      Electric Light Orchestra                                 Sony Music Entertainment         1420    N36991
48   Carolina In My Mind                                 James Taylor                                             Warner Bros. Records Inc.        6519    N38974
49   Something In The Way She Moves                      James Taylor                                             Warner Bros. Records Inc.        6525    N38974
50   Steamroller (Live)                                  James Taylor                                             Warner Bros. Records Inc.        6526    N38974
51   Carnaval                                            Santana                                                  Sony Music Entertainment         2643    N40322
52   Let the Children Play                               Santana                                                  Sony Music Entertainment         2654    N40322
53   REVELATIONS                                         Santana                                                  Sony Music Entertainment         2658    N40322
54   Across the Border                                   Electric Light Orchestra                                 Sony Music Entertainment         1402    N46612
55   Mr Blue Sky                                         Electric Light Orchestra                                 Sony Music Entertainment         1411    N46612
56   Sweet Talkin' Woman                                 Electric Light Orchestra                                 Sony Music Entertainment         1419    N46612
57   Turn To Stone                                       Electric Light Orchestra                                 Sony Music Entertainment         1423    N46612
58   Wild West Hero                                      Electric Light Orchestra                                 Sony Music Entertainment         1425    N46612
     Three Little Birds                                  Bob Marley                                               UMG Recordings, Inc.                     N48538
59                                                                                                                                                 3799    RE0000926868
     Exodus                                              Bob Marley & The Wailers                                 UMG Recordings, Inc.                     N48538
60                                                                                                                                                 3800    RE0000926868
     Jamming                                             Bob Marley & The Wailers                                 UMG Recordings, Inc.                     N48538
61                                                                                                                                                 3802    RE0000926868
     So Much Things To Say                               Bob Marley & the Wailers                                 UMG Recordings, Inc.                     N48538
62                                                                                                                                                 3808    RE0000926868
     Waiting In Vain                                     Bob Marley & The Wailers                                 UMG Recordings, Inc.                     N48538
63                                                                                                                                                 3811    RE0000926868
64   D'yer Mak'er                                        Led Zeppelin                                             Atlantic Recording Corporation   5683    N5660
65   No Quarter                                          Led Zeppelin                                             Atlantic Recording Corporation   5687    N5660
66   Over The Hills And Far Away                         Led Zeppelin                                             Atlantic Recording Corporation   5689    N5660
67   The Song Remains The Same                           Led Zeppelin                                             Atlantic Recording Corporation   5690    N5660
     No Woman, No Cry                                    Bob Marley & The Wailers                                 UMG Recordings, Inc.                     NF2048
68                                                                                                                                                 3804    RE0000906116
69   Chariot                                             Gretchen Wilson                                          Sony Music Entertainment         1645    PA0001245662
70   Here For The Party                                  Gretchen Wilson                                          Sony Music Entertainment         1646    PA0001245662
71   Holdin' You                                         Gretchen Wilson                                          Sony Music Entertainment         1647    PA0001245662
72   Homewrecker                                         Gretchen Wilson                                          Sony Music Entertainment         1648    PA0001245662
73   Pocahontas Proud                                    Gretchen Wilson                                          Sony Music Entertainment         1651    PA0001245662


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                               Track                                             Artist                                             Plaintiff   PX-01 #    Reg. No.
74    The Bed                                               Gretchen Wilson                                          Sony Music Entertainment   1654    PA0001245662
75    What Happened                                         Gretchen Wilson                                          Sony Music Entertainment   1655    PA0001245662
76    When I Think About Cheatin'                           Gretchen Wilson                                          Sony Music Entertainment   1656    PA0001245662
77    When It Rains                                         Gretchen Wilson                                          Sony Music Entertainment   1657    PA0001245662
78    Comfort Zone                                          Marvin Sapp                                              Sony Music Entertainment   2182    PA0001749838
79    Don't Count Me Out                                    Marvin Sapp                                              Sony Music Entertainment   2183    PA0001749838
80    Fresh Wind                                            Marvin Sapp                                              Sony Music Entertainment   2184    PA0001749838
81    He Has His Hands On You                               Marvin Sapp                                              Sony Music Entertainment   2185    PA0001749838
82    Here I Am                                             Marvin Sapp                                              Sony Music Entertainment   2186    PA0001749838
83    I Came                                                Marvin Sapp                                              Sony Music Entertainment   2187    PA0001749838
84    I Came (Intro)                                        Marvin Sapp                                              Sony Music Entertainment   2188    PA0001749838
85    Keep Holding On                                       Marvin Sapp                                              Sony Music Entertainment   2189    PA0001749838
86    More Than A Conqueror                                 Marvin Sapp                                              Sony Music Entertainment   2190    PA0001749838
87    Praise You Forever                                    Marvin Sapp                                              Sony Music Entertainment   2191    PA0001749838
88    The Best In Me                                        Marvin Sapp                                              Sony Music Entertainment   2192    PA0001749838
89    Wait                                                  Marvin Sapp                                              Sony Music Entertainment   2193    PA0001749838
90    All Kinds of Kinds                                    Miranda Lambert                                          Sony Music Entertainment   2276    PA0001805349
91    Baggage Claim                                         Miranda Lambert                                          Sony Music Entertainment   2277    PA0001805349
92    Better In The Long Run                                Miranda Lambert                                          Sony Music Entertainment   2278    PA0001805349
93    Dear Diamond                                          Miranda Lambert                                          Sony Music Entertainment   2282    PA0001805349
94    Easy Living                                           Miranda Lambert                                          Sony Music Entertainment   2287    PA0001805349
95    Fastest Girl In Town                                  Miranda Lambert                                          Sony Music Entertainment   2289    PA0001805349
96    Fine Tune                                             Miranda Lambert                                          Sony Music Entertainment   2290    PA0001805349
97    Hurts To Think                                        Miranda Lambert                                          Sony Music Entertainment   2296    PA0001805349
98    Look At Miss Ohio                                     Miranda Lambert                                          Sony Music Entertainment   2300    PA0001805349
99    Mama's Broken Heart                                   Miranda Lambert                                          Sony Music Entertainment   2308    PA0001805349
100   Nobody's Fool                                         Miranda Lambert                                          Sony Music Entertainment   2313    PA0001805349
101   Oklahoma Sky                                          Miranda Lambert                                          Sony Music Entertainment   2314    PA0001805349
102   Over You                                              Miranda Lambert                                          Sony Music Entertainment   2316    PA0001805349
103   Safe                                                  Miranda Lambert                                          Sony Music Entertainment   2317    PA0001805349
104   Same Old You                                          Miranda Lambert                                          Sony Music Entertainment   2318    PA0001805349
105   Lord Of The Thighs                                    Aerosmith                                                Sony Music Entertainment   731     RE0000871991
106   Seasons of Wither                                     Aerosmith                                                Sony Music Entertainment   740     RE0000871991
107   Train Kept A Rollin'                                  Aerosmith                                                Sony Music Entertainment   744     RE0000871991
108   Streetlife Serenader (Audio)                          Billy Joel                                               Sony Music Entertainment   873     RE0000872265
109   The Entertainer                                       Billy Joel                                               Sony Music Entertainment   876     RE0000872265
110   Born To Run                                           Bruce Springsteen                                        Sony Music Entertainment   1052    RE0000894630
111   Thunder Road                                          Bruce Springsteen                                        Sony Music Entertainment   1072    RE0000894630
112   Rebel Music (3 O'Clock Roadblock)                     Bob Marley & The Wailers                                 UMG Recordings, Inc.       3805    RE0000906116
113   Calypso                                               John Denver                                              Arista Music               263     RE0000918692
114   Fly Away                                              John Denver                                              Arista Music               266     RE0000918692
115   Looking for Space                                     John Denver                                              Arista Music               271     RE0000918692
116   Darcy Farrow                                          John Denver                                              Arista Music               264     RE0000919266
117   Fall                                                  John Denver                                              Arista Music               265     RE0000919266
118   For Baby (For Bobbie)                                 John Denver                                              Arista Music               267     RE0000919266
119   Goodbye Again                                         John Denver                                              Arista Music               268     RE0000919266
      Late Winter, Early Spring (When Everybody Goes To     John Denver                                              Arista Music                       RE0000919266
120   Mexico)                                                                                                                                   269
121   Mother Nature's Son                                   John Denver                                              Arista Music               272     RE0000919266
122   Prisoners                                             John Denver                                              Arista Music               273     RE0000919266
123   Rocky Mountain High                                   John Denver                                              Arista Music               274     RE0000919266
124   Spring                                                John Denver                                              Arista Music               276     RE0000919266
125   Summer                                                John Denver                                              Arista Music               277     RE0000919266
126   Winter                                                John Denver                                              Arista Music               281     RE0000919266
127   Secret O' Life                                        James Taylor                                             Sony Music Entertainment   1799    RE0000923126
128   Your Smiling Face                                     James Taylor                                             Sony Music Entertainment   1803    RE0000923126
129   Baby Hold On                                          Eddie Money                                              Sony Music Entertainment   1391    RE0000923174
130   Two Tickets To Paradise                               Eddie Money                                              Sony Music Entertainment   1399    RE0000923174
131   Bat Out Of Hell                                       Meat Loaf                                                Sony Music Entertainment   2213    RE0000925597
132   Heaven Can Wait                                       Meat Loaf                                                Sony Music Entertainment   2216    RE0000925597
133   Paradise By The Dashboard Light                       Meat Loaf                                                Sony Music Entertainment   2219    RE0000925597
134   Two out of Three Ain't Bad                            Meat Loaf                                                Sony Music Entertainment   2220    RE0000925597
135   And If I Had                                          Teddy Pendergrass                                        Sony Music Entertainment   2791    RE0000926587
136   Be Sure                                               Teddy Pendergrass                                        Sony Music Entertainment   2792    RE0000926587
137   Easy, Easy, Got To Take It Easy                       Teddy Pendergrass                                        Sony Music Entertainment   2795    RE0000926587
138   Somebody Told Me                                      Teddy Pendergrass                                        Sony Music Entertainment   2807    RE0000926587
139   You Can't Hide From Yourself                          Teddy Pendergrass                                        Sony Music Entertainment   2809    RE0000926587
140   Critical Mass                                         Aerosmith                                                Sony Music Entertainment   717     RE0000927389
141   Kings And Queens (Audio)                              Aerosmith                                                Sony Music Entertainment   726     RE0000927389
142   Closet Chronicles                                     Kansas                                                   Sony Music Entertainment   1961    RE0000927442
143   Dust in The Wind                                      Kansas                                                   Sony Music Entertainment   1962    RE0000927442
144   Hopelessly Human                                      Kansas                                                   Sony Music Entertainment   1963    RE0000927442
145   Lightning's Hand                                      Kansas                                                   Sony Music Entertainment   1964    RE0000927442
146   Nobody's Home                                         Kansas                                                   Sony Music Entertainment   1965    RE0000927442
147   Paradox                                               Kansas                                                   Sony Music Entertainment   1966    RE0000927442
148   Point Of Know Return                                  Kansas                                                   Sony Music Entertainment   1967    RE0000927442
149   Portrait (He Knew)                                    Kansas                                                   Sony Music Entertainment   1968    RE0000927442
150   Sparks of the Tempest                                 Kansas                                                   Sony Music Entertainment   1969    RE0000927442
151   The Spider                                            Kansas                                                   Sony Music Entertainment   1970    RE0000927442


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                                Track                                                Artist                                              Plaintiff         PX-01 #    Reg. No.
152   Dream On                                                 Aerosmith                                                Sony Music Entertainment           719     RE0000928145
153   Mama Kin                                                 Aerosmith                                                Sony Music Entertainment           732     RE0000928145
154   One Way Street                                           Aerosmith                                                Sony Music Entertainment           735     RE0000928145
155   All You Do Is Dial                                       Heatwave                                                 Sony Music Entertainment           1659    SR0000000875
156   Always And Forever                                       Heatwave                                                 Sony Music Entertainment           1660    SR0000000875
157   Boogie Nights                                            Heatwave                                                 Sony Music Entertainment           1661    SR0000000875
158   I'll Beat Your Booty                                     Heatwave                                                 Sony Music Entertainment           1666    SR0000000875
159   Lay It On Me                                             Heatwave                                                 Sony Music Entertainment           1667    SR0000000875
160   Sho'Nuff Must Be Luv                                     Heatwave                                                 Sony Music Entertainment           1671    SR0000000875
161   Too Hot To Handle                                        Heatwave                                                 Sony Music Entertainment           1673    SR0000000875
162   Misty Morning                                            Bob Marley & The Wailers                                 UMG Recordings, Inc.               3803    SR0000001122
163   Satisfy My Soul                                          Bob Marley & The Wailers                                 UMG Recordings, Inc.               3807    SR0000001122
164   Time Will Tell                                           Bob Marley & The Wailers                                 UMG Recordings, Inc.               3810    SR0000001122
165   Far Away Eyes                                            The Rolling Stones                                       UMG Recordings, Inc.               5345    SR0000001522
166   Miss You                                                 The Rolling Stones                                       UMG Recordings, Inc.               5351    SR0000001522
167   Respectable                                              The Rolling Stones                                       UMG Recordings, Inc.               5354    SR0000001522
168   Shattered                                                The Rolling Stones                                       UMG Recordings, Inc.               5355    SR0000001522
169   There Ain't No Good Chain Gang                           Johnny Cash                                              Sony Music Entertainment           1908    SR0000001597
170   Who's Gene Autry?                                        Johnny Cash                                              Sony Music Entertainment           1909    SR0000001597
171   Cold, Cold World                                         Teddy Pendergrass                                        Sony Music Entertainment           2793    SR0000002510
172   It Don't Hurt Now                                        Teddy Pendergrass                                        Sony Music Entertainment           2802    SR0000002510
173   Life Is A Song Worth Singing                             Teddy Pendergrass                                        Sony Music Entertainment           2805    SR0000002510
174   When Somebody Loves You Back                             Teddy Pendergrass                                        Sony Music Entertainment           2808    SR0000002510
175   A Man I'll Never Be                                      Boston                                                   Sony Music Entertainment           910     SR0000004079
176   Feelin' Satisfied                                        Boston                                                   Sony Music Entertainment           912     SR0000004079
177   Party                                                    Boston                                                   Sony Music Entertainment           916     SR0000004079
178   Bye Bye Love                                             The Cars                                                 Elektra Entertainment Group Inc.   6074    SR0000004128
179   Good Times Roll                                          The Cars                                                 Elektra Entertainment Group Inc.   6077    SR0000004128
180   Moving In Stereo                                         The Cars                                                 Elektra Entertainment Group Inc.   6084    SR0000004128
181   My Best Friend's Girl                                    The Cars                                                 Elektra Entertainment Group Inc.   6085    SR0000004128
182   You're All I've Got Tonight                              The Cars                                                 Elektra Entertainment Group Inc.   6093    SR0000004128
183   Honesty                                                  Billy Joel                                               Sony Music Entertainment           864     SR0000004681
184   My Life                                                  Billy Joel                                               Sony Music Entertainment           870     SR0000004681
185   ONE CHAIN (DON'T MAKE NO PRISON)                         Santana                                                  Sony Music Entertainment           2657    SR0000004781
186   Well All Right                                           Santana                                                  Sony Music Entertainment           2661    SR0000004781
187   Central Heating                                          Heatwave                                                 Sony Music Entertainment           1662    SR0000005108
188   Happiness Togetherness                                   Heatwave                                                 Sony Music Entertainment           1665    SR0000005108
189   Mind Blowing Decisions                                   Heatwave                                                 Sony Music Entertainment           1670    SR0000005108
190   The Groove Line                                          Heatwave                                                 Sony Music Entertainment           1672    SR0000005108
191   English Civil War                                        The Clash                                                Sony Music Entertainment           2829    SR0000006482
192   Julie's Been Working for the Drug Squad                  The Clash                                                Sony Music Entertainment           2838    SR0000006482
193   Safe European Home                                       The Clash                                                Sony Music Entertainment           2847    SR0000006482
194   Stay Free                                                The Clash                                                Sony Music Entertainment           2851    SR0000006482
195   Tommy Gun                                                The Clash                                                Sony Music Entertainment           2859    SR0000006482
196   Golden Time Of Day                                       Maze                                                     Capitol Records, LLC               3457    SR0000007973
197   I Need You (1999 Digital Remaster)                       Maze Featuring Frankie Beverly                           Capitol Records, LLC               3475    SR0000007973
198   Song For My Mother (1999 Digital Remaster)               Maze Featuring Frankie Beverly                           Capitol Records, LLC               3478    SR0000007973
199   You're Not The Same (1999 Digital Remaster)              Maze Featuring Frankie Beverly                           Capitol Records, LLC               3485    SR0000007973
200   Ain't It Strange (2004 Digital Remaster)                 Maze Featuring Frankie Beverly                           Capitol Records, LLC               3469    SR0000008107
201   Call On Me (2004 Digital Remaster)                       Maze Featuring Frankie Beverly                           Capitol Records, LLC               3471    SR0000008107
202   Feel That You're Feelin' (2004 Digital Remaster)         Maze Featuring Frankie Beverly                           Capitol Records, LLC               3472    SR0000008107
      Lovely Inspiration (Instrumental) (2004 Digital          Maze Featuring Frankie Beverly                           Capitol Records, LLC                       SR0000008107
203   Remaster)                                                                                                                                            3477
204   Timin' (2004 Digital Remaster)                           Maze Featuring Frankie Beverly                           Capitol Records, LLC               3479    SR0000008107
205   Welcome Home (2004 Digital Remaster)                     Maze Featuring Frankie Beverly                           Capitol Records, LLC               3481    SR0000008107
206   Woman Is A Wonder (2004 Digital Remaster)                Maze Featuring Frankie Beverly                           Capitol Records, LLC               3483    SR0000008107
207   Dangerous Type                                           The Cars                                                 Elektra Entertainment Group Inc.   6075    SR0000010621
208   It's All I Can Do                                        The Cars                                                 Elektra Entertainment Group Inc.   6081    SR0000010621
209   Don't Stop 'Til You Get Enough                           Michael Jackson                                          Sony Music Entertainment           2236    SR0000011105
210   I Can't Help It                                          Michael Jackson                                          Sony Music Entertainment           2240    SR0000011105
211   Burn This Disco Out                                      Michael Jackson                                          Sony Music Entertainment           2235    SR0000011120
212   Get On The Floor                                         Michael Jackson                                          Sony Music Entertainment           2237    SR0000011120
213   Girlfriend                                               Michael Jackson                                          Sony Music Entertainment           2238    SR0000011120
214   It's The Falling In Love                                 Michael Jackson                                          Sony Music Entertainment           2241    SR0000011120
215   Off The Wall (Single Version)                            Michael Jackson                                          Sony Music Entertainment           2242    SR0000011120
216   Off The Wall: Workin' Day And Night                      Michael Jackson                                          Sony Music Entertainment           2243    SR0000011120
217   All I Need Is You                                        Teddy Pendergrass                                        Sony Music Entertainment           2790    SR0000012942
218   Do Me                                                    Teddy Pendergrass                                        Sony Music Entertainment           2794    SR0000012942
219   I'll Never See Heaven Again                              Teddy Pendergrass                                        Sony Music Entertainment           2799    SR0000012942
220   Life Is A Circle                                         Teddy Pendergrass                                        Sony Music Entertainment           2804    SR0000012942
221   Set Me Free                                              Teddy Pendergrass                                        Sony Music Entertainment           2806    SR0000012942
222   Confusion                                                Electric Light Orchestra                                 Sony Music Entertainment           3011    SR0000012943
223   Don't Bring Me Down                                      Electric Light Orchestra                                 Sony Music Entertainment           3012    SR0000012943
224   Last Train to London                                     Electric Light Orchestra                                 Sony Music Entertainment           3013    SR0000012943
225   The Diary Of Horace Wimp                                 Electric Light Orchestra                                 Sony Music Entertainment           3014    SR0000012943
226   All My Love                                              Led Zeppelin                                             Atlantic Recording Corporation     5682    SR0000013105
227   In The Evening                                           Led Zeppelin                                             Atlantic Recording Corporation     5685    SR0000013105
228   Groovy Times                                             The Clash                                                Sony Music Entertainment           2832    SR0000013444
229   I Fought The Law                                         The Clash                                                Sony Music Entertainment           2834    SR0000013444


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                                  Track                                              Artist                                              Plaintiff   PX-01 #    Reg. No.
230   All I Ever Wanted                                         Santana                                                  Sony Music Entertainment    2639    SR0000013645
231   Aqua Marine                                               Santana                                                  Sony Music Entertainment    2640    SR0000013645
232   You Know That I Love You                                  Santana                                                  Sony Music Entertainment    2663    SR0000013645
233   No Surprize                                               Aerosmith                                                Sony Music Entertainment    733     SR0000014473
234   Remember (Walking In The Sand) (Audio)                    Aerosmith                                                Sony Music Entertainment    738     SR0000014473
235   Brand New Cadillac                                        The Clash                                                Sony Music Entertainment    2822    SR0000016270
236   Clampdown                                                 The Clash                                                Sony Music Entertainment    2826    SR0000016270
237   Death Or Glory                                            The Clash                                                Sony Music Entertainment    2828    SR0000016270
238   Four Horsemen                                             The Clash                                                Sony Music Entertainment    2830    SR0000016270
239   Hateful                                                   The Clash                                                Sony Music Entertainment    2833    SR0000016270
240   I'm Not Down                                              The Clash                                                Sony Music Entertainment    2835    SR0000016270
241   Jimmy Jazz                                                The Clash                                                Sony Music Entertainment    2837    SR0000016270
242   Koka Kola                                                 The Clash                                                Sony Music Entertainment    2839    SR0000016270
243   London Calling                                            The Clash                                                Sony Music Entertainment    2840    SR0000016270
244   Lost In The Supermarket                                   The Clash                                                Sony Music Entertainment    2841    SR0000016270
245   Lover's Rock                                              The Clash                                                Sony Music Entertainment    2842    SR0000016270
246   Revolution Rock                                           The Clash                                                Sony Music Entertainment    2844    SR0000016270
247   Rudie Can't Fail                                          The Clash                                                Sony Music Entertainment    2846    SR0000016270
248   Spanish Bombs                                             The Clash                                                Sony Music Entertainment    2850    SR0000016270
249   The Card Cheat                                            The Clash                                                Sony Music Entertainment    2853    SR0000016270
250   The Guns Of Brixton                                       The Clash                                                Sony Music Entertainment    2854    SR0000016270
251   The Right Profile                                         The Clash                                                Sony Music Entertainment    2855    SR0000016270
252   Wrong 'Em Boyo                                            The Clash                                                Sony Music Entertainment    2861    SR0000016270
253   All For Leyna                                             Billy Joel                                               Sony Music Entertainment    859     SR0000017630
254   Don't Ask Me Why                                          Billy Joel                                               Sony Music Entertainment    863     SR0000017630
255   It's Still Rock & Roll to Me                              Billy Joel                                               Sony Music Entertainment    866     SR0000017630
256   You May Be Right                                          Billy Joel                                               Sony Music Entertainment    881     SR0000017630
257   Let Me Go                                                 The Rolling Stones                                       UMG Recordings, Inc.        5350    SR0000018973
258   She's So Cold                                             The Rolling Stones                                       UMG Recordings, Inc.        5357    SR0000018973
259   Girl You Know                                             Teddy Pendergrass                                        Sony Music Entertainment    2797    SR0000019849
260   I Just Called to Say                                      Teddy Pendergrass                                        Sony Music Entertainment    2798    SR0000019849
261   Is It Still Good To Ya?                                   Teddy Pendergrass                                        Sony Music Entertainment    2801    SR0000019849
262   Let Me Love You                                           Teddy Pendergrass                                        Sony Music Entertainment    2803    SR0000019849
263   Feel the Fire                                             Teddy Pendergrass & Stephanie Mills                      Sony Music Entertainment    2810    SR0000019849
264   Take Me In Your Arms Tonight                              Teddy Pendergrass & Stephanie Mills                      Sony Music Entertainment    2811    SR0000019849
265   I've Aged Twenty Years In Five                            George Jones                                             Sony Music Entertainment    1622    SR0000021788
266   If Drinkin' Don't Kill Me (Her Memory Will)               George Jones                                             Sony Music Entertainment    1623    SR0000021788
267   Ivan Meets G.I. Joe                                       The Clash                                                Sony Music Entertainment    2836    SR0000024334
268   Police on my Back                                         The Clash                                                Sony Music Entertainment    2843    SR0000024334
269   Somebody Got Murdered                                     The Clash                                                Sony Music Entertainment    2849    SR0000024334
270   The Street Parade                                         The Clash                                                Sony Music Entertainment    2856    SR0000024334
271   Crazy Mama                                                The Rolling Stones                                       UMG Recordings, Inc.        5342    SR0000025203
272   Fool To Cry                                               The Rolling Stones                                       UMG Recordings, Inc.        5346    SR0000025203
273   Hot Stuff                                                 The Rolling Stones                                       UMG Recordings, Inc.        5348    SR0000025203
274   Time Waits For No One                                     The Rolling Stones                                       UMG Recordings, Inc.        5359    SR0000025203
275   Hungry Heart                                              Bruce Springsteen                                        Sony Music Entertainment    1059    SR0000025235
276   The River                                                 Bruce Springsteen                                        Sony Music Entertainment    1069    SR0000025235
277   I Want to Give It All                                     Air Supply                                               Arista Records LLC          377     SR0000027856
278   The One That You Love                                     Air Supply                                               Arista Records LLC          384     SR0000027856
279   Don't Turn Me Away                                        Air Supply                                               Arista Records LLC          374     SR0000027866
280   I'll Never Get Enough Of You                              Air Supply                                               Arista Records LLC          378     SR0000027866
281   I've Got Your Love                                        Air Supply                                               Arista Records LLC          379     SR0000027866
282   Keeping the Love Alive                                    Air Supply                                               Arista Records LLC          381     SR0000027866
283   This Heart Belongs To Me                                  Air Supply                                               Arista Records LLC          385     SR0000027866
284   Tonite                                                    Air Supply                                               Arista Records LLC          386     SR0000027866
285   Crazy Train                                               Ozzy Osbourne                                            Sony Music Entertainment    2429    SR0000028652
286   Mr. Crowley                                               Ozzy Osbourne                                            Sony Music Entertainment    2442    SR0000028652
287   I Love You Much Too Much                                  Santana                                                  Sony Music Entertainment    2652    SR0000028774
288   The Sensitive Kind                                        Santana                                                  Sony Music Entertainment    2660    SR0000028774
289   Brightest Star                                            Santana                                                  Sony Music Entertainment    2642    SR0000028839
290   Winning                                                   Santana                                                  Sony Music Entertainment    2662    SR0000028839
291   Hang Fire                                                 The Rolling Stones                                       UMG Recordings, Inc.        5347    SR0000029150
292   Neighbours                                                The Rolling Stones                                       UMG Recordings, Inc.        5353    SR0000029150
293   Tops                                                      The Rolling Stones                                       UMG Recordings, Inc.        5361    SR0000029150
294   Bankrobber                                                The Clash                                                Sony Music Entertainment    2821    SR0000030054
295   Capital Radio One                                         The Clash                                                Sony Music Entertainment    2823    SR0000030054
296   Cheat                                                     The Clash                                                Sony Music Entertainment    2825    SR0000030054
297   Dead or Alive                                             Journey                                                  Sony Music Entertainment    1935    SR0000030088
298   Don't Stop Believin'                                      Journey                                                  Sony Music Entertainment    1936    SR0000030088
299   Escape                                                    Journey                                                  Sony Music Entertainment    1937    SR0000030088
300   Keep on Runnin'                                           Journey                                                  Sony Music Entertainment    1938    SR0000030088
301   Lay It Down                                               Journey                                                  Sony Music Entertainment    1939    SR0000030088
302   Open Arms                                                 Journey                                                  Sony Music Entertainment    1941    SR0000030088
303   Still They Ride (Audio)                                   Journey                                                  Sony Music Entertainment    1942    SR0000030088
304   Stone In Love                                             Journey                                                  Sony Music Entertainment    1943    SR0000030088
305   Invisible Sun                                             The Police                                               UMG Recordings, Inc.        5337    SR0000030222
306   Spirits In The Material World                             The Police                                               UMG Recordings, Inc.        5338    SR0000030222
307   Nocturnal Pleasure                                        Meat Loaf                                                Sony Music Entertainment    2218    SR0000030226
308   Dead Ringer for Love                                      Meat Loaf with Cher                                      Sony Music Entertainment    2221    SR0000030226


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                               Track                                                 Artist                                          Plaintiff           PX-01 #    Reg. No.
309   Here Is the News                                       Electric Light Orchestra                                 Sony Music Entertainment           1407    SR0000030537
310   The Way Life's Meant To Be                             Electric Light Orchestra                                 Sony Music Entertainment           1421    SR0000030537
311   TICKET TO THE MOON                                     Electric Light Orchestra                                 Sony Music Entertainment           1422    SR0000030537
312   Twilight                                               Electric Light Orchestra                                 Sony Music Entertainment           1424    SR0000030537
313   Mother, Father                                         Journey                                                  Sony Music Entertainment           1940    SR0000030707
314   Who's Crying Now                                       Journey                                                  Sony Music Entertainment           1944    SR0000030707
315   Down And Out                                           George Strait                                            UMG Recordings, Inc.               4238    SR0000030829
      If You're Thinking You Want A Stranger (There's One    George Strait                                            UMG Recordings, Inc.                       SR0000030829
316   Coming Home)                                                                                                                                       4258
317   Unwound                                                George Strait                                            UMG Recordings, Inc.               4283    SR0000030829
318   I'm Not The One                                        The Cars                                                 Elektra Entertainment Group Inc.   6080    SR0000032055
319   Shake It Up                                            The Cars                                                 Elektra Entertainment Group Inc.   6086    SR0000032055
320   Since You're Gone                                      The Cars                                                 Elektra Entertainment Group Inc.   6087    SR0000032055
321   Diary of a Madman                                      Ozzy Osbourne                                            Sony Music Entertainment           2430    SR0000034167
322   Over The Mountain                                      Ozzy Osbourne                                            Sony Music Entertainment           2448    SR0000034167
323   Changing Times                                         Maze                                                     Capitol Records, LLC               3453    SR0000034187
324   Feel That You're Feelin'                               Maze                                                     Capitol Records, LLC               3455    SR0000034187
325   Introduction                                           Maze                                                     Capitol Records, LLC               3460    SR0000034187
326   Joy & Pain                                             Maze                                                     Capitol Records, LLC               3461    SR0000034187
327   Joy And Pain                                           Maze                                                     Capitol Records, LLC               3462    SR0000034187
328   Reason                                                 Maze                                                     Capitol Records, LLC               3464    SR0000034187
329   Running Away                                           Maze                                                     Capitol Records, LLC               3465    SR0000034187
330   Ghetto Defendant                                       The Clash                                                Sony Music Entertainment           2831    SR0000034959
331   Rock the Casbah                                        The Clash                                                Sony Music Entertainment           2845    SR0000034959
332   Should I Stay Or Should I Go                           The Clash                                                Sony Music Entertainment           2848    SR0000034959
333   Straight to Hell                                       The Clash                                                Sony Music Entertainment           2852    SR0000034959
334   Children Of The Moon                                   The Alan Parsons Project                                 Arista Records LLC                 532     SR0000037591
335   Eye In The Sky                                         The Alan Parsons Project                                 Arista Records LLC                 533     SR0000037591
336   Gemini                                                 The Alan Parsons Project                                 Arista Records LLC                 535     SR0000037591
337   Mammagamma                                             The Alan Parsons Project                                 Arista Records LLC                 536     SR0000037591
338   Old and Wise                                           The Alan Parsons Project                                 Arista Records LLC                 538     SR0000037591
339   Psychobabble                                           The Alan Parsons Project                                 Arista Records LLC                 539     SR0000037591
340   Silence and I                                          The Alan Parsons Project                                 Arista Records LLC                 540     SR0000037591
341   SIRIUS                                                 The Alan Parsons Project                                 Arista Records LLC                 541     SR0000037591
342   Step By Step                                           The Alan Parsons Project                                 Arista Records LLC                 542     SR0000037591
343   You're Gonna Get Your Fingers Burned                   The Alan Parsons Project                                 Arista Records LLC                 544     SR0000037591
344   No Control                                             Eddie Money                                              Sony Music Entertainment           1394    SR0000038050
345   Shakin'                                                Eddie Money                                              Sony Music Entertainment           1396    SR0000038050
346   American Hearts                                        Air Supply                                               Arista Records LLC                 372     SR0000038070
347   Chances                                                Air Supply                                               Arista Records LLC                 373     SR0000038070
348   Having You Near Me                                     Air Supply                                               Arista Records LLC                 375     SR0000038070
349   I Can't Get Excited                                    Air Supply                                               Arista Records LLC                 376     SR0000038070
350   Just Another Woman                                     Air Supply                                               Arista Records LLC                 380     SR0000038070
351   My Best Friend                                         Air Supply                                               Arista Records LLC                 382     SR0000038070
352   Old Habits Die Hard                                    Air Supply                                               Arista Records LLC                 383     SR0000038070
353   Jailbait                                               Aerosmith                                                Sony Music Entertainment           724     SR0000039598
354   Lightning Strikes                                      Aerosmith                                                Sony Music Entertainment           730     SR0000039598
355   Baby Be Mine                                           Michael Jackson                                          Sony Music Entertainment           2234    SR0000041965
356   Human Nature                                           Michael Jackson                                          Sony Music Entertainment           2239    SR0000041965
357   P.Y.T. (Pretty Young Thing)                            Michael Jackson                                          Sony Music Entertainment           2244    SR0000041965
358   The Lady In My Life                                    Michael Jackson                                          Sony Music Entertainment           2245    SR0000041965
359   Black And White                                        INXS                                                     Atlantic Recording Corporation     5628    SR0000042945
360   Don't Change                                           INXS                                                     Atlantic Recording Corporation     5634    SR0000042945
361   The One Thing                                          INXS                                                     Atlantic Recording Corporation     5650    SR0000042945
362   To Look At You                                         INXS                                                     Atlantic Recording Corporation     5653    SR0000042945
363   I Always Get Lucky With You                            George Jones                                             Sony Music Entertainment           1620    SR0000045294
364   Tennessee Whiskey                                      George Jones                                             Sony Music Entertainment           1626    SR0000045294
365   Another One Rides The Bus                              Weird Al Yankovic                                        Sony Music Entertainment           2941    SR0000046144
366   Gotta Boogie                                           Weird Al Yankovic                                        Sony Music Entertainment           2958    SR0000046144
367   Happy Birthday                                         Weird Al Yankovic                                        Sony Music Entertainment           2959    SR0000046144
368   I Love Rocky Road                                      Weird Al Yankovic                                        Sony Music Entertainment           2963    SR0000046144
369   I'll Be Mellow When I'm Dead                           Weird Al Yankovic                                        Sony Music Entertainment           2965    SR0000046144
370   Mr. Frump In The Iron Lung                             Weird Al Yankovic                                        Sony Music Entertainment           2973    SR0000046144
371   Stop Draggin' My Car Around                            Weird Al Yankovic                                        Sony Music Entertainment           2984    SR0000046144
372   Such A Groovy Guy                                      Weird Al Yankovic                                        Sony Music Entertainment           2985    SR0000046144
373   The Check's In The Mail                                Weird Al Yankovic                                        Sony Music Entertainment           2989    SR0000046144
374   Buckingham Blues                                       Weird Al Yankovic                                        Sony Music Entertainment           2943    SR0000046320
375   Ricky                                                  Weird Al Yankovic                                        Sony Music Entertainment           2980    SR0000046320
376   Annie's Song                                           John Denver                                              Arista Music                       261     SR0000046358
377   Back Home Again                                        John Denver                                              Arista Music                       262     SR0000046358
378   Thank God I'm a Country Boy                            John Denver                                              Arista Music                       279     SR0000046358
379   Four Little Diamonds                                   Electric Light Orchestra                                 Sony Music Entertainment           1405    SR0000046784
380   Secret Messages                                        Electric Light Orchestra                                 Sony Music Entertainment           1414    SR0000046784
381   I Wanna Thank You                                      Maze Featuring Frankie Beverly                           Capitol Records, LLC               3476    SR0000046840
382   Your Own Kind Of Way                                   Maze Featuring Frankie Beverly                           Capitol Records, LLC               3486    SR0000046840
383   An Innocent Man                                        Billy Joel                                               Sony Music Entertainment           861     SR0000047532
384   Leave A Tender Moment Alone                            Billy Joel                                               Sony Music Entertainment           868     SR0000047532
385   The Longest Time                                       Billy Joel                                               Sony Music Entertainment           877     SR0000047532
386   Uptown Girl                                            Billy Joel                                               Sony Music Entertainment           879     SR0000047532


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                                 Track                                               Artist                                             Plaintiff         PX-01 #    Reg. No.
387   Cassanova Brown                                         Teena Marie                                              Sony Music Entertainment           2813    SR0000050515
388   Dear Lover                                              Teena Marie                                              Sony Music Entertainment           2814    SR0000050515
389   She Was Hot                                             The Rolling Stones                                       UMG Recordings, Inc.               5356    SR0000050568
390   Too Tough                                               The Rolling Stones                                       UMG Recordings, Inc.               5360    SR0000050568
391   Undercover (Of The Night)                               The Rolling Stones                                       UMG Recordings, Inc.               5362    SR0000050568
392   Drive                                                   The Cars                                                 Elektra Entertainment Group Inc.   6076    SR0000052759
393   Hello Again                                             The Cars                                                 Elektra Entertainment Group Inc.   6079    SR0000052759
394   Why Can't I Have You                                    The Cars                                                 Elektra Entertainment Group Inc.   6090    SR0000052759
395   Heartbeat City                                          The Cars                                                 Elektra Entertainment Group Inc.   6078    SR0000053584
396   You Might Think                                         The Cars                                                 Elektra Entertainment Group Inc.   6092    SR0000053584
397   Bark At The Moon                                        Ozzy Osbourne                                            Sony Music Entertainment           2425    SR0000053824
398   Centre of Eternity                                      Ozzy Osbourne                                            Sony Music Entertainment           2427    SR0000053824
399   Now You See It (Now You Don't)                          Ozzy Osbourne                                            Sony Music Entertainment           2447    SR0000053824
400   Rock 'n' Roll Rebel                                     Ozzy Osbourne                                            Sony Music Entertainment           2450    SR0000053824
401   Slow Down                                               Ozzy Osbourne                                            Sony Music Entertainment           2452    SR0000053824
402   So Tired                                                Ozzy Osbourne                                            Sony Music Entertainment           2453    SR0000053824
403   Waiting for Darkness                                    Ozzy Osbourne                                            Sony Music Entertainment           2457    SR0000053824
404   You're No Different                                     Ozzy Osbourne                                            Sony Music Entertainment           2458    SR0000053824
405   House Of Pain                                           Van Halen                                                Warner Bros. Records Inc.          6730    SR0000053832
406   Jump                                                    Van Halen                                                Warner Bros. Records Inc.          6732    SR0000053832
407   Buy Me A Condo                                          Weird Al Yankovic                                        Sony Music Entertainment           2944    SR0000054056
408   I Lost On Jeopardy                                      Weird Al Yankovic                                        Sony Music Entertainment           2962    SR0000054056
409   King Of Suede                                           Weird Al Yankovic                                        Sony Music Entertainment           2967    SR0000054056
410   Midnight Star                                           Weird Al Yankovic                                        Sony Music Entertainment           2971    SR0000054056
411   Mr. Popeil                                              Weird Al Yankovic                                        Sony Music Entertainment           2974    SR0000054056
412   Nature Trail To Hell                                    Weird Al Yankovic                                        Sony Music Entertainment           2975    SR0000054056
413   Polkas On 45                                            Weird Al Yankovic                                        Sony Music Entertainment           2979    SR0000054056
414   The Brady Bunch                                         Weird Al Yankovic                                        Sony Music Entertainment           2988    SR0000054056
415   Theme From Rocky XIII                                   Weird Al Yankovic                                        Sony Music Entertainment           2991    SR0000054056
416   Burn For You                                            INXS                                                     Atlantic Recording Corporation     5629    SR0000054062
417   Dancing On The Jetty                                    INXS                                                     Atlantic Recording Corporation     5631    SR0000054062
418   I Send A Message                                        INXS                                                     Atlantic Recording Corporation     5636    SR0000054062
419   Love Is (What I Say)                                    INXS                                                     Atlantic Recording Corporation     5640    SR0000054062
420   Eat It                                                  Weird Al Yankovic                                        Sony Music Entertainment           2949    SR0000054439
421   That Boy Could Dance                                    Weird Al Yankovic                                        Sony Music Entertainment           2986    SR0000054439
422   1984                                                    Van Halen                                                Warner Bros. Records Inc.          6726    SR0000054482
423   Drop Dead Legs                                          Van Halen                                                Warner Bros. Records Inc.          6727    SR0000054482
424   Girl Gone Bad                                           Van Halen                                                Warner Bros. Records Inc.          6728    SR0000054482
425   Hot For Teacher                                         Van Halen                                                Warner Bros. Records Inc.          6729    SR0000054482
426   I'll Wait                                               Van Halen                                                Warner Bros. Records Inc.          6731    SR0000054482
427   Panama                                                  Van Halen                                                Warner Bros. Records Inc.          6733    SR0000054482
428   Top Jimmy                                               Van Halen                                                Warner Bros. Records Inc.          6734    SR0000054482
429   I Would Die 4 U                                         Prince And The Revolution                                Warner Bros. Records Inc.          6682    SR0000054679
430   Purple Rain                                             Prince And The Revolution                                Warner Bros. Records Inc.          6684    SR0000054679
431   Angie                                                   The Rolling Stones                                       UMG Recordings, Inc.               5340    SR0000054736
432   Beast Of Burden                                         The Rolling Stones                                       UMG Recordings, Inc.               5341    SR0000054736
433   Emotional Rescue                                        The Rolling Stones                                       UMG Recordings, Inc.               5344    SR0000054736
434   Start Me Up                                             The Rolling Stones                                       UMG Recordings, Inc.               5358    SR0000054736
435   Born in the U.S.A.                                      Bruce Springsteen                                        Sony Music Entertainment           1051    SR0000055647
436   Glory Days                                              Bruce Springsteen                                        Sony Music Entertainment           1057    SR0000055647
437   My Hometown                                             Bruce Springsteen                                        Sony Music Entertainment           1063    SR0000055647
438   Doo Doo Doo Doo (Heartbreaker)                          The Rolling Stones                                       UMG Recordings, Inc.               5343    SR0000056814
439   It's Only Rock 'n' Roll (But I Like It)                 The Rolling Stones                                       UMG Recordings, Inc.               5349    SR0000056814
440   Miss You (Dance Version)                                The Rolling Stones                                       UMG Recordings, Inc.               5352    SR0000056814
441   Crazy Old Soldier                                       Ray Charles                                              Sony Music Entertainment           2637    SR0000058443
442   Seven Spanish Angels                                    Willie Nelson with Ray Charles                           Sony Music Entertainment           3009    SR0000058443
443   Greatest Love Of All                                    Whitney Houston                                          Arista Records LLC                 548     SR0000060716
444   How Will I Know                                         Whitney Houston                                          Arista Records LLC                 550     SR0000060716
445   Saving All My Love For You                              Whitney Houston                                          Arista Records LLC                 566     SR0000060716
446   Five Minutes Of Funk                                    Whodini                                                  Zomba Recording LLC                3223    SR0000060859
447   Friends                                                 Whodini                                                  Zomba Recording LLC                3225    SR0000060859
448   My Dear Mr. Gaye                                        Teena Marie                                              Sony Music Entertainment           2818    SR0000062234
449   Out On A Limb                                           Teena Marie                                              Sony Music Entertainment           2819    SR0000062234
450   Big Mouth                                               Whodini                                                  Zomba Recording LLC                3221    SR0000063110
451   Escape (I Need A Break)                                 Whodini                                                  Zomba Recording LLC                3222    SR0000063110
452   Freaks Come Out At Night                                Whodini                                                  Zomba Recording LLC                3224    SR0000063110
453   A Night Like This                                       The Cure                                                 Elektra Entertainment Group Inc.   6095    SR0000065872
454   Close To Me                                             The Cure                                                 Elektra Entertainment Group Inc.   6098    SR0000065872
455   In Between Days                                         The Cure                                                 Elektra Entertainment Group Inc.   6102    SR0000065872
456   Kiss The Dirt (Falling Down The Mountain)               INXS                                                     Atlantic Recording Corporation     5638    SR0000066559
457   Listen Like Thieves                                     INXS                                                     Atlantic Recording Corporation     5639    SR0000066559
458   What You Need                                           INXS                                                     Atlantic Recording Corporation     5654    SR0000066559
459   Cable TV                                                Weird Al Yankovic                                        Sony Music Entertainment           2945    SR0000068020
460   Dare To Be Stupid                                       Weird Al Yankovic                                        Sony Music Entertainment           2947    SR0000068020
461   George Of The Jungle                                    Weird Al Yankovic                                        Sony Music Entertainment           2954    SR0000068020
462   Girls Just Want To Have Lunch                           Weird Al Yankovic                                        Sony Music Entertainment           2955    SR0000068020
463   Hooked On Polkas                                        Weird Al Yankovic                                        Sony Music Entertainment           2961    SR0000068020
464   I Want A New Duck                                       Weird Al Yankovic                                        Sony Music Entertainment           2964    SR0000068020
465   One More Minute                                         Weird Al Yankovic                                        Sony Music Entertainment           2976    SR0000068020


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466   This Is The Life                                Weird Al Yankovic                                        Sony Music Entertainment           2992    SR0000068020
467   Yoda                                            Weird Al Yankovic                                        Sony Music Entertainment           2997    SR0000068020
468   Only A Dream In Rio                             James Taylor                                             Sony Music Entertainment           1798    SR0000068536
469   Song For You Far Away                           James Taylor                                             Sony Music Entertainment           1801    SR0000068536
470   Getting to the Point                            Electric Light Orchestra                                 Sony Music Entertainment           1406    SR0000070477
471   So Serious                                      Electric Light Orchestra                                 Sony Music Entertainment           1417    SR0000070477
472   I Wanna Go Back                                 Eddie Money                                              Sony Music Entertainment           1392    SR0000071987
473   We Should Be Sleeping                           Eddie Money                                              Sony Music Entertainment           1400    SR0000071987
474   Jumping Someone Else's Train                    The Cure                                                 Elektra Entertainment Group Inc.   6103    SR0000072370
475   Killing An Arab                                 The Cure                                                 Elektra Entertainment Group Inc.   6104    SR0000072370
476   The Chair                                       George Strait                                            UMG Recordings, Inc.               4277    SR0000073980
477   You're Something Special To Me                  George Strait                                            UMG Recordings, Inc.               4292    SR0000073980
478   If Looks Could Kill                             Heart                                                    Capitol Records, LLC               3343    SR0000075726
479   Never                                           Heart                                                    Capitol Records, LLC               3345    SR0000075726
480   Nothin' At All                                  Heart                                                    Capitol Records, LLC               3346    SR0000075726
481   What About Love                                 Heart                                                    Capitol Records, LLC               3349    SR0000075726
482   Carrie                                          Europe                                                   Sony Music Entertainment           1451    SR0000076395
483   Cherokee                                        Europe                                                   Sony Music Entertainment           1452    SR0000076395
484   Danger On the Track                             Europe                                                   Sony Music Entertainment           1453    SR0000076395
485   Heart Of Stone                                  Europe                                                   Sony Music Entertainment           1454    SR0000076395
486   Love Chaser                                     Europe                                                   Sony Music Entertainment           1455    SR0000076395
487   Ninja                                           Europe                                                   Sony Music Entertainment           1456    SR0000076395
488   On The Loose                                    Europe                                                   Sony Music Entertainment           1457    SR0000076395
489   Rock the Night                                  Europe                                                   Sony Music Entertainment           1458    SR0000076395
490   The Final Countdown                             Europe                                                   Sony Music Entertainment           1459    SR0000076395
491   Time Has Come                                   Europe                                                   Sony Music Entertainment           1460    SR0000076395
492   Amnesia                                         Fabulous Thunderbirds                                    Sony Music Entertainment           1461    SR0000076616
493   Down At Antwones                                Fabulous Thunderbirds                                    Sony Music Entertainment           1462    SR0000076616
494   I Don't Care                                    Fabulous Thunderbirds                                    Sony Music Entertainment           1463    SR0000076616
495   Tell Me                                         Fabulous Thunderbirds                                    Sony Music Entertainment           1464    SR0000076616
496   True Love                                       Fabulous Thunderbirds                                    Sony Music Entertainment           1465    SR0000076616
497   Tuff Enuff                                      Fabulous Thunderbirds                                    Sony Music Entertainment           1466    SR0000076616
498   Look at That, Look at That                      The Fabulous Thunderbirds                                Sony Music Entertainment           2862    SR0000076616
499   Two Time My Lovin                               The Fabulous Thunderbirds                                Sony Music Entertainment           2863    SR0000076616
500   Why Get Up                                      The Fabulous Thunderbirds                                Sony Music Entertainment           2864    SR0000076616
501   Wrap It Up                                      The Fabulous Thunderbirds                                Sony Music Entertainment           2865    SR0000076616
502   A Matter Of Trust                               Billy Joel                                               Sony Music Entertainment           857     SR0000077612
503   Baby Grand (duet w/Ray Charles)                 Billy Joel                                               Sony Music Entertainment           862     SR0000077612
504   This Is The Time                                Billy Joel                                               Sony Music Entertainment           878     SR0000077612
505   Christmas At Ground Zero                        Weird Al Yankovic                                        Sony Music Entertainment           2946    SR0000078099
506   Dog Eat Dog                                     Weird Al Yankovic                                        Sony Music Entertainment           2948    SR0000078099
507   Good Enough For Now                             Weird Al Yankovic                                        Sony Music Entertainment           2956    SR0000078099
508   Here's Johnny                                   Weird Al Yankovic                                        Sony Music Entertainment           2960    SR0000078099
509   One Of Those Days                               Weird Al Yankovic                                        Sony Music Entertainment           2977    SR0000078099
510   Polka Party                                     Weird Al Yankovic                                        Sony Music Entertainment           2978    SR0000078099
511   Toothless People                                Weird Al Yankovic                                        Sony Music Entertainment           2993    SR0000078099
512   Sade                                            Kenny G                                                  Arista Records LLC                 443     SR0000079028
513   Slip of the Tongue                              Kenny G                                                  Arista Records LLC                 445     SR0000079028
514   Songbird                                        Kenny G                                                  Arista Records LLC                 446     SR0000079028
515   123                                             Gloria Estefan                                           Sony Music Entertainment           1632    SR0000083468
516   Anything For You                                Gloria Estefan                                           Sony Music Entertainment           1633    SR0000083468
517   Can't Stay Away From You                        Gloria Estefan                                           Sony Music Entertainment           1634    SR0000083468
518   Devil Inside                                    INXS                                                     Atlantic Recording Corporation     5632    SR0000085232
519   Mystify                                         INXS                                                     Atlantic Recording Corporation     5641    SR0000085232
520   Need You Tonight                                INXS                                                     Atlantic Recording Corporation     5642    SR0000085232
521   Never Tear Us Apart                             INXS                                                     Atlantic Recording Corporation     5643    SR0000085232
522   New Sensation                                   INXS                                                     Atlantic Recording Corporation     5644    SR0000085232
523   Angel                                           Aerosmith                                                UMG Recordings, Inc.               3575    SR0000085369
524   Rag Doll                                        Aerosmith                                                UMG Recordings, Inc.               3582    SR0000085369
525   Blues for Salvador                              Santana                                                  Sony Music Entertainment           2641    SR0000086429
526   Hannibal                                        Santana                                                  Sony Music Entertainment           2649    SR0000086429
527   Don't Stop Your Love                            Keith Sweat                                              Elektra Entertainment Group Inc.   6054    SR0000086761
528   How Deep Is Your Love                           Keith Sweat                                              Elektra Entertainment Group Inc.   6056    SR0000086761
529   Make It Last Forever                            Keith Sweat                                              Elektra Entertainment Group Inc.   6059    SR0000086761
530   Right And A Wrong Way                           Keith Sweat                                              Elektra Entertainment Group Inc.   6061    SR0000086761
531   Something Just Ain't Right                      Keith Sweat                                              Elektra Entertainment Group Inc.   6062    SR0000086761
532   Alone                                           Heart                                                    Capitol Records, LLC               3339    SR0000088275
533   Who Will You Run To                             Heart                                                    Capitol Records, LLC               3350    SR0000088275
534   (This Song's Just) Six Words Long               Weird Al Yankovic                                        Sony Music Entertainment           2939    SR0000088931
535   Alimony                                         Weird Al Yankovic                                        Sony Music Entertainment           2940    SR0000088931
536   Fat                                             Weird Al Yankovic                                        Sony Music Entertainment           2950    SR0000088931
537   Good Old Days                                   Weird Al Yankovic                                        Sony Music Entertainment           2957    SR0000088931
538   Lasagna                                         Weird Al Yankovic                                        Sony Music Entertainment           2968    SR0000088931
539   Melanie                                         Weird Al Yankovic                                        Sony Music Entertainment           2970    SR0000088931
540   Twister                                         Weird Al Yankovic                                        Sony Music Entertainment           2994    SR0000088931
541   Velvet Elvis                                    Weird Al Yankovic                                        Sony Music Entertainment           2996    SR0000088931
542   You Make Me                                     Weird Al Yankovic                                        Sony Music Entertainment           2998    SR0000088931
543   Didn't We Almost Have It All                    Whitney Houston                                          Arista Records LLC                 545     SR0000089966
544   I Wanna Dance With Somebody                     Whitney Houston                                          Arista Records LLC                 554     SR0000089966


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545   So Emotional                                          Whitney Houston                                          Arista Records LLC                 567     SR0000089966
546   Where Do Broken Hearts Go                             Whitney Houston                                          Arista Records LLC                 570     SR0000089966
547   Call Me (I Got Yo Number)                             Teena Marie                                              Sony Music Entertainment           2812    SR0000090900
548   Work It                                               Teena Marie                                              Sony Music Entertainment           2820    SR0000090900
549   Breakin' All The Rules                                Ozzy Osbourne                                            Sony Music Entertainment           2426    SR0000098705
550   Crazy Babies                                          Ozzy Osbourne                                            Sony Music Entertainment           2428    SR0000098705
551   Miracle Man                                           Ozzy Osbourne                                            Sony Music Entertainment           2440    SR0000098705
552   Ace In The Hole                                       George Strait                                            UMG Recordings, Inc.               4222    SR0000100975
553   Baby's Gotten Good At Goodbye                         George Strait                                            UMG Recordings, Inc.               4228    SR0000100975
554   Overnight Success                                     George Strait                                            UMG Recordings, Inc.               4269    SR0000100975
555   What's Going On In Your World                         George Strait                                            UMG Recordings, Inc.               4286    SR0000100975
556   Crazy On You                                          Heart                                                    Capitol Records, LLC               3340    SR0000102964
557   Dreamboat Annie                                       Heart                                                    Capitol Records, LLC               3341    SR0000102964
558   Magic Man                                             Heart                                                    Capitol Records, LLC               3344    SR0000102964
559   32 Pennies                                            Warrant                                                  Sony Music Entertainment           2925    SR0000103108
560   Big Talk                                              Warrant                                                  Sony Music Entertainment           2927    SR0000103108
561   D.R.F.S.R.                                            Warrant                                                  Sony Music Entertainment           2929    SR0000103108
562   Down Boys                                             Warrant                                                  Sony Music Entertainment           2930    SR0000103108
563   Heaven                                                Warrant                                                  Sony Music Entertainment           2931    SR0000103108
564   Sometimes She Cries                                   Warrant                                                  Sony Music Entertainment           2934    SR0000103108
565   Closedown                                             The Cure                                                 Elektra Entertainment Group Inc.   6099    SR0000104305
566   Disintegration                                        The Cure                                                 Elektra Entertainment Group Inc.   6100    SR0000104305
567   Fascination Street                                    The Cure                                                 Elektra Entertainment Group Inc.   6101    SR0000104305
568   Love Song                                             The Cure                                                 Elektra Entertainment Group Inc.   6105    SR0000104305
569   Lullaby                                               The Cure                                                 Elektra Entertainment Group Inc.   6106    SR0000104305
570   Pictures Of You                                       The Cure                                                 Elektra Entertainment Group Inc.   6107    SR0000104305
571   Plainsong                                             The Cure                                                 Elektra Entertainment Group Inc.   6108    SR0000104305
572   Prayers For Rain                                      The Cure                                                 Elektra Entertainment Group Inc.   6109    SR0000104305
573   The Same Deep Water As You                            The Cure                                                 Elektra Entertainment Group Inc.   6111    SR0000104305
574   Untitled                                              The Cure                                                 Elektra Entertainment Group Inc.   6112    SR0000104305
575   Don't Wanna Lose You                                  Gloria Estefan                                           Sony Music Entertainment           1637    SR0000107742
576   Get On Your Feet                                      Gloria Estefan                                           Sony Music Entertainment           1638    SR0000107742
577   Oye Mi Canto (Hear My Voice)                          Gloria Estefan                                           Sony Music Entertainment           1640    SR0000107742
578   Can't Get Over You                                    Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6597    SR0000107982
579   Change Our Ways                                       Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6598    SR0000107982
580   Good Times                                            Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6600    SR0000107982
581   Just Us                                               Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6602    SR0000107982
582   Love's On The Run                                     Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6605    SR0000107982
583   Mandela                                               Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6606    SR0000107982
584   Midnight                                              Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6607    SR0000107982
585   Silky Soul                                            Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6609    SR0000107982
586   Somebody Else's Arms                                  Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6610    SR0000107982
587   Songs Of Love                                         Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6611    SR0000107982
      Attack Of The Radioactive Hamsters From A Planet      Weird Al Yankovic
                                                                                                                     Sony Music Entertainment           2942   SR0000108100
588   Near Mars
589   Fun Zone                                              Weird Al Yankovic                                        Sony Music Entertainment           2951   SR0000108100
590   Gandhi II                                             Weird Al Yankovic                                        Sony Music Entertainment           2952   SR0000108100
591   Generic Blues                                         Weird Al Yankovic                                        Sony Music Entertainment           2953   SR0000108100
592   Isle Thing                                            Weird Al Yankovic                                        Sony Music Entertainment           2966   SR0000108100
593   Money for Nothing/Beverly Hillbillies                 Weird Al Yankovic                                        Sony Music Entertainment           2972   SR0000108100
594   She Drives Like Crazy                                 Weird Al Yankovic                                        Sony Music Entertainment           2981   SR0000108100
595   Spam                                                  Weird Al Yankovic                                        Sony Music Entertainment           2982   SR0000108100
596   Spatula City                                          Weird Al Yankovic                                        Sony Music Entertainment           2983   SR0000108100
597   The Biggest Ball Of Twine In Minnesota                Weird Al Yankovic                                        Sony Music Entertainment           2987   SR0000108100
598   The Hot Rocks Polka                                   Weird Al Yankovic                                        Sony Music Entertainment           2990   SR0000108100
599   Uhf                                                   Weird Al Yankovic                                        Sony Music Entertainment           2995   SR0000108100
600   I Go To Extremes                                      Billy Joel                                               Sony Music Entertainment           865    SR0000109420
601   Leningrad                                             Billy Joel                                               Sony Music Entertainment           869    SR0000109420
602   The Downeaster 'Alexa'                                Billy Joel                                               Sony Music Entertainment           875    SR0000109420
603   Looking Through The Eyes Of A Child                   Eddie Money                                              Sony Music Entertainment           1393   SR0000109485
604   Peace in Our Time                                     Eddie Money                                              Sony Music Entertainment           1395   SR0000109485
605   Stop Steppin' On My Heart                             Eddie Money                                              Sony Music Entertainment           1397   SR0000109485
606   Groovin' (Out On Life)                                UB40                                                     UMG Recordings, Inc.               5402   SR0000112173
607   Homely Girl                                           UB40                                                     UMG Recordings, Inc.               5403   SR0000112173
608   All I Wanna Do Is Make Love To You                    Heart                                                    Capitol Records, LLC               3338   SR0000114803
609   Stranded (2000 Digital Remaster)                      Heart                                                    Capitol Records, LLC               3347   SR0000114803
610   Ball And Chain                                        Social Distortion                                        Sony Music Entertainment           2719   SR0000115085
611   Ring Of Fire                                          Social Distortion                                        Sony Music Entertainment           2720   SR0000115085
612   Story Of My Life                                      Social Distortion                                        Sony Music Entertainment           2721   SR0000115085
613   Full Moon                                             Santana                                                  Sony Music Entertainment           2647   SR0000118423
614   Gypsy Woman                                           Santana                                                  Sony Music Entertainment           2648   SR0000118423
615   Chasin' That Neon Rainbow                             Alan Jackson                                             Arista Records LLC                 387    SR0000120465
616   Here In The Real World                                Alan Jackson                                             Arista Records LLC                 392    SR0000120465
617   Bitter Tears                                          INXS                                                     Atlantic Recording Corporation     5627   SR0000121377
618   By My Side                                            INXS                                                     Atlantic Recording Corporation     5630   SR0000121377
619   Disappear                                             INXS                                                     Atlantic Recording Corporation     5633   SR0000121377
620   Suicide Blonde                                        INXS                                                     Atlantic Recording Corporation     5647   SR0000121377
621   The Stairs                                            INXS                                                     Atlantic Recording Corporation     5651   SR0000121377
622   Bed Of Roses                                          Warrant                                                  Sony Music Entertainment           2926   SR0000122785


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                                Track                                            Artist                                             Plaintiff   PX-01 #    Reg. No.
623   Cherry Pie                                           Warrant                                                  Sony Music Entertainment    2928    SR0000122785
624   I Saw Red                                            Warrant                                                  Sony Music Entertainment    2932    SR0000122785
625   Mr. Rainmaker                                        Warrant                                                  Sony Music Entertainment    2933    SR0000122785
626   Sure Feels Good to Me                                Warrant                                                  Sony Music Entertainment    2935    SR0000122785
627   Train, Train                                         Warrant                                                  Sony Music Entertainment    2937    SR0000122785
628   Uncle Tom's Cabin                                    Warrant                                                  Sony Music Entertainment    2938    SR0000122785
629   Beats to the Rhyme                                   RUN-DMC                                                  Arista Records LLC          485     SR0000124365
630   I'm Not Going Out Like That                          RUN-DMC                                                  Arista Records LLC          489     SR0000124365
631   Mary, Mary                                           RUN-DMC                                                  Arista Records LLC          493     SR0000124365
632   Run's House                                          RUN-DMC                                                  Arista Records LLC          495     SR0000124365
633   Hit It Run                                           RUN-DMC                                                  Arista Records LLC          488     SR0000124846
634   It's Tricky                                          RUN-DMC                                                  Arista Records LLC          491     SR0000124846
635   My Adidas                                            RUN-DMC                                                  Arista Records LLC          494     SR0000124846
636   You Be Illin'                                        RUN-DMC                                                  Arista Records LLC          497     SR0000124846
637   King Of Rock                                         RUN-DMC                                                  Arista Records LLC          492     SR0000124851
638   You Talk Too Much                                    RUN-DMC                                                  Arista Records LLC          498     SR0000124851
639   Faces                                                RUN-DMC                                                  Arista Records LLC          487     SR0000124852
640   What's It All About                                  RUN-DMC                                                  Arista Records LLC          496     SR0000124852
641   Here's Looking At You                                Teena Marie                                              Sony Music Entertainment    2815    SR0000134764
642   If I Were a Bell                                     Teena Marie                                              Sony Music Entertainment    2816    SR0000134764
643   I Don't Want to Change the World                     Ozzy Osbourne                                            Sony Music Entertainment    2436    SR0000135019
644   Mama, I'm Coming Home                                Ozzy Osbourne                                            Sony Music Entertainment    2439    SR0000135019
645   No More Tears                                        Ozzy Osbourne                                            Sony Music Entertainment    2445    SR0000135019
646   Time After Time                                      Ozzy Osbourne                                            Sony Music Entertainment    2456    SR0000135019
647   (I've Got To) Stop Thinkin' 'Bout That               James Taylor                                             Sony Music Entertainment    1791    SR0000135070
648   Copperline                                           James Taylor                                             Sony Music Entertainment    1794    SR0000135070
649   Shed a Little Light                                  James Taylor                                             Sony Music Entertainment    1800    SR0000135070
650   Against Doctor's Orders                              Kenny G                                                  Arista Records LLC          433     SR0000135107
651   Silhouette                                           Kenny G                                                  Arista Records LLC          444     SR0000135107
652   Suck My Kiss                                         Red Hot Chili Peppers                                    Warner Bros. Records Inc.   6713    SR0000135276
653   Under The Bridge                                     Red Hot Chili Peppers                                    Warner Bros. Records Inc.   6717    SR0000135276
654   In Bloom                                             Nirvana                                                  UMG Recordings, Inc.        5044    SR0000135335
655   Lithium                                              Nirvana                                                  UMG Recordings, Inc.        5045    SR0000135335
656   Ben's Song                                           Sarah McLachlan                                          Arista Records LLC          512     SR0000137750
657   Steaming                                             Sarah McLachlan                                          Arista Records LLC          525     SR0000137750
658   Vox                                                  Sarah McLachlan                                          Arista Records LLC          529     SR0000137750
659   Deep                                                 Pearl Jam                                                Sony Music Entertainment    2496    SR0000137787
660   Garden                                               Pearl Jam                                                Sony Music Entertainment    2499    SR0000137787
661   Oceans                                               Pearl Jam                                                Sony Music Entertainment    2524    SR0000137787
662   Porch                                                Pearl Jam                                                Sony Music Entertainment    2529    SR0000137787
663   Release                                              Pearl Jam                                                Sony Music Entertainment    2536    SR0000137787
664   Why Go                                               Pearl Jam                                                Sony Music Entertainment    2553    SR0000137787
665   Don't Rock The Jukebox                               Alan Jackson                                             Arista Records LLC          389     SR0000138302
666   Midnight In Montgomery                               Alan Jackson                                             Arista Records LLC          397     SR0000138302
667   Boot Hill                                            Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2722    SR0000138313
668   Chitlins Con Carne                                   Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2723    SR0000138313
669   Close to You                                         Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2724    SR0000138313
670   Empty Arms                                           Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2725    SR0000138313
671   Life By The Drop                                     Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2726    SR0000138313
672   Little Wing                                          Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2727    SR0000138313
673   May I Have a Talk with You                           Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2728    SR0000138313
674   So Excited                                           Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2729    SR0000138313
675   The Sky Is Crying                                    Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2730    SR0000138313
676   Wham                                                 Stevie Ray Vaughan & Double Trouble                      Sony Music Entertainment    2731    SR0000138313
677   Drawn to the Rhythm                                  Sarah McLachlan                                          Arista Records LLC          514     SR0000140285
678   Into the Fire                                        Sarah McLachlan                                          Arista Records LLC          521     SR0000140285
679   Mercy                                                Sarah McLachlan                                          Arista Records LLC          522     SR0000140285
680   The Path of Thorns (Terms)                           Sarah McLachlan                                          Arista Records LLC          528     SR0000140285
681   Advice For The Young At Heart                        Tears For Fears                                          UMG Recordings, Inc.        5293    SR0000144549
682   Change                                               Tears For Fears                                          UMG Recordings, Inc.        5294    SR0000144549
683   Everybody Wants To Rule The World                    Tears For Fears                                          UMG Recordings, Inc.        5295    SR0000144549
684   Head Over Heels                                      Tears For Fears                                          UMG Recordings, Inc.        5296    SR0000144549
685   I Believe                                            Tears For Fears                                          UMG Recordings, Inc.        5297    SR0000144549
686   Laid So Low (Tears Roll Down)                        Tears For Fears                                          UMG Recordings, Inc.        5298    SR0000144549
687   Mothers Talk                                         Tears For Fears                                          UMG Recordings, Inc.        5300    SR0000144549
688   Pale Shelter                                         Tears For Fears                                          UMG Recordings, Inc.        5301    SR0000144549
689   Shout                                                Tears For Fears                                          UMG Recordings, Inc.        5302    SR0000144549
690   Sowing The Seeds Of Love                             Tears For Fears                                          UMG Recordings, Inc.        5303    SR0000144549
691   Cold                                                 Annie Lennox                                             Arista Records LLC          403     SR0000145693
692   Little Bird                                          Annie Lennox                                             Arista Records LLC          404     SR0000145693
693   Precious                                             Annie Lennox                                             Arista Records LLC          405     SR0000145693
694   Walking On Broken Glass                              Annie Lennox                                             Arista Records LLC          406     SR0000145693
695   Why                                                  Annie Lennox                                             Arista Records LLC          407     SR0000145693
696   Anything                                             SWV                                                      Arista Music                317     SR0000146905
697   Blak Pudd'n                                          SWV                                                      Arista Music                318     SR0000146905
698   Coming Home                                          SWV                                                      Arista Music                321     SR0000146905
699   Downtown                                             SWV                                                      Arista Music                322     SR0000146905
700   Give It To Me                                        SWV                                                      Arista Music                324     SR0000146905
701   I'm so into You                                      SWV                                                      Arista Music                327     SR0000146905


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                                Track                                                Artist                                              Plaintiff         PX-01 #    Reg. No.
702   It's About Time                                          SWV                                                      Arista Music                       328     SR0000146905
703   Right Here                                               SWV                                                      Arista Music                       333     SR0000146905
704   SWV (In The House)                                       SWV                                                      Arista Music                       334     SR0000146905
705   That's What I Need                                       SWV                                                      Arista Music                       335     SR0000146905
706   Think You're Gonna Like It                               SWV                                                      Arista Music                       336     SR0000146905
707   Weak                                                     SWV                                                      Arista Music                       337     SR0000146905
708   Weak (A Cappella)                                        SWV                                                      Arista Music                       338     SR0000146905
709   You're Always On My Mind                                 SWV                                                      Arista Music                       340     SR0000146905
710   Chattahoochee                                            Alan Jackson                                             Arista Records LLC                 388     SR0000147716
711   She's Got the Rhythm (And I Got the Blues)               Alan Jackson                                             Arista Records LLC                 400     SR0000147716
712   (There You Go) Tellin' Me No Again                       Keith Sweat                                              Elektra Entertainment Group Inc.   6052    SR0000150241
713   Why Me Baby?                                             Keith Sweat                                              Elektra Entertainment Group Inc.   6063    SR0000150241
714   I'll Give All My Love To You                             Keith Sweat                                              Elektra Entertainment Group Inc.   6058    SR0000150379
715   Merry Go Round                                           Keith Sweat                                              Elektra Entertainment Group Inc.   6060    SR0000150379
716   Baby Don't Cry                                           INXS                                                     Atlantic Recording Corporation     5625    SR0000152091
717   Beautiful Girl                                           INXS                                                     Atlantic Recording Corporation     5626    SR0000152091
718   Heaven Sent                                              INXS                                                     Atlantic Recording Corporation     5635    SR0000152091
719   Taste It                                                 INXS                                                     Atlantic Recording Corporation     5648    SR0000152091
720   I Have Nothing                                           Whitney Houston                                          Arista Records LLC                 552     SR0000152583
721   I Will Always Love You                                   Whitney Houston                                          Arista Records LLC                 556     SR0000152583
722   I'm Every Woman                                          Whitney Houston                                          Arista Records LLC                 557     SR0000152583
723   Run To You                                               Whitney Houston                                          Arista Records LLC                 565     SR0000152583
724   Crazy                                                    Aerosmith                                                UMG Recordings, Inc.               3576    SR0000153061
725   Cryin'                                                   Aerosmith                                                UMG Recordings, Inc.               3577    SR0000153061
726   A Man's Home Is His Castle                               Faith Hill                                               Warner Bros. Records Inc.          6405    SR0000169102
727   A Room In My Heart                                       Faith Hill                                               Warner Bros. Records Inc.          6406    SR0000169102
728   Bed Of Roses                                             Faith Hill                                               Warner Bros. Records Inc.          6410    SR0000169102
729   I Can't Do That Anymore                                  Faith Hill                                               Warner Bros. Records Inc.          6419    SR0000169102
730   It Matters To Me                                         Faith Hill                                               Warner Bros. Records Inc.          6432    SR0000169102
731   Keep Walkin' On (with Shelby Lynne)                      Faith Hill                                               Warner Bros. Records Inc.          6437    SR0000169102
732   Let's Go To Vegas                                        Faith Hill                                               Warner Bros. Records Inc.          6439    SR0000169102
733   Someone Else's Dream                                     Faith Hill                                               Warner Bros. Records Inc.          6450    SR0000169102
734   You Can't Lose Me                                        Faith Hill                                               Warner Bros. Records Inc.          6469    SR0000169102
735   You Will Be Mine                                         Faith Hill                                               Warner Bros. Records Inc.          6472    SR0000169102
736   Birthmark                                                Deftones                                                 Warner Bros. Records Inc.          6298    SR0000171111
737   Bored                                                    Deftones                                                 Warner Bros. Records Inc.          6300    SR0000171111
738   Fireal                                                   Deftones                                                 Warner Bros. Records Inc.          6309    SR0000171111
739   Lifter                                                   Deftones                                                 Warner Bros. Records Inc.          6319    SR0000171111
740   Minus Blindfold                                          Deftones                                                 Warner Bros. Records Inc.          6322    SR0000171111
741   Nosebleed                                                Deftones                                                 Warner Bros. Records Inc.          6326    SR0000171111
742   One Weak                                                 Deftones                                                 Warner Bros. Records Inc.          6327    SR0000171111
743   Ghost Behind My Eyes                                     Ozzy Osbourne                                            Sony Music Entertainment           2433    SR0000171292
744   I Just Want You                                          Ozzy Osbourne                                            Sony Music Entertainment           2437    SR0000171292
745   Perry Mason                                              Ozzy Osbourne                                            Sony Music Entertainment           2449    SR0000171292
746   Thunder Underground                                      Ozzy Osbourne                                            Sony Music Entertainment           2455    SR0000171292
747   Heaven Knows                                             Luther Vandross                                          Sony Music Entertainment           2126    SR0000171321
748   Lady, Lady                                               Luther Vandross                                          Sony Music Entertainment           2128    SR0000171321
749   Love Is On The Way (Real Love)                           Luther Vandross                                          Sony Music Entertainment           2129    SR0000171321
750   All Night Long                                           Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6596    SR0000171913
751   Don't Wanna Lose Your Love                               Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6599    SR0000171913
752   In Time                                                  Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6601    SR0000171913
753   Laid Back Girl                                           Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6603    SR0000171913
754   Love Is                                                  Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6604    SR0000171913
755   Nobody Knows What You Feel Inside                        Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6608    SR0000171913
756   The Morning After                                        Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6612    SR0000171913
757   Twilight                                                 Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6613    SR0000171913
758   What Goes Up                                             Maze featuring Frankie Beverly                           Warner Bros. Records Inc.          6614    SR0000171913
759   Brenda's Got A Baby                                      2Pac                                                     UMG Recordings, Inc.               3509    SR0000172261
760   Trapped                                                  2Pac                                                     UMG Recordings, Inc.               3536    SR0000172261
761   A Murder Of One                                          Counting Crows                                           UMG Recordings, Inc.               3891    SR0000172267
762   Ghost Train                                              Counting Crows                                           UMG Recordings, Inc.               3893    SR0000172267
763   Mr. Jones                                                Counting Crows                                           UMG Recordings, Inc.               3894    SR0000172267
764   Omaha                                                    Counting Crows                                           UMG Recordings, Inc.               3895    SR0000172267
765   Perfect Blue Buildings                                   Counting Crows                                           UMG Recordings, Inc.               3896    SR0000172267
766   Raining In Baltimore                                     Counting Crows                                           UMG Recordings, Inc.               3898    SR0000172267
767   Round Here                                               Counting Crows                                           UMG Recordings, Inc.               3899    SR0000172267
768   Sullivan Street                                          Counting Crows                                           UMG Recordings, Inc.               3900    SR0000172267
769   Time And Time Again                                      Counting Crows                                           UMG Recordings, Inc.               3901    SR0000172267
770   Dumb                                                     Nirvana                                                  UMG Recordings, Inc.               5042    SR0000172276
771   Heart Shaped Box                                         Nirvana                                                  UMG Recordings, Inc.               5043    SR0000172276
772   Pennyroyal Tea                                           Nirvana                                                  UMG Recordings, Inc.               5046    SR0000172276
773   Rape Me                                                  Nirvana                                                  UMG Recordings, Inc.               5047    SR0000172276
774   Around The World                                         Red Hot Chili Peppers                                    Warner Bros. Records Inc.          6689    SR0000174922
775   Californication                                          Red Hot Chili Peppers                                    Warner Bros. Records Inc.          6691    SR0000174922
776   Scar Tissue                                              Red Hot Chili Peppers                                    Warner Bros. Records Inc.          6704    SR0000174922
777   I'd Like To Have That One Back                           George Strait                                            UMG Recordings, Inc.               4253    SR0000178495
778   The Love Bug                                             George Strait                                            UMG Recordings, Inc.               4280    SR0000178495
779   The Man In Love With You                                 George Strait                                            UMG Recordings, Inc.               4281    SR0000178495
780   All Apologies                                            Nirvana                                                  UMG Recordings, Inc.               5039    SR0000178690


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781   Come As You Are                                     Nirvana                                                  UMG Recordings, Inc.               5041    SR0000178690
782   The Man Who Sold The World (Live, MTV Unplugged)    Nirvana                                                  UMG Recordings, Inc.               5050    SR0000178690
783   But I Will                                          Faith Hill                                               Warner Bros. Records Inc.          6414    SR0000182853
784   Go The Distance                                     Faith Hill                                               Warner Bros. Records Inc.          6418    SR0000182853
785   I Would Be Stronger Than That                       Faith Hill                                               Warner Bros. Records Inc.          6424    SR0000182853
786   I've Got This Friend (With Larry Stewart)           Faith Hill                                               Warner Bros. Records Inc.          6425    SR0000182853
787   Just About Now                                      Faith Hill                                               Warner Bros. Records Inc.          6434    SR0000182853
788   Just Around The Eyes                                Faith Hill                                               Warner Bros. Records Inc.          6435    SR0000182853
789   Life's Too Short To Love Like That                  Faith Hill                                               Warner Bros. Records Inc.          6440    SR0000182853
790   Piece Of My Heart                                   Faith Hill                                               Warner Bros. Records Inc.          6448    SR0000182853
791   Take Me As I Am                                     Faith Hill                                               Warner Bros. Records Inc.          6454    SR0000182853
792   Wild One                                            Faith Hill                                               Warner Bros. Records Inc.          6467    SR0000182853
793   Achy Breaky Song                                    Weird Al Yankovic                                        Volcano Entertainment III, LLC     3021    SR0000184456
794   Bedrock Anthem                                      Weird Al Yankovic                                        Volcano Entertainment III, LLC     3025    SR0000184456
795   Bohemian Polka                                      Weird Al Yankovic                                        Volcano Entertainment III, LLC     3027    SR0000184456
796   Frank's 2000" TV                                    Weird Al Yankovic                                        Volcano Entertainment III, LLC     3033    SR0000184456
797   Jurassic Park                                       Weird Al Yankovic                                        Volcano Entertainment III, LLC     3041    SR0000184456
798   Livin' In The Fridge                                Weird Al Yankovic                                        Volcano Entertainment III, LLC     3042    SR0000184456
799   She Never Told Me She Was A Mime                    Weird Al Yankovic                                        Volcano Entertainment III, LLC     3047    SR0000184456
800   Talk Soup                                           Weird Al Yankovic                                        Volcano Entertainment III, LLC     3052    SR0000184456
801   Traffic Jam                                         Weird Al Yankovic                                        Volcano Entertainment III, LLC     3057    SR0000184456
802   Waffle King                                         Weird Al Yankovic                                        Volcano Entertainment III, LLC     3060    SR0000184456
803   Young, Dumb & Ugly                                  Weird Al Yankovic                                        Volcano Entertainment III, LLC     3064    SR0000184456
804   Basket Case                                         Green Day                                                Warner Bros. Records Inc.          6480    SR0000185457
805   Burnout                                             Green Day                                                Warner Bros. Records Inc.          6484    SR0000185457
806   Chump                                               Green Day                                                Warner Bros. Records Inc.          6485    SR0000185457
807   Coming Clean                                        Green Day                                                Warner Bros. Records Inc.          6487    SR0000185457
808   Emenius Sleepus                                     Green Day                                                Warner Bros. Records Inc.          6489    SR0000185457
809   In The End                                          Green Day                                                Warner Bros. Records Inc.          6494    SR0000185457
810   Longview                                            Green Day                                                Warner Bros. Records Inc.          6499    SR0000185457
811   She                                                 Green Day                                                Warner Bros. Records Inc.          6506    SR0000185457
812   Welcome To Paradise                                 Green Day                                                Warner Bros. Records Inc.          6517    SR0000185457
      Close Encounters of the Third Kind/When You Wish    John Williams and the Boston Pops Orchestra              Sony Music Entertainment                   SR0000186141
813   Upon a Star Medley                                                                                                                              1894
      Scherzo for Motorcycle and Orchestra from Indiana   John Williams and the Boston Pops Orchestra              Sony Music Entertainment                   SR0000186141
814   Jones and the Last Crusade                                                                                                                      1895
815   Theme from "Sugarland Express"                      John Williams and the Boston Pops Orchestra              Sony Music Entertainment           1896    SR0000186141
816   I'll Be Seeing You                                  Etta James                                               Arista Music                       210     SR0000187947
817   The Man I Love                                      Etta James                                               Arista Music                       216     SR0000187947
818   The Very Thought Of You                             Etta James                                               Arista Music                       217     SR0000187947
819   Armatage Shanks                                     Green Day                                                Warner Bros. Records Inc.          6478    SR0000188562
820   Bab's Uvula Who?                                    Green Day                                                Warner Bros. Records Inc.          6479    SR0000188562
821   Brat                                                Green Day                                                Warner Bros. Records Inc.          6483    SR0000188562
822   Geek Stink Breath                                   Green Day                                                Warner Bros. Records Inc.          6491    SR0000188562
823   Jaded                                               Green Day                                                Warner Bros. Records Inc.          6496    SR0000188562
824   Stuck With Me                                       Green Day                                                Warner Bros. Records Inc.          6509    SR0000188562
825   Walking Contradiction                               Green Day                                                Warner Bros. Records Inc.          6515    SR0000188562
826   Burning Man                                         Third Eye Blind                                          Elektra Entertainment Group Inc.   6117    SR0000188673
827   God Of Wine                                         Third Eye Blind                                          Elektra Entertainment Group Inc.   6122    SR0000188673
828   Good For You                                        Third Eye Blind                                          Elektra Entertainment Group Inc.   6123    SR0000188673
829   Graduate                                            Third Eye Blind                                          Elektra Entertainment Group Inc.   6124    SR0000188673
830   How's It Going To Be                                Third Eye Blind                                          Elektra Entertainment Group Inc.   6125    SR0000188673
831   I Want You                                          Third Eye Blind                                          Elektra Entertainment Group Inc.   6126    SR0000188673
832   Jumper                                              Third Eye Blind                                          Elektra Entertainment Group Inc.   6127    SR0000188673
833   London                                              Third Eye Blind                                          Elektra Entertainment Group Inc.   6128    SR0000188673
834   Losing A Whole Year                                 Third Eye Blind                                          Elektra Entertainment Group Inc.   6129    SR0000188673
835   Motorcycle Drive By                                 Third Eye Blind                                          Elektra Entertainment Group Inc.   6130    SR0000188673
836   Narcolepsy                                          Third Eye Blind                                          Elektra Entertainment Group Inc.   6131    SR0000188673
837   Semi-Charmed Life                                   Third Eye Blind                                          Elektra Entertainment Group Inc.   6133    SR0000188673
838   Thanks A Lot                                        Third Eye Blind                                          Elektra Entertainment Group Inc.   6135    SR0000188673
839   The Background                                      Third Eye Blind                                          Elektra Entertainment Group Inc.   6136    SR0000188673
840   Closer                                              Nine Inch Nails                                          UMG Recordings, Inc.               5036    SR0000190381
841   Heresy (Blind)                                      Nine Inch Nails                                          UMG Recordings, Inc.               5037    SR0000190381
842   Misled                                              Céline Dion                                              Sony Music Entertainment           1196    SR0000191558
843   Only One Road                                       Céline Dion                                              Sony Music Entertainment           1201    SR0000191558
844   The Power of Love                                   Céline Dion                                              Sony Music Entertainment           1214    SR0000191558
845   Think Twice                                         Céline Dion                                              Sony Music Entertainment           1218    SR0000191558
846   Hold My Hand                                        Hootie & The Blowfish                                    Atlantic Recording Corporation     5610    SR0000193960
847   Let Her Cry                                         Hootie & The Blowfish                                    Atlantic Recording Corporation     5614    SR0000193960
848   Not Even The Trees                                  Hootie & The Blowfish                                    Atlantic Recording Corporation     5615    SR0000193960
849   Only Wanna Be With You                              Hootie & The Blowfish                                    Atlantic Recording Corporation     5618    SR0000193960
850   Time                                                Hootie & The Blowfish                                    Atlantic Recording Corporation     5621    SR0000193960
851   Can I Get a Witness-Interlude                       TLC                                                      LaFace Records LLC                 615     SR0000198743
852   Case Of The Fake People                             TLC                                                      LaFace Records LLC                 616     SR0000198743
853   CrazySexyCool-Interlude                             TLC                                                      LaFace Records LLC                 617     SR0000198743
854   Creep                                               TLC                                                      LaFace Records LLC                 618     SR0000198743
855   Diggin' on You                                      TLC                                                      LaFace Records LLC                 619     SR0000198743
856   If I Was Your Girlfriend                            TLC                                                      LaFace Records LLC                 620     SR0000198743
857   Intermission-lude                                   TLC                                                      LaFace Records LLC                 621     SR0000198743


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858   Intro-Iude                                            TLC                                                      LaFace Records LLC               622     SR0000198743
859   Kick Your Game                                        TLC                                                      LaFace Records LLC               623     SR0000198743
860   Let's Do It Again                                     TLC                                                      LaFace Records LLC               624     SR0000198743
861   Sexy-Interlude                                        TLC                                                      LaFace Records LLC               625     SR0000198743
862   Sumthin' Wicked This Way Comes                        TLC                                                      LaFace Records LLC               626     SR0000198743
863   Switch                                                TLC                                                      LaFace Records LLC               627     SR0000198743
864   Take Our Time                                         TLC                                                      LaFace Records LLC               628     SR0000198743
865   Waterfalls                                            TLC                                                      LaFace Records LLC               629     SR0000198743
866   Can U Get Away (Explicit)                             2Pac                                                     UMG Recordings, Inc.             3511    SR0000198774
867   Death Around The Corner                               2Pac                                                     UMG Recordings, Inc.             3514    SR0000198774
868   Fuck The World (Explicit)                             2Pac                                                     UMG Recordings, Inc.             3517    SR0000198774
869   Heavy In The Game (Explicit)                          2Pac                                                     UMG Recordings, Inc.             3520    SR0000198774
870   If I Die 2Nite                                        2Pac                                                     UMG Recordings, Inc.             3523    SR0000198774
871   It Ain't Easy (Explicit)                              2Pac                                                     UMG Recordings, Inc.             3524    SR0000198774
872   Lord Knows                                            2Pac                                                     UMG Recordings, Inc.             3526    SR0000198774
873   Me Against The World                                  2Pac                                                     UMG Recordings, Inc.             3527    SR0000198774
874   Old School (Explicit)                                 2Pac                                                     UMG Recordings, Inc.             3529    SR0000198774
875   So Many Tears                                         2Pac                                                     UMG Recordings, Inc.             3531    SR0000198774
876   Temptations (Explicit)                                2Pac                                                     UMG Recordings, Inc.             3533    SR0000198774
877   Young Niggaz (Explicit)                               2Pac                                                     UMG Recordings, Inc.             3540    SR0000198774
878   Blood Brothers                                        Bruce Springsteen                                        Sony Music Entertainment         1050    SR0000198948
879   Murder Incorporated                                   Bruce Springsteen                                        Sony Music Entertainment         1062    SR0000198948
880   Secret Garden                                         Bruce Springsteen                                        Sony Music Entertainment         1065    SR0000198948
881   This Hard Land                                        Bruce Springsteen                                        Sony Music Entertainment         1071    SR0000198948
882   Fumbling Towards Ecstasy                              Sarah McLachlan                                          Arista Records LLC               516     SR0000200152
883   Good Enough                                           Sarah McLachlan                                          Arista Records LLC               517     SR0000200152
884   Hold On                                               Sarah McLachlan                                          Arista Records LLC               518     SR0000200152
885   Ice Cream                                             Sarah McLachlan                                          Arista Records LLC               520     SR0000200152
886   Possession                                            Sarah McLachlan                                          Arista Records LLC               523     SR0000200152
887   Amazing                                               Aerosmith                                                UMG Recordings, Inc.             3574    SR0000200298
888   Deuces Are Wild                                       Aerosmith                                                UMG Recordings, Inc.             3578    SR0000200298
889   Hold Me, Thrill Me, Kiss Me                           Gloria Estefan                                           Sony Music Entertainment         1639    SR0000201780
890   Turn The Beat Around                                  Gloria Estefan                                           Sony Music Entertainment         1641    SR0000201780
891   Gone Country                                          Alan Jackson                                             Arista Records LLC               391     SR0000202090
892   Livin' On Love                                        Alan Jackson                                             Arista Records LLC               396     SR0000202090
893   Always On My Mind                                     Brandy                                                   Atlantic Recording Corporation   5452    SR0000202696
894   As Long As You're Here                                Brandy                                                   Atlantic Recording Corporation   5456    SR0000202696
895   Baby                                                  Brandy                                                   Atlantic Recording Corporation   5458    SR0000202696
896   Best Friend                                           Brandy                                                   Atlantic Recording Corporation   5459    SR0000202696
897   Give Me You                                           Brandy                                                   Atlantic Recording Corporation   5468    SR0000202696
898   I Dedicate (Part I)                                   Brandy                                                   Atlantic Recording Corporation   5473    SR0000202696
899   I Dedicate (Part II)                                  Brandy                                                   Atlantic Recording Corporation   5474    SR0000202696
900   I Dedicate (Part III)                                 Brandy                                                   Atlantic Recording Corporation   5475    SR0000202696
901   I Wanna Be Down                                       Brandy                                                   Atlantic Recording Corporation   5478    SR0000202696
902   I'm Yours                                             Brandy                                                   Atlantic Recording Corporation   5480    SR0000202696
903   Love Is On My Side                                    Brandy                                                   Atlantic Recording Corporation   5486    SR0000202696
904   Movin' On                                             Brandy                                                   Atlantic Recording Corporation   5488    SR0000202696
905   Sunny Day                                             Brandy                                                   Atlantic Recording Corporation   5497    SR0000202696
906   Breakfast In Bed                                      UB40                                                     Capitol Records, LLC             3488    SR0000205152
907   Don't Break My Heart                                  UB40                                                     Capitol Records, LLC             3491    SR0000205152
908   I Got You Babe                                        UB40                                                     Capitol Records, LLC             3494    SR0000205152
909   If It Happens Again                                   UB40                                                     Capitol Records, LLC             3495    SR0000205152
910   One In Ten                                            UB40                                                     Capitol Records, LLC             3497    SR0000205152
911   Please Don't Make Me Cry                              UB40                                                     Capitol Records, LLC             3498    SR0000205152
912   Rat In Mi Kitchen                                     UB40                                                     Capitol Records, LLC             3499    SR0000205152
913   Red Red Wine                                          UB40                                                     Capitol Records, LLC             3500    SR0000205152
914   Sing Our Own Song (Edit)                              UB40                                                     Capitol Records, LLC             3501    SR0000205152
915   (I Can't Help) Falling In Love With You               UB40                                                     Capitol Records, LLC             3487    SR0000205179
916   Here I Am (Come And Take Me)                          UB40                                                     Capitol Records, LLC             3492    SR0000205179
917   Higher Ground                                         UB40                                                     Capitol Records, LLC             3493    SR0000205179
918   Kingston Town                                         UB40                                                     Capitol Records, LLC             3496    SR0000205179
919   The Way You Do The Things You Do                      UB40                                                     Capitol Records, LLC             3502    SR0000205179
920   Until My Dying Day                                    UB40                                                     Capitol Records, LLC             3503    SR0000205179
921   Aya Davanita                                          Pearl Jam                                                Sony Music Entertainment         2486    SR0000206558
922   Bugs                                                  Pearl Jam                                                Sony Music Entertainment         2492    SR0000206558
923   Last Exit                                             Pearl Jam                                                Sony Music Entertainment         2514    SR0000206558
924   Pry, To                                               Pearl Jam                                                Sony Music Entertainment         2531    SR0000206558
925   Satan's Bed                                           Pearl Jam                                                Sony Music Entertainment         2538    SR0000206558
926   Stupidmop                                             Pearl Jam                                                Sony Music Entertainment         2544    SR0000206558
927   Tremor Christ                                         Pearl Jam                                                Sony Music Entertainment         2547    SR0000206558
928   Whipping                                              Pearl Jam                                                Sony Music Entertainment         2552    SR0000206558
929   Blood (Remastered)                                    Pearl Jam                                                Sony Music Entertainment         2488    SR0000207219
930   Glorified G                                           Pearl Jam                                                Sony Music Entertainment         2502    SR0000207219
931   Indifference (Remastered)                             Pearl Jam                                                Sony Music Entertainment         2511    SR0000207219
932   Leash                                                 Pearl Jam                                                Sony Music Entertainment         2515    SR0000207219
933   Rats (Remastered)                                     Pearl Jam                                                Sony Music Entertainment         2533    SR0000207219
934   W.M.A. (Remastered)                                   Pearl Jam                                                Sony Music Entertainment         2549    SR0000207219
935   All I Need To Know                                    Kenny Chesney                                            Arista Music                     282     SR0000208984
936   Fall In Love                                          Kenny Chesney                                            Arista Music                     289     SR0000208984


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                                Track                                               Artist                                              Plaintiff       PX-01 #    Reg. No.
937  Me And You                                               Kenny Chesney                                            Arista Music                     296     SR0000208984
938  The Tin Man                                              Kenny Chesney                                            Arista Music                     306     SR0000208984
939  #41                                                      Dave Matthews Band                                       Arista Music                     139     SR0000212572
940  Crash Into Me                                            Dave Matthews Band                                       Arista Music                     147     SR0000212572
941  Cry Freedom                                              Dave Matthews Band                                       Arista Music                     149     SR0000212572
942  Drive in Drive Out                                       Dave Matthews Band                                       Arista Music                     155     SR0000212572
943  Let You Down                                             Dave Matthews Band                                       Arista Music                     167     SR0000212572
944  Lie in Our Graves                                        Dave Matthews Band                                       Arista Music                     168     SR0000212572
945  Proudest Monkey                                          Dave Matthews Band                                       Arista Music                     177     SR0000212572
946  Say Goodbye                                              Dave Matthews Band                                       Arista Music                     182     SR0000212572
947  So Much To Say                                           Dave Matthews Band                                       Arista Music                     185     SR0000212572
948  Too Much                                                 Dave Matthews Band                                       Arista Music                     197     SR0000212572
949  Tripping Billies                                         Dave Matthews Band                                       Arista Music                     198     SR0000212572
950  Two Step                                                 Dave Matthews Band                                       Arista Music                     199     SR0000212572
951  A Fire I Can't Put Out                                   George Strait                                            UMG Recordings, Inc.             4221    SR0000213745
952  Am I Blue (Yes I'm Blue)                                 George Strait                                            UMG Recordings, Inc.             4225    SR0000213745
953  Amarillo By Morning                                      George Strait                                            UMG Recordings, Inc.             4226    SR0000213745
954  Check Yes Or No                                          George Strait                                            UMG Recordings, Inc.             4232    SR0000213745
955  Does Fort Worth Ever Cross Your Mind                     George Strait                                            UMG Recordings, Inc.             4236    SR0000213745
956  Drinking Champagne                                       George Strait                                            UMG Recordings, Inc.             4239    SR0000213745
957  Easy Come, Easy Go                                       George Strait                                            UMG Recordings, Inc.             4240    SR0000213745
958  Fool Hearted Memory                                      George Strait                                            UMG Recordings, Inc.             4242    SR0000213745
959  Heartland                                                George Strait                                            UMG Recordings, Inc.             4246    SR0000213745
960  I Cross My Heart                                         George Strait                                            UMG Recordings, Inc.             4249    SR0000213745
961  If You Ain't Lovin' (You Ain't Livin')                   George Strait                                            UMG Recordings, Inc.             4256    SR0000213745
962  The Cowboy Rides Away                                    George Strait                                            UMG Recordings, Inc.             4278    SR0000213745
963  The Fireman                                              George Strait                                            UMG Recordings, Inc.             4279    SR0000213745
964  You Know Me Better Than That                             George Strait                                            UMG Recordings, Inc.             4289    SR0000213745
965  You Look So Good In Love                                 George Strait                                            UMG Recordings, Inc.             4290    SR0000213745
966  Daffodil Lament                                          The Cranberries                                          UMG Recordings, Inc.             5325    SR0000218047
967  I Can't Be With You                                      The Cranberries                                          UMG Recordings, Inc.             5328    SR0000218047
968  Ridiculous Thoughts                                      The Cranberries                                          UMG Recordings, Inc.             5331    SR0000218047
969  Sittin' Up In My Room                                    Brandy                                                   Arista Records LLC               430     SR0000219539
970  Exhale                                                   Whitney Houston                                          Arista Records LLC               546     SR0000219539
971  Manifest/Outro                                           Fugees                                                   Sony Music Entertainment         1586    SR0000222005
972  Mista Mista (Explicit)                                   Fugees                                                   Sony Music Entertainment         1587    SR0000222005
973  No Woman No Cry                                          Fugees                                                   Sony Music Entertainment         1588    SR0000222005
974  Red Intro                                                Fugees                                                   Sony Music Entertainment         1589    SR0000222005
975  The Score (Explicit)                                     Fugees                                                   Sony Music Entertainment         1590    SR0000222005
976  Zealots (Explicit)                                       Fugees                                                   Sony Music Entertainment         1591    SR0000222005
977  Cowboys                                                  The Fugees                                               Sony Music Entertainment         2866    SR0000222005
978  Family Business                                          The Fugees                                               Sony Music Entertainment         2867    SR0000222005
979  Killing Me Softly With His Song                          The Fugees                                               Sony Music Entertainment         2868    SR0000222005
980  The Beast                                                The Fugees                                               Sony Music Entertainment         2869    SR0000222005
981  Thuggish Ruggish Bone                                    Bone Thugs & Harmony                                     Sony Music Entertainment         884     SR0000223608
982  For Tha Love Of $                                        Bone Thugs-N-Harmony with Eazy-E                         Sony Music Entertainment         909     SR0000223608
983  Be The One                                               Hootie & The Blowfish                                    Atlantic Recording Corporation   5608    SR0000223661
984  Old Man & Me                                             Hootie & The Blowfish                                    Atlantic Recording Corporation   5616    SR0000223661
985  Sad Caper                                                Hootie & The Blowfish                                    Atlantic Recording Corporation   5619    SR0000223661
986  Tucker's Town                                            Hootie & The Blowfish                                    Atlantic Recording Corporation   5622    SR0000223661
987  All By Myself                                            Céline Dion                                              Sony Music Entertainment         1176    SR0000224159
988  Because You Loved Me                                     Céline Dion                                              Sony Music Entertainment         1180    SR0000224159
     Because You Loved Me (Theme from "Up Close and           Céline Dion                                              Sony Music Entertainment                 SR0000224159
989 Personal")                                                                                                                                          1181
990 Call The Man                                              Céline Dion                                              Sony Music Entertainment         1182    SR0000224159
991 Falling Into You                                          Céline Dion                                              Sony Music Entertainment         1184    SR0000224159
992 It's All Coming Back to Me Now                            Céline Dion                                              Sony Music Entertainment         1193    SR0000224159
993 River Deep, Mountain High                                 Céline Dion                                              Sony Music Entertainment         1206    SR0000224159
994 Seduces Me                                                Céline Dion                                              Sony Music Entertainment         1207    SR0000224159
995 Bugler's Dream and Olympic Fanfare Medley                 John Williams                                            Sony Music Entertainment         1889    SR0000224437
996 Summon The Heroes                                         John Williams                                            Sony Music Entertainment         1891    SR0000224437
997 Amish Paradise                                            Weird Al Yankovic                                        Volcano Entertainment III, LLC   3023    SR0000225008
998 Callin' In Sick                                           Weird Al Yankovic                                        Volcano Entertainment III, LLC   3028    SR0000225008
     Cavity Search (Paody of "Hold Me, Thrill Me, Kiss Me,    Weird Al Yankovic                                        Volcano Entertainment III, LLC           SR0000225008
999 Kill Me" by U2)                                                                                                                                     3029
1000 Everything You Know Is Wrong                             Weird Al Yankovic                                        Volcano Entertainment III, LLC   3032    SR0000225008
     Gump (Parody of "Lump" by The Presidents Of The          Weird Al Yankovic                                        Volcano Entertainment III, LLC           SR0000225008
1001 United States)                                                                                                                                     3035
1002 I Remember Larry                                         Weird Al Yankovic                                        Volcano Entertainment III, LLC   3038    SR0000225008
1003 I'm So Sick Of You                                       Weird Al Yankovic                                        Volcano Entertainment III, LLC   3040    SR0000225008
1004 Phony Calls (Parody of "Waterfalls" by TLC)              Weird Al Yankovic                                        Volcano Entertainment III, LLC   3045    SR0000225008
1005 Syndicated Inc. (Parody of "Misery" by Soul Asylum)      Weird Al Yankovic                                        Volcano Entertainment III, LLC   3050    SR0000225008
1006 The Alternative Polka                                    Weird Al Yankovic                                        Volcano Entertainment III, LLC   3053    SR0000225008
1007 The Night Santa Went Crazy                               Weird Al Yankovic                                        Volcano Entertainment III, LLC   3054    SR0000225008
1008 Tha Crossroads                                           Bone Thugs N Harmony                                     Sony Music Entertainment         885     SR0000225335
1009 1st Of Tha Month                                         Bone Thugs-N-Harmony                                     Sony Music Entertainment         888     SR0000225335
1010 Buddah Lovaz                                             Bone Thugs-N-Harmony                                     Sony Music Entertainment         889     SR0000225335
1011 Crept And We Came                                        Bone Thugs-N-Harmony                                     Sony Music Entertainment         891     SR0000225335
1012 Da Introduction                                          Bone Thugs-N-Harmony                                     Sony Music Entertainment         892     SR0000225335


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                             Track                                              Artist                                               Plaintiff         PX-01 #    Reg. No.
1013 Die Die Die                                             Bone Thugs-N-Harmony                                   Sony Music Entertainment           893     SR0000225335
1014 East 1999                                               Bone Thugs-N-Harmony                                   Sony Music Entertainment           894     SR0000225335
1015 Eternal                                                 Bone Thugs-N-Harmony                                   Sony Music Entertainment           896     SR0000225335
1016 Land Of Tha Heartless                                   Bone Thugs-N-Harmony                                   Sony Music Entertainment           899     SR0000225335
1017 Mo'Murda                                                Bone Thugs-N-Harmony                                   Sony Music Entertainment           901     SR0000225335
1018 Mr. Bill Collector                                      Bone Thugs-N-Harmony                                   Sony Music Entertainment           903     SR0000225335
1019 Mr. Quija 2                                             Bone Thugs-N-Harmony                                   Sony Music Entertainment           904     SR0000225335
1020 No Shorts, No Losses                                    Bone Thugs-N-Harmony                                   Sony Music Entertainment           905     SR0000225335
1021 Shotz To Tha Double Glock                               Bone Thugs-N-Harmony                                   Sony Music Entertainment           907     SR0000225335
1022 Deeper Well                                             Nada Surf                                              Elektra Entertainment Group Inc.   6065    SR0000225933
1023 Hollywood                                               Nada Surf                                              Elektra Entertainment Group Inc.   6066    SR0000225933
1024 Icebox                                                  Nada Surf                                              Elektra Entertainment Group Inc.   6067    SR0000225933
1025 Psychic Caramel                                         Nada Surf                                              Elektra Entertainment Group Inc.   6068    SR0000225933
1026 Sleep                                                   Nada Surf                                              Elektra Entertainment Group Inc.   6069    SR0000225933
1027 Stalemate                                               Nada Surf                                              Elektra Entertainment Group Inc.   6070    SR0000225933
1028 The Plan                                                Nada Surf                                              Elektra Entertainment Group Inc.   6071    SR0000225933
1029 Treehouse                                               Nada Surf                                              Elektra Entertainment Group Inc.   6072    SR0000225933
1030 Zen Brain                                               Nada Surf                                              Elektra Entertainment Group Inc.   6073    SR0000225933
1031 Come With Me (feat. Ronald Isley)                       Keith Sweat                                            Elektra Entertainment Group Inc.   6053    SR0000226496
1032 Yumi                                                    Keith Sweat                                            Elektra Entertainment Group Inc.   6064    SR0000226496
1033 Everything I Love                                       Alan Jackson                                           Arista Records LLC                 390     SR0000227719
1034 Little Bitty                                            Alan Jackson                                           Arista Records LLC                 394     SR0000227719
1035 Who's Cheatin' Who                                      Alan Jackson                                           Arista Records LLC                 402     SR0000227719
1036 3AM                                                     Matchbox Twenty                                        Atlantic Recording Corporation     5720    SR0000227755
1037 Argue                                                   Matchbox Twenty                                        Atlantic Recording Corporation     5724    SR0000227755
1038 Busted                                                  Matchbox Twenty                                        Atlantic Recording Corporation     5729    SR0000227755
1039 Damn                                                    Matchbox Twenty                                        Atlantic Recording Corporation     5734    SR0000227755
1040 Girl Like That                                          Matchbox Twenty                                        Atlantic Recording Corporation     5741    SR0000227755
1041 Hang                                                    Matchbox Twenty                                        Atlantic Recording Corporation     5743    SR0000227755
1042 Kody                                                    Matchbox Twenty                                        Atlantic Recording Corporation     5750    SR0000227755
1043 Long Day                                                Matchbox Twenty                                        Atlantic Recording Corporation     5754    SR0000227755
1044 Push                                                    Matchbox Twenty                                        Atlantic Recording Corporation     5758    SR0000227755
1045 Real World                                              Matchbox Twenty                                        Atlantic Recording Corporation     5762    SR0000227755
1046 Around The Bend                                         Pearl Jam                                              Sony Music Entertainment           2485    SR0000230851
1047 Habit                                                   Pearl Jam                                              Sony Music Entertainment           2507    SR0000230851
1048 I'm Open                                                Pearl Jam                                              Sony Music Entertainment           2509    SR0000230851
1049 In My Tree                                              Pearl Jam                                              Sony Music Entertainment           2510    SR0000230851
1050 Lukin                                                   Pearl Jam                                              Sony Music Entertainment           2519    SR0000230851
1051 Mankind                                                 Pearl Jam                                              Sony Music Entertainment           2520    SR0000230851
1052 Present Tense                                           Pearl Jam                                              Sony Music Entertainment           2530    SR0000230851
1053 Red Mosquito                                            Pearl Jam                                              Sony Music Entertainment           2535    SR0000230851
1054 Smile                                                   Pearl Jam                                              Sony Music Entertainment           2541    SR0000230851
1055 Sometimes                                               Pearl Jam                                              Sony Music Entertainment           2542    SR0000230851
1056 13th Floor/Growing Old                                  OutKast                                                LaFace Records LLC                 579     SR0000233296
1057 ATLiens                                                 OutKast                                                LaFace Records LLC                 580     SR0000233296
1058 Babylon                                                 OutKast                                                LaFace Records LLC                 582     SR0000233296
1059 Decatur Psalm                                           OutKast                                                LaFace Records LLC                 583     SR0000233296
1060 E.T. (Extraterrestrial)                                 OutKast                                                LaFace Records LLC                 584     SR0000233296
1061 Elevators                                               OutKast                                                LaFace Records LLC                 585     SR0000233296
1062 Jazzy Belle (Explicit)                                  OutKast                                                LaFace Records LLC                 588     SR0000233296
1063 Mainstream (Explicit)                                   OutKast                                                LaFace Records LLC                 589     SR0000233296
1064 Millennium                                              OutKast                                                LaFace Records LLC                 590     SR0000233296
1065 Ova Da Wudz                                             OutKast                                                LaFace Records LLC                 594     SR0000233296
1066 Wailin'                                                 OutKast                                                LaFace Records LLC                 597     SR0000233296
1067 Wheelz of Steel                                         OutKast                                                LaFace Records LLC                 598     SR0000233296
1068 You May Die                                             OutKast                                                LaFace Records LLC                 599     SR0000233296
1069 Hook: Flight To Neverland                               John Williams                                          Sony Music Entertainment           1890    SR0000233783
1070 The Imperial March from The Empire Strikes Back         John Williams                                          Sony Music Entertainment           1892    SR0000233783
1071 Theme From Jurassic Park                                John Williams                                          Sony Music Entertainment           1893    SR0000233783
1072 Havana                                                  Kenny G                                                Arista Records LLC                 436     SR0000236228
1073 The Champion's Theme                                    Kenny G                                                Arista Records LLC                 447     SR0000236228
1074 The Moment                                              Kenny G                                                Arista Records LLC                 449     SR0000236228
1075 She's Got It All                                        Kenny Chesney                                          Arista Music                       300     SR0000238371
1076 That's Why I'm Here                                     Kenny Chesney                                          Arista Music                       304     SR0000238371
1077 When I Close My Eyes                                    Kenny Chesney                                          Arista Music                       307     SR0000238371
1078 Higher Power                                            Boston                                                 Sony Music Entertainment           913     SR0000239485
1079 Higher Power (Kalodner Edit)                            Boston                                                 Sony Music Entertainment           914     SR0000239485
1080 Tell Me                                                 Boston                                                 Sony Music Entertainment           917     SR0000239485
1081 The Star Spangled Banner / 4th of July Reprise          Boston                                                 Sony Music Entertainment           918     SR0000239485
1082 A Question Mark                                         Elliott Smith                                          UMG Recordings, Inc.               3972    SR0000241677
1083 Amity                                                   Elliott Smith                                          UMG Recordings, Inc.               3973    SR0000241677
1084 Baby Britain                                            Elliott Smith                                          UMG Recordings, Inc.               3974    SR0000241677
1085 Bled White                                              Elliott Smith                                          UMG Recordings, Inc.               3975    SR0000241677
1086 Bottle Up And Explode!                                  Elliott Smith                                          UMG Recordings, Inc.               3976    SR0000241677
1087 Everybody Cares, Everybody Understands                  Elliott Smith                                          UMG Recordings, Inc.               3981    SR0000241677
1088 I Didn't Understand                                     Elliott Smith                                          UMG Recordings, Inc.               3984    SR0000241677
1089 Independence Day                                        Elliott Smith                                          UMG Recordings, Inc.               3986    SR0000241677
1090 Oh Well, okay                                           Elliott Smith                                          UMG Recordings, Inc.               3988    SR0000241677
1091 Pitseleh                                                Elliott Smith                                          UMG Recordings, Inc.               3989    SR0000241677


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                               Track                                             Artist                                     Plaintiff                PX-01 #    Reg. No.
1092 Sweet Adeline                                         Elliott Smith                                   UMG Recordings, Inc.                      3993    SR0000241677
1093 Tomorrow Tomorrow                                     Elliott Smith                                   UMG Recordings, Inc.                      3994    SR0000241677
1094 Waltz #1                                              Elliott Smith                                   UMG Recordings, Inc.                      3995    SR0000241677
1095 Adia                                                  Sarah McLachlan                                 Arista Records LLC                        511     SR0000243027
1096 Building A Mystery                                    Sarah McLachlan                                 Arista Records LLC                        513     SR0000243027
1097 Sweet Surrender                                       Sarah McLachlan                                 Arista Records LLC                        527     SR0000243027
1098 Be Quiet And Drive (Far Away)                         Deftones                                        Warner Bros. Records Inc.                 6297    SR0000244493
1099 Dai The Flu                                           Deftones                                        Warner Bros. Records Inc.                 6304    SR0000244493
1100 Headup                                                Deftones                                        Warner Bros. Records Inc.                 6313    SR0000244493
1101 Lhabia                                                Deftones                                        Warner Bros. Records Inc.                 6318    SR0000244493
1102 MX                                                    Deftones                                        Warner Bros. Records Inc.                 6324    SR0000244493
1103 All The Time                                          Green Day                                       Warner Bros. Records Inc.                 6476    SR0000244558
1104 Good Riddance (Time Of Your Life)                     Green Day                                       Warner Bros. Records Inc.                 6492    SR0000244558
1105 Hitchin' A Ride                                       Green Day                                       Warner Bros. Records Inc.                 6493    SR0000244558
1106 King For A Day                                        Green Day                                       Warner Bros. Records Inc.                 6498    SR0000244558
1107 Nice Guys Finish Last                                 Green Day                                       Warner Bros. Records Inc.                 6502    SR0000244558
1108 Redundant                                             Green Day                                       Warner Bros. Records Inc.                 6504    SR0000244558
1109 The Grouch                                            Green Day                                       Warner Bros. Records Inc.                 6511    SR0000244558
1110 Walking Alone                                         Green Day                                       Warner Bros. Records Inc.                 6514    SR0000244558
1111 Falling In Love (Is Hard On The Knees)                Aerosmith                                       Sony Music Entertainment                  720     SR0000246031
1112 Pink                                                  Aerosmith                                       Sony Music Entertainment                  736     SR0000246031
1113 Changes                                               2Pac                                            UMG Recordings, Inc.                      3512    SR0000246223
1114 Unconditional Love                                    2Pac                                            UMG Recordings, Inc.                      3537    SR0000246223
1115 I Will Wait                                           Hootie & The Blowfish                           Atlantic Recording Corporation            5612    SR0000246482
1116 Only Lonely                                           Hootie & The Blowfish                           Atlantic Recording Corporation            5617    SR0000246482
     Main Title (From "Star Wars")                         John Williams and the London Symphony Orchestra Sony Music Entertainment                          SR0000247474
1117                                                                                                                                                 1897
1118 Theme (From "Jaws")                                   London Symphony Orchestra;John Williams                  Sony Music Entertainment         2106    SR0000247474
1119 Theme from"Far and Away"                              Itzhak Perlman                                           Sony Music Entertainment         1748    SR0000247495
1120 Schindler's List: Theme                               Itzhak Perlman;John Williams                             Sony Music Entertainment         1749    SR0000247495
1121 Tell Him (Duet with Barbra Streisand)                 Barbra Streisand                                         Sony Music Entertainment         771     SR0000248109
1122 Immortality                                           Céline Dion                                              Sony Music Entertainment         1192    SR0000248109
1123 My Heart Will Go On                                   Céline Dion                                              Sony Music Entertainment         1197    SR0000248109
1124 The Reason                                            Céline Dion                                              Sony Music Entertainment         1215    SR0000248109
1125 To Love You More                                      Céline Dion                                              Sony Music Entertainment         1219    SR0000248109
1126 Can We                                                SWV                                                      Arista Music                     319     SR0000249300
1127 Come And Get Some                                     SWV                                                      Arista Music                     320     SR0000249300
1128 Gettin' Funky                                         SWV                                                      Arista Music                     323     SR0000249300
1129 Give It Up                                            SWV                                                      Arista Music                     325     SR0000249300
1130 Here For You                                          SWV                                                      Arista Music                     326     SR0000249300
1131 Lose Myself                                           SWV                                                      Arista Music                     329     SR0000249300
1132 Love Like This                                        SWV                                                      Arista Music                     330     SR0000249300
1133 Rain                                                  SWV                                                      Arista Music                     331     SR0000249300
1134 Release Some Tension                                  SWV                                                      Arista Music                     332     SR0000249300
1135 When U Cry                                            SWV                                                      Arista Music                     339     SR0000249300
1136 Someone                                               SWV featuring Puff Daddy                                 Arista Music                     342     SR0000249300
1137 Lose My Cool                                          SWV featuring Redman                                     Arista Music                     343     SR0000249300
1138 Magic Medicine                                        Incubus                                                  Sony Music Entertainment         1729    SR0000249690
1139 Summer Romance (Anti-Gravity Love Song)               Incubus                                                  Sony Music Entertainment         1742    SR0000249690
1140 Another Day                                           James Taylor                                             Sony Music Entertainment         1792    SR0000250547
1141 Enough To Be On Your Way                              James Taylor                                             Sony Music Entertainment         1795    SR0000250547
1142 Little More Time with You                             James Taylor                                             Sony Music Entertainment         1797    SR0000250547
1143 All I Have To Give                                    Backstreet Boys                                          Zomba Recording LLC              3065    SR0000250678
1144 As Long As You Love Me                                Backstreet Boys                                          Zomba Recording LLC              3066    SR0000250678
1145 I'll Never Break Your Heart                           Backstreet Boys                                          Zomba Recording LLC              3070    SR0000250678
1146 Quit Playing Games (With My Heart)                    Backstreet Boys                                          Zomba Recording LLC              3073    SR0000250678
1147 Airline Amy                                           Weird Al Yankovic                                        Volcano Entertainment III, LLC   3022    SR0000251666
1148 I Can't Watch This                                    Weird Al Yankovic                                        Volcano Entertainment III, LLC   3037    SR0000251666
1149 I Was Only Kidding                                    Weird Al Yankovic                                        Volcano Entertainment III, LLC   3039    SR0000251666
1150 Polka Your Eyes Out                                   Weird Al Yankovic                                        Volcano Entertainment III, LLC   3046    SR0000251666
1151 Smells Like Nirvana                                   Weird Al Yankovic                                        Volcano Entertainment III, LLC   3048    SR0000251666
1152 Taco Grande                                           Weird Al Yankovic                                        Volcano Entertainment III, LLC   3051    SR0000251666
1153 The Plumbing Song                                     Weird Al Yankovic                                        Volcano Entertainment III, LLC   3055    SR0000251666
1154 The White Stuff                                       Weird Al Yankovic                                        Volcano Entertainment III, LLC   3056    SR0000251666
1155 Trigger Happy                                         Weird Al Yankovic                                        Volcano Entertainment III, LLC   3059    SR0000251666
1156 You Don't Love Me Anymore                             Weird Al Yankovic                                        Volcano Entertainment III, LLC   3063    SR0000251666
1157 Give It Up Or Let Me Go                               Dixie Chicks                                             Sony Music Entertainment         1366    SR0000252000
1158 I Can Love You Better                                 Dixie Chicks                                             Sony Music Entertainment         1370    SR0000252000
1159 There's Your Trouble                                  Dixie Chicks                                             Sony Music Entertainment         1382    SR0000252000
1160 Tonight the Heartache's on Me                         Dixie Chicks                                             Sony Music Entertainment         1383    SR0000252000
1161 Wide Open Spaces                                      Dixie Chicks                                             Sony Music Entertainment         1388    SR0000252000
1162 You Were Mine                                         Dixie Chicks                                             Sony Music Entertainment         1390    SR0000252000
1163 Shimmer                                               Fuel                                                     Sony Music Entertainment         1574    SR0000253431
1164 Sunburn                                               Fuel                                                     Sony Music Entertainment         1577    SR0000253431
1165 Hideaway                                              Fuel 238                                                 Sony Music Entertainment         1580    SR0000253431
1166 Mary Pretends                                         Fuel 238                                                 Sony Music Entertainment         1581    SR0000253431
1167 New Thing                                             Fuel 238                                                 Sony Music Entertainment         1582    SR0000253431
1168 Ozone                                                 Fuel 238                                                 Sony Music Entertainment         1583    SR0000253431
1169 Song For You                                          Fuel 238                                                 Sony Music Entertainment         1584    SR0000253431


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                                Track                                               Artist                                         Plaintiff         PX-01 #    Reg. No.
1170 Untitled**                                            Fuel 238                                                 Sony Music Entertainment         1585    SR0000253431
1171 Better Days                                           Faith Hill                                               Warner Bros. Records Inc.        6411    SR0000253752
1172 I Love You                                            Faith Hill                                               Warner Bros. Records Inc.        6421    SR0000253752
     Just To Hear You Say That You Love Me (with Tim       Faith Hill                                               Warner Bros. Records Inc.                SR0000253752
1173 McGraw)                                                                                                                                         6436
1174 Let Me Let Go                                         Faith Hill                                               Warner Bros. Records Inc.        6438    SR0000253752
1175 Love Ain't Like That                                  Faith Hill                                               Warner Bros. Records Inc.        6442    SR0000253752
1176 Me                                                    Faith Hill                                               Warner Bros. Records Inc.        6444    SR0000253752
1177 My Wild Frontier                                      Faith Hill                                               Warner Bros. Records Inc.        6446    SR0000253752
1178 Somebody Stand By Me                                  Faith Hill                                               Warner Bros. Records Inc.        6449    SR0000253752
1179 The Hard Way                                          Faith Hill                                               Warner Bros. Records Inc.        6456    SR0000253752
1180 The Secret Of Life                                    Faith Hill                                               Warner Bros. Records Inc.        6458    SR0000253752
1181 This Kiss (Pop Remix a.k.a. Radio Version)            Faith Hill                                               Warner Bros. Records Inc.        6462    SR0000253752
1182 You Give Me Love                                      Faith Hill                                               Warner Bros. Records Inc.        6470    SR0000253752
1183 Brain Of J.                                           Pearl Jam                                                Sony Music Entertainment         2489    SR0000255869
1184 Faithful                                              Pearl Jam                                                Sony Music Entertainment         2498    SR0000255869
1185 Low Light                                             Pearl Jam                                                Sony Music Entertainment         2518    SR0000255869
1186 MFC                                                   Pearl Jam                                                Sony Music Entertainment         2522    SR0000255869
1187 No Way                                                Pearl Jam                                                Sony Music Entertainment         2523    SR0000255869
1188 Pilate                                                Pearl Jam                                                Sony Music Entertainment         2528    SR0000255869
1189 Push Me, Pull Me                                      Pearl Jam                                                Sony Music Entertainment         2532    SR0000255869
1190 Red Bar                                               Pearl Jam                                                Sony Music Entertainment         2534    SR0000255869
1191 (Everything I Do) I Do It For You                     Brandy                                                   Atlantic Recording Corporation   5448    SR0000256701
1192 Almost Doesn't Count                                  Brandy                                                   Atlantic Recording Corporation   5451    SR0000256701
1193 Angel In Disguise                                     Brandy                                                   Atlantic Recording Corporation   5453    SR0000256701
1194 Happy                                                 Brandy                                                   Atlantic Recording Corporation   5469    SR0000256701
1195 Have You Ever                                         Brandy                                                   Atlantic Recording Corporation   5470    SR0000256701
1196 In The Car Interlude                                  Brandy                                                   Atlantic Recording Corporation   5481    SR0000256701
1197 Intro                                                 Brandy                                                   Atlantic Recording Corporation   5482    SR0000256701
1198 Learn The Hard Way                                    Brandy                                                   Atlantic Recording Corporation   5484    SR0000256701
1199 Never Say Never                                       Brandy                                                   Atlantic Recording Corporation   5490    SR0000256701
1200 One Voice                                             Brandy                                                   Atlantic Recording Corporation   5492    SR0000256701
1201 Put That On Everything                                Brandy                                                   Atlantic Recording Corporation   5493    SR0000256701
1202 Tomorrow                                              Brandy                                                   Atlantic Recording Corporation   5499    SR0000256701
1203 Top Of The World (feat. Mase)                         Brandy                                                   Atlantic Recording Corporation   5500    SR0000256701
1204 Truthfully                                            Brandy                                                   Atlantic Recording Corporation   5501    SR0000256701
1205 U Dont Know Me (Like U Used To)                       Brandy                                                   Atlantic Recording Corporation   5503    SR0000256701
1206 Bedtime                                               Usher                                                    LaFace Records LLC               631     SR0000257730
1207 Come Back                                             Usher                                                    LaFace Records LLC               634     SR0000257730
1208 I Will                                                Usher                                                    LaFace Records LLC               640     SR0000257730
1209 Just Like Me                                          Usher                                                    LaFace Records LLC               643     SR0000257730
1210 My Way                                                Usher                                                    LaFace Records LLC               648     SR0000257730
1211 Nice & Slow                                           Usher                                                    LaFace Records LLC               649     SR0000257730
1212 One Day You'll Be Mine                                Usher                                                    LaFace Records LLC               650     SR0000257730
1213 You Make Me Wanna...                                  Usher                                                    LaFace Records LLC               662     SR0000257730
1214 Slow Jam                                              Usher feat. Monica                                       LaFace Records LLC               664     SR0000257730
1215 Crush                                                 Dave Matthews Band                                       Arista Music                     148     SR0000257982
1216 Don't Drink The Water                                 Dave Matthews Band                                       Arista Music                     152     SR0000257982
1217 Halloween                                             Dave Matthews Band                                       Arista Music                     161     SR0000257982
1218 Pantala Naga Pampa                                    Dave Matthews Band                                       Arista Music                     174     SR0000257982
1219 Pig                                                   Dave Matthews Band                                       Arista Music                     176     SR0000257982
1220 Rapunzel                                              Dave Matthews Band                                       Arista Music                     178     SR0000257982
1221 Spoon                                                 Dave Matthews Band                                       Arista Music                     187     SR0000257982
1222 Stay (Wasting Time)                                   Dave Matthews Band                                       Arista Music                     189     SR0000257982
1223 The Dreaming Tree                                     Dave Matthews Band                                       Arista Music                     193     SR0000257982
1224 The Last Stop                                         Dave Matthews Band                                       Arista Music                     194     SR0000257982
1225 The Stone                                             Dave Matthews Band                                       Arista Music                     196     SR0000257982
1226 Thug Luv                                              Bone Thugs N Harmony feat. 2Pac                          Sony Music Entertainment         886     SR0000260406
1227 Get'Cha Thug On                                       Bone Thugs-N-Harmony                                     Sony Music Entertainment         897     SR0000260406
1228 Look Into My Eyes                                     Bone Thugs-N-Harmony                                     Sony Music Entertainment         900     SR0000260406
1229 (You Drive Me) Crazy                                  Britney Spears                                           Zomba Recording LLC              3096    SR0000260870
1230 Sometimes                                             Britney Spears                                           Zomba Recording LLC              3119    SR0000260870
1231 2 X 4                                                 Blind Melon                                              Capitol Records, LLC             3265    SR0000262682
1232 Car Seat (God's Presents)                             Blind Melon                                              Capitol Records, LLC             3267    SR0000262682
1233 Dumptruck                                             Blind Melon                                              Capitol Records, LLC             3272    SR0000262682
1234 Galaxie                                               Blind Melon                                              Capitol Records, LLC             3273    SR0000262682
1235 Lemonade                                              Blind Melon                                              Capitol Records, LLC             3279    SR0000262682
1236 Mouthful Of Cavities                                  Blind Melon                                              Capitol Records, LLC             3282    SR0000262682
1237 New Life                                              Blind Melon                                              Capitol Records, LLC             3283    SR0000262682
1238 Skinned                                               Blind Melon                                              Capitol Records, LLC             3289    SR0000262682
1239 St. Andrew's Fall                                     Blind Melon                                              Capitol Records, LLC             3294    SR0000262682
1240 The Duke                                              Blind Melon                                              Capitol Records, LLC             3297    SR0000262682
1241 Toes Across The Floor                                 Blind Melon                                              Capitol Records, LLC             3300    SR0000262682
1242 Vernie                                                Blind Melon                                              Capitol Records, LLC             3302    SR0000262682
1243 Wilt                                                  Blind Melon                                              Capitol Records, LLC             3304    SR0000262682
1244 Guilty Conscience                                     Eminem                                                   UMG Recordings, Inc.             4031    SR0000262686
1245 Just Don't Give A Fuck (Explicit)                     Eminem                                                   UMG Recordings, Inc.             4037    SR0000262686
1246 My Fault                                              Eminem                                                   UMG Recordings, Inc.             4051    SR0000262686
1247 My Name Is                                            Eminem                                                   UMG Recordings, Inc.             4053    SR0000262686


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                                 Track                                              Artist                                             Plaintiff   PX-01 #    Reg. No.
1248 Still Don't Give A Fuck                                  Eminem                                                   UMG Recordings, Inc.        4083    SR0000262686
1249 Meanwhile                                                George Strait                                            UMG Recordings, Inc.        4265    SR0000263154
1250 What Do You Say To That                                  George Strait                                            UMG Recordings, Inc.        4285    SR0000263154
1251 Baptism                                                  Kenny Chesney                                            Arista Music                285     SR0000263302
1252 How Forever Feels                                        Kenny Chesney                                            Arista Music                291     SR0000263302
1253 She Thinks My Tractor's Sexy                             Kenny Chesney                                            Arista Music                299     SR0000263302
1254 You Had Me From Hello                                    Kenny Chesney                                            Arista Music                308     SR0000263302
1255 Children Of The Korn                                     Korn                                                     Sony Music Entertainment    2054    SR0000263749
1256 Earache My Eye                                           Korn                                                     Sony Music Entertainment    2055    SR0000263749
1257 Dr. Greenthumb                                           Cypress Hill                                             Sony Music Entertainment    1327    SR0000263930
1258 Tequila Sunrise (Explicit)                               Cypress Hill                                             Sony Music Entertainment    1330    SR0000263930
1259 Da Art of Storytellin' (Pt. 1) (Explicit)                OutKast                                                  Arista Records LLC          453     SR0000264092
1260 Da Art of Storytellin' (Pt. 2) (Explicit)                OutKast                                                  Arista Records LLC          454     SR0000264092
1261 Return of the "G" (Explicit)                             OutKast                                                  Arista Records LLC          455     SR0000264092
1262 Synthesizer (Explicit)                                   OutKast featuring George Clinton                         Arista Records LLC          456     SR0000264092
1263 Animal Instinct                                          The Cranberries                                          UMG Recordings, Inc.        5324    SR0000264395
1264 Promises                                                 The Cranberries                                          UMG Recordings, Inc.        5330    SR0000264395
1265 You And Me                                               The Cranberries                                          UMG Recordings, Inc.        5334    SR0000264395
1266 Daddy Won't Sell the Farm                                Montgomery Gentry                                        Sony Music Entertainment    2341    SR0000266467
1267 Lonely And Gone                                          Montgomery Gentry                                        Sony Music Entertainment    2345    SR0000266467
1268 A Moment To Myself                                       Macy Gray                                                Sony Music Entertainment    2135    SR0000267460
1269 Caligula                                                 Macy Gray                                                Sony Music Entertainment    2138    SR0000267460
1270 Do Something                                             Macy Gray                                                Sony Music Entertainment    2140    SR0000267460
1271 I Can't Wait To Meetchu                                  Macy Gray                                                Sony Music Entertainment    2148    SR0000267460
1272 I Try                                                    Macy Gray                                                Sony Music Entertainment    2149    SR0000267460
1273 I've Committed Murder                                    Macy Gray                                                Sony Music Entertainment    2150    SR0000267460
1274 Sex-o-matic Venus Freak                                  Macy Gray                                                Sony Music Entertainment    2156    SR0000267460
1275 Still                                                    Macy Gray                                                Sony Music Entertainment    2160    SR0000267460
1276 The Letter                                               Macy Gray                                                Sony Music Entertainment    2162    SR0000267460
1277 Why Didn't You Call Me                                   Macy Gray                                                Sony Music Entertainment    2165    SR0000267460
1278 Bad Day                                                  Fuel                                                     Sony Music Entertainment    1546    SR0000269920
1279 Down                                                     Fuel                                                     Sony Music Entertainment    1549    SR0000269920
1280 Easy                                                     Fuel                                                     Sony Music Entertainment    1551    SR0000269920
1281 Empty Spaces                                             Fuel                                                     Sony Music Entertainment    1552    SR0000269920
1282 Innocent                                                 Fuel                                                     Sony Music Entertainment    1560    SR0000269920
1283 Knives                                                   Fuel                                                     Sony Music Entertainment    1562    SR0000269920
1284 Last Time                                                Fuel                                                     Sony Music Entertainment    1563    SR0000269920
1285 Prove                                                    Fuel                                                     Sony Music Entertainment    1569    SR0000269920
1286 Scar                                                     Fuel                                                     Sony Music Entertainment    1572    SR0000269920
1287 Slow                                                     Fuel                                                     Sony Music Entertainment    1575    SR0000269920
1288 Solace                                                   Fuel                                                     Sony Music Entertainment    1576    SR0000269920
1289 Don't Make Me Come Over There And Love You               George Strait                                            UMG Recordings, Inc.        4237    SR0000270094
1290 Go On                                                    George Strait                                            UMG Recordings, Inc.        4243    SR0000270094
1291 If You Can Do Anything Else                              George Strait                                            UMG Recordings, Inc.        4257    SR0000270094
1292 Cave                                                     Muse                                                     Warner Bros. Records Inc.   6617    SR0000273528
1293 Muscle Museum                                            Muse                                                     Warner Bros. Records Inc.   6618    SR0000273528
1294 Sunburn                                                  Muse                                                     Warner Bros. Records Inc.   6619    SR0000273528
1295 Unintended                                               Muse                                                     Warner Bros. Records Inc.   6620    SR0000273528
1296 Uno                                                      Muse                                                     Warner Bros. Records Inc.   6621    SR0000273528
1297 Ecstasy (Explicit)                                       Bone thugs-n-harmony                                     Sony Music Entertainment    895     SR0000274908
1298 Resurrection (Paper, Paper) (Explicit)                   Bone thugs-n-harmony                                     Sony Music Entertainment    906     SR0000274908
1299 Weed Song (Explicit)                                     Bone thugs-n-harmony                                     Sony Music Entertainment    908     SR0000274908
1300 Cowboy Take Me Away                                      Dixie Chicks                                             Sony Music Entertainment    1363    SR0000275086
1301 Goodbye Earl                                             Dixie Chicks                                             Sony Music Entertainment    1367    SR0000275086
1302 Heartbreak Town                                          Dixie Chicks                                             Sony Music Entertainment    1368    SR0000275086
1303 Let Him Fly                                              Dixie Chicks                                             Sony Music Entertainment    1372    SR0000275086
1304 Sin Wagon                                                Dixie Chicks                                             Sony Music Entertainment    1379    SR0000275086
1305 Some Days You Gotta Dance                                Dixie Chicks                                             Sony Music Entertainment    1380    SR0000275086
1306 Without You                                              Dixie Chicks                                             Sony Music Entertainment    1389    SR0000275086
1307 I Want It That Way                                       Backstreet Boys                                          Zomba Recording LLC         3069    SR0000275134
1308 Larger Than Life                                         Backstreet Boys                                          Zomba Recording LLC         3071    SR0000275134
1309 Show Me The Meaning Of Being Lonely                      Backstreet Boys                                          Zomba Recording LLC         3075    SR0000275134
1310 The One                                                  Backstreet Boys                                          Zomba Recording LLC         3077    SR0000275134
1311 Albuquerque                                              Weird Al Yankovic                                        Zomba Recording LLC         3209    SR0000275219
1312 Germs                                                    Weird Al Yankovic                                        Zomba Recording LLC         3210    SR0000275219
     Grapefruit Diet (Parody of "Zoot Suit Riot" by Cherry    Weird Al Yankovic                                        Zomba Recording LLC                 SR0000275219
1313 Poppin' Daddies)                                                                                                                              3211
1314 It's All About The Pentiums                              Weird Al Yankovic                                        Zomba Recording LLC         3212    SR0000275219
     Jerry Springer (Parody of "One Week" by BareNaked        Weird Al Yankovic                                        Zomba Recording LLC                 SR0000275219
1315 Ladies)                                                                                                                                       3213
1316 My Baby's In Love With Eddie Vedder                      Weird Al Yankovic                                        Zomba Recording LLC         3214    SR0000275219
1317 Polka Power!                                             Weird Al Yankovic                                        Zomba Recording LLC         3215    SR0000275219
     Pretty Fly For A Rabbi (Parody of "Pretty Fly (For A     Weird Al Yankovic                                        Zomba Recording LLC                 SR0000275219
1318 White Guy)" by Offspring)                                                                                                                     3216
1319 The Saga Begins (Lyrical Adaption of "American Pie")     Weird Al Yankovic                                        Zomba Recording LLC         3217    SR0000275219
1320 The Weird Al Show Theme                                  Weird Al Yankovic                                        Zomba Recording LLC         3218    SR0000275219
1321 Truck Drivin' Song                                       Weird Al Yankovic                                        Zomba Recording LLC         3219    SR0000275219
1322 Your Horoscope For Today                                 Weird Al Yankovic                                        Zomba Recording LLC         3220    SR0000275219
1323 Affirmation                                              Savage Garden                                            Sony Music Entertainment    2679    SR0000276120


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                                Track                                           Artist                                              Plaintiff         PX-01 #    Reg. No.
1324 Crash And Burn                                       Savage Garden                                            Sony Music Entertainment           2681    SR0000276120
1325 Hold Me                                              Savage Garden                                            Sony Music Entertainment           2682    SR0000276120
1326 The Animal Song                                      Savage Garden                                            Sony Music Entertainment           2685    SR0000276120
1327 Breathe                                              Faith Hill                                               Warner Bros. Records Inc.          6412    SR0000276629
1328 Bringing Out The Elvis                               Faith Hill                                               Warner Bros. Records Inc.          6413    SR0000276629
1329 I Got My Baby                                        Faith Hill                                               Warner Bros. Records Inc.          6420    SR0000276629
1330 If I Should Fall Behind                              Faith Hill                                               Warner Bros. Records Inc.          6426    SR0000276629
1331 If I'm Not In Love                                   Faith Hill                                               Warner Bros. Records Inc.          6427    SR0000276629
1332 If My Heart Had Wings                                Faith Hill                                               Warner Bros. Records Inc.          6428    SR0000276629
1333 It Will Be Me                                        Faith Hill                                               Warner Bros. Records Inc.          6433    SR0000276629
1334 Love Is A Sweet Thing                                Faith Hill                                               Warner Bros. Records Inc.          6443    SR0000276629
1335 That's How Love Moves                                Faith Hill                                               Warner Bros. Records Inc.          6455    SR0000276629
1336 The Way You Love Me                                  Faith Hill                                               Warner Bros. Records Inc.          6459    SR0000276629
1337 There Will Come A Day                                Faith Hill                                               Warner Bros. Records Inc.          6460    SR0000276629
1338 What's In It For Me                                  Faith Hill                                               Warner Bros. Records Inc.          6465    SR0000276629
1339 Let's Make Love                                      Faith Hill & Tim McGraw                                  Warner Bros. Records Inc.          6474    SR0000276629
1340 Back Where I Come From                               Kenny Chesney                                            Arista Music                       284     SR0000277700
1341 Because Of Your Love                                 Kenny Chesney                                            Arista Music                       286     SR0000277700
1342 Don't Happen Twice                                   Kenny Chesney                                            Arista Music                       288     SR0000277700
1343 For The First Time                                   Kenny Chesney                                            Arista Music                       290     SR0000277700
1344 I Lost It                                            Kenny Chesney                                            Arista Music                       292     SR0000277700
1345 Adalida                                              George Strait                                            UMG Recordings, Inc.               4223    SR0000278184
1346 Today My World Slipped Away                          George Strait                                            UMG Recordings, Inc.               4282    SR0000278184
1347 We Really Shouldn't Be Doing This                    George Strait                                            UMG Recordings, Inc.               4284    SR0000278184
1348 10 Days Late                                         Third Eye Blind                                          Elektra Entertainment Group Inc.   6113    SR0000278241
1349 1000 Julys                                           Third Eye Blind                                          Elektra Entertainment Group Inc.   6114    SR0000278241
1350 An Ode To Maybe                                      Third Eye Blind                                          Elektra Entertainment Group Inc.   6115    SR0000278241
1351 Anything                                             Third Eye Blind                                          Elektra Entertainment Group Inc.   6116    SR0000278241
1352 Camouflage                                           Third Eye Blind                                          Elektra Entertainment Group Inc.   6118    SR0000278241
1353 Darwin                                               Third Eye Blind                                          Elektra Entertainment Group Inc.   6119    SR0000278241
1354 Deep Inside Of You                                   Third Eye Blind                                          Elektra Entertainment Group Inc.   6120    SR0000278241
1355 Farther                                              Third Eye Blind                                          Elektra Entertainment Group Inc.   6121    SR0000278241
1356 Never Let You Go                                     Third Eye Blind                                          Elektra Entertainment Group Inc.   6132    SR0000278241
1357 Slow Motion (Instrumental)                           Third Eye Blind                                          Elektra Entertainment Group Inc.   6134    SR0000278241
1358 The Red Summer Sun                                   Third Eye Blind                                          Elektra Entertainment Group Inc.   6137    SR0000278241
1359 Wounded                                              Third Eye Blind                                          Elektra Entertainment Group Inc.   6138    SR0000278241
1360 Battlestar Scralatchtica                             Incubus                                                  Sony Music Entertainment           1713    SR0000278818
1361 Clean                                                Incubus                                                  Sony Music Entertainment           1716    SR0000278818
1362 Consequence                                          Incubus                                                  Sony Music Entertainment           1717    SR0000278818
1363 Drive                                                Incubus                                                  Sony Music Entertainment           1720    SR0000278818
1364 I Miss You                                           Incubus                                                  Sony Music Entertainment           1725    SR0000278818
1365 Make Yourself                                        Incubus                                                  Sony Music Entertainment           1730    SR0000278818
1366 Nowhere Fast                                         Incubus                                                  Sony Music Entertainment           1733    SR0000278818
1367 Out from Under                                       Incubus                                                  Sony Music Entertainment           1735    SR0000278818
1368 Privilege                                            Incubus                                                  Sony Music Entertainment           1738    SR0000278818
1369 Stellar                                              Incubus                                                  Sony Music Entertainment           1741    SR0000278818
1370 The Warmth                                           Incubus                                                  Sony Music Entertainment           1743    SR0000278818
1371 When It Comes                                        Incubus                                                  Sony Music Entertainment           1746    SR0000278818
1372 Between Angels And Insects                           Papa Roach                                               UMG Recordings, Inc.               5072    SR0000279777
1373 Blood Brothers                                       Papa Roach                                               UMG Recordings, Inc.               5073    SR0000279777
1374 Broken Home                                          Papa Roach                                               UMG Recordings, Inc.               5074    SR0000279777
1375 Last Resort                                          Papa Roach                                               UMG Recordings, Inc.               5080    SR0000279777
1376 I've Been Lovin' You Too Long                        Etta James                                               Arista Music                       211     SR0000279857
1377 If I Had Any Pride Left At All                       Etta James                                               Arista Music                       212     SR0000279857
1378 Most Girls                                           P!nk                                                     LaFace Records LLC                 608     SR0000279958
1379 There You Go                                         P!nk                                                     LaFace Records LLC                 611     SR0000279958
1380 Down With The Sickness                               Disturbed                                                Warner Bros. Records Inc.          6358    SR0000280324
1381 Droppin' Plates                                      Disturbed                                                Warner Bros. Records Inc.          6359    SR0000280324
1382 Fear                                                 Disturbed                                                Warner Bros. Records Inc.          6362    SR0000280324
1383 Meaning Of Life                                      Disturbed                                                Warner Bros. Records Inc.          6375    SR0000280324
1384 Shout 2000                                           Disturbed                                                Warner Bros. Records Inc.          6388    SR0000280324
1385 Stupify                                              Disturbed                                                Warner Bros. Records Inc.          6392    SR0000280324
1386 The Game                                             Disturbed                                                Warner Bros. Records Inc.          6395    SR0000280324
1387 Violence Fetish                                      Disturbed                                                Warner Bros. Records Inc.          6400    SR0000280324
1388 Voices                                               Disturbed                                                Warner Bros. Records Inc.          6401    SR0000280324
1389 Want                                                 Disturbed                                                Warner Bros. Records Inc.          6402    SR0000280324
1390 Bye                                                  Elliott Smith                                            UMG Recordings, Inc.               3977    SR0000280584
1391 Can't Make A Sound                                   Elliott Smith                                            UMG Recordings, Inc.               3978    SR0000280584
1392 Colorbars                                            Elliott Smith                                            UMG Recordings, Inc.               3979    SR0000280584
1393 Easy Way Out                                         Elliott Smith                                            UMG Recordings, Inc.               3980    SR0000280584
1394 Everything Reminds Me Of Her                         Elliott Smith                                            UMG Recordings, Inc.               3982    SR0000280584
1395 I Better Be Quiet Now                                Elliott Smith                                            UMG Recordings, Inc.               3983    SR0000280584
1396 In The Lost And Found (Honky Bach)/The Roost         Elliott Smith                                            UMG Recordings, Inc.               3985    SR0000280584
1397 Junk Bond Trader                                     Elliott Smith                                            UMG Recordings, Inc.               3987    SR0000280584
1398 Pretty Mary K                                        Elliott Smith                                            UMG Recordings, Inc.               3990    SR0000280584
1399 Somebody That I Used To Know                         Elliott Smith                                            UMG Recordings, Inc.               3991    SR0000280584
1400 Stupidity Tries                                      Elliott Smith                                            UMG Recordings, Inc.               3992    SR0000280584
1401 Wouldn't Mama Be Proud?                              Elliott Smith                                            UMG Recordings, Inc.               3996    SR0000280584
1402 After I Fall                                         Lee Ann Womack                                           UMG Recordings, Inc.               4784    SR0000281198


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1403 Ashes By Now                                       Lee Ann Womack                                           UMG Recordings, Inc.        4785    SR0000281198
1404 Does My Ring Burn Your Finger                      Lee Ann Womack                                           UMG Recordings, Inc.        4786    SR0000281198
1405 I Feel Like I'm Forgetting Something               Lee Ann Womack                                           UMG Recordings, Inc.        4787    SR0000281198
1406 Lonely Too                                         Lee Ann Womack                                           UMG Recordings, Inc.        4790    SR0000281198
1407 Lord I Hope This Day Is Good                       Lee Ann Womack                                           UMG Recordings, Inc.        4791    SR0000281198
1408 Stronger Than I Am                                 Lee Ann Womack                                           UMG Recordings, Inc.        4792    SR0000281198
1409 Thinkin' With My Heart Again                       Lee Ann Womack                                           UMG Recordings, Inc.        4794    SR0000281198
1410 Why They Call It Falling                           Lee Ann Womack                                           UMG Recordings, Inc.        4795    SR0000281198
1411 Destiny                                            Avant                                                    UMG Recordings, Inc.        3651    SR0000281220
1412 Get Away                                           Avant                                                    UMG Recordings, Inc.        3659    SR0000281220
1413 Happy                                              Avant                                                    UMG Recordings, Inc.        3662    SR0000281220
1414 I Wanna Know                                       Avant                                                    UMG Recordings, Inc.        3666    SR0000281220
1415 Let's Make a Deal                                  Avant                                                    UMG Recordings, Inc.        3669    SR0000281220
1416 My First Love                                      Avant                                                    UMG Recordings, Inc.        3674    SR0000281220
1417 Ooh Aah                                            Avant                                                    UMG Recordings, Inc.        3678    SR0000281220
1418 Reaction                                           Avant                                                    UMG Recordings, Inc.        3681    SR0000281220
1419 Separated                                          Avant                                                    UMG Recordings, Inc.        3685    SR0000281220
1420 Serious                                            Avant                                                    UMG Recordings, Inc.        3686    SR0000281220
1421 This Time                                          Avant                                                    UMG Recordings, Inc.        3693    SR0000281220
1422 Why                                                Avant                                                    UMG Recordings, Inc.        3696    SR0000281220
1423 I Hope You Dance                                   Lee Ann Womack                                           UMG Recordings, Inc.        4788    SR0000281261
1424 I Know Why The River Runs                          Lee Ann Womack                                           UMG Recordings, Inc.        4789    SR0000281261
1425 The Healing Kind                                   Lee Ann Womack                                           UMG Recordings, Inc.        4793    SR0000281261
1426 Change (In The House Of Flies)                     Deftones                                                 Warner Bros. Records Inc.   6301    SR0000284862
1427 Digital Bath                                       Deftones                                                 Warner Bros. Records Inc.   6306    SR0000284862
1428 Knife Prty                                         Deftones                                                 Warner Bros. Records Inc.   6316    SR0000284862
1429 Passenger                                          Deftones                                                 Warner Bros. Records Inc.   6328    SR0000284862
1430 Pink Maggit                                        Deftones                                                 Warner Bros. Records Inc.   6329    SR0000284862
1431 Rx Queen                                           Deftones                                                 Warner Bros. Records Inc.   6334    SR0000284862
1432 Ain't It The Life                                  Foo Fighters                                             Sony Music Entertainment    1467    SR0000285034
1433 Aurora                                             Foo Fighters                                             Sony Music Entertainment    1470    SR0000285034
1434 Breakout                                           Foo Fighters                                             Sony Music Entertainment    1473    SR0000285034
1435 Generator                                          Foo Fighters                                             Sony Music Entertainment    1488    SR0000285034
1436 Gimme Stitches                                     Foo Fighters                                             Sony Music Entertainment    1489    SR0000285034
1437 Headwires                                          Foo Fighters                                             Sony Music Entertainment    1490    SR0000285034
1438 Learn To Fly                                       Foo Fighters                                             Sony Music Entertainment    1495    SR0000285034
1439 Live-In Skin                                       Foo Fighters                                             Sony Music Entertainment    1497    SR0000285034
1440 M.I.A.                                             Foo Fighters                                             Sony Music Entertainment    1499    SR0000285034
1441 Next Year                                          Foo Fighters                                             Sony Music Entertainment    1507    SR0000285034
1442 Stacked Actors                                     Foo Fighters                                             Sony Music Entertainment    1516    SR0000285034
1443 Don't Let Me Be The Last One To Know               Britney Spears                                           Zomba Recording LLC         3100    SR0000285667
1444 Lucky                                              Britney Spears                                           Zomba Recording LLC         3107    SR0000285667
1445 #34                                                Dave Matthews Band                                       Arista Music                138     SR0000285688
1446 Ants Marching                                      Dave Matthews Band                                       Arista Music                142     SR0000285688
1447 Dancing Nancies                                    Dave Matthews Band                                       Arista Music                150     SR0000285688
1448 Jimi Thing                                         Dave Matthews Band                                       Arista Music                165     SR0000285688
1449 Lover Lay Down                                     Dave Matthews Band                                       Arista Music                170     SR0000285688
1450 Pay for What You Get                               Dave Matthews Band                                       Arista Music                175     SR0000285688
1451 Rhyme & Reason                                     Dave Matthews Band                                       Arista Music                180     SR0000285688
1452 Satellite                                          Dave Matthews Band                                       Arista Music                181     SR0000285688
1453 The Best of What's Around                          Dave Matthews Band                                       Arista Music                192     SR0000285688
1454 Typical Situation                                  Dave Matthews Band                                       Arista Music                200     SR0000285688
1455 Warehouse                                          Dave Matthews Band                                       Arista Music                201     SR0000285688
1456 What Would You Say                                 Dave Matthews Band                                       Arista Music                202     SR0000285688
1457 Blood, Sex And Booze                               Green Day                                                Warner Bros. Records Inc.   6481    SR0000288352
1458 Church On Sunday                                   Green Day                                                Warner Bros. Records Inc.   6486    SR0000288352
1459 Fashion Victim                                     Green Day                                                Warner Bros. Records Inc.   6490    SR0000288352
1460 Minority                                           Green Day                                                Warner Bros. Records Inc.   6501    SR0000288352
1461 Waiting                                            Green Day                                                Warner Bros. Records Inc.   6512    SR0000288352
1462 Warning                                            Green Day                                                Warner Bros. Records Inc.   6516    SR0000288352
1463 A Place For My Head                                Linkin Park                                              Warner Bros. Records Inc.   6545    SR0000288402
1464 By Myself                                          Linkin Park                                              Warner Bros. Records Inc.   6547    SR0000288402
1465 Cure For The Itch                                  Linkin Park                                              Warner Bros. Records Inc.   6551    SR0000288402
1466 Forgotten                                          Linkin Park                                              Warner Bros. Records Inc.   6557    SR0000288402
1467 Papercut                                           Linkin Park                                              Warner Bros. Records Inc.   6574    SR0000288402
1468 Points Of Authority                                Linkin Park                                              Warner Bros. Records Inc.   6575    SR0000288402
1469 Runaway                                            Linkin Park                                              Warner Bros. Records Inc.   6581    SR0000288402
1470 With You                                           Linkin Park                                              Warner Bros. Records Inc.   6590    SR0000288402
1471 Breathing                                          Lifehouse                                                UMG Recordings, Inc.        4800    SR0000289389
1472 Cling And Clatter                                  Lifehouse                                                UMG Recordings, Inc.        4804    SR0000289389
1473 Only One                                           Lifehouse                                                UMG Recordings, Inc.        4818    SR0000289389
1474 Quasimodo                                          Lifehouse                                                UMG Recordings, Inc.        4820    SR0000289389
1475 Sick Cycle Carousel                                Lifehouse                                                UMG Recordings, Inc.        4821    SR0000289389
1476 Simon                                              Lifehouse                                                UMG Recordings, Inc.        4822    SR0000289389
1477 Someone Else's Song                                Lifehouse                                                UMG Recordings, Inc.        4824    SR0000289389
1478 Somewhere In Between                               Lifehouse                                                UMG Recordings, Inc.        4825    SR0000289389
1479 Trying                                             Lifehouse                                                UMG Recordings, Inc.        4833    SR0000289389
1480 Unknown                                            Lifehouse                                                UMG Recordings, Inc.        4835    SR0000289389
1481 More Than That                                     Backstreet Boys                                          Zomba Recording LLC         3072    SR0000289455


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1482 Shape Of My Heart                                        Backstreet Boys                                          Zomba Recording LLC         3074    SR0000289455
1483 The Call                                                 Backstreet Boys                                          Zomba Recording LLC         3076    SR0000289455
1484 (Da Le) Yaleo                                            Santana                                                  Arista Records LLC          499     SR0000289833
1485 Africa Bamba                                             Santana                                                  Arista Records LLC          500     SR0000289833
1486 Corazon Espinado                                         Santana                                                  Arista Records LLC          501     SR0000289833
1487 El Farol                                                 Santana                                                  Arista Records LLC          502     SR0000289833
1488 Maria Maria                                              Santana                                                  Arista Records LLC          503     SR0000289833
1489 Migra                                                    Santana                                                  Arista Records LLC          504     SR0000289833
1490 Primavera                                                Santana                                                  Arista Records LLC          505     SR0000289833
1491 Put Your Lights On                                       Santana                                                  Arista Records LLC          506     SR0000289833
1492 Smooth                                                   Santana                                                  Arista Records LLC          507     SR0000289833
1493 Love Of My Life                                          Santana feat. Dave Matthews & Carter Beauford            Arista Records LLC          508     SR0000289833
1494 Wishing It Was                                           Santana featuring Eagle- Eye Cherry                      Arista Records LLC          509     SR0000289833
1495 Do You Like The Way                                      Santana featuring Lauryn Hill & Cee-Lo                   Arista Records LLC          510     SR0000289833
1496 Desafinado                                               Kenny G                                                  Arista Records LLC          435     SR0000289898
1497 Round Midnight                                           Kenny G                                                  Arista Records LLC          442     SR0000289898
1498 The Look Of Love                                         Kenny G                                                  Arista Records LLC          448     SR0000289898
1499 Carole Of The Bones (Explicit)                           L-Burna aka Layzie Bone                                  Sony Music Entertainment    2056    SR0000291785
     Still The Greatest featuring Flesh- n-Bone & Big Chan    L-Burna aka Layzie Bone                                  Sony Music Entertainment            SR0000291785
1500 (Explicit)                                                                                                                                    2057
1501 Career Opportunities                                     The Clash                                                Sony Music Entertainment    2824    SR0000293426
1502 Complete Control                                         The Clash                                                Sony Music Entertainment    2827    SR0000293426
1503 Train In Vain                                            The Clash                                                Sony Music Entertainment    2860    SR0000293426
1504 Little Man                                               Alan Jackson                                             Arista Records LLC          395     SR0000295185
1505 Right On the Money                                       Alan Jackson                                             Arista Records LLC          399     SR0000295185
1506 Doll                                                     Foo Fighters                                             Sony Music Entertainment    1480    SR0000297253
1507 Enough Space                                             Foo Fighters                                             Sony Music Entertainment    1482    SR0000297253
1508 Everlong                                                 Foo Fighters                                             Sony Music Entertainment    1484    SR0000297253
1509 February Stars                                           Foo Fighters                                             Sony Music Entertainment    1485    SR0000297253
1510 Hey, Johnny Park!                                        Foo Fighters                                             Sony Music Entertainment    1492    SR0000297253
1511 Monkey Wrench                                            Foo Fighters                                             Sony Music Entertainment    1502    SR0000297253
1512 My Hero                                                  Foo Fighters                                             Sony Music Entertainment    1503    SR0000297253
1513 My Poor Brain                                            Foo Fighters                                             Sony Music Entertainment    1505    SR0000297253
1514 New Way Home                                             Foo Fighters                                             Sony Music Entertainment    1506    SR0000297253
1515 See You                                                  Foo Fighters                                             Sony Music Entertainment    1514    SR0000297253
1516 Up In Arms                                               Foo Fighters                                             Sony Music Entertainment    1524    SR0000297253
1517 Walking After You                                        Foo Fighters                                             Sony Music Entertainment    1526    SR0000297253
1518 Wind Up                                                  Foo Fighters                                             Sony Music Entertainment    1529    SR0000297253
1519 I'd Rather                                               Luther Vandross                                          Arista Music                314     SR0000298047
1520 Take You Out                                             Luther Vandross                                          Arista Music                315     SR0000298047
1521 Get It Back                                              Whitney Houston                                          Arista Records LLC          547     SR0000298453
1522 Heartbreak Hotel                                         Whitney Houston                                          Arista Records LLC          549     SR0000298453
1523 I Bow Out                                                Whitney Houston                                          Arista Records LLC          551     SR0000298453
1524 I Learned From The Best                                  Whitney Houston                                          Arista Records LLC          553     SR0000298453
1525 I Was Made To Love Him                                   Whitney Houston                                          Arista Records LLC          555     SR0000298453
1526 If I Told You That                                       Whitney Houston                                          Arista Records LLC          559     SR0000298453
1527 In My Business                                           Whitney Houston                                          Arista Records LLC          560     SR0000298453
1528 It's Not Right But It's Okay                             Whitney Houston                                          Arista Records LLC          561     SR0000298453
1529 My Love Is Your Love                                     Whitney Houston                                          Arista Records LLC          562     SR0000298453
1530 Oh Yes                                                   Whitney Houston                                          Arista Records LLC          563     SR0000298453
1531 Until You Come Back                                      Whitney Houston                                          Arista Records LLC          568     SR0000298453
1532 When You Believe                                         Whitney Houston                                          Arista Records LLC          569     SR0000298453
1533 You'll Never Stand Alone                                 Whitney Houston                                          Arista Records LLC          571     SR0000298453
1534 A Thousand Words                                         Savage Garden                                            Sony Music Entertainment    2678    SR0000299097
1535 Carry On Dancing                                         Savage Garden                                            Sony Music Entertainment    2680    SR0000299097
1536 Promises                                                 Savage Garden                                            Sony Music Entertainment    2683    SR0000299097
1537 Tears Of Pearls                                          Savage Garden                                            Sony Music Entertainment    2684    SR0000299097
1538 Universe                                                 Savage Garden                                            Sony Music Entertainment    2686    SR0000299097
1539 Violet                                                   Savage Garden                                            Sony Music Entertainment    2687    SR0000299097
1540 Butterflyz                                               Alicia Keys                                              Arista Music                8       SR0000299410
1541 Caged Bird                                               Alicia Keys                                              Arista Music                9       SR0000299410
1542 Girlfriend                                               Alicia Keys                                              Arista Music                15      SR0000299410
1543 Goodbye                                                  Alicia Keys                                              Arista Music                17      SR0000299410
1544 Jane Doe                                                 Alicia Keys                                              Arista Music                25      SR0000299410
1545 Lovin U                                                  Alicia Keys                                              Arista Music                29      SR0000299410
1546 Never Felt This Way                                      Alicia Keys                                              Arista Music                30      SR0000299410
1547 Piano & I                                                Alicia Keys                                              Arista Music                33      SR0000299410
1548 Rock Wit U                                               Alicia Keys                                              Arista Music                35      SR0000299410
1549 The Life                                                 Alicia Keys                                              Arista Music                44      SR0000299410
1550 Troubles                                                 Alicia Keys                                              Arista Music                46      SR0000299410
1551 Why Do I Feel So Sad                                     Alicia Keys                                              Arista Music                52      SR0000299410
1552 Mr. Man                                                  Alicia Keys;Jimmy Cozier                                 Arista Music                57      SR0000299410
1553 Angel                                                    Dave Matthews Band                                       Arista Music                141     SR0000300313
1554 Dreams of Our Fathers                                    Dave Matthews Band                                       Arista Music                154     SR0000300313
1555 Everyday                                                 Dave Matthews Band                                       Arista Music                157     SR0000300313
1556 Fool to Think                                            Dave Matthews Band                                       Arista Music                158     SR0000300313
1557 I Did It                                                 Dave Matthews Band                                       Arista Music                163     SR0000300313
1558 If I Had It All                                          Dave Matthews Band                                       Arista Music                164     SR0000300313
1559 Mother Father                                            Dave Matthews Band                                       Arista Music                171     SR0000300313


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                               Track                                             Artist                                           Plaintiff         PX-01 #    Reg. No.
1560 Sleep to Dream Her                                   Dave Matthews Band                                       Arista Music                     183     SR0000300313
1561 So Right                                             Dave Matthews Band                                       Arista Music                     186     SR0000300313
1562 The Space Between                                    Dave Matthews Band                                       Arista Music                     195     SR0000300313
1563 What You Are                                         Dave Matthews Band                                       Arista Music                     203     SR0000300313
1564 When The World Ends                                  Dave Matthews Band                                       Arista Music                     204     SR0000300313
1565 Breakerfall                                          Pearl Jam                                                Sony Music Entertainment         2490    SR0000300972
1566 Evacuation                                           Pearl Jam                                                Sony Music Entertainment         2497    SR0000300972
1567 Gods' Dice                                           Pearl Jam                                                Sony Music Entertainment         2503    SR0000300972
1568 Grievance                                            Pearl Jam                                                Sony Music Entertainment         2506    SR0000300972
1569 Insignificance                                       Pearl Jam                                                Sony Music Entertainment         2513    SR0000300972
1570 Of The Girl                                          Pearl Jam                                                Sony Music Entertainment         2525    SR0000300972
1571 Parting Ways                                         Pearl Jam                                                Sony Music Entertainment         2527    SR0000300972
1572 Rival                                                Pearl Jam                                                Sony Music Entertainment         2537    SR0000300972
1573 Sleight Of Hand                                      Pearl Jam                                                Sony Music Entertainment         2540    SR0000300972
1574 Soon Forget                                          Pearl Jam                                                Sony Music Entertainment         2543    SR0000300972
1575 Thin Air                                             Pearl Jam                                                Sony Music Entertainment         2545    SR0000300972
1576 (sic)                                                Slipknot                                                 Roadrunner Records, Inc.         6188    SR0000301094
1577 742617000027                                         Slipknot                                                 Roadrunner Records, Inc.         6189    SR0000301094
1578 Eyeless                                              Slipknot                                                 Roadrunner Records, Inc.         6198    SR0000301094
1579 Spit It Out                                          Slipknot                                                 Roadrunner Records, Inc.         6208    SR0000301094
1580 Surfacing                                            Slipknot                                                 Roadrunner Records, Inc.         6210    SR0000301094
1581 Wait And Bleed                                       Slipknot                                                 Roadrunner Records, Inc.         6220    SR0000301094
1582 Basement                                             Puddle Of Mudd                                           UMG Recordings, Inc.             5104    SR0000301465
1583 Bring Me Down                                        Puddle Of Mudd                                           UMG Recordings, Inc.             5106    SR0000301465
1584 Drift And Die                                        Puddle Of Mudd                                           UMG Recordings, Inc.             5109    SR0000301465
1585 Never Change                                         Puddle Of Mudd                                           UMG Recordings, Inc.             5116    SR0000301465
1586 Nobody Told Me                                       Puddle Of Mudd                                           UMG Recordings, Inc.             5117    SR0000301465
1587 Out Of My Head                                       Puddle Of Mudd                                           UMG Recordings, Inc.             5119    SR0000301465
1588 Piss It All Away                                     Puddle Of Mudd                                           UMG Recordings, Inc.             5120    SR0000301465
1589 Said                                                 Puddle Of Mudd                                           UMG Recordings, Inc.             5122    SR0000301465
1590 I Love Rock 'N' Roll                                 Britney Spears                                           Zomba Recording LLC              3101    SR0000301907
1591 I'm a Slave 4 U                                      Britney Spears                                           Zomba Recording LLC              3102    SR0000301907
1592 I'm Not a Girl, Not Yet A Woman                      Britney Spears                                           Zomba Recording LLC              3103    SR0000301907
1593 Overprotected                                        Britney Spears                                           Zomba Recording LLC              3113    SR0000301907
1594 Boys                                                 Britney Spears feat. Pharrell Williams                   Zomba Recording LLC              3122    SR0000301907
1595 Blowin' Up Your Speakers                             Macy Gray                                                Sony Music Entertainment         2136    SR0000302804
1596 Boo                                                  Macy Gray                                                Sony Music Entertainment         2137    SR0000302804
1597 Forgiveness                                          Macy Gray                                                Sony Music Entertainment         2142    SR0000302804
1598 Freak Like Me                                        Macy Gray                                                Sony Music Entertainment         2143    SR0000302804
1599 Gimme All Your Lovin' or I Will Kill You             Macy Gray                                                Sony Music Entertainment         2144    SR0000302804
1600 Harry                                                Macy Gray                                                Sony Music Entertainment         2146    SR0000302804
1601 Hey Young World, Pt. 2 (featuring Slick Rick)        Macy Gray                                                Sony Music Entertainment         2147    SR0000302804
1602 Oblivion                                             Macy Gray                                                Sony Music Entertainment         2153    SR0000302804
1603 Relating To A Psychopath                             Macy Gray                                                Sony Music Entertainment         2154    SR0000302804
1604 Sexual Revolution                                    Macy Gray                                                Sony Music Entertainment         2157    SR0000302804
1605 Don't Come Around (featuring Sunshine Anderson)      Macy Gray                                                Sony Music Entertainment         2166    SR0000302804
     My Nutmeg Phantasy (featuring Angie Stone & Mos      Macy Gray                                                Sony Music Entertainment                 SR0000302804
1606 Def)                                                                                                                                           2167
1607 This Is The Day                                      The Cranberries                                          UMG Recordings, Inc.             5332    SR0000303013
1608 Time Is Ticking Out                                  The Cranberries                                          UMG Recordings, Inc.             5333    SR0000303013
1609 Dreamer                                              Ozzy Osbourne                                            Sony Music Entertainment         2431    SR0000303331
1610 Gets Me Through                                      Ozzy Osbourne                                            Sony Music Entertainment         2432    SR0000303331
1611 No Easy Way Out                                      Ozzy Osbourne                                            Sony Music Entertainment         2444    SR0000303331
1612 It Must Be Love                                      Alan Jackson                                             Arista Records LLC               393     SR0000303828
1613 Pop A Top                                            Alan Jackson                                             Arista Records LLC               398     SR0000303828
1614 3x5                                                  John Mayer                                               Sony Music Entertainment         1854    SR0000305049
1615 83                                                   John Mayer                                               Sony Music Entertainment         1855    SR0000305049
1616 Back to You                                          John Mayer                                               Sony Music Entertainment         1856    SR0000305049
1617 City Love                                            John Mayer                                               Sony Music Entertainment         1859    SR0000305049
1618 Great Indoors                                        John Mayer                                               Sony Music Entertainment         1867    SR0000305049
1619 Love Song For No One                                 John Mayer                                               Sony Music Entertainment         1873    SR0000305049
1620 My Stupid Mouth                                      John Mayer                                               Sony Music Entertainment         1874    SR0000305049
1621 Neon                                                 John Mayer                                               Sony Music Entertainment         1875    SR0000305049
1622 No Such Thing                                        John Mayer                                               Sony Music Entertainment         1876    SR0000305049
1623 Not Myself                                           John Mayer                                               Sony Music Entertainment         1877    SR0000305049
1624 St. Patrick's Day                                    John Mayer                                               Sony Music Entertainment         1880    SR0000305049
1625 Why Georgia                                          John Mayer                                               Sony Music Entertainment         1887    SR0000305049
1626 Your Body Is A Wonderland                            John Mayer                                               Sony Music Entertainment         1888    SR0000305049
1627 Angry                                                Matchbox Twenty                                          Atlantic Recording Corporation   5723    SR0000305708
1628 Bed Of Lies                                          Matchbox Twenty                                          Atlantic Recording Corporation   5726    SR0000305708
1629 Black & White People                                 Matchbox Twenty                                          Atlantic Recording Corporation   5728    SR0000305708
1630 Crutch                                               Matchbox Twenty                                          Atlantic Recording Corporation   5733    SR0000305708
1631 If You're Gone                                       Matchbox Twenty                                          Atlantic Recording Corporation   5749    SR0000305708
1632 Last Beautiful Girl                                  Matchbox Twenty                                          Atlantic Recording Corporation   5751    SR0000305708
1633 Leave                                                Matchbox Twenty                                          Atlantic Recording Corporation   5752    SR0000305708
1634 Rest Stop                                            Matchbox Twenty                                          Atlantic Recording Corporation   5763    SR0000305708
1635 Stop                                                 Matchbox Twenty                                          Atlantic Recording Corporation   5767    SR0000305708
1636 The Burn                                             Matchbox Twenty                                          Atlantic Recording Corporation   5768    SR0000305708
1637 You Won't Be Mine                                    Matchbox Twenty                                          Atlantic Recording Corporation   5772    SR0000305708


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                                 Track                                          Artist                                             Plaintiff       PX-01 #    Reg. No.
1638 Aqueous Transmission                                Incubus                                                  Sony Music Entertainment         1711    SR0000306181
1639 Are You In?                                         Incubus                                                  Sony Music Entertainment         1712    SR0000306181
1640 Blood on the Ground                                 Incubus                                                  Sony Music Entertainment         1714    SR0000306181
1641 Circles                                             Incubus                                                  Sony Music Entertainment         1715    SR0000306181
1642 Echo                                                Incubus                                                  Sony Music Entertainment         1723    SR0000306181
1643 Have You Ever                                       Incubus                                                  Sony Music Entertainment         1724    SR0000306181
1644 Just a Phase                                        Incubus                                                  Sony Music Entertainment         1726    SR0000306181
1645 Mexico                                              Incubus                                                  Sony Music Entertainment         1731    SR0000306181
1646 Nice To Know You                                    Incubus                                                  Sony Music Entertainment         1732    SR0000306181
1647 Under My Umbrella                                   Incubus                                                  Sony Music Entertainment         1744    SR0000306181
1648 Warning                                             Incubus                                                  Sony Music Entertainment         1745    SR0000306181
1649 1.19                                                Lacuna Coil                                              Sony Music Entertainment         2058    SR0000306486
1650 A Current Obsession                                 Lacuna Coil                                              Sony Music Entertainment         2059    SR0000306486
1651 Cold Heritage                                       Lacuna Coil                                              Sony Music Entertainment         2062    SR0000306486
1652 Distant Sun                                         Lacuna Coil                                              Sony Music Entertainment         2064    SR0000306486
1653 Heir Of A Dying Day                                 Lacuna Coil                                              Sony Music Entertainment         2071    SR0000306486
1654 Purify                                              Lacuna Coil                                              Sony Music Entertainment         2085    SR0000306486
1655 To Live Is To Hide                                  Lacuna Coil                                              Sony Music Entertainment         2093    SR0000306486
1656 Wave Of Anguish                                     Lacuna Coil                                              Sony Music Entertainment         2099    SR0000306486
1657 When A Dead Man Walks                               Lacuna Coil                                              Sony Music Entertainment         2101    SR0000306486
1658 B.O.B. (Explicit)                                   OutKast                                                  LaFace Records LLC               581     SR0000306741
1659 Ms. Jackson                                         OutKast                                                  LaFace Records LLC               593     SR0000306741
1660 So Fresh, So Clean                                  OutKast                                                  LaFace Records LLC               595     SR0000306741
1661 Maria                                               Green Day                                                Warner Bros. Records Inc.        6500    SR0000306999
1662 Poprocks & Coke                                     Green Day                                                Warner Bros. Records Inc.        6503    SR0000306999
1663 Can U Help Me                                       Usher                                                    LaFace Records LLC               633     SR0000307207
1664 Hottest Thing                                       Usher                                                    LaFace Records LLC               637     SR0000307207
1665 How Do I Say                                        Usher                                                    LaFace Records LLC               638     SR0000307207
1666 I Can't Let U Go                                    Usher                                                    LaFace Records LLC               639     SR0000307207
1667 If I Want To                                        Usher                                                    LaFace Records LLC               641     SR0000307207
1668 Twork It Out                                        Usher                                                    LaFace Records LLC               655     SR0000307207
1669 U Don't Have to Call (Explicit)                     Usher                                                    LaFace Records LLC               656     SR0000307207
1670 U Got It Bad                                        Usher                                                    LaFace Records LLC               657     SR0000307207
1671 U Remind Me                                         Usher                                                    LaFace Records LLC               658     SR0000307207
1672 Without U                                           Usher                                                    LaFace Records LLC               661     SR0000307207
1673 Call On Me                                          Avant                                                    UMG Recordings, Inc.             3650    SR0000308368
1674 Jack & Jill                                         Avant                                                    UMG Recordings, Inc.             3668    SR0000308368
1675 Love School                                         Avant                                                    UMG Recordings, Inc.             3671    SR0000308368
1676 Makin' Good Love                                    Avant                                                    UMG Recordings, Inc.             3672    SR0000308368
1677 No Limit                                            Avant                                                    UMG Recordings, Inc.             3675    SR0000308368
1678 One Way Street                                      Avant                                                    UMG Recordings, Inc.             3677    SR0000308368
1679 Six In Da Morning                                   Avant                                                    UMG Recordings, Inc.             3687    SR0000308368
1680 Sorry                                               Avant                                                    UMG Recordings, Inc.             3689    SR0000308368
1681 Suicide                                             Avant                                                    UMG Recordings, Inc.             3690    SR0000308368
1682 Thinkin' About You                                  Avant                                                    UMG Recordings, Inc.             3691    SR0000308368
1683 What Do You Want                                    Avant                                                    UMG Recordings, Inc.             3695    SR0000308368
1684 You Ain't Right                                     Avant                                                    UMG Recordings, Inc.             3699    SR0000308368
1685 A New Day Has Come                                  Céline Dion                                              Sony Music Entertainment         1175    SR0000311366
1686 At Last                                             Céline Dion                                              Sony Music Entertainment         1178    SR0000311366
1687 Aún Existe Amor                                     Céline Dion                                              Sony Music Entertainment         1179    SR0000311366
1688 Goodbye's (The Saddest Word)                        Céline Dion                                              Sony Music Entertainment         1185    SR0000311366
1689 Have You Ever Been In Love                          Céline Dion                                              Sony Music Entertainment         1186    SR0000311366
1690 I Surrender                                         Céline Dion                                              Sony Music Entertainment         1188    SR0000311366
1691 I'm Alive                                           Céline Dion                                              Sony Music Entertainment         1190    SR0000311366
1692 Nature Boy                                          Céline Dion                                              Sony Music Entertainment         1199    SR0000311366
1693 Rain, Tax (It's Inevitable)                         Céline Dion                                              Sony Music Entertainment         1204    SR0000311366
1694 Right In Front Of You                               Céline Dion                                              Sony Music Entertainment         1205    SR0000311366
1695 Sorry For Love                                      Céline Dion                                              Sony Music Entertainment         1208    SR0000311366
1696 Ten Days                                            Céline Dion                                              Sony Music Entertainment         1210    SR0000311366
1697 The Greatest Reward                                 Céline Dion                                              Sony Music Entertainment         1213    SR0000311366
1698 When The Wrong One Loves You Right                  Céline Dion                                              Sony Music Entertainment         1220    SR0000311366
1699 I Want You to Need Me                               Céline Dion                                              Sony Music Entertainment         1189    SR0000311601
1700 If Walls Could Talk                                 Céline Dion                                              Sony Music Entertainment         1191    SR0000311601
1701 Live for the One I Love                             Céline Dion                                              Sony Music Entertainment         1194    SR0000311601
1702 That's The Way It Is                                Céline Dion                                              Sony Music Entertainment         1211    SR0000311601
1703 The First Time Ever I Saw Your Face                 Céline Dion                                              Sony Music Entertainment         1212    SR0000311601
1704 Then You Look At Me                                 Céline Dion                                              Sony Music Entertainment         1216    SR0000311601
1705 All The Way                                         Frank Sinatra & Celine Dion                              Sony Music Entertainment         1543    SR0000311601
1706 Drive (For Daddy Gene)                              Alan Jackson                                             Arista Music                     2       SR0000311615
1707 Where Were You (When the World Stopped Turning)     Alan Jackson                                             Arista Music                     4       SR0000311615
1708 Hey Hey What Can I Do?                              Hootie & The Blowfish                                    Atlantic Recording Corporation   5609    SR0000311807
1709 Use Me                                              Hootie & The Blowfish                                    Atlantic Recording Corporation   5623    SR0000311807
1710 Anything But Ordinary                               Avril Lavigne                                            Arista Records LLC               421     SR0000312786
1711 I'm with You                                        Avril Lavigne                                            Arista Records LLC               422     SR0000312786
1712 Losing Grip                                         Avril Lavigne                                            Arista Records LLC               423     SR0000312786
1713 Mobile                                              Avril Lavigne                                            Arista Records LLC               424     SR0000312786
1714 Naked                                               Avril Lavigne                                            Arista Records LLC               425     SR0000312786
1715 Nobody's Fool                                       Avril Lavigne                                            Arista Records LLC               426     SR0000312786
1716 Sk8er Boi                                           Avril Lavigne                                            Arista Records LLC               427     SR0000312786


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                              Track                                                Artist                                          Plaintiff   PX-01 #    Reg. No.
1717 Things I'll Never Say                                Avril Lavigne                                            Arista Records LLC          428     SR0000312786
1718 Tomorrow                                             Avril Lavigne                                            Arista Records LLC          429     SR0000312786
1719 Hell Yeah                                            Montgomery Gentry                                        Sony Music Entertainment    2344    SR0000314295
1720 My Town                                              Montgomery Gentry                                        Sony Music Entertainment    2346    SR0000314295
1721 Speed                                                Montgomery Gentry                                        Sony Music Entertainment    2349    SR0000314295
1722 Girls of Summer                                      Aerosmith                                                Sony Music Entertainment    721     SR0000314304
1723 Lay It Down                                          Aerosmith                                                Sony Music Entertainment    728     SR0000314304
1724 I Believe in Love                                    Dixie Chicks                                             Sony Music Entertainment    1369    SR0000314722
1725 Landslide                                            Dixie Chicks                                             Sony Music Entertainment    1371    SR0000314722
1726 Lil' Jack Slade                                      Dixie Chicks                                             Sony Music Entertainment    1373    SR0000314722
1727 Top of the World                                     Dixie Chicks                                             Sony Music Entertainment    1384    SR0000314722
1728 Travelin' Soldier                                    Dixie Chicks                                             Sony Music Entertainment    1385    SR0000314722
1729 Truth No. 2                                          Dixie Chicks                                             Sony Music Entertainment    1386    SR0000314722
1730 White Trash Wedding                                  Dixie Chicks                                             Sony Music Entertainment    1387    SR0000314722
1731 Desensitized                                         Green Day                                                Warner Bros. Records Inc.   6488    SR0000315909
1732 Scumbag                                              Green Day                                                Warner Bros. Records Inc.   6505    SR0000315909
1733 Suffocate                                            Green Day                                                Warner Bros. Records Inc.   6510    SR0000315909
1734 Back Into Hell                                       Meat Loaf                                                UMG Recordings, Inc.        4987    SR0000316425
1735 Everything Louder Than Everything Else               Meat Loaf                                                UMG Recordings, Inc.        4991    SR0000316425
1736 Good Girls Go To Heaven (Bad Girls Go Everywhere)    Meat Loaf                                                UMG Recordings, Inc.        4992    SR0000316425
1737 I'd Do Anything For Love (But I Won't Do That)       Meat Loaf                                                UMG Recordings, Inc.        4993    SR0000316425
1738 Life Is A Lemon And I Want My Money Back             Meat Loaf                                                UMG Recordings, Inc.        4997    SR0000316425
1739 Wasted Youth                                         Meat Loaf                                                UMG Recordings, Inc.        5002    SR0000316425
1740 1stp Klosr                                           Linkin Park                                              Warner Bros. Records Inc.   6544    SR0000316952
1741 By_Myslf                                             Linkin Park                                              Warner Bros. Records Inc.   6548    SR0000316952
1742 Enth E Nd                                            Linkin Park                                              Warner Bros. Records Inc.   6554    SR0000316952
1743 Frgt/10                                              Linkin Park                                              Warner Bros. Records Inc.   6558    SR0000316952
1744 H! Vltg3                                             Linkin Park                                              Warner Bros. Records Inc.   6559    SR0000316952
1745 Krwlng                                               Linkin Park                                              Warner Bros. Records Inc.   6566    SR0000316952
1746 Kyur4 Th Ich                                         Linkin Park                                              Warner Bros. Records Inc.   6567    SR0000316952
1747 My<Dsmbr                                             Linkin Park                                              Warner Bros. Records Inc.   6571    SR0000316952
1748 PPr:Kut                                              Linkin Park                                              Warner Bros. Records Inc.   6577    SR0000316952
1749 Pts.OF.Athrty                                        Linkin Park                                              Warner Bros. Records Inc.   6578    SR0000316952
1750 Rnw@y                                                Linkin Park                                              Warner Bros. Records Inc.   6579    SR0000316952
1751 Wth>You                                              Linkin Park                                              Warner Bros. Records Inc.   6591    SR0000316952
1752 X-Ecutioner Style                                    Linkin Park                                              Warner Bros. Records Inc.   6592    SR0000316952
1753 Awaken                                               Disturbed                                                Warner Bros. Records Inc.   6346    SR0000316958
1754 Believe                                              Disturbed                                                Warner Bros. Records Inc.   6347    SR0000316958
1755 Bound                                                Disturbed                                                Warner Bros. Records Inc.   6348    SR0000316958
1756 Breathe                                              Disturbed                                                Warner Bros. Records Inc.   6349    SR0000316958
1757 Devour                                               Disturbed                                                Warner Bros. Records Inc.   6356    SR0000316958
1758 Intoxication                                         Disturbed                                                Warner Bros. Records Inc.   6371    SR0000316958
1759 Liberate                                             Disturbed                                                Warner Bros. Records Inc.   6374    SR0000316958
1760 Mistress                                             Disturbed                                                Warner Bros. Records Inc.   6376    SR0000316958
1761 Prayer                                               Disturbed                                                Warner Bros. Records Inc.   6383    SR0000316958
1762 Remember                                             Disturbed                                                Warner Bros. Records Inc.   6384    SR0000316958
1763 Rise                                                 Disturbed                                                Warner Bros. Records Inc.   6385    SR0000316958
1764 He Said                                              Mary Mary                                                Sony Music Entertainment    2198    SR0000317087
1765 Little Girl                                          Mary Mary                                                Sony Music Entertainment    2200    SR0000317087
1766 Ain't No Stoppin' Us Now                             Luther Vandross                                          Sony Music Entertainment    2121    SR0000317135
1767 Always And Forever                                   Luther Vandross                                          Sony Music Entertainment    2122    SR0000317135
1768 Killing Me Softly                                    Luther Vandross                                          Sony Music Entertainment    2127    SR0000317135
1769 What The World Needs Now                             Luther Vandross                                          Sony Music Entertainment    2134    SR0000317135
1770 Business                                             Eminem                                                   UMG Recordings, Inc.        4008    SR0000317924
1771 Business (Explicit)                                  Eminem                                                   UMG Recordings, Inc.        4009    SR0000317924
1772 Cleanin' Out My Closet                               Eminem                                                   UMG Recordings, Inc.        4011    SR0000317924
1773 Curtains Close (Skit)                                Eminem                                                   UMG Recordings, Inc.        4015    SR0000317924
1774 Drips                                                Eminem                                                   UMG Recordings, Inc.        4020    SR0000317924
1775 Hailie's Song                                        Eminem                                                   UMG Recordings, Inc.        4032    SR0000317924
1776 My Dad's Gone Crazy                                  Eminem                                                   UMG Recordings, Inc.        4050    SR0000317924
1777 Say Goodbye Hollywood                                Eminem                                                   UMG Recordings, Inc.        4072    SR0000317924
1778 Say What You Say                                     Eminem                                                   UMG Recordings, Inc.        4073    SR0000317924
1779 Sing For The Moment                                  Eminem                                                   UMG Recordings, Inc.        4076    SR0000317924
1780 Soldier                                              Eminem                                                   UMG Recordings, Inc.        4078    SR0000317924
1781 Square Dance                                         Eminem                                                   UMG Recordings, Inc.        4081    SR0000317924
1782 Superman                                             Eminem                                                   UMG Recordings, Inc.        4084    SR0000317924
1783 The Kiss (Skit)                                      Eminem                                                   UMG Recordings, Inc.        4088    SR0000317924
1784 Till I Collapse                                      Eminem                                                   UMG Recordings, Inc.        4093    SR0000317924
1785 When The Music Stops                                 Eminem                                                   UMG Recordings, Inc.        4100    SR0000317924
1786 White America                                        Eminem                                                   UMG Recordings, Inc.        4101    SR0000317924
1787 Without Me                                           Eminem                                                   UMG Recordings, Inc.        4102    SR0000317924
1788 She Loves Me Not                                     Papa Roach                                               UMG Recordings, Inc.        5085    SR0000318150
1789 Time And Time Again                                  Papa Roach                                               UMG Recordings, Inc.        5088    SR0000318150
1790 (And She Said) Take Me Now                           Justin Timberlake                                        Zomba Recording LLC         3156    SR0000319834
1791 (Oh No) What You Got                                 Justin Timberlake                                        Zomba Recording LLC         3158    SR0000319834
1792 Cry Me A River                                       Justin Timberlake                                        Zomba Recording LLC         3160    SR0000319834
1793 Last Night                                           Justin Timberlake                                        Zomba Recording LLC         3162    SR0000319834
1794 Let's Take A Ride                                    Justin Timberlake                                        Zomba Recording LLC         3163    SR0000319834
1795 Never Again                                          Justin Timberlake                                        Zomba Recording LLC         3169    SR0000319834


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1796 Nothin' Else                                    Justin Timberlake                                        Zomba Recording LLC         3170    SR0000319834
1797 Right For Me                                    Justin Timberlake                                        Zomba Recording LLC         3171    SR0000319834
1798 Rock Your Body                                  Justin Timberlake                                        Zomba Recording LLC         3172    SR0000319834
1799 Senorita                                        Justin Timberlake                                        Zomba Recording LLC         3173    SR0000319834
1800 Still On My Brain                               Justin Timberlake                                        Zomba Recording LLC         3175    SR0000319834
1801 Take It From Here                               Justin Timberlake                                        Zomba Recording LLC         3177    SR0000319834
1802 About A Girl                                    Nirvana                                                  UMG Recordings, Inc.        5038    SR0000320325
1803 Been A Son                                      Nirvana                                                  UMG Recordings, Inc.        5040    SR0000320325
1804 Sliver                                          Nirvana                                                  UMG Recordings, Inc.        5048    SR0000320325
1805 You Know You're Right                           Nirvana                                                  UMG Recordings, Inc.        5051    SR0000320325
1806 Baby You Belong                                 Faith Hill                                               Warner Bros. Records Inc.   6407    SR0000321377
1807 Back To You                                     Faith Hill                                               Warner Bros. Records Inc.   6408    SR0000321377
1808 Beautiful                                       Faith Hill                                               Warner Bros. Records Inc.   6409    SR0000321377
1809 Cry                                             Faith Hill                                               Warner Bros. Records Inc.   6415    SR0000321377
1810 I Think I Will                                  Faith Hill                                               Warner Bros. Records Inc.   6422    SR0000321377
1811 If This Is The End                              Faith Hill                                               Warner Bros. Records Inc.   6429    SR0000321377
1812 If You're Gonna Fly Away                        Faith Hill                                               Warner Bros. Records Inc.   6431    SR0000321377
1813 One                                             Faith Hill                                               Warner Bros. Records Inc.   6447    SR0000321377
1814 Stronger                                        Faith Hill                                               Warner Bros. Records Inc.   6452    SR0000321377
1815 This Is Me                                      Faith Hill                                               Warner Bros. Records Inc.   6461    SR0000321377
1816 Unsaveable                                      Faith Hill                                               Warner Bros. Records Inc.   6463    SR0000321377
1817 When The Lights Go Down                         Faith Hill                                               Warner Bros. Records Inc.   6466    SR0000321377
1818 You're Still Here                               Faith Hill                                               Warner Bros. Records Inc.   6473    SR0000321377
1819 Am I Ever Gonna Find Out                        Lifehouse                                                UMG Recordings, Inc.        4797    SR0000321812
1820 Anchor                                          Lifehouse                                                UMG Recordings, Inc.        4798    SR0000321812
1821 Empty Space                                     Lifehouse                                                UMG Recordings, Inc.        4808    SR0000321812
1822 Everything                                      Lifehouse                                                UMG Recordings, Inc.        4809    SR0000321812
1823 How Long                                        Lifehouse                                                UMG Recordings, Inc.        4811    SR0000321812
1824 Just Another Name                               Lifehouse                                                UMG Recordings, Inc.        4813    SR0000321812
1825 My Precious                                     Lifehouse                                                UMG Recordings, Inc.        4817    SR0000321812
1826 Out Of Breath                                   Lifehouse                                                UMG Recordings, Inc.        4819    SR0000321812
1827 Sky Is Falling                                  Lifehouse                                                UMG Recordings, Inc.        4823    SR0000321812
1828 Spin                                            Lifehouse                                                UMG Recordings, Inc.        4826    SR0000321812
1829 Stanley Climbfall                               Lifehouse                                                UMG Recordings, Inc.        4827    SR0000321812
1830 Take Me Away                                    Lifehouse                                                UMG Recordings, Inc.        4829    SR0000321812
1831 The Beginning                                   Lifehouse                                                UMG Recordings, Inc.        4830    SR0000321812
1832 Wash                                            Lifehouse                                                UMG Recordings, Inc.        4837    SR0000321812
1833 Bartender                                       Dave Matthews Band                                       Arista Music                143     SR0000321902
1834 Big Eyed Fish                                   Dave Matthews Band                                       Arista Music                144     SR0000321902
1835 Busted Stuff                                    Dave Matthews Band                                       Arista Music                145     SR0000321902
1836 Captain                                         Dave Matthews Band                                       Arista Music                146     SR0000321902
1837 Digging a Ditch                                 Dave Matthews Band                                       Arista Music                151     SR0000321902
1838 Grace Is Gone                                   Dave Matthews Band                                       Arista Music                159     SR0000321902
1839 Grey Street                                     Dave Matthews Band                                       Arista Music                160     SR0000321902
1840 Kit Kat Jam                                     Dave Matthews Band                                       Arista Music                166     SR0000321902
1841 Raven                                           Dave Matthews Band                                       Arista Music                179     SR0000321902
1842 Where Are You Going                             Dave Matthews Band                                       Arista Music                205     SR0000321902
1843 You Never Know                                  Dave Matthews Band                                       Arista Music                207     SR0000321902
1844 Blown It Again                                  Daniel Bedingfield                                       UMG Recordings, Inc.        3902    SR0000321977
1845 Friday                                          Daniel Bedingfield                                       UMG Recordings, Inc.        3903    SR0000321977
1846 Girlfriend                                      Daniel Bedingfield                                       UMG Recordings, Inc.        3904    SR0000321977
1847 He Don't Love You Like I Love You               Daniel Bedingfield                                       UMG Recordings, Inc.        3905    SR0000321977
1848 Honest Questions                                Daniel Bedingfield                                       UMG Recordings, Inc.        3906    SR0000321977
1849 Inflate My Ego                                  Daniel Bedingfield                                       UMG Recordings, Inc.        3907    SR0000321977
1850 James Dean (I Wanna Know)                       Daniel Bedingfield                                       UMG Recordings, Inc.        3908    SR0000321977
1851 Without The Girl                                Daniel Bedingfield                                       UMG Recordings, Inc.        3909    SR0000321977
1852 8 Mile                                          Eminem                                                   UMG Recordings, Inc.        4001    SR0000322706
1853 Lose Yourself                                   Eminem                                                   UMG Recordings, Inc.        4040    SR0000322706
1854 Rabbit Run                                      Eminem                                                   UMG Recordings, Inc.        4066    SR0000322706
1855 Adrenaline Rush (Explicit)                      Obie Trice                                               UMG Recordings, Inc.        5053    SR0000322706
1856 Rap Name (Explicit)                             Obie Trice                                               UMG Recordings, Inc.        5058    SR0000322706
1857 Never Call U B**** Again                        2Pac                                                     UMG Recordings, Inc.        3528    SR0000323532
1858 Still Ballin' (Explicit)                        2Pac                                                     UMG Recordings, Inc.        3532    SR0000323532
1859 They Don't Give A F**** About Us                2Pac                                                     UMG Recordings, Inc.        3534    SR0000323532
1860 Thugz Mansion (Explicit)                        2Pac                                                     UMG Recordings, Inc.        3535    SR0000323532
1861 Closure                                         Chevelle                                                 Sony Music Entertainment    1234    SR0000324184
1862 Comfortable Liar                                Chevelle                                                 Sony Music Entertainment    1235    SR0000324184
1863 Forfeit                                         Chevelle                                                 Sony Music Entertainment    1236    SR0000324184
1864 Send The Pain Below                             Chevelle                                                 Sony Music Entertainment    1240    SR0000324184
1865 1/2 Full                                        Pearl Jam                                                Sony Music Entertainment    2481    SR0000324204
1866 All or None                                     Pearl Jam                                                Sony Music Entertainment    2482    SR0000324204
1867 Arc                                             Pearl Jam                                                Sony Music Entertainment    2483    SR0000324204
1868 Bu$hleaguer                                     Pearl Jam                                                Sony Music Entertainment    2491    SR0000324204
1869 Can't Keep                                      Pearl Jam                                                Sony Music Entertainment    2493    SR0000324204
1870 Cropduster                                      Pearl Jam                                                Sony Music Entertainment    2495    SR0000324204
1871 Get Right                                       Pearl Jam                                                Sony Music Entertainment    2500    SR0000324204
1872 Ghost                                           Pearl Jam                                                Sony Music Entertainment    2501    SR0000324204
1873 Green Disease                                   Pearl Jam                                                Sony Music Entertainment    2505    SR0000324204
1874 Help Help                                       Pearl Jam                                                Sony Music Entertainment    2508    SR0000324204


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                              Track                                              Artist                                               Plaintiff        PX-01 #    Reg. No.
1875 Love Boat Captain                                        Pearl Jam                                               Sony Music Entertainment         2517    SR0000324204
1876 Save You                                                 Pearl Jam                                               Sony Music Entertainment         2539    SR0000324204
1877 Thumbing My Way                                          Pearl Jam                                               Sony Music Entertainment         2546    SR0000324204
1878 All My Life (Edit)                                       Foo Fighters                                            Sony Music Entertainment         1468    SR0000325862
1879 Danny Says                                               Foo Fighters                                            Sony Music Entertainment         1478    SR0000325862
1880 Funkin' Around                                           OutKast                                                 LaFace Records LLC               586     SR0000326671
1881 Movin' Cool (The After Party)                            OutKast                                                 LaFace Records LLC               592     SR0000326671
1882 18 Wheeler                                               P!nk                                                    Arista Records LLC               457     SR0000326672
1883 Dear Diary                                               P!nk                                                    Arista Records LLC               458     SR0000326672
1884 Don't Let Me Get Me                                      P!nk                                                    Arista Records LLC               459     SR0000326672
1885 Eventually                                               P!nk                                                    Arista Records LLC               460     SR0000326672
1886 Family Portrait                                          P!nk                                                    Arista Records LLC               461     SR0000326672
1887 Get The Party Started                                    P!nk                                                    Arista Records LLC               462     SR0000326672
1888 Gone to California                                       P!nk                                                    Arista Records LLC               464     SR0000326672
1889 Just Like A Pill                                         P!nk                                                    Arista Records LLC               465     SR0000326672
1890 Lonely Girl                                              P!nk                                                    Arista Records LLC               466     SR0000326672
1891 Misery                                                   P!nk                                                    Arista Records LLC               467     SR0000326672
1892 Missunaztood                                             P!nk                                                    Arista Records LLC               468     SR0000326672
1893 My Vietnam                                               P!nk                                                    Arista Records LLC               469     SR0000326672
1894 Numb                                                     P!nk                                                    Arista Records LLC               470     SR0000326672
1895 California Waiting                                       Kings Of Leon                                           Arista Music                     309     SR0000330401
1896 Holy Roller Novocaine                                    Kings Of Leon                                           Arista Music                     310     SR0000330401
1897 Molly's Chambers                                         Kings Of Leon                                           Arista Music                     311     SR0000330401
1898 Wasted Time                                              Kings Of Leon                                           Arista Music                     312     SR0000330401
1899 Wicker Chair                                             Kings Of Leon                                           Arista Music                     313     SR0000330401
1900 (515)                                                    Slipknot                                                Roadrunner Records, Inc.         6187    SR0000330440
1901 Disasterpiece                                            Slipknot                                                Roadrunner Records, Inc.         6195    SR0000330440
1902 Everything Ends                                          Slipknot                                                Roadrunner Records, Inc.         6197    SR0000330440
1903 Left Behind                                              Slipknot                                                Roadrunner Records, Inc.         6202    SR0000330440
1904 My Plague                                                Slipknot                                                Roadrunner Records, Inc.         6203    SR0000330440
1905 People = Shit                                            Slipknot                                                Roadrunner Records, Inc.         6204    SR0000330440
1906 The Heretic Anthem                                       Slipknot                                                Roadrunner Records, Inc.         6212    SR0000330440
1907 Good Times Gone                                          Nickelback                                              Roadrunner Records, Inc.         6177    SR0000330446
1908 Hangnail                                                 Nickelback                                              Roadrunner Records, Inc.         6178    SR0000330446
1909 Hollywood                                                Nickelback                                              Roadrunner Records, Inc.         6179    SR0000330446
1910 Just For                                                 Nickelback                                              Roadrunner Records, Inc.         6181    SR0000330446
1911 Money Bought                                             Nickelback                                              Roadrunner Records, Inc.         6182    SR0000330446
1912 Too Bad                                                  Nickelback                                              Roadrunner Records, Inc.         6183    SR0000330446
1913 Where Do I Hide                                          Nickelback                                              Roadrunner Records, Inc.         6184    SR0000330446
1914 Woke Up This Morning                                     Nickelback                                              Roadrunner Records, Inc.         6185    SR0000330446
1915 Bother                                                   Stone Sour                                              Roadrunner Records, Inc.         6222    SR0000330447
1916 Choose                                                   Stone Sour                                              Roadrunner Records, Inc.         6223    SR0000330447
1917 Get Inside                                               Stone Sour                                              Roadrunner Records, Inc.         6225    SR0000330447
1918 Inhale                                                   Stone Sour                                              Roadrunner Records, Inc.         6227    SR0000330447
1919 Orchids                                                  Stone Sour                                              Roadrunner Records, Inc.         6230    SR0000330447
1920 Take A Number                                            Stone Sour                                              Roadrunner Records, Inc.         6234    SR0000330447
1921 Tumult                                                   Stone Sour                                              Roadrunner Records, Inc.         6237    SR0000330447
1922 Get Up & Get It                                          Bone Thugs N Harmony,Felecia Lindsey,3LW                Sony Music Entertainment         887     SR0000330830
1923 Cleveland Is The City (Explicit)                         Bone Thugs-n-Harmony                                    Sony Music Entertainment         890     SR0000330830
1924 Home (Explicit)                                          Bone Thugs-N-Harmony                                    Sony Music Entertainment         898     SR0000330830
1925 Money, Money (Explicit)                                  Bone Thugs-N-Harmony                                    Sony Music Entertainment         902     SR0000330830
     A Complicated Song (Parody of "Complicated" by Avril     Weird Al Yankovic
                                                                                                                      Volcano Entertainment III, LLC   3020   SR0000331347
1926 Lavigne)
1927 Angry White Boy Polka                                    Weird Al Yankovic                                       Volcano Entertainment III, LLC   3024   SR0000331347
1928 Bob                                                      Weird Al Yankovic                                       Volcano Entertainment III, LLC   3026   SR0000331347
1929 Couch Potato (Parody of "Lose Yourself" by Eminem)       Weird Al Yankovic                                       Volcano Entertainment III, LLC   3030   SR0000331347
     Ebay (Parody of "I Want It That Way" by the Backstreet   Weird Al Yankovic                                       Volcano Entertainment III, LLC          SR0000331347
1930 Boys)                                                                                                                                             3031
1931 Genius In France                                         Weird Al Yankovic                                       Volcano Entertainment III, LLC   3034   SR0000331347
1932 Hardware Store                                           Weird Al Yankovic                                       Volcano Entertainment III, LLC   3036   SR0000331347
     Ode To A Superhero (Parody of "Piano Man" by Billy       Weird Al Yankovic                                       Volcano Entertainment III, LLC          SR0000331347
1933 Joel)                                                                                                                                             3043
1934 Party At The Leper Colony                                Weird Al Yankovic                                       Volcano Entertainment III, LLC   3044   SR0000331347
1935 Trash Day (Parody of "Hot In Herre" by Nelly)            Weird Al Yankovic                                       Volcano Entertainment III, LLC   3058   SR0000331347
1936 Wanna B Ur Lovr                                          Weird Al Yankovic                                       Volcano Entertainment III, LLC   3061   SR0000331347
1937 Why Does This Always Happen To Me?                       Weird Al Yankovic                                       Volcano Entertainment III, LLC   3062   SR0000331347
1938 Fall To Pieces                                           Avril Lavigne                                           Arista Music                     62     SR0000332312
1939 Forgotten                                                Avril Lavigne                                           Arista Music                     63     SR0000332312
1940 Freak Out                                                Avril Lavigne                                           Arista Music                     64     SR0000332312
1941 He Wasn't                                                Avril Lavigne                                           Arista Music                     65     SR0000332312
1942 How Does It Feel                                         Avril Lavigne                                           Arista Music                     67     SR0000332312
1943 I Always Get What I Want                                 Avril Lavigne                                           Arista Music                     68     SR0000332312
1944 My Happy Ending                                          Avril Lavigne                                           Arista Music                     73     SR0000332312
1945 Nobody's Home                                            Avril Lavigne                                           Arista Music                     74     SR0000332312
1946 Slipped Away                                             Avril Lavigne                                           Arista Music                     77     SR0000332312
1947 Who Knows                                                Avril Lavigne                                           Arista Music                     80     SR0000332312
1948 Black Tongue                                             Yeah Yeah Yeahs                                         UMG Recordings, Inc.             5410   SR0000332650
1949 Cold Light                                               Yeah Yeah Yeahs                                         UMG Recordings, Inc.             5411   SR0000332650
1950 Date With The Night                                      Yeah Yeah Yeahs                                         UMG Recordings, Inc.             5412   SR0000332650


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                                 Track                                          Artist                                              Plaintiff       PX-01 #    Reg. No.
1951 Man                                                  Yeah Yeah Yeahs                                          UMG Recordings, Inc.             5413    SR0000332650
1952 No No No                                             Yeah Yeah Yeahs                                          UMG Recordings, Inc.             5414    SR0000332650
1953 Rich                                                 Yeah Yeah Yeahs                                          UMG Recordings, Inc.             5415    SR0000332650
1954 Tick                                                 Yeah Yeah Yeahs                                          UMG Recordings, Inc.             5416    SR0000332650
1955 All I Want For Christmas Is A Real Good Tan          Kenny Chesney                                            Arista Music                     283     SR0000333554
1956 Christmas In Dixie                                   Kenny Chesney                                            Arista Music                     287     SR0000333554
1957 I'll Be Home For Christmas                           Kenny Chesney                                            Arista Music                     293     SR0000333554
1958 Jingle Bells                                         Kenny Chesney                                            Arista Music                     294     SR0000333554
1959 Just A Kid                                           Kenny Chesney                                            Arista Music                     295     SR0000333554
1960 O Little Town Of Bethlehem                           Kenny Chesney                                            Arista Music                     297     SR0000333554
1961 Pretty Paper                                         Kenny Chesney                                            Arista Music                     298     SR0000333554
1962 Silent Night                                         Kenny Chesney                                            Arista Music                     301     SR0000333554
1963 Silver Bells                                         Kenny Chesney                                            Arista Music                     302     SR0000333554
1964 Thank God For Kids                                   Kenny Chesney                                            Arista Music                     303     SR0000333554
1965 The Angel At The Top Of My Tree                      Kenny Chesney                                            Arista Music                     305     SR0000333554
1966 Cowboys Like Us                                      George Strait                                            UMG Recordings, Inc.             4234    SR0000333733
1967 Desperately                                          George Strait                                            UMG Recordings, Inc.             4235    SR0000333733
1968 Innocence                                            Hootie & The Blowfish                                    Atlantic Recording Corporation   5613    SR0000334892
1969 Space                                                Hootie & The Blowfish                                    Atlantic Recording Corporation   5620    SR0000334892
1970 Battle-axe                                           Deftones                                                 Warner Bros. Records Inc.        6296    SR0000335169
1971 Deathblow                                            Deftones                                                 Warner Bros. Records Inc.        6305    SR0000335169
1972 Hexagram                                             Deftones                                                 Warner Bros. Records Inc.        6314    SR0000335169
1973 Lucky You                                            Deftones                                                 Warner Bros. Records Inc.        6320    SR0000335169
1974 Minerva                                              Deftones                                                 Warner Bros. Records Inc.        6321    SR0000335169
1975 Moana                                                Deftones                                                 Warner Bros. Records Inc.        6323    SR0000335169
1976 When Girls Telephone Boys                            Deftones                                                 Warner Bros. Records Inc.        6343    SR0000335169
1977 All That I Need                                      Blind Melon                                              Capitol Records, LLC             3266    SR0000336269
1978 Glitch                                               Blind Melon                                              Capitol Records, LLC             3274    SR0000336269
1979 Hell                                                 Blind Melon                                              Capitol Records, LLC             3275    SR0000336269
1980 John Sinclair (Explicit)                             Blind Melon                                              Capitol Records, LLC             3278    SR0000336269
1981 Letters From A Porcupine                             Blind Melon                                              Capitol Records, LLC             3280    SR0000336269
1982 Life Ain't So Shitty (Explicit)                      Blind Melon                                              Capitol Records, LLC             3281    SR0000336269
1983 Pull                                                 Blind Melon                                              Capitol Records, LLC             3287    SR0000336269
1984 St. Andrew's Hall                                    Blind Melon                                              Capitol Records, LLC             3295    SR0000336269
1985 Swallowed                                            Blind Melon                                              Capitol Records, LLC             3296    SR0000336269
1986 The Pusher                                           Blind Melon                                              Capitol Records, LLC             3298    SR0000336269
1987 Come Together                                        Macy Gray                                                Sony Music Entertainment         2139    SR0000336638
1988 Every Now And Then                                   Macy Gray                                                Sony Music Entertainment         2141    SR0000336638
1989 Happiness                                            Macy Gray                                                Sony Music Entertainment         2145    SR0000336638
1990 Jesus For A Day                                      Macy Gray                                                Sony Music Entertainment         2151    SR0000336638
1991 My Fondest Childhood Memories                        Macy Gray                                                Sony Music Entertainment         2152    SR0000336638
1992 Screamin'                                            Macy Gray                                                Sony Music Entertainment         2155    SR0000336638
1993 She Don't Write Songs About You                      Macy Gray                                                Sony Music Entertainment         2158    SR0000336638
1994 Speechless                                           Macy Gray                                                Sony Music Entertainment         2159    SR0000336638
1995 Things That Made Me Change                           Macy Gray                                                Sony Music Entertainment         2163    SR0000336638
1996 Dee's Song (Live)                                    Maze                                                     Capitol Records, LLC             3454    SR0000337846
1997 Feel That You're Feelin' (Live)                      Maze                                                     Capitol Records, LLC             3456    SR0000337846
1998 I Wanna Thank You (Live)                             Maze                                                     Capitol Records, LLC             3458    SR0000337846
1999 I Want To Feel Wanted (Live)                         Maze                                                     Capitol Records, LLC             3459    SR0000337846
2000 Running Away (Live)                                  Maze                                                     Capitol Records, LLC             3466    SR0000337846
2001 We Are One (Live)                                    Maze                                                     Capitol Records, LLC             3467    SR0000337846
2002 You (Live)                                           Maze                                                     Capitol Records, LLC             3468    SR0000337846
2003 Back In Stride (Live)                                Maze Featuring Frankie Beverly                           Capitol Records, LLC             3470    SR0000337846
2004 Freedom (South Africa) (Live)                        Maze Featuring Frankie Beverly                           Capitol Records, LLC             3473    SR0000337846
     Too Many Games (Live) (24-Bit Remastered 02) (2003   Maze Featuring Frankie Beverly                           Capitol Records, LLC                     SR0000337846
2005 Digital Remaster)                                                                                                                              3480
2006 When You Love Someone (Live)                         Maze Featuring Frankie Beverly                           Capitol Records, LLC             3482    SR0000337846
2007 Born Like This                                       Three Days Grace                                         Zomba Recording LLC              3182    SR0000338429
2008 Burn                                                 Three Days Grace                                         Zomba Recording LLC              3183    SR0000338429
2009 Drown                                                Three Days Grace                                         Zomba Recording LLC              3184    SR0000338429
2010 I Hate Everything About You                          Three Days Grace                                         Zomba Recording LLC              3187    SR0000338429
2011 Just Like You                                        Three Days Grace                                         Zomba Recording LLC              3189    SR0000338429
2012 Let You Down                                         Three Days Grace                                         Zomba Recording LLC              3191    SR0000338429
2013 Now or Never                                         Three Days Grace                                         Zomba Recording LLC              3193    SR0000338429
2014 Overrated                                            Three Days Grace                                         Zomba Recording LLC              3197    SR0000338429
2015 Scared                                               Three Days Grace                                         Zomba Recording LLC              3199    SR0000338429
2016 Take Me Under                                        Three Days Grace                                         Zomba Recording LLC              3200    SR0000338429
2017 Wake Up                                              Three Days Grace                                         Zomba Recording LLC              3202    SR0000338429
2018 AV                                                   Avant                                                    UMG Recordings, Inc.             3649    SR0000339561
2019 Don't Take Your Love Away                            Avant                                                    UMG Recordings, Inc.             3654    SR0000339561
2020 Everything About You                                 Avant                                                    UMG Recordings, Inc.             3655    SR0000339561
2021 Feast                                                Avant                                                    UMG Recordings, Inc.             3657    SR0000339561
2022 Flickin'                                             Avant                                                    UMG Recordings, Inc.             3658    SR0000339561
2023 Have Some Fun                                        Avant                                                    UMG Recordings, Inc.             3663    SR0000339561
2024 Heaven                                               Avant                                                    UMG Recordings, Inc.             3664    SR0000339561
2025 Hooked                                               Avant                                                    UMG Recordings, Inc.             3665    SR0000339561
2026 Phone Sex (That's What's Up)                         Avant                                                    UMG Recordings, Inc.             3679    SR0000339561
2027 Private Room Intro                                   Avant                                                    UMG Recordings, Inc.             3680    SR0000339561
2028 Seems To Be                                          Avant                                                    UMG Recordings, Inc.             3684    SR0000339561


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                             Track                                            Artist                                             Plaintiff       PX-01 #    Reg. No.
2029 Wanna Be Close                                    Avant                                                    UMG Recordings, Inc.             3694    SR0000339561
2030 You                                               Avant                                                    UMG Recordings, Inc.             3698    SR0000339561
2031 You Got Me                                        Avant                                                    UMG Recordings, Inc.             3700    SR0000339561
2032 Strongest Weakness                                Etta James                                               Arista Music                     214     SR0000339597
2033 The Blues Is My Business                          Etta James                                               Arista Music                     215     SR0000339597
2034 Anthem Of Our Dying Day                           Story Of The Year                                        Warner Bros. Records Inc.        6721    SR0000340938
2035 Divide And Conquer                                Story Of The Year                                        Warner Bros. Records Inc.        6722    SR0000340938
2036 Sidewalks                                         Story Of The Year                                        Warner Bros. Records Inc.        6723    SR0000340938
2037 A Stranger                                        A Perfect Circle                                         UMG Recordings, Inc.             3564    SR0000341312
2038 Crimes                                            A Perfect Circle                                         UMG Recordings, Inc.             3565    SR0000341312
2039 Gravity                                           A Perfect Circle                                         UMG Recordings, Inc.             3566    SR0000341312
2040 Lullaby                                           A Perfect Circle                                         UMG Recordings, Inc.             3567    SR0000341312
2041 Pet                                               A Perfect Circle                                         UMG Recordings, Inc.             3568    SR0000341312
2042 The Noose                                         A Perfect Circle                                         UMG Recordings, Inc.             3569    SR0000341312
2043 The Nurse Who Loved Me                            A Perfect Circle                                         UMG Recordings, Inc.             3570    SR0000341312
2044 Vanishing                                         A Perfect Circle                                         UMG Recordings, Inc.             3571    SR0000341312
2045 Weak And Powerless                                A Perfect Circle                                         UMG Recordings, Inc.             3572    SR0000341312
2046 Cheers                                            Obie Trice                                               UMG Recordings, Inc.             5054    SR0000341637
2047 Got Some Teeth (Explicit)                         Obie Trice                                               UMG Recordings, Inc.             5055    SR0000341637
2048 Never Forget Ya                                   Obie Trice                                               UMG Recordings, Inc.             5056    SR0000341637
2049 Outro (Obie Trice/ Cheers)                        Obie Trice                                               UMG Recordings, Inc.             5057    SR0000341637
2050 Shit Hits The Fan                                 Obie Trice                                               UMG Recordings, Inc.             5059    SR0000341637
2051 Be With You                                       Beyoncé                                                  Sony Music Entertainment         776     SR0000342236
2052 Gift From Virgo                                   Beyoncé                                                  Sony Music Entertainment         788     SR0000342236
2053 Me, Myself And I                                  Beyoncé                                                  Sony Music Entertainment         800     SR0000342236
2054 Naughty Girl                                      Beyoncé                                                  Sony Music Entertainment         801     SR0000342236
2055 Speechless                                        Beyoncé                                                  Sony Music Entertainment         814     SR0000342236
2056 Hip Hop Star                                      Beyoncé feat. Big Boi and Sleepy Brown                   Sony Music Entertainment         821     SR0000342236
2057 That's How You Like It                            Beyoncé feat. Jay-Z                                      Sony Music Entertainment         826     SR0000342236
2058 Signs                                             Beyoncé feat. Missy Elliott                              Sony Music Entertainment         827     SR0000342236
2059 Days With You                                     Fuel                                                     Sony Music Entertainment         1547    SR0000342237
2060 Die Like This                                     Fuel                                                     Sony Music Entertainment         1548    SR0000342237
2061 Down Inside Of You                                Fuel                                                     Sony Music Entertainment         1550    SR0000342237
2062 Getting Thru?                                     Fuel                                                     Sony Music Entertainment         1555    SR0000342237
2063 Luck                                              Fuel                                                     Sony Music Entertainment         1565    SR0000342237
2064 Million Miles                                     Fuel                                                     Sony Music Entertainment         1566    SR0000342237
2065 Most Of All                                       Fuel                                                     Sony Music Entertainment         1567    SR0000342237
2066 Quarter                                           Fuel                                                     Sony Music Entertainment         1570    SR0000342237
2067 Running Away                                      Fuel                                                     Sony Music Entertainment         1571    SR0000342237
2068 These Things                                      Fuel                                                     Sony Music Entertainment         1578    SR0000342237
2069 45                                                Shinedown                                                Atlantic Recording Corporation   5853    SR0000342566
2070 All I Ever Wanted                                 Shinedown                                                Atlantic Recording Corporation   5854    SR0000342566
2071 Better Version                                    Shinedown                                                Atlantic Recording Corporation   5855    SR0000342566
2072 Burning Bright                                    Shinedown                                                Atlantic Recording Corporation   5857    SR0000342566
2073 Crying Out                                        Shinedown                                                Atlantic Recording Corporation   5860    SR0000342566
2074 Fly From The Inside                               Shinedown                                                Atlantic Recording Corporation   5863    SR0000342566
2075 In Memory                                         Shinedown                                                Atlantic Recording Corporation   5866    SR0000342566
2076 Lacerated                                         Shinedown                                                Atlantic Recording Corporation   5867    SR0000342566
2077 Left Out                                          Shinedown                                                Atlantic Recording Corporation   5868    SR0000342566
2078 Lost In The Crowd                                 Shinedown                                                Atlantic Recording Corporation   5869    SR0000342566
2079 No More Love                                      Shinedown                                                Atlantic Recording Corporation   5870    SR0000342566
2080 Stranger Inside                                   Shinedown                                                Atlantic Recording Corporation   5875    SR0000342566
2081 Backwoods Boy                                     Josh Turner                                              UMG Recordings, Inc.             4463    SR0000344336
2082 Good Woman Bad                                    Josh Turner                                              UMG Recordings, Inc.             4468    SR0000344336
2083 I Had One One Time                                Josh Turner                                              UMG Recordings, Inc.             4471    SR0000344336
2084 In My Dreams                                      Josh Turner                                              UMG Recordings, Inc.             4474    SR0000344336
2085 Jacksonville                                      Josh Turner                                              UMG Recordings, Inc.             4475    SR0000344336
2086 Long Black Train                                  Josh Turner                                              UMG Recordings, Inc.             4477    SR0000344336
2087 She'll Go On You                                  Josh Turner                                              UMG Recordings, Inc.             4485    SR0000344336
2088 The Difference Between A Woman And A Man          Josh Turner                                              UMG Recordings, Inc.             4490    SR0000344336
2089 Unburn All Our Bridges                            Josh Turner                                              UMG Recordings, Inc.             4495    SR0000344336
2090 What It Ain't                                     Josh Turner                                              UMG Recordings, Inc.             4497    SR0000344336
2091 You Don't Mess Around With Jim                    Josh Turner                                              UMG Recordings, Inc.             4501    SR0000344336
2092 Anna Begins                                       Counting Crows                                           UMG Recordings, Inc.             3892    SR0000345378
2093 Rain King                                         Counting Crows                                           UMG Recordings, Inc.             3897    SR0000345378
2094 Fallen                                            Sarah McLachlan                                          Arista Records LLC               515     SR0000345432
2095 Push                                              Sarah McLachlan                                          Arista Records LLC               524     SR0000345432
2096 Stupid                                            Sarah McLachlan                                          Arista Records LLC               526     SR0000345432
2097 World On Fire                                     Sarah McLachlan                                          Arista Records LLC               530     SR0000345432
2098 All I Need                                        Matchbox Twenty                                          Atlantic Recording Corporation   5721    SR0000345857
2099 Cold                                              Matchbox Twenty                                          Atlantic Recording Corporation   5731    SR0000345857
2100 Could I Be You                                    Matchbox Twenty                                          Atlantic Recording Corporation   5732    SR0000345857
2101 Disease                                           Matchbox Twenty                                          Atlantic Recording Corporation   5735    SR0000345857
2102 Downfall                                          Matchbox Twenty                                          Atlantic Recording Corporation   5738    SR0000345857
2103 Feel                                              Matchbox Twenty                                          Atlantic Recording Corporation   5740    SR0000345857
2104 Hand Me Down                                      Matchbox Twenty                                          Atlantic Recording Corporation   5742    SR0000345857
2105 Soul                                              Matchbox Twenty                                          Atlantic Recording Corporation   5766    SR0000345857
2106 The Difference                                    Matchbox Twenty                                          Atlantic Recording Corporation   5769    SR0000345857
2107 Unwell                                            Matchbox Twenty                                          Atlantic Recording Corporation   5771    SR0000345857


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                                Track                                                  Artist                                         Plaintiff       PX-01 #    Reg. No.
2108 You're So Real                                         Matchbox Twenty                                          Atlantic Recording Corporation   5773    SR0000345857
2109 All In Me                                              Brandy                                                   Atlantic Recording Corporation   5450    SR0000345858
2110 Anybody                                                Brandy                                                   Atlantic Recording Corporation   5454    SR0000345858
2111 Apart                                                  Brandy                                                   Atlantic Recording Corporation   5455    SR0000345858
2112 B Rocka Intro                                          Brandy                                                   Atlantic Recording Corporation   5457    SR0000345858
2113 Can We                                                 Brandy                                                   Atlantic Recording Corporation   5461    SR0000345858
2114 Come A Little Closer                                   Brandy                                                   Atlantic Recording Corporation   5462    SR0000345858
2115 Die Without You                                        Brandy                                                   Atlantic Recording Corporation   5464    SR0000345858
2116 Full Moon                                              Brandy                                                   Atlantic Recording Corporation   5467    SR0000345858
2117 He Is                                                  Brandy                                                   Atlantic Recording Corporation   5471    SR0000345858
2118 I Thought                                              Brandy                                                   Atlantic Recording Corporation   5476    SR0000345858
2119 It's Not Worth It                                      Brandy                                                   Atlantic Recording Corporation   5483    SR0000345858
2120 Like This                                              Brandy                                                   Atlantic Recording Corporation   5485    SR0000345858
2121 Love Wouldn't Count Me Out                             Brandy                                                   Atlantic Recording Corporation   5487    SR0000345858
2122 Nothing                                                Brandy                                                   Atlantic Recording Corporation   5491    SR0000345858
2123 What About Us?                                         Brandy                                                   Atlantic Recording Corporation   5504    SR0000345858
2124 When You Touch Me                                      Brandy                                                   Atlantic Recording Corporation   5505    SR0000345858
2125 Wow                                                    Brandy                                                   Atlantic Recording Corporation   5509    SR0000345858
2126 Don't Stay                                             Linkin Park                                              Warner Bros. Records Inc.        6552    SR0000346247
2127 Easier To Run                                          Linkin Park                                              Warner Bros. Records Inc.        6553    SR0000346247
2128 Faint                                                  Linkin Park                                              Warner Bros. Records Inc.        6555    SR0000346247
2129 Figure.09                                              Linkin Park                                              Warner Bros. Records Inc.        6556    SR0000346247
2130 Hit The Floor                                          Linkin Park                                              Warner Bros. Records Inc.        6560    SR0000346247
2131 Nobody's Listening                                     Linkin Park                                              Warner Bros. Records Inc.        6572    SR0000346247
2132 Session                                                Linkin Park                                              Warner Bros. Records Inc.        6582    SR0000346247
2133 Somewhere I Belong                                     Linkin Park                                              Warner Bros. Records Inc.        6584    SR0000346247
2134 (Per)Version of a truth (Explicit)                     Mudvayne                                                 Sony Music Entertainment         2350    SR0000346266
2135 A Key to Nothing                                       Mudvayne                                                 Sony Music Entertainment         2351    SR0000346266
2136 Mercy, Severity                                        Mudvayne                                                 Sony Music Entertainment         2352    SR0000346266
2137 Shadow of a Man                                        Mudvayne                                                 Sony Music Entertainment         2354    SR0000346266
2138 Silenced                                               Mudvayne                                                 Sony Music Entertainment         2355    SR0000346266
2139 Skrying                                                Mudvayne                                                 Sony Music Entertainment         2356    SR0000346266
2140 Solve Et Coagula                                       Mudvayne                                                 Sony Music Entertainment         2357    SR0000346266
2141 The End of All Things to Come (Explicit)               Mudvayne                                                 Sony Music Entertainment         2358    SR0000346266
2142 The Patient Mental                                     Mudvayne                                                 Sony Music Entertainment         2359    SR0000346266
2143 Trapped In The Wake Of A Dream                         Mudvayne                                                 Sony Music Entertainment         2360    SR0000346266
2144 World So Cold                                          Mudvayne                                                 Sony Music Entertainment         2361    SR0000346266
2145 Diary                                                  Alicia Keys                                              Arista Music                     10      SR0000346869
2146 Dragon Days                                            Alicia Keys                                              Arista Music                     11      SR0000346869
2147 Feeling U, Feeling Me (Interlude)                      Alicia Keys                                              Arista Music                     14      SR0000346869
2148 Harlem's Nocturne                                      Alicia Keys                                              Arista Music                     18      SR0000346869
2149 Heartburn                                              Alicia Keys                                              Arista Music                     19      SR0000346869
2150 If I Ain't Got You                                     Alicia Keys                                              Arista Music                     21      SR0000346869
2151 If I Ain't Got You (Radio Edit)                        Alicia Keys                                              Arista Music                     22      SR0000346869
2152 If I Was Your Woman / Walk On By                       Alicia Keys                                              Arista Music                     23      SR0000346869
2153 Karma                                                  Alicia Keys                                              Arista Music                     26      SR0000346869
2154 Nobody Not Really (Interlude)                          Alicia Keys                                              Arista Music                     32      SR0000346869
2155 Samsonite Man                                          Alicia Keys                                              Arista Music                     36      SR0000346869
2156 Slow Down                                              Alicia Keys                                              Arista Music                     37      SR0000346869
2157 Wake Up                                                Alicia Keys                                              Arista Music                     49      SR0000346869
2158 When You Really Love Someone                           Alicia Keys                                              Arista Music                     50      SR0000346869
2159 You Don't Know My Name                                 Alicia Keys                                              Arista Music                     55      SR0000346869
2160 So Simple                                              Alicia Keys feat. Lellow                                 Arista Music                     56      SR0000346869
2161 All Falls Down                                         Kanye West                                               UMG Recordings, Inc.             4535    SR0000347391
2162 Breathe In Breathe Out                                 Kanye West                                               UMG Recordings, Inc.             4547    SR0000347391
2163 Get Em High                                            Kanye West                                               UMG Recordings, Inc.             4561    SR0000347391
2164 Graduation Day                                         Kanye West                                               UMG Recordings, Inc.             4566    SR0000347391
2165 I'll Fly Away                                          Kanye West                                               UMG Recordings, Inc.             4575    SR0000347391
2166 Jesus Walks                                            Kanye West                                               UMG Recordings, Inc.             4577    SR0000347391
2167 Last Call                                              Kanye West                                               UMG Recordings, Inc.             4578    SR0000347391
2168 Lil Jimmy Skit                                         Kanye West                                               UMG Recordings, Inc.             4579    SR0000347391
2169 Never Let Me Down                                      Kanye West                                               UMG Recordings, Inc.             4584    SR0000347391
2170 School Spirit                                          Kanye West                                               UMG Recordings, Inc.             4594    SR0000347391
2171 School Spirit Skit 1                                   Kanye West                                               UMG Recordings, Inc.             4595    SR0000347391
2172 Slow Jamz                                              Kanye West                                               UMG Recordings, Inc.             4599    SR0000347391
2173 Spaceship                                              Kanye West                                               UMG Recordings, Inc.             4601    SR0000347391
2174 The New Workout Plan                                   Kanye West                                               UMG Recordings, Inc.             4605    SR0000347391
2175 Through The Wire                                       Kanye West                                               UMG Recordings, Inc.             4607    SR0000347391
2176 Two Words                                              Kanye West                                               UMG Recordings, Inc.             4610    SR0000347391
2177 We Don't Care                                          Kanye West                                               UMG Recordings, Inc.             4611    SR0000347391
2178 Workout Plan                                           Kanye West                                               UMG Recordings, Inc.             4614    SR0000347391
2179 Already Gone                                           Puddle Of Mudd                                           UMG Recordings, Inc.             5103    SR0000347741
2180 Bottom                                                 Puddle Of Mudd                                           UMG Recordings, Inc.             5105    SR0000347741
2181 Change My Mind                                         Puddle Of Mudd                                           UMG Recordings, Inc.             5107    SR0000347741
2182 Cloud 9                                                Puddle Of Mudd                                           UMG Recordings, Inc.             5108    SR0000347741
2183 Freak Of The World                                     Puddle Of Mudd                                           UMG Recordings, Inc.             5110    SR0000347741
2184 Nothing Left To Lose                                   Puddle Of Mudd                                           UMG Recordings, Inc.             5118    SR0000347741
2185 Spin You Around                                        Puddle Of Mudd                                           UMG Recordings, Inc.             5123    SR0000347741
2186 Sydney                                                 Puddle Of Mudd                                           UMG Recordings, Inc.             5124    SR0000347741


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2187 Think                                                Puddle Of Mudd                                           UMG Recordings, Inc.             5125    SR0000347741
2188 Time Flies                                           Puddle Of Mudd                                           UMG Recordings, Inc.             5127    SR0000347741
2189 Island Of Wonder                                     Nelly Furtado                                            UMG Recordings, Inc.             5029    SR0000347749
2190 Try                                                  Nelly Furtado                                            UMG Recordings, Inc.             5034    SR0000347749
2191 Adding To The Noise                                  Switchfoot                                               Sony Music Entertainment         2758    SR0000347967
2192 Ammunition                                           Switchfoot                                               Sony Music Entertainment         2759    SR0000347967
2193 Gone                                                 Switchfoot                                               Sony Music Entertainment         2760    SR0000347967
2194 Meant To Live                                        Switchfoot                                               Sony Music Entertainment         2761    SR0000347967
2195 More Than Fine                                       Switchfoot                                               Sony Music Entertainment         2762    SR0000347967
2196 On Fire                                              Switchfoot                                               Sony Music Entertainment         2763    SR0000347967
2197 Redemption                                           Switchfoot                                               Sony Music Entertainment         2764    SR0000347967
2198 The Beautiful Letdown                                Switchfoot                                               Sony Music Entertainment         2765    SR0000347967
2199 Twenty-four                                          Switchfoot                                               Sony Music Entertainment         2766    SR0000347967
2200 Crawling (Live In Texas)                             Linkin Park                                              Warner Bros. Records Inc.        6550    SR0000350998
2201 In The End (Live In Texas)                           Linkin Park                                              Warner Bros. Records Inc.        6565    SR0000350998
2202 One Step Closer (Live In Texas)                      Linkin Park                                              Warner Bros. Records Inc.        6573    SR0000350998
2203 Addicted                                             Simple Plan                                              Atlantic Recording Corporation   5879    SR0000351060
2204 God Must Hate Me                                     Simple Plan                                              Atlantic Recording Corporation   5883    SR0000351060
2205 I Won't Be There                                     Simple Plan                                              Atlantic Recording Corporation   5886    SR0000351060
2206 I'd Do Anything                                      Simple Plan                                              Atlantic Recording Corporation   5887    SR0000351060
2207 I'm Just A Kid                                       Simple Plan                                              Atlantic Recording Corporation   5888    SR0000351060
2208 Meet You There                                       Simple Plan                                              Atlantic Recording Corporation   5891    SR0000351060
2209 My Alien                                             Simple Plan                                              Atlantic Recording Corporation   5892    SR0000351060
2210 One Day                                              Simple Plan                                              Atlantic Recording Corporation   5895    SR0000351060
2211 Perfect                                              Simple Plan                                              Atlantic Recording Corporation   5896    SR0000351060
2212 The Worst Day Ever                                   Simple Plan                                              Atlantic Recording Corporation   5904    SR0000351060
2213 When I'm With You                                    Simple Plan                                              Atlantic Recording Corporation   5907    SR0000351060
2214 Confessions Part II Remix                            Usher                                                    Zomba Recording LLC              3204    SR0000352165
2215 My Boo                                               Usher                                                    Zomba Recording LLC              3205    SR0000352165
2216 Red Light                                            Usher                                                    Zomba Recording LLC              3206    SR0000352165
2217 Seduction                                            Usher                                                    Zomba Recording LLC              3207    SR0000352165
2218 My Boo                                               Usher & Alicia Keys                                      Zomba Recording LLC              3208    SR0000352165
2219 Crazy Dream                                          Los Lonely Boys                                          Sony Music Entertainment         2107    SR0000352465
2220 Dime Mi Amor                                         Los Lonely Boys                                          Sony Music Entertainment         2108    SR0000352465
2221 Heaven                                               Los Lonely Boys                                          Sony Music Entertainment         2109    SR0000352465
2222 Hollywood                                            Los Lonely Boys                                          Sony Music Entertainment         2110    SR0000352465
2223 La Contestacion                                      Los Lonely Boys                                          Sony Music Entertainment         2111    SR0000352465
2224 More Than Love                                       Los Lonely Boys                                          Sony Music Entertainment         2112    SR0000352465
2225 Nobody Else                                          Los Lonely Boys                                          Sony Music Entertainment         2113    SR0000352465
2226 Onda                                                 Los Lonely Boys                                          Sony Music Entertainment         2114    SR0000352465
2227 Real Emotions                                        Los Lonely Boys                                          Sony Music Entertainment         2115    SR0000352465
2228 Senorita                                             Los Lonely Boys                                          Sony Music Entertainment         2116    SR0000352465
2229 Tell Me Why                                          Los Lonely Boys                                          Sony Music Entertainment         2117    SR0000352465
2230 Velvet Sky                                           Los Lonely Boys                                          Sony Music Entertainment         2118    SR0000352465
2231 Cantique De Noel (O Holy Night)                      Whitney Houston                                          Arista Music                     361     SR0000353688
2232 Deck the Halls / Silent Night                        Whitney Houston                                          Arista Music                     362     SR0000353688
2233 Have Yourself a Merry Little Christmas               Whitney Houston                                          Arista Music                     363     SR0000353688
2234 I'll Be Home for Christmas                           Whitney Houston                                          Arista Music                     364     SR0000353688
2235 Little Drummer Boy                                   Whitney Houston                                          Arista Music                     365     SR0000353688
2236 O Come O Come Emanuel                                Whitney Houston                                          Arista Music                     366     SR0000353688
2237 One Wish (For Christmas)                             Whitney Houston                                          Arista Music                     367     SR0000353688
     The Christmas Song (Chestnuts Roasting on an Open    Whitney Houston                                          Arista Music                             SR0000353688
2238 Fire)                                                                                                                                          368
2239 The First Noel                                       Whitney Houston                                          Arista Music                     369     SR0000353688
     Who Would Imagine A King - (From "The Preacher's     Whitney Houston                                          Arista Music                             SR0000353688
2240 Wife")                                                                                                                                         370
2241 Joy To The World                                     Whitney Houston with The Georgia Mass Choir              Arista Music                     371     SR0000353688
2242 Colors                                               Crossfade                                                Sony Music Entertainment         1316    SR0000354126
2243 Dead Skin                                            Crossfade                                                Sony Music Entertainment         1317    SR0000354126
2244 Death Trend Setta                                    Crossfade                                                Sony Music Entertainment         1318    SR0000354126
2245 Disco                                                Crossfade                                                Sony Music Entertainment         1319    SR0000354126
2246 No Giving Up                                         Crossfade                                                Sony Music Entertainment         1320    SR0000354126
2247 So Far Away                                          Crossfade                                                Sony Music Entertainment         1321    SR0000354126
2248 Starless                                             Crossfade                                                Sony Music Entertainment         1322    SR0000354126
2249 The Deep End                                         Crossfade                                                Sony Music Entertainment         1323    SR0000354126
2250 The Unknown                                          Crossfade                                                Sony Music Entertainment         1324    SR0000354126
2251 Bad Girl                                             Usher                                                    Arista Music                     345     SR0000354784
2252 Burn                                                 Usher                                                    Arista Music                     346     SR0000354784
2253 Can U Handle It?                                     Usher                                                    Arista Music                     347     SR0000354784
2254 Caught Up                                            Usher                                                    Arista Music                     348     SR0000354784
2255 Confessions                                          Usher                                                    Arista Music                     349     SR0000354784
2256 Confessions Part II                                  Usher                                                    Arista Music                     350     SR0000354784
2257 Do It To Me                                          Usher                                                    Arista Music                     351     SR0000354784
2258 Follow Me                                            Usher                                                    Arista Music                     352     SR0000354784
2259 Simple Things                                        Usher                                                    Arista Music                     353     SR0000354784
2260 Superstar                                            Usher                                                    Arista Music                     354     SR0000354784
2261 Take Your Hand                                       Usher                                                    Arista Music                     355     SR0000354784
2262 That's What It's Made For                            Usher                                                    Arista Music                     356     SR0000354784
2263 Throwback                                            Usher                                                    Arista Music                     357     SR0000354784


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                               Track                                                Artist                                      Plaintiff    PX-01 #    Reg. No.
2264 Truth Hurts                                        Usher                                                    Arista Music                358     SR0000354784
2265 Yeah!                                              Usher                                                    Arista Music                359     SR0000354784
2266 Better Luck Next Time                              Scissor Sisters                                          UMG Recordings, Inc.        5279    SR0000355220
2267 Filthy/Gorgeous                                    Scissor Sisters                                          UMG Recordings, Inc.        5280    SR0000355220
2268 Get It Get It                                      Scissor Sisters                                          UMG Recordings, Inc.        5281    SR0000355220
2269 It Can't Come Quickly Enough                       Scissor Sisters                                          UMG Recordings, Inc.        5282    SR0000355220
2270 Laura                                              Scissor Sisters                                          UMG Recordings, Inc.        5283    SR0000355220
2271 Lovers In The Backseat                             Scissor Sisters                                          UMG Recordings, Inc.        5284    SR0000355220
2272 Mary                                               Scissor Sisters                                          UMG Recordings, Inc.        5285    SR0000355220
2273 Music Is The Victim                                Scissor Sisters                                          UMG Recordings, Inc.        5286    SR0000355220
2274 Return To Oz                                       Scissor Sisters                                          UMG Recordings, Inc.        5287    SR0000355220
2275 Take Your Mama                                     Scissor Sisters                                          UMG Recordings, Inc.        5288    SR0000355220
2276 Tits On The Radio                                  Scissor Sisters                                          UMG Recordings, Inc.        5289    SR0000355220
2277 Bullet And A Target                                Citizen Cope                                             Arista Music                121     SR0000355314
2278 D'Artagnan's Theme                                 Citizen Cope                                             Arista Music                122     SR0000355314
2279 Deep                                               Citizen Cope                                             Arista Music                123     SR0000355314
2280 Fame                                               Citizen Cope                                             Arista Music                125     SR0000355314
2281 Hurricane Waters                                   Citizen Cope                                             Arista Music                127     SR0000355314
2282 My Way Home                                        Citizen Cope                                             Arista Music                131     SR0000355314
2283 Nite Becomes Day                                   Citizen Cope                                             Arista Music                132     SR0000355314
2284 Pablo Picasso                                      Citizen Cope                                             Arista Music                133     SR0000355314
2285 Penitentiary                                       Citizen Cope                                             Arista Music                134     SR0000355314
2286 Sideways                                           Citizen Cope                                             Arista Music                135     SR0000355314
2287 Son's Gonna Rise                                   Citizen Cope                                             Arista Music                137     SR0000355314
2288 And I                                              Ciara                                                    Zomba Recording LLC         3143    SR0000355316
2289 Crazy                                              Ciara                                                    Zomba Recording LLC         3144    SR0000355316
2290 Goodies                                            Ciara                                                    Zomba Recording LLC         3145    SR0000355316
2291 Hotline                                            Ciara                                                    Zomba Recording LLC         3146    SR0000355316
2292 Lookin' At You                                     Ciara                                                    Zomba Recording LLC         3147    SR0000355316
2293 Ooh Baby                                           Ciara                                                    Zomba Recording LLC         3148    SR0000355316
2294 Other Chicks                                       Ciara                                                    Zomba Recording LLC         3149    SR0000355316
2295 Pick Up The Phone                                  Ciara                                                    Zomba Recording LLC         3150    SR0000355316
2296 The Title                                          Ciara                                                    Zomba Recording LLC         3151    SR0000355316
2297 Thug Style                                         Ciara                                                    Zomba Recording LLC         3152    SR0000355316
2298 One, Two Step                                      Ciara feat. Missy Elliott                                Zomba Recording LLC         3153    SR0000355316
2299 Next To You                                        Ciara feat. R. Kelly                                     Zomba Recording LLC         3154    SR0000355316
2300 Gone                                               Montgomery Gentry                                        Sony Music Entertainment    2343    SR0000355896
2301 Something To Be Proud Of                           Montgomery Gentry                                        Sony Music Entertainment    2348    SR0000355896
2302 Air It Out                                         Jadakiss                                                 UMG Recordings, Inc.        4404    SR0000356267
2303 Bring You Down                                     Jadakiss                                                 UMG Recordings, Inc.        4405    SR0000356267
2304 Hot Sauce To Go                                    Jadakiss                                                 UMG Recordings, Inc.        4406    SR0000356267
2305 I'm Goin Back                                      Jadakiss                                                 UMG Recordings, Inc.        4407    SR0000356267
2306 Real Hip Hop                                       Jadakiss                                                 UMG Recordings, Inc.        4408    SR0000356267
2307 Shine                                              Jadakiss                                                 UMG Recordings, Inc.        4409    SR0000356267
2308 Still Feel Me                                      Jadakiss                                                 UMG Recordings, Inc.        4410    SR0000356267
2309 Welcome To D-Block                                 Jadakiss                                                 UMG Recordings, Inc.        4411    SR0000356267
2310 Kill Everybody                                     Stone Sour                                               Roadrunner Records, Inc.    6228    SR0000357276
2311 Road Hogs                                          Stone Sour                                               Roadrunner Records, Inc.    6232    SR0000357276
2312 Before I Forget                                    Slipknot                                                 Roadrunner Records, Inc.    6191    SR0000358238
2313 Duality                                            Slipknot                                                 Roadrunner Records, Inc.    6196    SR0000358238
2314 Prelude 3.0                                        Slipknot                                                 Roadrunner Records, Inc.    6205    SR0000358238
2315 The Blister Exists                                 Slipknot                                                 Roadrunner Records, Inc.    6211    SR0000358238
2316 The Nameless                                       Slipknot                                                 Roadrunner Records, Inc.    6213    SR0000358238
2317 Vermilion                                          Slipknot                                                 Roadrunner Records, Inc.    6217    SR0000358238
2318 Vermilion Pt. 2                                    Slipknot                                                 Roadrunner Records, Inc.    6218    SR0000358238
2319 All My Ex's Live In Texas                          George Strait                                            UMG Recordings, Inc.        4224    SR0000358502
2320 Baby Blue                                          George Strait                                            UMG Recordings, Inc.        4227    SR0000358502
2321 Blue Clear Sky                                     George Strait                                            UMG Recordings, Inc.        4229    SR0000358502
2322 Carried Away                                       George Strait                                            UMG Recordings, Inc.        4230    SR0000358502
2323 Carrying Your Love With Me                         George Strait                                            UMG Recordings, Inc.        4231    SR0000358502
2324 Famous Last Words Of A Fool                        George Strait                                            UMG Recordings, Inc.        4241    SR0000358502
2325 I Can Still Make Cheyenne                          George Strait                                            UMG Recordings, Inc.        4248    SR0000358502
2326 I Hate Everything                                  George Strait                                            UMG Recordings, Inc.        4250    SR0000358502
2327 I Know She Still Loves Me                          George Strait                                            UMG Recordings, Inc.        4252    SR0000358502
2328 I've Come To Expect It From You                    George Strait                                            UMG Recordings, Inc.        4254    SR0000358502
2329 If I Know Me                                       George Strait                                            UMG Recordings, Inc.        4255    SR0000358502
2330 It Ain't Cool To Be Crazy About You                George Strait                                            UMG Recordings, Inc.        4259    SR0000358502
2331 Lead On                                            George Strait                                            UMG Recordings, Inc.        4260    SR0000358502
2332 Let's Fall To Pieces Together                      George Strait                                            UMG Recordings, Inc.        4261    SR0000358502
2333 Love Without End, Amen                             George Strait                                            UMG Recordings, Inc.        4263    SR0000358502
2334 One Night At A Time                                George Strait                                            UMG Recordings, Inc.        4268    SR0000358502
2335 Right Or Wrong                                     George Strait                                            UMG Recordings, Inc.        4270    SR0000358502
2336 Round About Way                                    George Strait                                            UMG Recordings, Inc.        4271    SR0000358502
2337 Run                                                George Strait                                            UMG Recordings, Inc.        4272    SR0000358502
2338 She'll Leave You With A Smile                      George Strait                                            UMG Recordings, Inc.        4273    SR0000358502
2339 So Much Like My Dad                                George Strait                                            UMG Recordings, Inc.        4274    SR0000358502
2340 The Big One                                        George Strait                                            UMG Recordings, Inc.        4276    SR0000358502
2341 You Can't Make A Heart Love Somebody               George Strait                                            UMG Recordings, Inc.        4288    SR0000358502
2342 Goodbye Time                                       Blake Shelton                                            Warner Bros. Records Inc.   6268    SR0000359309


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                                Track                                        Artist                                               Plaintiff    PX-01 #    Reg. No.
2343 Nobody But Me                                        Blake Shelton                                            Warner Bros. Records Inc.   6279    SR0000359309
2344 Cemetery Drive                                       My Chemical Romance                                      Warner Bros. Records Inc.   6627    SR0000360197
2345 Give 'Em Hell, Kid                                   My Chemical Romance                                      Warner Bros. Records Inc.   6636    SR0000360197
2346 Hang 'Em High                                        My Chemical Romance                                      Warner Bros. Records Inc.   6638    SR0000360197
2347 Helena                                               My Chemical Romance                                      Warner Bros. Records Inc.   6640    SR0000360197
2348 I Never Told You What I Do For A Living              My Chemical Romance                                      Warner Bros. Records Inc.   6645    SR0000360197
2349 I'm Not Okay                                         My Chemical Romance                                      Warner Bros. Records Inc.   6647    SR0000360197
2350 Interlude                                            My Chemical Romance                                      Warner Bros. Records Inc.   6648    SR0000360197
2351 It's Not A Fashion Statement, It's A Deathwish       My Chemical Romance                                      Warner Bros. Records Inc.   6650    SR0000360197
2352 Thank You For The Venom                              My Chemical Romance                                      Warner Bros. Records Inc.   6660    SR0000360197
2353 The Ghost Of You                                     My Chemical Romance                                      Warner Bros. Records Inc.   6665    SR0000360197
2354 The Jetset Life Is Gonna Kill You                    My Chemical Romance                                      Warner Bros. Records Inc.   6666    SR0000360197
2355 To The End                                           My Chemical Romance                                      Warner Bros. Records Inc.   6673    SR0000360197
2356 You Know What They Do To Guys Like Us In Prison      My Chemical Romance                                      Warner Bros. Records Inc.   6677    SR0000360197
2357 Be Free                                              Papa Roach                                               UMG Recordings, Inc.        5071    SR0000360567
2358 Getting Away With Murder                             Papa Roach                                               UMG Recordings, Inc.        5076    SR0000360567
2359 Not Listening                                        Papa Roach                                               UMG Recordings, Inc.        5082    SR0000360567
2360 Sometimes                                            Papa Roach                                               UMG Recordings, Inc.        5086    SR0000360567
2361 Take Me                                              Papa Roach                                               UMG Recordings, Inc.        5087    SR0000360567
2362 1985                                                 Bowling For Soup                                         Zomba Recording LLC         3078    SR0000361081
2363 A-hole                                               Bowling For Soup                                         Zomba Recording LLC         3079    SR0000361081
2364 Almost                                               Bowling For Soup                                         Zomba Recording LLC         3080    SR0000361081
2365 Down For The Count                                   Bowling For Soup                                         Zomba Recording LLC         3081    SR0000361081
2366 Friends O' Mine                                      Bowling For Soup                                         Zomba Recording LLC         3082    SR0000361081
2367 Get Happy                                            Bowling For Soup                                         Zomba Recording LLC         3083    SR0000361081
2368 Last Call Casualty                                   Bowling For Soup                                         Zomba Recording LLC         3084    SR0000361081
2369 My Hometown                                          Bowling For Soup                                         Zomba Recording LLC         3085    SR0000361081
2370 Next Ex-Girlfriend                                   Bowling For Soup                                         Zomba Recording LLC         3086    SR0000361081
2371 Ohio                                                 Bowling For Soup                                         Zomba Recording LLC         3087    SR0000361081
2372 Really Might Be Gone                                 Bowling For Soup                                         Zomba Recording LLC         3088    SR0000361081
2373 Ridiculous                                           Bowling For Soup                                         Zomba Recording LLC         3089    SR0000361081
2374 Sad Sad Situation                                    Bowling For Soup                                         Zomba Recording LLC         3090    SR0000361081
2375 Shut-Up And Smile                                    Bowling For Soup                                         Zomba Recording LLC         3091    SR0000361081
2376 Smoothie King                                        Bowling For Soup                                         Zomba Recording LLC         3092    SR0000361081
2377 Trucker Hat                                          Bowling For Soup                                         Zomba Recording LLC         3093    SR0000361081
2378 Two-Seater                                           Bowling For Soup                                         Zomba Recording LLC         3094    SR0000361081
2379 (I've Just Begun) Having My Fun                      Britney Spears                                           Zomba Recording LLC         3095    SR0000361774
2380 My Prerogative (Boy Wunder Radio Mix)                Britney Spears                                           Zomba Recording LLC         3111    SR0000361774
2381 American Idiot                                       Green Day                                                Warner Bros. Records Inc.   6477    SR0000362126
2382 Boulevard Of Broken Dreams                           Green Day                                                Warner Bros. Records Inc.   6482    SR0000362126
2383 Jesus Of Suburbia                                    Green Day                                                Warner Bros. Records Inc.   6497    SR0000362126
2384 She's A Rebel                                        Green Day                                                Warner Bros. Records Inc.   6507    SR0000362126
2385 St. Jimmy                                            Green Day                                                Warner Bros. Records Inc.   6508    SR0000362126
2386 Wake Me Up When September Ends                       Green Day                                                Warner Bros. Records Inc.   6513    SR0000362126
2387 Fixed (Explicit)                                     Scarface                                                 UMG Recordings, Inc.        5266    SR0000362246
2388 Heaven (Explicit)                                    Scarface                                                 UMG Recordings, Inc.        5268    SR0000362246
2389 I Ain't The One (Explicit)                           Scarface                                                 UMG Recordings, Inc.        5269    SR0000362246
2390 In Between Us (Explicit)                             Scarface                                                 UMG Recordings, Inc.        5270    SR0000362246
2391 In Cold Blood (Explicit)                             Scarface                                                 UMG Recordings, Inc.        5271    SR0000362246
2392 Keep Me Down (Explicit)                              Scarface                                                 UMG Recordings, Inc.        5272    SR0000362246
2393 Safe (Explicit)                                      Scarface                                                 UMG Recordings, Inc.        5273    SR0000362246
2394 Sell Out (Explicit)                                  Scarface                                                 UMG Recordings, Inc.        5274    SR0000362246
2395 Someday (Explicit)                                   Scarface                                                 UMG Recordings, Inc.        5275    SR0000362246
2396 The Fix (Explicit)                                   Scarface                                                 UMG Recordings, Inc.        5276    SR0000362246
2397 What Can I Do? (Explicit)                            Scarface                                                 UMG Recordings, Inc.        5277    SR0000362246
2398 Go With Her                                          Toby Keith                                               UMG Recordings, Inc.        5383    SR0000363112
2399 Should've Been A Cowboy                              Toby Keith                                               UMG Recordings, Inc.        5387    SR0000363112
2400 You Ain't Much Fun                                   Toby Keith                                               UMG Recordings, Inc.        5390    SR0000363112
2401 Get Some                                             Chevelle                                                 Sony Music Entertainment    1237    SR0000363500
2402 Panic Prone                                          Chevelle                                                 Sony Music Entertainment    1239    SR0000363500
2403 The Clincher                                         Chevelle                                                 Sony Music Entertainment    1242    SR0000363500
2404 Bubble Pop Electric                                  Gwen Stefani                                             UMG Recordings, Inc.        4307    SR0000364759
2405 Cool                                                 Gwen Stefani                                             UMG Recordings, Inc.        4308    SR0000364759
2406 Crash                                                Gwen Stefani                                             UMG Recordings, Inc.        4309    SR0000364759
2407 Danger Zone                                          Gwen Stefani                                             UMG Recordings, Inc.        4310    SR0000364759
2408 Harajuku Girls                                       Gwen Stefani                                             UMG Recordings, Inc.        4314    SR0000364759
2409 Hollaback Girl                                       Gwen Stefani                                             UMG Recordings, Inc.        4315    SR0000364759
2410 Long Way To Go                                       Gwen Stefani                                             UMG Recordings, Inc.        4316    SR0000364759
2411 Luxurious                                            Gwen Stefani                                             UMG Recordings, Inc.        4317    SR0000364759
2412 Rich Girl                                            Gwen Stefani                                             UMG Recordings, Inc.        4320    SR0000364759
2413 Serious                                              Gwen Stefani                                             UMG Recordings, Inc.        4321    SR0000364759
2414 The Real Thing                                       Gwen Stefani                                             UMG Recordings, Inc.        4322    SR0000364759
2415 What You Waiting For?                                Gwen Stefani                                             UMG Recordings, Inc.        4325    SR0000364759
2416 (Curtains Up - Encore version)                       Eminem                                                   UMG Recordings, Inc.        3998    SR0000364769
2417 Ass Like That                                        Eminem                                                   UMG Recordings, Inc.        4003    SR0000364769
2418 Big Weenie                                           Eminem                                                   UMG Recordings, Inc.        4007    SR0000364769
2419 Crazy In Love                                        Eminem                                                   UMG Recordings, Inc.        4014    SR0000364769
2420 Curtains Up                                          Eminem                                                   UMG Recordings, Inc.        4016    SR0000364769
2421 Em Calls Paul                                        Eminem                                                   UMG Recordings, Inc.        4021    SR0000364769


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2422 Encore / Curtains Up                        Eminem                                           UMG Recordings, Inc.           4022    SR0000364769
2423 Encore/Curtains Down                        Eminem                                           UMG Recordings, Inc.           4023    SR0000364769
2424 Evil Deeds                                  Eminem                                           UMG Recordings, Inc.           4024    SR0000364769
2425 Final Thought (Skit)                        Eminem                                           UMG Recordings, Inc.           4027    SR0000364769
2426 Like Toy Soldiers                           Eminem                                           UMG Recordings, Inc.           4039    SR0000364769
2427 Love You More                               Eminem                                           UMG Recordings, Inc.           4042    SR0000364769
2428 Mockingbird                                 Eminem                                           UMG Recordings, Inc.           4044    SR0000364769
2429 Mosh                                        Eminem                                           UMG Recordings, Inc.           4045    SR0000364769
2430 My 1st Single                               Eminem                                           UMG Recordings, Inc.           4049    SR0000364769
2431 Never Enough                                Eminem                                           UMG Recordings, Inc.           4054    SR0000364769
2432 One Shot 2 Shot                             Eminem                                           UMG Recordings, Inc.           4061    SR0000364769
2433 Paul                                        Eminem                                           UMG Recordings, Inc.           4062    SR0000364769
2434 Paul (Skit)                                 Eminem                                           UMG Recordings, Inc.           4063    SR0000364769
2435 Puke                                        Eminem                                           UMG Recordings, Inc.           4065    SR0000364769
2436 Rain Man                                    Eminem                                           UMG Recordings, Inc.           4067    SR0000364769
2437 Ricky Ticky Toc                             Eminem                                           UMG Recordings, Inc.           4069    SR0000364769
2438 Spend Some Time                             Eminem                                           UMG Recordings, Inc.           4080    SR0000364769
2439 We As Americans                             Eminem                                           UMG Recordings, Inc.           4097    SR0000364769
2440 Yellow Brick Road                           Eminem                                           UMG Recordings, Inc.           4105    SR0000364769
2441 Easy Money                                  Brad Paisley                                     Arista Music                   83      SR0000366007
2442 Flowers                                     Brad Paisley                                     Arista Music                   84      SR0000366007
2443 I'll Take You Back                          Brad Paisley                                     Arista Music                   85      SR0000366007
2444 Love Is Never-Ending                        Brad Paisley                                     Arista Music                   90      SR0000366007
2445 Out In The Parkin' Lot                      Brad Paisley                                     Arista Music                   94      SR0000366007
2446 Out Take 3                                  Brad Paisley                                     Arista Music                   95      SR0000366007
2447 Out Take 4                                  Brad Paisley                                     Arista Music                   96      SR0000366007
2448 Rainin' You                                 Brad Paisley                                     Arista Music                   99      SR0000366007
2449 She's Everything                            Brad Paisley                                     Arista Music                   100     SR0000366007
2450 The Uncloudy Day                            Brad Paisley                                     Arista Music                   102     SR0000366007
2451 The World                                   Brad Paisley                                     Arista Music                   103     SR0000366007
2452 Time Warp                                   Brad Paisley                                     Arista Music                   106     SR0000366007
2453 Time Well Wasted                            Brad Paisley                                     Arista Music                   107     SR0000366007
2454 Waitin' On a Woman                          Brad Paisley                                     Arista Music                   108     SR0000366007
2455 When I Get Where I'm Going                  Brad Paisley                                     Arista Music                   109     SR0000366007
2456 You Need a Man Around Here                  Brad Paisley                                     Arista Music                   112     SR0000366007
     Cornography                                 Brad Paisley feat. James Burton and The Kung Pao Arista Music                           SR0000366007
2457                                             Buckaroos                                                                       113
2458 A Baltimore Love Thing                      50 Cent                                          UMG Recordings, Inc.           3541    SR0000366051
2459 Build You Up                                50 Cent                                          UMG Recordings, Inc.           3542    SR0000366051
2460 Candy Shop                                  50 Cent                                          UMG Recordings, Inc.           3543    SR0000366051
2461 GATman And Robbin                           50 Cent                                          UMG Recordings, Inc.           3546    SR0000366051
2462 Get In My Car                               50 Cent                                          UMG Recordings, Inc.           3547    SR0000366051
2463 God Gave Me Style                           50 Cent                                          UMG Recordings, Inc.           3548    SR0000366051
2464 Gunz Come Out                               50 Cent                                          UMG Recordings, Inc.           3549    SR0000366051
2465 Hate It Or Love It                          50 Cent                                          UMG Recordings, Inc.           3550    SR0000366051
2466 I Don't Need 'Em                            50 Cent                                          UMG Recordings, Inc.           3552    SR0000366051
2467 I'm Supposed To Die Tonight                 50 Cent                                          UMG Recordings, Inc.           3553    SR0000366051
2468 Intro/ 50 Cent/ The Massacre                50 Cent                                          UMG Recordings, Inc.           3554    SR0000366051
2469 Just A Lil Bit                              50 Cent                                          UMG Recordings, Inc.           3555    SR0000366051
2470 My Toy Soldier                              50 Cent                                          UMG Recordings, Inc.           3556    SR0000366051
2471 Outta Control                               50 Cent                                          UMG Recordings, Inc.           3557    SR0000366051
2472 Piggy Bank                                  50 Cent                                          UMG Recordings, Inc.           3558    SR0000366051
2473 Position Of Power                           50 Cent                                          UMG Recordings, Inc.           3559    SR0000366051
2474 Ryder Music                                 50 Cent                                          UMG Recordings, Inc.           3560    SR0000366051
2475 Ski Mask Way                                50 Cent                                          UMG Recordings, Inc.           3561    SR0000366051
2476 So Amazing                                  50 Cent                                          UMG Recordings, Inc.           3562    SR0000366051
2477 This Is 50                                  50 Cent                                          UMG Recordings, Inc.           3563    SR0000366051
2478 Drugs Or Me                                 Jimmy Eat World                                  UMG Recordings, Inc.           4449    SR0000366508
2479 Futures                                     Jimmy Eat World                                  UMG Recordings, Inc.           4450    SR0000366508
2480 Just Tonight                                Jimmy Eat World                                  UMG Recordings, Inc.           4451    SR0000366508
2481 Kill                                        Jimmy Eat World                                  UMG Recordings, Inc.           4452    SR0000366508
2482 Night Drive                                 Jimmy Eat World                                  UMG Recordings, Inc.           4453    SR0000366508
2483 Nothing Wrong                               Jimmy Eat World                                  UMG Recordings, Inc.           4454    SR0000366508
2484 Polaris                                     Jimmy Eat World                                  UMG Recordings, Inc.           4455    SR0000366508
2485 The World You Love                          Jimmy Eat World                                  UMG Recordings, Inc.           4456    SR0000366508
2486 Bring Me Down                               Miranda Lambert                                  Sony Music Entertainment       2279    SR0000367710
2487 Greyhound Bound For Nowhere                 Miranda Lambert                                  Sony Music Entertainment       2292    SR0000367710
2488 I Can't Be Bothered                         Miranda Lambert                                  Sony Music Entertainment       2297    SR0000367710
2489 I Wanna Die                                 Miranda Lambert                                  Sony Music Entertainment       2298    SR0000367710
2490 Kerosene                                    Miranda Lambert                                  Sony Music Entertainment       2299    SR0000367710
2491 Love Is Looking For You                     Miranda Lambert                                  Sony Music Entertainment       2301    SR0000367710
2492 Love Your Memory                            Miranda Lambert                                  Sony Music Entertainment       2304    SR0000367710
2493 Mama, I'm Alright                           Miranda Lambert                                  Sony Music Entertainment       2307    SR0000367710
2494 New Strings                                 Miranda Lambert                                  Sony Music Entertainment       2312    SR0000367710
2495 There's A Wall                              Miranda Lambert                                  Sony Music Entertainment       2322    SR0000367710
2496 What About Georgia?                         Miranda Lambert                                  Sony Music Entertainment       2325    SR0000367710
2497 All In All                                  Lifehouse                                        UMG Recordings, Inc.           4796    SR0000370643
2498 Better Luck Next Time                       Lifehouse                                        UMG Recordings, Inc.           4799    SR0000370643
2499 Chapter One                                 Lifehouse                                        UMG Recordings, Inc.           4803    SR0000370643


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                              Track                                                   Artist                                           Plaintiff       PX-01 #    Reg. No.
2500 Come Back Down                                          Lifehouse                                                UMG Recordings, Inc.             4805    SR0000370643
2501 Into The Sun                                            Lifehouse                                                UMG Recordings, Inc.             4812    SR0000370643
2502 The End Has Only Begun                                  Lifehouse                                                UMG Recordings, Inc.             4831    SR0000370643
2503 Undone                                                  Lifehouse                                                UMG Recordings, Inc.             4834    SR0000370643
2504 Walking Away                                            Lifehouse                                                UMG Recordings, Inc.             4836    SR0000370643
2505 We'll Never Know                                        Lifehouse                                                UMG Recordings, Inc.             4838    SR0000370643
2506 You And Me                                              Lifehouse                                                UMG Recordings, Inc.             4841    SR0000370643
2507 Afrodisiac                                              Brandy                                                   Atlantic Recording Corporation   5449    SR0000370673
2508 Come As You Are                                         Brandy                                                   Atlantic Recording Corporation   5463    SR0000370673
2509 Finally                                                 Brandy                                                   Atlantic Recording Corporation   5465    SR0000370673
2510 Focus                                                   Brandy                                                   Atlantic Recording Corporation   5466    SR0000370673
2511 How I Feel                                              Brandy                                                   Atlantic Recording Corporation   5472    SR0000370673
2512 I Tried                                                 Brandy                                                   Atlantic Recording Corporation   5477    SR0000370673
2513 Necessary                                               Brandy                                                   Atlantic Recording Corporation   5489    SR0000370673
2514 Sadiddy                                                 Brandy                                                   Atlantic Recording Corporation   5494    SR0000370673
2515 Say You Will                                            Brandy                                                   Atlantic Recording Corporation   5495    SR0000370673
2516 Should I Go                                             Brandy                                                   Atlantic Recording Corporation   5496    SR0000370673
2517 Talk About Our Love (Featuring Kanye West)              Brandy                                                   Atlantic Recording Corporation   5498    SR0000370673
2518 Turn It Up                                              Brandy                                                   Atlantic Recording Corporation   5502    SR0000370673
2519 Where You Wanna Be                                      Brandy                                                   Atlantic Recording Corporation   5506    SR0000370673
2520 Who I Am                                                Brandy                                                   Atlantic Recording Corporation   5507    SR0000370673
2521 Who Is She 2 U                                          Brandy                                                   Atlantic Recording Corporation   5508    SR0000370673
2522 Here I Go Again                                         Rihanna                                                  UMG Recordings, Inc.             5193    SR0000372611
2523 Let Me                                                  Rihanna                                                  UMG Recordings, Inc.             5197    SR0000372611
2524 Music Of The Sun                                        Rihanna                                                  UMG Recordings, Inc.             5202    SR0000372611
2525 Now I Know                                              Rihanna                                                  UMG Recordings, Inc.             5203    SR0000372611
2526 Rush                                                    Rihanna                                                  UMG Recordings, Inc.             5214    SR0000372611
2527 That La, La, La                                         Rihanna                                                  UMG Recordings, Inc.             5226    SR0000372611
2528 The Last Time                                           Rihanna                                                  UMG Recordings, Inc.             5228    SR0000372611
2529 There's A Thug In My Life                               Rihanna                                                  UMG Recordings, Inc.             5229    SR0000372611
2530 Willing To Wait                                         Rihanna                                                  UMG Recordings, Inc.             5238    SR0000372611
2531 You Don't Love Me (No, No, No)                          Rihanna                                                  UMG Recordings, Inc.             5240    SR0000372611
2532 Cigaro                                                  System Of A Down                                         Sony Music Entertainment         2769    SR0000372792
2533 Lost In Hollywood                                       System of a Down                                         Sony Music Entertainment         2775    SR0000372792
2534 Old School Hollywood                                    System Of A Down                                         Sony Music Entertainment         2776    SR0000372792
2535 Question!                                               System Of A Down                                         Sony Music Entertainment         2777    SR0000372792
2536 Radio/Video                                             System Of A Down                                         Sony Music Entertainment         2778    SR0000372792
2537 Revenga                                                 System Of A Down                                         Sony Music Entertainment         2779    SR0000372792
2538 Sad Statue                                              System Of A Down                                         Sony Music Entertainment         2780    SR0000372792
2539 Soldier Side - Intro                                    System Of A Down                                         Sony Music Entertainment         2783    SR0000372792
2540 This Cocaine Makes Me Feel Like I'm On This Song        System Of A Down                                         Sony Music Entertainment         2786    SR0000372792
2541 Violent Pornography                                     System Of A Down                                         Sony Music Entertainment         2789    SR0000372792
2542 Diamonds From Sierra Leone                              Kanye West                                               UMG Recordings, Inc.             4555    SR0000372867
2543 Drive Slow (Explicit)                                   Kanye West                                               UMG Recordings, Inc.             4557    SR0000372867
2544 Gold Digger                                             Kanye West                                               UMG Recordings, Inc.             4562    SR0000372867
2545 Heard 'Em Say                                           Kanye West                                               UMG Recordings, Inc.             4568    SR0000372867
2546 Touch The Sky                                           Kanye West                                               UMG Recordings, Inc.             4609    SR0000372867
2547 Brokenhearted (Single Version) (feat. Wanya Morris)     Brandy                                                   Atlantic Recording Corporation   5460    SR0000373291
2548 I Wanna Be Down (Single Version)                        Brandy                                                   Atlantic Recording Corporation   5479    SR0000373291
2549 Another Day In Paradise                                 Brandy & Ray J                                           Atlantic Recording Corporation   5511    SR0000373291
2550 Banana Pancakes                                         Jack Johnson                                             UMG Recordings, Inc.             4379    SR0000373729
2551 Belle                                                   Jack Johnson                                             UMG Recordings, Inc.             4380    SR0000373729
2552 Better Together                                         Jack Johnson                                             UMG Recordings, Inc.             4381    SR0000373729
2553 Breakdown                                               Jack Johnson                                             UMG Recordings, Inc.             4382    SR0000373729
2554 Constellations                                          Jack Johnson                                             UMG Recordings, Inc.             4383    SR0000373729
2555 Crying Shame                                            Jack Johnson                                             UMG Recordings, Inc.             4384    SR0000373729
2556 Do You Remember                                         Jack Johnson                                             UMG Recordings, Inc.             4385    SR0000373729
2557 Good People                                             Jack Johnson                                             UMG Recordings, Inc.             4388    SR0000373729
2558 If I Could                                              Jack Johnson                                             UMG Recordings, Inc.             4390    SR0000373729
2559 Never Know                                              Jack Johnson                                             UMG Recordings, Inc.             4395    SR0000373729
2560 No Other Way                                            Jack Johnson                                             UMG Recordings, Inc.             4396    SR0000373729
2561 Situations                                              Jack Johnson                                             UMG Recordings, Inc.             4398    SR0000373729
2562 Staple It Together                                      Jack Johnson                                             UMG Recordings, Inc.             4400    SR0000373729
2563 All That I Am                                           Rob Thomas                                               Atlantic Recording Corporation   5841    SR0000373876
2564 Ever The Same                                           Rob Thomas                                               Atlantic Recording Corporation   5842    SR0000373876
2565 Fallin' To Pieces                                       Rob Thomas                                               Atlantic Recording Corporation   5843    SR0000373876
2566 I Am An Illusion                                        Rob Thomas                                               Atlantic Recording Corporation   5844    SR0000373876
2567 Lonely No More                                          Rob Thomas                                               Atlantic Recording Corporation   5845    SR0000373876
2568 My, My, My                                              Rob Thomas                                               Atlantic Recording Corporation   5846    SR0000373876
2569 Now Comes The Night                                     Rob Thomas                                               Atlantic Recording Corporation   5847    SR0000373876
2570 Problem Girl                                            Rob Thomas                                               Atlantic Recording Corporation   5848    SR0000373876
2571 Something To Be                                         Rob Thomas                                               Atlantic Recording Corporation   5849    SR0000373876
2572 This Is How A Heart Breaks                              Rob Thomas                                               Atlantic Recording Corporation   5850    SR0000373876
2573 When The Heartache Ends                                 Rob Thomas                                               Atlantic Recording Corporation   5851    SR0000373876
2574 Bat Country                                             Avenged Sevenfold                                        Warner Bros. Records Inc.        6238    SR0000374368
2575 Beast And The Harlot                                    Avenged Sevenfold                                        Warner Bros. Records Inc.        6239    SR0000374368
2576 Betrayed                                                Avenged Sevenfold                                        Warner Bros. Records Inc.        6240    SR0000374368
2577 Blinded In Chains                                       Avenged Sevenfold                                        Warner Bros. Records Inc.        6241    SR0000374368
2578 Burn It Down                                            Avenged Sevenfold                                        Warner Bros. Records Inc.        6242    SR0000374368


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2579 M.I.A.                                                  Avenged Sevenfold                                        Warner Bros. Records Inc.        6243    SR0000374368
2580 Seize The Day                                           Avenged Sevenfold                                        Warner Bros. Records Inc.        6244    SR0000374368
2581 Sidewinder                                              Avenged Sevenfold                                        Warner Bros. Records Inc.        6245    SR0000374368
2582 Strength Of The World                                   Avenged Sevenfold                                        Warner Bros. Records Inc.        6246    SR0000374368
2583 The Wicked End                                          Avenged Sevenfold                                        Warner Bros. Records Inc.        6247    SR0000374368
2584 Trashed And Scattered                                   Avenged Sevenfold                                        Warner Bros. Records Inc.        6248    SR0000374368
2585 Dearly Beloved                                          Faith Hill                                               Warner Bros. Records Inc.        6416    SR0000374377
2586 Fireflies                                               Faith Hill                                               Warner Bros. Records Inc.        6417    SR0000374377
2587 I Want You                                              Faith Hill                                               Warner Bros. Records Inc.        6423    SR0000374377
2588 If You Ask                                              Faith Hill                                               Warner Bros. Records Inc.        6430    SR0000374377
2589 Like We Never Loved At All                              Faith Hill                                               Warner Bros. Records Inc.        6441    SR0000374377
2590 Stealing Kisses                                         Faith Hill                                               Warner Bros. Records Inc.        6451    SR0000374377
2591 Sunshine & Summertime                                   Faith Hill                                               Warner Bros. Records Inc.        6453    SR0000374377
2592 The Lucky One                                           Faith Hill                                               Warner Bros. Records Inc.        6457    SR0000374377
2593 We've Got Nothing But Love To Prove                     Faith Hill                                               Warner Bros. Records Inc.        6464    SR0000374377
2594 Wish For You                                            Faith Hill                                               Warner Bros. Records Inc.        6468    SR0000374377
2595 You Stay With Me                                        Faith Hill                                               Warner Bros. Records Inc.        6471    SR0000374377
2596 Gatekeeper                                              Feist                                                    UMG Recordings, Inc.             4144    SR0000374394
2597 Inside And Out                                          Feist                                                    UMG Recordings, Inc.             4148    SR0000374394
2598 Leisure Suite                                           Feist                                                    UMG Recordings, Inc.             4150    SR0000374394
2599 Let It Die                                              Feist                                                    UMG Recordings, Inc.             4151    SR0000374394
2600 Lonely Lonely                                           Feist                                                    UMG Recordings, Inc.             4152    SR0000374394
2601 Now At Last                                             Feist                                                    UMG Recordings, Inc.             4155    SR0000374394
2602 One Evening                                             Feist                                                    UMG Recordings, Inc.             4156    SR0000374394
2603 Secret Heart                                            Feist                                                    UMG Recordings, Inc.             4159    SR0000374394
2604 Tout Doucement                                          Feist                                                    UMG Recordings, Inc.             4164    SR0000374394
2605 When I Was A Young Girl                                 Feist                                                    UMG Recordings, Inc.             4165    SR0000374394
2606 DJ Play A Love Song                                     Jamie Foxx                                               Arista Music                     245     SR0000374820
2607 Love Changes                                            Jamie Foxx                                               Arista Music                     246     SR0000374820
2608 Unpredictable                                           Jamie Foxx                                               Arista Music                     247     SR0000374820
2609 With You                                                Jamie Foxx                                               Arista Music                     248     SR0000374820
2610 It Was Me                                               Jamey Johnson                                            Arista Music                     243     SR0000374946
2611 Redneck Side of Me                                      Jamey Johnson                                            Arista Music                     244     SR0000374946
2612 Crazy                                                   Simple Plan                                              Atlantic Recording Corporation   5880    SR0000375167
2613 Everytime                                               Simple Plan                                              Atlantic Recording Corporation   5881    SR0000375167
2614 Jump                                                    Simple Plan                                              Atlantic Recording Corporation   5889    SR0000375167
2615 Me Against The World                                    Simple Plan                                              Atlantic Recording Corporation   5890    SR0000375167
2616 One                                                     Simple Plan                                              Atlantic Recording Corporation   5894    SR0000375167
2617 Perfect World                                           Simple Plan                                              Atlantic Recording Corporation   5897    SR0000375167
2618 Promise                                                 Simple Plan                                              Atlantic Recording Corporation   5898    SR0000375167
2619 Thank You                                               Simple Plan                                              Atlantic Recording Corporation   5902    SR0000375167
2620 And Now My Lifesong Sings                               Casting Crowns                                           Provident Label Group, LLC       667     SR0000375845
2621 Does Anybody Hear Her                                   Casting Crowns                                           Provident Label Group, LLC       670     SR0000375845
2622 Father, Spirit, Jesus                                   Casting Crowns                                           Provident Label Group, LLC       671     SR0000375845
2623 In Me (Demo)                                            Casting Crowns                                           Provident Label Group, LLC       674     SR0000375845
2624 Lifesong                                                Casting Crowns                                           Provident Label Group, LLC       677     SR0000375845
2625 Love Them Like Jesus (Demo)                             Casting Crowns                                           Provident Label Group, LLC       678     SR0000375845
2626 Praise You In This Storm                                Casting Crowns                                           Provident Label Group, LLC       680     SR0000375845
2627 Prodigal                                                Casting Crowns                                           Provident Label Group, LLC       681     SR0000375845
2628 Set Me Free                                             Casting Crowns                                           Provident Label Group, LLC       682     SR0000375845
2629 Stained Glass Masquerade                                Casting Crowns                                           Provident Label Group, LLC       684     SR0000375845
2630 While You Were Sleeping                                 Casting Crowns                                           Provident Label Group, LLC       687     SR0000375845
2631 Be (Intro)                                              Common                                                   UMG Recordings, Inc.             3870    SR0000377106
2632 Chi-City                                                Common                                                   UMG Recordings, Inc.             3872    SR0000377106
2633 Faithful                                                Common                                                   UMG Recordings, Inc.             3874    SR0000377106
2634 Go (Explicit Album Version)                             Common                                                   UMG Recordings, Inc.             3876    SR0000377106
2635 It's Your World                                         Common                                                   UMG Recordings, Inc.             3878    SR0000377106
2636 Love is...                                              Common                                                   UMG Recordings, Inc.             3879    SR0000377106
2637 Real People                                             Common                                                   UMG Recordings, Inc.             3882    SR0000377106
2638 Testify                                                 Common                                                   UMG Recordings, Inc.             3884    SR0000377106
2639 The Food                                                Common                                                   UMG Recordings, Inc.             3887    SR0000377106
2640 They Say                                                Common                                                   UMG Recordings, Inc.             3888    SR0000377106
     No Rain (Ripped Away Version) (24-Bit Digitally         Blind Melon                                              Capitol Records, LLC                     SR0000377592
2641 Remastered 05)                                                                                                                                    3285
2642 Soul One (24-Bit Digitally Remastered 01)               Blind Melon                                              Capitol Records, LLC             3292    SR0000377592
2643 Soup (24-Bit Digitally Remastered 01)                   Blind Melon                                              Capitol Records, LLC             3293    SR0000377592
2644 Walk                                                    Blind Melon                                              Capitol Records, LLC             3303    SR0000377592
2645 Another Round                                           Foo Fighters                                             Sony Music Entertainment         1469    SR0000377762
2646 Cold Day In The Sun                                     Foo Fighters                                             Sony Music Entertainment         1476    SR0000377762
2647 DOA                                                     Foo Fighters                                             Sony Music Entertainment         1479    SR0000377762
2648 End Over End                                            Foo Fighters                                             Sony Music Entertainment         1481    SR0000377762
2649 Free Me                                                 Foo Fighters                                             Sony Music Entertainment         1486    SR0000377762
2650 Friend Of A Friend                                      Foo Fighters                                             Sony Music Entertainment         1487    SR0000377762
2651 Hell                                                    Foo Fighters                                             Sony Music Entertainment         1491    SR0000377762
2652 In Your Honor                                           Foo Fighters                                             Sony Music Entertainment         1494    SR0000377762
2653 Miracle                                                 Foo Fighters                                             Sony Music Entertainment         1501    SR0000377762
2654 No Way Back                                             Foo Fighters                                             Sony Music Entertainment         1508    SR0000377762
2655 On The Mend                                             Foo Fighters                                             Sony Music Entertainment         1509    SR0000377762
2656 Over And Out                                            Foo Fighters                                             Sony Music Entertainment         1511    SR0000377762


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                               Track                                       Artist                                             Plaintiff   PX-01 #    Reg. No.
2657 Resolve                                         Foo Fighters                                             Sony Music Entertainment    1513    SR0000377762
2658 Still                                           Foo Fighters                                             Sony Music Entertainment    1518    SR0000377762
2659 The Deepest Blues Are Black                     Foo Fighters                                             Sony Music Entertainment    1521    SR0000377762
2660 The Last Song                                   Foo Fighters                                             Sony Music Entertainment    1522    SR0000377762
2661 Virginia Moon                                   Foo Fighters                                             Sony Music Entertainment    1525    SR0000377762
2662 What If I Do?                                   Foo Fighters                                             Sony Music Entertainment    1527    SR0000377762
2663 Better Than Me                                  Hinder                                                   UMG Recordings, Inc.        4329    SR0000379192
2664 Bliss (I Don't Wanna Know)                      Hinder                                                   UMG Recordings, Inc.        4330    SR0000379192
2665 By The Way                                      Hinder                                                   UMG Recordings, Inc.        4332    SR0000379192
2666 Get Stoned                                      Hinder                                                   UMG Recordings, Inc.        4334    SR0000379192
2667 Homecoming Queen                                Hinder                                                   UMG Recordings, Inc.        4337    SR0000379192
2668 How Long                                        Hinder                                                   UMG Recordings, Inc.        4338    SR0000379192
2669 Lips Of An Angel                                Hinder                                                   UMG Recordings, Inc.        4340    SR0000379192
2670 Nothin' Good About Goodbye                      Hinder                                                   UMG Recordings, Inc.        4344    SR0000379192
2671 Room 21                                         Hinder                                                   UMG Recordings, Inc.        4346    SR0000379192
2672 Shoulda                                         Hinder                                                   UMG Recordings, Inc.        4348    SR0000379192
2673 Up All Night                                    Hinder                                                   UMG Recordings, Inc.        4354    SR0000379192
2674 A Woman's Worth                                 Alicia Keys                                              Arista Music                6       SR0000379937
2675 Every Little Bit Hurts                          Alicia Keys                                              Arista Music                12      SR0000379937
2676 Intro Alicia's Prayer (Acappella)               Alicia Keys                                              Arista Music                24      SR0000379937
2677 Stolen Moments                                  Alicia Keys                                              Arista Music                38      SR0000379937
2678 Streets Of New York                             Alicia Keys                                              Arista Music                39      SR0000379937
2679 Unbreakable                                     Alicia Keys                                              Arista Music                47      SR0000379937
2680 Wild Horses                                     Alicia Keys                                              Arista Music                53      SR0000379937
2681 Avarice                                         Disturbed                                                Warner Bros. Records Inc.   6345    SR0000380289
2682 Decadence                                       Disturbed                                                Warner Bros. Records Inc.   6352    SR0000380289
2683 Deify                                           Disturbed                                                Warner Bros. Records Inc.   6355    SR0000380289
2684 Forgiven                                        Disturbed                                                Warner Bros. Records Inc.   6363    SR0000380289
2685 I'm Alive                                       Disturbed                                                Warner Bros. Records Inc.   6368    SR0000380289
2686 Just Stop                                       Disturbed                                                Warner Bros. Records Inc.   6372    SR0000380289
2687 Land Of Confusion                               Disturbed                                                Warner Bros. Records Inc.   6373    SR0000380289
2688 Overburdened                                    Disturbed                                                Warner Bros. Records Inc.   6379    SR0000380289
2689 Pain Redefined                                  Disturbed                                                Warner Bros. Records Inc.   6380    SR0000380289
2690 Sacred Lie                                      Disturbed                                                Warner Bros. Records Inc.   6387    SR0000380289
2691 Sons Of Plunder                                 Disturbed                                                Warner Bros. Records Inc.   6390    SR0000380289
2692 Ten Thousand Fists                              Disturbed                                                Warner Bros. Records Inc.   6393    SR0000380289
2693 Fly As The Sky                                  Chamillionaire                                           UMG Recordings, Inc.        3838    SR0000381901
2694 Frontin'                                        Chamillionaire                                           UMG Recordings, Inc.        3839    SR0000381901
2695 Grown and Sexy                                  Chamillionaire                                           UMG Recordings, Inc.        3840    SR0000381901
2696 In The Trunk                                    Chamillionaire                                           UMG Recordings, Inc.        3841    SR0000381901
2697 No Snitchin'                                    Chamillionaire                                           UMG Recordings, Inc.        3842    SR0000381901
2698 Outro                                           Chamillionaire                                           UMG Recordings, Inc.        3843    SR0000381901
2699 Peepin' Me                                      Chamillionaire                                           UMG Recordings, Inc.        3844    SR0000381901
2700 Picture Perfect                                 Chamillionaire                                           UMG Recordings, Inc.        3845    SR0000381901
2701 Radio Interruption                              Chamillionaire                                           UMG Recordings, Inc.        3846    SR0000381901
2702 Rain                                            Chamillionaire                                           UMG Recordings, Inc.        3847    SR0000381901
2703 Ridin' (Explicit)                               Chamillionaire                                           UMG Recordings, Inc.        3848    SR0000381901
2704 Southern Takeover                               Chamillionaire                                           UMG Recordings, Inc.        3849    SR0000381901
2705 Think I'm Crazy                                 Chamillionaire                                           UMG Recordings, Inc.        3850    SR0000381901
2706 Turn It Up                                      Chamillionaire                                           UMG Recordings, Inc.        3851    SR0000381901
2707 Void In My Life                                 Chamillionaire                                           UMG Recordings, Inc.        3852    SR0000381901
2708 Am I Worth It                                   Heather Headley                                          Arista Music                219     SR0000382683
2709 Back When It Was                                Heather Headley                                          Arista Music                220     SR0000382683
2710 Change                                          Heather Headley                                          Arista Music                221     SR0000382683
2711 I Didn't Mean To                                Heather Headley                                          Arista Music                222     SR0000382683
2712 In My Mind                                      Heather Headley                                          Arista Music                223     SR0000382683
2713 Losing You                                      Heather Headley                                          Arista Music                224     SR0000382683
2714 Me Time                                         Heather Headley                                          Arista Music                225     SR0000382683
2715 The Letter                                      Heather Headley                                          Arista Music                226     SR0000382683
2716 Wait A Minute                                   Heather Headley                                          Arista Music                227     SR0000382683
2717 What's Not Being Said                           Heather Headley                                          Arista Music                228     SR0000382683
2718 Rain                                            Heather Headley featuring Shaggy                         Arista Music                229     SR0000382683
2719 How Many Ways                                   Heather Headley featuring Vybz Kartel                    Arista Music                230     SR0000382683
2720 FACK                                            Eminem                                                   UMG Recordings, Inc.        4025    SR0000382840
2721 FACK (Explicit)                                 Eminem                                                   UMG Recordings, Inc.        4026    SR0000382840
2722 Intro                                           Eminem                                                   UMG Recordings, Inc.        4035    SR0000382840
2723 Shake That                                      Eminem                                                   UMG Recordings, Inc.        4075    SR0000382840
2724 When I'm Gone                                   Eminem                                                   UMG Recordings, Inc.        4099    SR0000382840
2725 Don't Forget to Remember Me                     Carrie Underwood                                         Sony Music Entertainment    1140    SR0000383054
2726 I Ain't In Checotah Anymore                     Carrie Underwood                                         Sony Music Entertainment    1146    SR0000383054
2727 I Just Can't Live A Lie                         Carrie Underwood                                         Sony Music Entertainment    1147    SR0000383054
2728 Lessons Learned                                 Carrie Underwood                                         Sony Music Entertainment    1155    SR0000383054
2729 Starts With Goodbye                             Carrie Underwood                                         Sony Music Entertainment    1161    SR0000383054
2730 That's Where It Is                              Carrie Underwood                                         Sony Music Entertainment    1163    SR0000383054
2731 The Night Before (Life Goes On)                 Carrie Underwood                                         Sony Music Entertainment    1165    SR0000383054
2732 Wasted                                          Carrie Underwood                                         Sony Music Entertainment    1168    SR0000383054
2733 We're Young and Beautiful                       Carrie Underwood                                         Sony Music Entertainment    1169    SR0000383054
2734 Whenever You Remember                           Carrie Underwood                                         Sony Music Entertainment    1171    SR0000383054
2735 Change                                          Blind Melon                                              Capitol Records, LLC        3268    SR0000384161


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2736 Dear Ol' Dad                                          Blind Melon                                              Capitol Records, LLC        3269    SR0000384161
2737 Deserted                                              Blind Melon                                              Capitol Records, LLC        3270    SR0000384161
2738 Drive                                                 Blind Melon                                              Capitol Records, LLC        3271    SR0000384161
2739 Holyman                                               Blind Melon                                              Capitol Records, LLC        3276    SR0000384161
2740 I Wonder                                              Blind Melon                                              Capitol Records, LLC        3277    SR0000384161
2741 No Rain                                               Blind Melon                                              Capitol Records, LLC        3284    SR0000384161
2742 Paper Scratcher                                       Blind Melon                                              Capitol Records, LLC        3286    SR0000384161
2743 Seed To A Tree (Explicit)                             Blind Melon                                              Capitol Records, LLC        3288    SR0000384161
2744 Sleepyhouse                                           Blind Melon                                              Capitol Records, LLC        3290    SR0000384161
2745 Soak The Sin                                          Blind Melon                                              Capitol Records, LLC        3291    SR0000384161
2746 Time                                                  Blind Melon                                              Capitol Records, LLC        3299    SR0000384161
2747 Tones Of Home                                         Blind Melon                                              Capitol Records, LLC        3301    SR0000384161
2748 EZ Come EZ Go                                         Cypress Hill                                             Sony Music Entertainment    1328    SR0000384639
2749 The Only Way                                          Cypress Hill                                             Sony Music Entertainment    1331    SR0000384639
2750 American Baby Intro                                   Dave Matthews Band                                       Arista Music                140     SR0000385935
2751 Dreamgirl                                             Dave Matthews Band                                       Arista Music                153     SR0000385935
2752 Everybody Wake Up (Our Finest Hour Arrives)           Dave Matthews Band                                       Arista Music                156     SR0000385935
2753 Hunger For The Great Light                            Dave Matthews Band                                       Arista Music                162     SR0000385935
2754 Louisiana Bayou                                       Dave Matthews Band                                       Arista Music                169     SR0000385935
2755 Old Dirt Hill (Bring That Beat Back)                  Dave Matthews Band                                       Arista Music                172     SR0000385935
2756 Out of My Hands                                       Dave Matthews Band                                       Arista Music                173     SR0000385935
2757 Smooth Rider                                          Dave Matthews Band                                       Arista Music                184     SR0000385935
2758 Stand Up (For It)                                     Dave Matthews Band                                       Arista Music                188     SR0000385935
2759 Steady as We Go                                       Dave Matthews Band                                       Arista Music                190     SR0000385935
2760 Stolen Away on 55th & 3rd                             Dave Matthews Band                                       Arista Music                191     SR0000385935
2761 You Might Die Trying                                  Dave Matthews Band                                       Arista Music                206     SR0000385935
2762 California                                            Darren Hayes of Savage Garden                            Sony Music Entertainment    1334    SR0000386428
2763 So Beautiful                                          Darren Hayes of Savage Garden                            Sony Music Entertainment    1335    SR0000386428
2764 Angels Fall Sometimes                                 Josh Turner                                              UMG Recordings, Inc.        4458    SR0000386947
2765 Baby's Gone Home To Mama                              Josh Turner                                              UMG Recordings, Inc.        4462    SR0000386947
2766 Lord Have Mercy On A Country Boy                      Josh Turner                                              UMG Recordings, Inc.        4478    SR0000386947
2767 Loretta Lynn's Lincoln                                Josh Turner                                              UMG Recordings, Inc.        4479    SR0000386947
2768 Me And God                                            Josh Turner                                              UMG Recordings, Inc.        4481    SR0000386947
2769 No Rush                                               Josh Turner                                              UMG Recordings, Inc.        4482    SR0000386947
2770 Way Down South                                        Josh Turner                                              UMG Recordings, Inc.        4496    SR0000386947
2771 White Noise                                           Josh Turner                                              UMG Recordings, Inc.        4498    SR0000386947
2772 Your Man                                              Josh Turner                                              UMG Recordings, Inc.        4502    SR0000386947
2773 A Girl Like Me                                        Rihanna                                                  UMG Recordings, Inc.        5168    SR0000387137
2774 A Million Miles Away                                  Rihanna                                                  UMG Recordings, Inc.        5169    SR0000387137
2775 Break It Off                                          Rihanna                                                  UMG Recordings, Inc.        5171    SR0000387137
2776 Crazy Little Thing Called Love                        Rihanna                                                  UMG Recordings, Inc.        5178    SR0000387137
2777 Dem Haters                                            Rihanna                                                  UMG Recordings, Inc.        5180    SR0000387137
2778 Final Goodbye                                         Rihanna                                                  UMG Recordings, Inc.        5187    SR0000387137
2779 If It's Lovin' That You Want - Part 2                 Rihanna                                                  UMG Recordings, Inc.        5195    SR0000387137
2780 Kisses Don't Lie                                      Rihanna                                                  UMG Recordings, Inc.        5196    SR0000387137
2781 P.S. (I'm Still Not Over You)                         Rihanna                                                  UMG Recordings, Inc.        5205    SR0000387137
2782 Selfish Girl                                          Rihanna                                                  UMG Recordings, Inc.        5217    SR0000387137
2783 We Ride                                               Rihanna                                                  UMG Recordings, Inc.        5235    SR0000387137
2784 21st Century Schizoid Man                             Ozzy Osbourne                                            Sony Music Entertainment    2423    SR0000388035
2785 Mississippi Queen                                     Ozzy Osbourne                                            Sony Music Entertainment    2441    SR0000388035
2786 California Girls                                      Gretchen Wilson                                          Sony Music Entertainment    1644    SR0000388036
2787 I Don't Feel Like Loving You Today                    Gretchen Wilson                                          Sony Music Entertainment    1649    SR0000388036
2788 Politically Uncorrect                                 Gretchen Wilson                                          Sony Music Entertainment    1652    SR0000388036
2789 18th Floor Balcony                                    Blue October                                             UMG Recordings, Inc.        3782    SR0000388117
2790 Congratulations                                       Blue October                                             UMG Recordings, Inc.        3783    SR0000388117
2791 Drilled A Wire Through My Cheek                       Blue October                                             UMG Recordings, Inc.        3784    SR0000388117
2792 Everlasting Friend                                    Blue October                                             UMG Recordings, Inc.        3785    SR0000388117
2793 Hate Me                                               Blue October                                             UMG Recordings, Inc.        3786    SR0000388117
2794 Into The Ocean                                        Blue October                                             UMG Recordings, Inc.        3787    SR0000388117
2795 Let It Go                                             Blue October                                             UMG Recordings, Inc.        3788    SR0000388117
2796 Overweight (Explicit)                                 Blue October                                             UMG Recordings, Inc.        3789    SR0000388117
2797 She's My Ride Home                                    Blue October                                             UMG Recordings, Inc.        3790    SR0000388117
2798 Sound Of Pulling Heaven Down                          Blue October                                             UMG Recordings, Inc.        3791    SR0000388117
2799 What If We Could                                      Blue October                                             UMG Recordings, Inc.        3792    SR0000388117
2800 X-Amount Of Words                                     Blue October                                             UMG Recordings, Inc.        3793    SR0000388117
2801 Attack                                                System Of A Down                                         Sony Music Entertainment    2767    SR0000388170
2802 Dreaming                                              System of a Down                                         Sony Music Entertainment    2770    SR0000388170
2803 Holy Mountains                                        System Of A Down                                         Sony Music Entertainment    2771    SR0000388170
2804 Kill Rock 'n Roll                                     System of a Down                                         Sony Music Entertainment    2773    SR0000388170
2805 Lonely Day                                            System Of A Down                                         Sony Music Entertainment    2774    SR0000388170
2806 She's Like Heroin                                     System Of A Down                                         Sony Music Entertainment    2781    SR0000388170
2807 Soldier Side                                          System of a Down                                         Sony Music Entertainment    2782    SR0000388170
2808 Stealing Society                                      System Of A Down                                         Sony Music Entertainment    2784    SR0000388170
2809 Tentative                                             System Of A Down                                         Sony Music Entertainment    2785    SR0000388170
2810 U-Fig                                                 System Of A Down                                         Sony Music Entertainment    2787    SR0000388170
2811 Vicinity Of Obscenity                                 System Of A Down                                         Sony Music Entertainment    2788    SR0000388170
2812 21st Century                                          Red Hot Chili Peppers                                    Warner Bros. Records Inc.   6687    SR0000390775
2813 Animal Bar                                            Red Hot Chili Peppers                                    Warner Bros. Records Inc.   6688    SR0000390775
2814 C'mon Girl                                            Red Hot Chili Peppers                                    Warner Bros. Records Inc.   6690    SR0000390775


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                                 Track                                                    Artist                                         Plaintiff    PX-01 #    Reg. No.
2815 Charlie                                                      Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6693    SR0000390775
2816 Death Of A Martian                                           Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6695    SR0000390775
2817 Desecration Smile                                            Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6696    SR0000390775
2818 Especially In Michigan                                       Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6697    SR0000390775
2819 Hard To Concentrate                                          Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6698    SR0000390775
2820 Hey                                                          Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6699    SR0000390775
2821 Hump De Bump                                                 Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6700    SR0000390775
2822 If                                                           Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6701    SR0000390775
2823 Make You Feel Better                                         Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6702    SR0000390775
2824 Readymade                                                    Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6703    SR0000390775
2825 She Looks To Me                                              Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6705    SR0000390775
2826 She's Only 18                                                Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6706    SR0000390775
2827 Slow Cheetah                                                 Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6707    SR0000390775
2828 Snow (Hey Oh)                                                Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6708    SR0000390775
2829 So Much I                                                    Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6709    SR0000390775
2830 Stadium Arcadium                                             Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6710    SR0000390775
2831 Storm In A Teacup                                            Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6711    SR0000390775
2832 Strip My Mind                                                Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6712    SR0000390775
2833 Tell Me Baby                                                 Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6714    SR0000390775
2834 Torture Me                                                   Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6715    SR0000390775
2835 Turn It Again                                                Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6716    SR0000390775
2836 Warlocks                                                     Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6718    SR0000390775
2837 We Believe                                                   Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6719    SR0000390775
2838 Wet Sand                                                     Red Hot Chili Peppers                                   Warner Bros. Records Inc.   6720    SR0000390775
2839 Black Moon                                                   Deftones                                                Warner Bros. Records Inc.   6299    SR0000390931
2840 Change (In The House Of Flies) (Acoustic)                    Deftones                                                Warner Bros. Records Inc.   6302    SR0000390931
2841 Crenshaw Punch / I'll Throw Rocks At You                     Deftones                                                Warner Bros. Records Inc.   6303    SR0000390931
2842 Digital Bath (Acoustic)                                      Deftones                                                Warner Bros. Records Inc.   6307    SR0000390931
2843 If Only Tonight We Could Sleep                               Deftones                                                Warner Bros. Records Inc.   6315    SR0000390931
2844 No Ordinary Love                                             Deftones                                                Warner Bros. Records Inc.   6325    SR0000390931
2845 Please Please Please Let Me Get What I Want                  Deftones                                                Warner Bros. Records Inc.   6330    SR0000390931
2846 Savory                                                       Deftones                                                Warner Bros. Records Inc.   6335    SR0000390931
2847 Simple Man                                                   Deftones                                                Warner Bros. Records Inc.   6336    SR0000390931
2848 Sinatra                                                      Deftones                                                Warner Bros. Records Inc.   6337    SR0000390931
2849 The Chauffeur                                                Deftones                                                Warner Bros. Records Inc.   6340    SR0000390931
2850 Wax And Wane                                                 Deftones                                                Warner Bros. Records Inc.   6341    SR0000390931
2851 Bitter End                                                   Dixie Chicks                                            Sony Music Entertainment    1362    SR0000391109
2852 Easy Silence                                                 Dixie Chicks                                            Sony Music Entertainment    1364    SR0000391109
2853 Everybody Knows                                              Dixie Chicks                                            Sony Music Entertainment    1365    SR0000391109
2854 Lubbock or Leave It                                          Dixie Chicks                                            Sony Music Entertainment    1374    SR0000391109
2855 Lullaby                                                      Dixie Chicks                                            Sony Music Entertainment    1375    SR0000391109
2856 Silent House                                                 Dixie Chicks                                            Sony Music Entertainment    1378    SR0000391109
2857 The Long Way Around                                          Dixie Chicks                                            Sony Music Entertainment    1381    SR0000391109
2858 Certified                                                    Lloyd                                                   UMG Recordings, Inc.        4843    SR0000391940
2859 Get It Shawty                                                Lloyd                                                   UMG Recordings, Inc.        4844    SR0000391940
2860 Hazel                                                        Lloyd                                                   UMG Recordings, Inc.        4845    SR0000391940
2861 I Don't Mind                                                 Lloyd                                                   UMG Recordings, Inc.        4846    SR0000391940
2862 I Want You (Remix)                                           Lloyd                                                   UMG Recordings, Inc.        4847    SR0000391940
2863 Incredible                                                   Lloyd                                                   UMG Recordings, Inc.        4848    SR0000391940
2864 Killing Me                                                   Lloyd                                                   UMG Recordings, Inc.        4849    SR0000391940
2865 Lloyd (Intro)                                                Lloyd                                                   UMG Recordings, Inc.        4850    SR0000391940
2866 One For Me                                                   Lloyd                                                   UMG Recordings, Inc.        4851    SR0000391940
2867 Player's Prayer                                              Lloyd                                                   UMG Recordings, Inc.        4852    SR0000391940
2868 StreetLove                                                   Lloyd                                                   UMG Recordings, Inc.        4853    SR0000391940
2869 Take You Home                                                Lloyd                                                   UMG Recordings, Inc.        4854    SR0000391940
2870 Valentine                                                    Lloyd                                                   UMG Recordings, Inc.        4855    SR0000391940
2871 What You Wanna Do                                            Lloyd                                                   UMG Recordings, Inc.        4856    SR0000391940
2872 You (Edited)                                                 Lloyd                                                   UMG Recordings, Inc.        4857    SR0000391940
2873 Hello                                                        Maroon 5                                                UMG Recordings, Inc.        4942    SR0000393024
2874 Secret/Ain't No Sunshine                                     Maroon 5                                                UMG Recordings, Inc.        4966    SR0000393024
2875 1st Time (feat. Marques Houston)                             Yung Joc                                                Bad Boy Records LLC         5993    SR0000393525
2876 Do Yah Bad                                                   Yung Joc                                                Bad Boy Records LLC         6000    SR0000393525
2877 Don't Play Wit It (feat. Big Gee)                            Yung Joc                                                Bad Boy Records LLC         6001    SR0000393525
     Dope Boy Magic (feat. Nicholas "Play Boy Nick" Smith,        Yung Joc                                                Bad Boy Records LLC         6002    SR0000393525
     Corey "Black Owned C Bone" Andrews & Chino Dolla)
2878
     Excuse Me Officer (Interlude) (feat. A.D. "Griff" Griffin)   Yung Joc                                                Bad Boy Records LLC                SR0000393525
2879                                                                                                                                                  6003
2880 Flip Flop (feat. Boyz N Da Hood and Cheri Dennis)            Yung Joc                                                Bad Boy Records LLC         6004   SR0000393525
     He Stayed In Trouble (Interlude) (Feat. A.D. "Griff"         Yung Joc                                                Bad Boy Records LLC                SR0000393525
2881 Griffin)                                                                                                                                         6006
2882 Hear Me Coming                                               Yung Joc                                                Bad Boy Records LLC         6007   SR0000393525
2883 I Know You See It                                            Yung Joc                                                Bad Boy Records LLC         6011   SR0000393525
2884 I'm Him                                                      Yung Joc                                                Bad Boy Records LLC         6013   SR0000393525
2885 It's Goin' Down                                              Yung Joc                                                Bad Boy Records LLC         6014   SR0000393525
2886 Knock It Out                                                 Yung Joc                                                Bad Boy Records LLC         6015   SR0000393525
2887 New Joc City (Intro)                                         Yung Joc                                                Bad Boy Records LLC         6018   SR0000393525
2888 Patron                                                       Yung Joc                                                Bad Boy Records LLC         6020   SR0000393525
2889 Picture Perfect                                              Yung Joc                                                Bad Boy Records LLC         6021   SR0000393525


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                               Track                                               Artist                                            Plaintiff   PX-01 #    Reg. No.
2890 Breathe                                                  Paula DeAnda                                           Arista Records LLC          472     SR0000393631
2891 Doing Too Much                                           Paula DeAnda                                           Arista Records LLC          473     SR0000393631
2892 Easy                                                     Paula DeAnda                                           Arista Records LLC          474     SR0000393631
2893 Footprints On My Heart                                   Paula DeAnda                                           Arista Records LLC          475     SR0000393631
2894 Good Girl                                                Paula DeAnda                                           Arista Records LLC          476     SR0000393631
2895 I'll Be Down For You                                     Paula Deanda                                           Arista Records LLC          477     SR0000393631
2896 Overloved                                                Paula DeAnda                                           Arista Records LLC          478     SR0000393631
2897 So Cold                                                  Paula DeAnda                                           Arista Records LLC          479     SR0000393631
2898 When It Was Me                                           Paula DeAnda                                           Arista Records LLC          480     SR0000393631
2899 Walk Away (Remember Me)                                  Paula DeAnda feat. The Dey                             Arista Records LLC          481     SR0000393631
2900 Clap Ta This                                             Paula DeAnda featuring Ak'Sent                         Arista Records LLC          482     SR0000393631
2901 Let's Go Out Tonight                                     Paula DeAnda featuring P.B.                            Arista Records LLC          483     SR0000393631
2902 Wanna Be With You                                        Paula DeAnda featuring V Nice                          Arista Records LLC          484     SR0000393631
2903 All That I Got (The Make Up Song)                        Fergie                                                 UMG Recordings, Inc.        4166    SR0000393675
2904 Big Girls Don't Cry (Personal)                           Fergie                                                 UMG Recordings, Inc.        4168    SR0000393675
2905 Clumsy                                                   Fergie                                                 UMG Recordings, Inc.        4169    SR0000393675
2906 Fergalicious                                             Fergie                                                 UMG Recordings, Inc.        4170    SR0000393675
2907 Finally                                                  Fergie                                                 UMG Recordings, Inc.        4171    SR0000393675
2908 Glamorous                                                Fergie                                                 UMG Recordings, Inc.        4172    SR0000393675
2909 Here I Come                                              Fergie                                                 UMG Recordings, Inc.        4173    SR0000393675
2910 Losing My Ground                                         Fergie                                                 UMG Recordings, Inc.        4176    SR0000393675
2911 Mary Jane Shoes                                          Fergie                                                 UMG Recordings, Inc.        4177    SR0000393675
2912 Pedestal                                                 Fergie                                                 UMG Recordings, Inc.        4178    SR0000393675
2913 Velvet                                                   Fergie                                                 UMG Recordings, Inc.        4179    SR0000393675
2914 Voodoo Doll                                              Fergie                                                 UMG Recordings, Inc.        4180    SR0000393675
2915 Coleccionista De Canciones                               Camila                                                 Sony Music Entertainment    1124    SR0000393905
2916 Me Basto                                                 Camila                                                 Sony Music Entertainment    1125    SR0000393905
2917 Me Da Igual                                              Camila                                                 Sony Music Entertainment    1126    SR0000393905
2918 Perderte de Nuevo                                        Camila                                                 Sony Music Entertainment    1127    SR0000393905
2919 Sin Tu Amor                                              Camila                                                 Sony Music Entertainment    1128    SR0000393905
2920 Todo Cambio                                              Camila                                                 Sony Music Entertainment    1129    SR0000393905
2921 U Got My Love                                            Camila                                                 Sony Music Entertainment    1130    SR0000393905
2922 Va Para Ti                                               Camila                                                 Sony Music Entertainment    1131    SR0000393905
2923 Yo Quiero                                                Camila                                                 Sony Music Entertainment    1132    SR0000393905
2924 Cross That Line                                          Rick Ross                                              UMG Recordings, Inc.        5139    SR0000394154
2925 Push It                                                  Rick Ross                                              UMG Recordings, Inc.        5155    SR0000394154
2926 Street Life (Explicit)                                   Rick Ross                                              UMG Recordings, Inc.        5158    SR0000394154
2927 Closer                                                   Lacuna Coil                                            Sony Music Entertainment    2061    SR0000395212
2928 Devoted                                                  Lacuna Coil                                            Sony Music Entertainment    2063    SR0000395212
2929 Enjoy The Silence (Depeche Mode)                         Lacuna Coil                                            Sony Music Entertainment    2066    SR0000395212
2930 Fragile                                                  Lacuna Coil                                            Sony Music Entertainment    2068    SR0000395212
2931 Fragments Of Faith                                       Lacuna Coil                                            Sony Music Entertainment    2069    SR0000395212
2932 In Visible Light                                         Lacuna Coil                                            Sony Music Entertainment    2075    SR0000395212
2933 Our Truth                                                Lacuna Coil                                            Sony Music Entertainment    2084    SR0000395212
2934 The Game                                                 Lacuna Coil                                            Sony Music Entertainment    2090    SR0000395212
2935 To The Edge                                              Lacuna Coil                                            Sony Music Entertainment    2094    SR0000395212
2936 What I See                                               Lacuna Coil                                            Sony Music Entertainment    2100    SR0000395212
2937 Within Me                                                Lacuna Coil                                            Sony Music Entertainment    2103    SR0000395212
2938 Without Fear                                             Lacuna Coil                                            Sony Music Entertainment    2104    SR0000395212
2939 You Create                                               Lacuna Coil                                            Sony Music Entertainment    2105    SR0000395212
2940 Everybody                                                Macy Gray                                              UMG Recordings, Inc.        4920    SR0000395382
2941 Get Out                                                  Macy Gray                                              UMG Recordings, Inc.        4921    SR0000395382
2942 Glad You're Here                                         Macy Gray                                              UMG Recordings, Inc.        4922    SR0000395382
2943 Okay                                                     Macy Gray                                              UMG Recordings, Inc.        4923    SR0000395382
2944 One For Me                                               Macy Gray                                              UMG Recordings, Inc.        4924    SR0000395382
2945 Slowly                                                   Macy Gray                                              UMG Recordings, Inc.        4925    SR0000395382
2946 Strange Behavior                                         Macy Gray                                              UMG Recordings, Inc.        4926    SR0000395382
2947 Treat Me Like Your Money                                 Macy Gray                                              UMG Recordings, Inc.        4927    SR0000395382
2948 What I Gotta Do                                          Macy Gray                                              UMG Recordings, Inc.        4928    SR0000395382
2949 107°                                                     Citizen Cope                                           Arista Music                116     SR0000395941
2950 All Dressed Up                                           Citizen Cope                                           Arista Music                117     SR0000395941
2951 Awe                                                      Citizen Cope                                           Arista Music                118     SR0000395941
2952 Back Together                                            Citizen Cope                                           Arista Music                119     SR0000395941
2953 Brother Lee                                              Citizen Cope                                           Arista Music                120     SR0000395941
2954 Every Waking Moment                                      Citizen Cope                                           Arista Music                124     SR0000395941
2955 Friendly Fire                                            Citizen Cope                                           Arista Music                126     SR0000395941
2956 John Lennon                                              Citizen Cope                                           Arista Music                128     SR0000395941
2957 Left For Dead                                            Citizen Cope                                           Arista Music                129     SR0000395941
2958 More Than It Seems                                       Citizen Cope                                           Arista Music                130     SR0000395941
2959 Somehow                                                  Citizen Cope                                           Arista Music                136     SR0000395941
2960 Nobody Knows                                             P!nk                                                   LaFace Records LLC          609     SR0000395942
2961 U + Ur Hand (Main Version/Clean) (Clean Version)         P!nk                                                   LaFace Records LLC          612     SR0000395942
2962 Who Knew                                                 P!nk                                                   LaFace Records LLC          613     SR0000395942
2963 Dear Mr. President Featuring Indigo Girls                P!nk                                                   LaFace Records LLC          614     SR0000395942
2964 (Another Song) All Over Again                            Justin Timberlake                                      Zomba Recording LLC         3157    SR0000395943
2965 Chop Me Up                                               Justin Timberlake                                      Zomba Recording LLC         3159    SR0000395943
2966 FutureSex / LoveSound                                    Justin Timberlake                                      Zomba Recording LLC         3161    SR0000395943
2967 Losing My Way                                            Justin Timberlake                                      Zomba Recording LLC         3165    SR0000395943
2968 LoveStoned / I Think She Knows Interlude                 Justin Timberlake                                      Zomba Recording LLC         3166    SR0000395943


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2969 Medley: Sexy Ladies / Let Me Talk to You (Prelude)      Justin Timberlake                                        Zomba Recording LLC              3167    SR0000395943
2970 My Love                                                 Justin Timberlake                                        Zomba Recording LLC              3168    SR0000395943
2971 Sexy Ladies                                             Justin Timberlake                                        Zomba Recording LLC              3174    SR0000395943
2972 Summer Love                                             Justin Timberlake                                        Zomba Recording LLC              3176    SR0000395943
2973 Until The End Of Time                                   Justin Timberlake                                        Zomba Recording LLC              3178    SR0000395943
2974 What Goes Around... Comes Around                        Justin Timberlake                                        Zomba Recording LLC              3179    SR0000395943
2975 What Goes Around.../...Comes Around Interlude           Justin Timberlake                                        Zomba Recording LLC              3180    SR0000395943
2976 Damn Girl (feat. will.i.am)                             Justin Timberlake                                        Zomba Recording LLC              3181    SR0000395943
2977 Hollywood Divorce                                       OutKast                                                  LaFace Records LLC               587     SR0000395944
2978 Morris Brown                                            OutKast                                                  LaFace Records LLC               591     SR0000395944
2979 Director                                                Avant                                                    UMG Recordings, Inc.             3652    SR0000396388
2980 Exclusive                                               Avant                                                    UMG Recordings, Inc.             3656    SR0000396388
2981 GPSA (Ghetto Public Service Announcement)               Avant                                                    UMG Recordings, Inc.             3660    SR0000396388
2982 Grown Ass Man                                           Avant                                                    UMG Recordings, Inc.             3661    SR0000396388
2983 Imagination                                             Avant                                                    UMG Recordings, Inc.             3667    SR0000396388
2984 Lie About Us                                            Avant                                                    UMG Recordings, Inc.             3670    SR0000396388
2985 Mr. Dream                                               Avant                                                    UMG Recordings, Inc.             3673    SR0000396388
2986 Now You Got Someone                                     Avant                                                    UMG Recordings, Inc.             3676    SR0000396388
2987 Right Place, Wrong Time                                 Avant                                                    UMG Recordings, Inc.             3683    SR0000396388
2988 So Many Ways                                            Avant                                                    UMG Recordings, Inc.             3688    SR0000396388
2989 This Is Your Night                                      Avant                                                    UMG Recordings, Inc.             3692    SR0000396388
2990 With You                                                Avant                                                    UMG Recordings, Inc.             3697    SR0000396388
2991 Marigold                                                Foo Fighters                                             Sony Music Entertainment         1500    SR0000396409
2992 My Hero (Live)                                          Foo Fighters                                             Sony Music Entertainment         1504    SR0000396409
2993 Razor                                                   Foo Fighters                                             Sony Music Entertainment         1512    SR0000396409
2994 Skin And Bones                                          Foo Fighters                                             Sony Music Entertainment         1515    SR0000396409
2995 Get Out Alive                                           Three Days Grace                                         Zomba Recording LLC              3185    SR0000397604
2996 Gone Forever                                            Three Days Grace                                         Zomba Recording LLC              3186    SR0000397604
2997 It's All Over                                           Three Days Grace                                         Zomba Recording LLC              3188    SR0000397604
2998 Let It Die                                              Three Days Grace                                         Zomba Recording LLC              3190    SR0000397604
2999 Never Too Late                                          Three Days Grace                                         Zomba Recording LLC              3192    SR0000397604
3000 On My Own                                               Three Days Grace                                         Zomba Recording LLC              3194    SR0000397604
3001 One X                                                   Three Days Grace                                         Zomba Recording LLC              3195    SR0000397604
3002 Over And Over                                           Three Days Grace                                         Zomba Recording LLC              3196    SR0000397604
3003 Riot                                                    Three Days Grace                                         Zomba Recording LLC              3198    SR0000397604
3004 Time Of Dying                                           Three Days Grace                                         Zomba Recording LLC              3201    SR0000397604
3005 Crazy                                                   Gnarls Barkley                                           Atlantic Recording Corporation   5579    SR0000398345
3006 Feng Shui                                               Gnarls Barkley                                           Atlantic Recording Corporation   5580    SR0000398345
3007 Go-Go Gadget Gospel                                     Gnarls Barkley                                           Atlantic Recording Corporation   5581    SR0000398345
3008 Gone Daddy Gone                                         Gnarls Barkley                                           Atlantic Recording Corporation   5582    SR0000398345
3009 Just A Thought                                          Gnarls Barkley                                           Atlantic Recording Corporation   5583    SR0000398345
3010 Necromancer                                             Gnarls Barkley                                           Atlantic Recording Corporation   5584    SR0000398345
3011 Online                                                  Gnarls Barkley                                           Atlantic Recording Corporation   5585    SR0000398345
3012 Smiley Faces                                            Gnarls Barkley                                           Atlantic Recording Corporation   5586    SR0000398345
3013 St. Elsewhere                                           Gnarls Barkley                                           Atlantic Recording Corporation   5587    SR0000398345
3014 The Boogie Monster                                      Gnarls Barkley                                           Atlantic Recording Corporation   5588    SR0000398345
3015 The Last Time                                           Gnarls Barkley                                           Atlantic Recording Corporation   5589    SR0000398345
3016 Transformer                                             Gnarls Barkley                                           Atlantic Recording Corporation   5590    SR0000398345
3017 Who Cares?                                              Gnarls Barkley                                           Atlantic Recording Corporation   5591    SR0000398345
3018 Belief                                                  John Mayer                                               Sony Music Entertainment         1857    SR0000398715
3019 Bold As Love                                            John Mayer                                               Sony Music Entertainment         1858    SR0000398715
3020 Dreaming With A Broken Heart                            John Mayer                                               Sony Music Entertainment         1863    SR0000398715
3021 Gravity                                                 John Mayer                                               Sony Music Entertainment         1866    SR0000398715
3022 I Don't Trust Myself (With Loving You)                  John Mayer                                               Sony Music Entertainment         1870    SR0000398715
3023 I'm Gonna Find Another You                              John Mayer                                               Sony Music Entertainment         1871    SR0000398715
3024 In Repair                                               John Mayer                                               Sony Music Entertainment         1872    SR0000398715
3025 Slow Dancing In A Burning Room                          John Mayer                                               Sony Music Entertainment         1879    SR0000398715
3026 Stop This Train                                         John Mayer                                               Sony Music Entertainment         1881    SR0000398715
3027 The Heart Of Life                                       John Mayer                                               Sony Music Entertainment         1882    SR0000398715
3028 Vultures                                                John Mayer                                               Sony Music Entertainment         1883    SR0000398715
3029 I'm in the Mood for Love                                Kenny G                                                  Arista Records LLC               438     SR0000399076
3030 It Had To Be You                                        Kenny G                                                  Arista Records LLC               439     SR0000399076
3031 All These Lives                                         Daughtry                                                 Sony Music Entertainment         1336    SR0000399960
3032 Breakdown                                               Daughtry                                                 Sony Music Entertainment         1337    SR0000399960
3033 Crashed                                                 Daughtry                                                 Sony Music Entertainment         1338    SR0000399960
3034 Feels Like Tonight                                      Daughtry                                                 Sony Music Entertainment         1339    SR0000399960
3035 Gone                                                    Daughtry                                                 Sony Music Entertainment         1340    SR0000399960
3036 Home                                                    Daughtry                                                 Sony Music Entertainment         1341    SR0000399960
3037 It's Not Over                                           Daughtry                                                 Sony Music Entertainment         1342    SR0000399960
3038 Over You                                                Daughtry                                                 Sony Music Entertainment         1343    SR0000399960
3039 There And Back Again                                    Daughtry                                                 Sony Music Entertainment         1344    SR0000399960
3040 Used To                                                 Daughtry                                                 Sony Music Entertainment         1345    SR0000399960
3041 What About Now                                          Daughtry                                                 Sony Music Entertainment         1346    SR0000399960
3042 What I Want                                             Daughtry                                                 Sony Music Entertainment         1347    SR0000399960
3043 Cancer                                                  My Chemical Romance                                      Warner Bros. Records Inc.        6625    SR0000399985
3044 Dead!                                                   My Chemical Romance                                      Warner Bros. Records Inc.        6629    SR0000399985
3045 Disenchanted                                            My Chemical Romance                                      Warner Bros. Records Inc.        6632    SR0000399985
3046 Famous Last Words                                       My Chemical Romance                                      Warner Bros. Records Inc.        6634    SR0000399985
3047 House Of Wolves                                         My Chemical Romance                                      Warner Bros. Records Inc.        6641    SR0000399985


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3048 I Don't Love You                                     My Chemical Romance                                       Warner Bros. Records Inc.   6643    SR0000399985
3049 Mama                                                 My Chemical Romance                                       Warner Bros. Records Inc.   6651    SR0000399985
3050 Sleep                                                My Chemical Romance                                       Warner Bros. Records Inc.   6656    SR0000399985
3051 Teenagers                                            My Chemical Romance                                       Warner Bros. Records Inc.   6658    SR0000399985
3052 The End.                                             My Chemical Romance                                       Warner Bros. Records Inc.   6663    SR0000399985
3053 The Sharpest Lives                                   My Chemical Romance                                       Warner Bros. Records Inc.   6669    SR0000399985
3054 This Is How I Disappear                              My Chemical Romance                                       Warner Bros. Records Inc.   6671    SR0000399985
3055 Welcome To The Black Parade                          My Chemical Romance                                       Warner Bros. Records Inc.   6675    SR0000399985
3056 Cemetery Drive (Live Version) (MTV2 2$Bill)          My Chemical Romance                                       Warner Bros. Records Inc.   6628    SR0000400291
3057 Desert Song                                          My Chemical Romance                                       Warner Bros. Records Inc.   6631    SR0000400291
3058 Give 'Em Hell, Kid (Live Version) (MTV2 2$Bill)      My Chemical Romance                                       Warner Bros. Records Inc.   6637    SR0000400291
3059 Headfirst For Halos (Live Version) (Starland)        My Chemical Romance                                       Warner Bros. Records Inc.   6639    SR0000400291
3060 I Never Told You What I Do For A Living (Demo)       My Chemical Romance                                       Warner Bros. Records Inc.   6646    SR0000400291
     Thank You For The Venom (Live Version) (MTV2 2$Bill) My Chemical Romance                                       Warner Bros. Records Inc.           SR0000400291
3061                                                                                                                                            6661
3062 4 In The Morning                                     Gwen Stefani                                              UMG Recordings, Inc.        4305    SR0000400614
3063 Breakin' Up                                          Gwen Stefani                                              UMG Recordings, Inc.        4306    SR0000400614
3064 Don't Get It Twisted (Explicit)                      Gwen Stefani                                              UMG Recordings, Inc.        4311    SR0000400614
3065 Early Winter                                         Gwen Stefani                                              UMG Recordings, Inc.        4312    SR0000400614
3066 Fluorescent                                          Gwen Stefani                                              UMG Recordings, Inc.        4313    SR0000400614
3067 Now That You Got It                                  Gwen Stefani                                              UMG Recordings, Inc.        4318    SR0000400614
3068 Orange County Girl                                   Gwen Stefani                                              UMG Recordings, Inc.        4319    SR0000400614
3069 The Sweet Escape                                     Gwen Stefani                                              UMG Recordings, Inc.        4323    SR0000400614
3070 U Started It                                         Gwen Stefani                                              UMG Recordings, Inc.        4324    SR0000400614
3071 Yummy                                                Gwen Stefani                                              UMG Recordings, Inc.        4327    SR0000400614
3072 No Apologies                                         Eminem                                                    UMG Recordings, Inc.        4055    SR0000401289
3073 Public Enemy #1                                      Eminem                                                    UMG Recordings, Inc.        4064    SR0000401289
3074 The Re-Up                                            Eminem                                                    UMG Recordings, Inc.        4090    SR0000401289
3075 A Kiss to Send Us Off                                Incubus                                                   Sony Music Entertainment    1709    SR0000403204
3076 Diamonds and Coal                                    Incubus                                                   Sony Music Entertainment    1718    SR0000403204
3077 Dig                                                  Incubus                                                   Sony Music Entertainment    1719    SR0000403204
3078 Earth To Bella (Part I)                              Incubus                                                   Sony Music Entertainment    1721    SR0000403204
3079 Earth To Bella (Part II)                             Incubus                                                   Sony Music Entertainment    1722    SR0000403204
3080 Light Grenades                                       Incubus                                                   Sony Music Entertainment    1727    SR0000403204
3081 Love Hurts                                           Incubus                                                   Sony Music Entertainment    1728    SR0000403204
3082 Oil And Water                                        Incubus                                                   Sony Music Entertainment    1734    SR0000403204
3083 Paper Shoes                                          Incubus                                                   Sony Music Entertainment    1736    SR0000403204
3084 Pendulous Threads                                    Incubus                                                   Sony Music Entertainment    1737    SR0000403204
3085 Quicksand                                            Incubus                                                   Sony Music Entertainment    1739    SR0000403204
3086 Rogues                                               Incubus                                                   Sony Music Entertainment    1740    SR0000403204
3087 Bang It Up                                           Ciara                                                     LaFace Records LLC          572     SR0000404728
3088 I Proceed                                            Ciara                                                     LaFace Records LLC          574     SR0000404728
3089 Make It Last Forever                                 Ciara                                                     LaFace Records LLC          575     SR0000404728
3090 My Love                                              Ciara                                                     LaFace Records LLC          576     SR0000404728
3091 Promise                                              Ciara                                                     LaFace Records LLC          577     SR0000404728
3092 That's Right                                         Ciara feat. Lil Jon                                       LaFace Records LLC          578     SR0000404728
3093 Don't Make Me                                        Blake Shelton                                             Warner Bros. Records Inc.   6263    SR0000406834
3094 The More I Drink                                     Blake Shelton                                             Warner Bros. Records Inc.   6291    SR0000406834
3095 In Between                                           Linkin Park                                               Warner Bros. Records Inc.   6562    SR0000406841
3096 In Pieces                                            Linkin Park                                               Warner Bros. Records Inc.   6564    SR0000406841
3097 Leave Out All The Rest                               Linkin Park                                               Warner Bros. Records Inc.   6568    SR0000406841
3098 Valentine's Day                                      Linkin Park                                               Warner Bros. Records Inc.   6587    SR0000406841
3099 Wake                                                 Linkin Park                                               Warner Bros. Records Inc.   6589    SR0000406841
3100 Brandy Alexander                                     Feist                                                     UMG Recordings, Inc.        4143    SR0000406936
3101 Honey Honey                                          Feist                                                     UMG Recordings, Inc.        4145    SR0000406936
3102 How My Heart Behaves                                 Feist                                                     UMG Recordings, Inc.        4146    SR0000406936
3103 I Feel It All                                        Feist                                                     UMG Recordings, Inc.        4147    SR0000406936
3104 Intuition                                            Feist                                                     UMG Recordings, Inc.        4149    SR0000406936
3105 Past In Present                                      Feist                                                     UMG Recordings, Inc.        4157    SR0000406936
3106 Sealion                                              Feist                                                     UMG Recordings, Inc.        4158    SR0000406936
3107 So Sorry                                             Feist                                                     UMG Recordings, Inc.        4160    SR0000406936
3108 The Limit To Your Love                               Feist                                                     UMG Recordings, Inc.        4161    SR0000406936
3109 The Park                                             Feist                                                     UMG Recordings, Inc.        4162    SR0000406936
3110 The Water                                            Feist                                                     UMG Recordings, Inc.        4163    SR0000406936
3111 Education                                            Modest Mouse                                              Sony Music Entertainment    2327    SR0000407040
3112 Fire It Up                                           Modest Mouse                                              Sony Music Entertainment    2328    SR0000407040
3113 Florida                                              Modest Mouse                                              Sony Music Entertainment    2329    SR0000407040
3114 Fly Trapped In A Jar                                 Modest Mouse                                              Sony Music Entertainment    2330    SR0000407040
3115 Invisible                                            Modest Mouse                                              Sony Music Entertainment    2331    SR0000407040
3116 Little Motel                                         Modest Mouse                                              Sony Music Entertainment    2332    SR0000407040
3117 March Into The Sea                                   Modest Mouse                                              Sony Music Entertainment    2333    SR0000407040
3118 Missed The Boat                                      Modest Mouse                                              Sony Music Entertainment    2334    SR0000407040
3119 Parting of the Sensory (Explicit)                    Modest Mouse                                              Sony Music Entertainment    2335    SR0000407040
3120 People As Places As People                           Modest Mouse                                              Sony Music Entertainment    2336    SR0000407040
3121 Spitting Venom                                       Modest Mouse                                              Sony Music Entertainment    2337    SR0000407040
3122 Steam Engenius                                       Modest Mouse                                              Sony Music Entertainment    2338    SR0000407040
3123 We've Got Everything                                 Modest Mouse                                              Sony Music Entertainment    2339    SR0000407040
3124 I Get It                                             Chevelle                                                  Sony Music Entertainment    1238    SR0000407044
3125 Straight Jacket Fashion                              Chevelle                                                  Sony Music Entertainment    1241    SR0000407044


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                               Track                                                  Artist                                         Plaintiff   PX-01 #    Reg. No.
3126 The Fad                                                 Chevelle                                                 Sony Music Entertainment   1243    SR0000407044
3127 Alive                                                   Meat Loaf                                                UMG Recordings, Inc.       4986    SR0000407287
3128 Bad For Good                                            Meat Loaf                                                UMG Recordings, Inc.       4988    SR0000407287
3129 Blind As A Bat                                          Meat Loaf                                                UMG Recordings, Inc.       4989    SR0000407287
3130 Cry To Heaven                                           Meat Loaf                                                UMG Recordings, Inc.       4990    SR0000407287
3131 If God Could Talk                                       Meat Loaf                                                UMG Recordings, Inc.       4994    SR0000407287
3132 If It Aint Broke Break It                               Meat Loaf                                                UMG Recordings, Inc.       4995    SR0000407287
3133 In The Land Of The Pig, The Butcher is King             Meat Loaf                                                UMG Recordings, Inc.       4996    SR0000407287
3134 Monstro                                                 Meat Loaf                                                UMG Recordings, Inc.       4998    SR0000407287
3135 Seize The Night                                         Meat Loaf                                                UMG Recordings, Inc.       4999    SR0000407287
3136 The Future Ain't What It Used To Be                     Meat Loaf                                                UMG Recordings, Inc.       5000    SR0000407287
3137 The Monster Is Loose                                    Meat Loaf                                                UMG Recordings, Inc.       5001    SR0000407287
3138 What About Love                                         Meat Loaf                                                UMG Recordings, Inc.       5003    SR0000407287
3139 Addicted                                                Amy Winehouse                                            UMG Recordings, Inc.       3605    SR0000407451
3140 Back To Black                                           Amy Winehouse                                            UMG Recordings, Inc.       3607    SR0000407451
3141 He Can Only Hold Her                                    Amy Winehouse                                            UMG Recordings, Inc.       3613    SR0000407451
3142 Just Friends                                            Amy Winehouse                                            UMG Recordings, Inc.       3618    SR0000407451
3143 Love Is A Losing Game                                   Amy Winehouse                                            UMG Recordings, Inc.       3621    SR0000407451
3144 Me & Mr Jones                                           Amy Winehouse                                            UMG Recordings, Inc.       3623    SR0000407451
3145 Rehab                                                   Amy Winehouse                                            UMG Recordings, Inc.       3629    SR0000407451
3146 Rehab (Remix)                                           Amy Winehouse                                            UMG Recordings, Inc.       3630    SR0000407451
3147 Some Unholy War                                         Amy Winehouse                                            UMG Recordings, Inc.       3631    SR0000407451
3148 Tears Dry On Their Own                                  Amy Winehouse                                            UMG Recordings, Inc.       3638    SR0000407451
3149 Wake Up Alone                                           Amy Winehouse                                            UMG Recordings, Inc.       3642    SR0000407451
3150 You Know I'm No Good                                    Amy Winehouse                                            UMG Recordings, Inc.       3645    SR0000407451
3151 Bridges                                                 Lifehouse                                                UMG Recordings, Inc.       4801    SR0000409087
3152 Broken                                                  Lifehouse                                                UMG Recordings, Inc.       4802    SR0000409087
3153 Easier To Be                                            Lifehouse                                                UMG Recordings, Inc.       4807    SR0000409087
3154 Learn You Inside Out                                    Lifehouse                                                UMG Recordings, Inc.       4814    SR0000409087
3155 Make Me Over                                            Lifehouse                                                UMG Recordings, Inc.       4815    SR0000409087
3156 Mesmerized                                              Lifehouse                                                UMG Recordings, Inc.       4816    SR0000409087
3157 Storm                                                   Lifehouse                                                UMG Recordings, Inc.       4828    SR0000409087
3158 The Joke                                                Lifehouse                                                UMG Recordings, Inc.       4832    SR0000409087
3159 Whatever It Takes                                       Lifehouse                                                UMG Recordings, Inc.       4839    SR0000409087
3160 Who We Are                                              Lifehouse                                                UMG Recordings, Inc.       4840    SR0000409087
3161 Apologize                                               Timbaland                                                UMG Recordings, Inc.       5364    SR0000411631
3162 Can You Feel It (Featuring Esthero & Sebastian)         Timbaland                                                UMG Recordings, Inc.       5365    SR0000411631
3163 Carry Out                                               Timbaland                                                UMG Recordings, Inc.       5366    SR0000411631
3164 Ease Off The Liquor                                     Timbaland                                                UMG Recordings, Inc.       5367    SR0000411631
3165 If We Ever Meet Again                                   Timbaland                                                UMG Recordings, Inc.       5368    SR0000411631
3166 Intro By DJ Felli Fel                                   Timbaland                                                UMG Recordings, Inc.       5369    SR0000411631
3167 Long Way Down (Featuring Daughtry)                      Timbaland                                                UMG Recordings, Inc.       5370    SR0000411631
3168 Lose Control (Featuring JoJo)                           Timbaland                                                UMG Recordings, Inc.       5371    SR0000411631
3169 Meet In Tha Middle (Featuring Bran' Nu)                 Timbaland                                                UMG Recordings, Inc.       5372    SR0000411631
3170 Morning After Dark (Featuring Nelly Furtado & SoShy)    Timbaland                                                UMG Recordings, Inc.       5373    SR0000411631
3171 Say Something (Featuring Drake)                         Timbaland                                                UMG Recordings, Inc.       5374    SR0000411631
3172 Symphony (Featuring Attitude, Bran' Nu & D.O.E.)        Timbaland                                                UMG Recordings, Inc.       5375    SR0000411631
3173 The One I Love (Featuring Keri Hilson & D.O.E.)         Timbaland                                                UMG Recordings, Inc.       5376    SR0000411631
3174 Timothy Where You Been (Featuring Jet)                  Timbaland                                                UMG Recordings, Inc.       5377    SR0000411631
     Tomorrow In The Bottle (Featuring Chad Kroeger &        Timbaland                                                UMG Recordings, Inc.       5378
                                                                                                                                                         SR0000411631
3175 Sebastian)
3176 Undertow (Featuring The Fray & Esthero)                 Timbaland                                                UMG Recordings, Inc.       5379   SR0000411631
3177 We Belong To The Music (Featuring Miley Cyrus)          Timbaland                                                UMG Recordings, Inc.       5380   SR0000411631
3178 Candy                                                   Gavin DeGraw                                             Sony Music Entertainment   1611   SR0000412465
3179 Radiation                                               Gavin DeGraw                                             Sony Music Entertainment   1612   SR0000412465
3180 Run Every Time                                          Gavin DeGraw                                             Sony Music Entertainment   1613   SR0000412465
3181 Spell It Out                                            Gavin DeGraw                                             Sony Music Entertainment   1614   SR0000412465
3182 Stealing                                                Gavin DeGraw                                             Sony Music Entertainment   1615   SR0000412465
3183 Sweeter                                                 Gavin DeGraw                                             Sony Music Entertainment   1616   SR0000412465
3184 Where You Are                                           Gavin DeGraw                                             Sony Music Entertainment   1617   SR0000412465
3185 You Know Where I'm At                                   Gavin DeGraw                                             Sony Music Entertainment   1618   SR0000412465
3186 Beautiful Freaks                                        Hot Chelle Rae                                           Sony Music Entertainment   1676   SR0000412466
3187 Downtown Girl                                           Hot Chelle Rae                                           Sony Music Entertainment   1677   SR0000412466
3188 Forever Unstoppable                                     Hot Chelle Rae                                           Sony Music Entertainment   1678   SR0000412466
3189 Honestly                                                Hot Chelle Rae                                           Sony Music Entertainment   1679   SR0000412466
3190 Keep You With Me                                        Hot Chelle Rae                                           Sony Music Entertainment   1680   SR0000412466
3191 The Only One                                            Hot Chelle Rae                                           Sony Music Entertainment   1681   SR0000412466
3192 Tonight Tonight                                         Hot Chelle Rae                                           Sony Music Entertainment   1682   SR0000412466
3193 Whatever                                                Hot Chelle Rae                                           Sony Music Entertainment   1683   SR0000412466
3194 Radio                                                   Hot Chelle Rae Featuring Bei Maejor                      Sony Music Entertainment   1684   SR0000412466
3195 Why Don't You Love Me                                   Hot Chelle Rae Featuring Demi Lovato                     Sony Music Entertainment   1685   SR0000412466
3196 Blue Jeans                                              Lana Del Rey                                             UMG Recordings, Inc.       4751   SR0000412524
3197 Off To The Races                                        Lana Del Rey                                             UMG Recordings, Inc.       4765   SR0000412524
3198 Again Today / Hiding My Heart                           Brandi Carlile                                           Sony Music Entertainment   983    SR0000609517
3199 Cannonball                                              Brandi Carlile                                           Sony Music Entertainment   984    SR0000609517
3200 Downpour                                                Brandi Carlile                                           Sony Music Entertainment   985    SR0000609517
3201 Have You Ever                                           Brandi Carlile                                           Sony Music Entertainment   986    SR0000609517
3202 Josephine                                               Brandi Carlile                                           Sony Music Entertainment   987    SR0000609517
3203 Late Morning Lullaby                                    Brandi Carlile                                           Sony Music Entertainment   988    SR0000609517


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                                Track                                                    Artist                                              Plaintiff         PX-01 #        Reg. No.
3204 Losing Heart                                               Brandi Carlile                                              Sony Music Entertainment           989       SR0000609517
3205 My Song                                                    Brandi Carlile                                              Sony Music Entertainment           990       SR0000609517
3206 Shadow On The Wall                                         Brandi Carlile                                              Sony Music Entertainment           991       SR0000609517
3207 Turpentine                                                 Brandi Carlile                                              Sony Music Entertainment           992       SR0000609517
3208 Until I Die                                                Brandi Carlile                                              Sony Music Entertainment           993       SR0000609517
3209 Wasted                                                     Brandi Carlile                                              Sony Music Entertainment           994       SR0000609517
3210 Desperation                                                Miranda Lambert                                             Sony Music Entertainment           2283      SR0000609529
3211 Down                                                       Miranda Lambert                                             Sony Music Entertainment           2284      SR0000609529
3212 Dry Town                                                   Miranda Lambert                                             Sony Music Entertainment           2285      SR0000609529
3213 Easy From Now On                                           Miranda Lambert                                             Sony Music Entertainment           2286      SR0000609529
3214 Famous In A Small Town                                     Miranda Lambert                                             Sony Music Entertainment           2288      SR0000609529
3215 Getting Ready                                              Miranda Lambert                                             Sony Music Entertainment           2291      SR0000609529
3216 Guilty In Here                                             Miranda Lambert                                             Sony Music Entertainment           2293      SR0000609529
3217 Gunpowder & Lead                                           Miranda Lambert                                             Sony Music Entertainment           2294      SR0000609529
3218 Love Letters                                               Miranda Lambert                                             Sony Music Entertainment           2302      SR0000609529
3219 More Like Her                                              Miranda Lambert                                             Sony Music Entertainment           2311      SR0000609529
3220 Piece Of Me                                                Britney Spears                                              Zomba Recording LLC                3115      SR0000609604
3221 Radar                                                      Britney Spears                                              Zomba Recording LLC                3116      SR0000609604
3222 Shattered Glass                                            Britney Spears                                              Zomba Recording LLC                3118      SR0000609604
3223 Contagious                                                 Avril Lavigne                                               Arista Music                       60        SR0000609671
3224 Everything Back But You                                    Avril Lavigne                                               Arista Music                       61        SR0000609671
3225 Hot                                                        Avril Lavigne                                               Arista Music                       66        SR0000609671
3226 I Can Do Better                                            Avril Lavigne                                               Arista Music                       69        SR0000609671
3227 I Don't Have To Try                                        Avril Lavigne                                               Arista Music                       70        SR0000609671
3228 Innocence                                                  Avril Lavigne                                               Arista Music                       71        SR0000609671
3229 Keep Holding On                                            Avril Lavigne                                               Arista Music                       72        SR0000609671
3230 One Of Those Girls                                         Avril Lavigne                                               Arista Music                       75        SR0000609671
3231 Runaway                                                    Avril Lavigne                                               Arista Music                       76        SR0000609671
3232 The Best Damn Thing                                        Avril Lavigne                                               Arista Music                       78        SR0000609671
3233 When You're Gone                                           Avril Lavigne                                               Arista Music                       79        SR0000609671
3234 Any Other Day                                              The Alan Parsons Project                                    Arista Records LLC                 531       SR0000609687
3235 Eye Pieces                                                 The Alan Parsons Project                                    Arista Records LLC                 534       SR0000609687
3236 Old & Wise                                                 The Alan Parsons Project                                    Arista Records LLC                 537       SR0000609687
3237 The Naked Eye                                              The Alan Parsons Project                                    Arista Records LLC                 543       SR0000609687
3238 Forever                                                    Papa Roach                                                  UMG Recordings, Inc.               5075      SR0000609702
3239 Reckless                                                   Papa Roach                                                  UMG Recordings, Inc.               5083      SR0000609702
3240 I Can't Wait                                               Akon                                                        UMG Recordings, Inc.               3586      SR0000610156*
3241 Blown Away                                                 Akon                                                        UMG Recordings, Inc.               3584      SR0000610156
3242 Gangsta Bop                                                Akon                                                        UMG Recordings, Inc.               3585      SR0000610156
3243 Mama Africa                                                Akon                                                        UMG Recordings, Inc.               3587      SR0000610156
3244 Never Took The Time                                        Akon                                                        UMG Recordings, Inc.               3588      SR0000610156
3245 Once In A While                                            Akon                                                        UMG Recordings, Inc.               3589      SR0000610156
3246 Shake Down                                                 Akon                                                        UMG Recordings, Inc.               3590      SR0000610156
3247 The Rain                                                   Akon                                                        UMG Recordings, Inc.               3591      SR0000610156
3248 Tired Of Runnin'                                           Akon                                                        UMG Recordings, Inc.               3592      SR0000610156
3249 All I Wanted Was a Car                                     Brad Paisley                                                Arista Music                       81        SR0000610946
3250 Better Than This                                           Brad Paisley                                                Arista Music                       82        SR0000610946
3251 I'm Still A Guy                                            Brad Paisley                                                Arista Music                       86        SR0000610946
3252 If Love Was a Plane                                        Brad Paisley                                                Arista Music                       87        SR0000610946
3253 It Did                                                     Brad Paisley                                                Arista Music                       88        SR0000610946
3254 Letter To Me                                               Brad Paisley                                                Arista Music                       89        SR0000610946
3255 Mr. Policeman                                              Brad Paisley                                                Arista Music                       91        SR0000610946
3256 Oh Love                                                    Brad Paisley                                                Arista Music                       92        SR0000610946
3257 Online                                                     Brad Paisley                                                Arista Music                       93        SR0000610946
3258 Outtake #2                                                 Brad Paisley                                                Arista Music                       97        SR0000610946
3259 Previously                                                 Brad Paisley                                                Arista Music                       98        SR0000610946
3260 Some Mistakes                                              Brad Paisley                                                Arista Music                       101       SR0000610946
3261 Throttleneck                                               Brad Paisley                                                Arista Music                       104       SR0000610946
3262 Ticks                                                      Brad Paisley                                                Arista Music                       105       SR0000610946
3263 When We All Get to Heaven                                  Brad Paisley                                                Arista Music                       110       SR0000610946
3264 With You, Without You                                      Brad Paisley                                                Arista Music                       111       SR0000610946
3265 Bigger Fish to Fry                                         Brad Paisley feat. The Kung Pao Buckaroos                   Arista Music                       114       SR0000610946
3266 BGTY                                                       Ledisi                                                      UMG Recordings, Inc.               4772      SR0000611046
3267 Bravo                                                      Ledisi                                                      UMG Recordings, Inc.               4773      SR0000611046
3268 Coffee                                                     Ledisi                                                      UMG Recordings, Inc.               4774      SR0000611046
3269 Hate Me                                                    Ledisi                                                      UMG Recordings, Inc.               4775      SR0000611046
3270 I Gotta Get To You                                         Ledisi                                                      UMG Recordings, Inc.               4776      SR0000611046
3271 I Miss You Now                                             Ledisi                                                      UMG Recordings, Inc.               4777      SR0000611046
3272 Pieces Of Me                                               Ledisi                                                      UMG Recordings, Inc.               4778      SR0000611046
3273 Shut Up                                                    Ledisi                                                      UMG Recordings, Inc.               4781      SR0000611046
3274 So Into You                                                Ledisi                                                      UMG Recordings, Inc.               4782      SR0000611046
3275 1 Mo Time                                                  Plies                                                       Atlantic Recording Corporation     5826      SR0000612286
3276 100 Years                                                  Plies                                                       Atlantic Recording Corporation     5827      SR0000612286
3277 Friday                                                     Plies                                                       Atlantic Recording Corporation     5828      SR0000612286
3278 Goons Lurkin                                               Plies                                                       Atlantic Recording Corporation     5829      SR0000612286
3279 Hypnotized (feat. Akon)                                    Plies                                                       Atlantic Recording Corporation     5830      SR0000612286
3280 I Am The Club                                              Plies                                                       Atlantic Recording Corporation     5831      SR0000612286
3281 I Kno U Workin                                             Plies                                                       Atlantic Recording Corporation     5832      SR0000612286
3282 Kept It Too Real                                           Plies                                                       Atlantic Recording Corporation     5833      SR0000612286
* The registration number listed on PX-1 is “ap,” which appears to be a typographical error. Plaintiffs provided the registration number SR0000610156 in connection with their summary
judgment motion. See ECF 325-9 (McMullan Decl.), ¶ 13 (citing UMG_00000431 and UMG_00000794)
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                               Track                                               Artist                                           Plaintiff       PX-01 #    Reg. No.
3283 Money Straight                                       Plies                                                    Atlantic Recording Corporation   5834    SR0000612286
3284 Murkin Season                                        Plies                                                    Atlantic Recording Corporation   5835    SR0000612286
3285 On My D**k                                           Plies                                                    Atlantic Recording Corporation   5836    SR0000612286
3286 Runnin' My Momma Crazy                               Plies                                                    Atlantic Recording Corporation   5837    SR0000612286
3287 The Real Testament Intro                             Plies                                                    Atlantic Recording Corporation   5838    SR0000612286
3288 You                                                  Plies                                                    Atlantic Recording Corporation   5839    SR0000612286
3289 Shawty (feat. T-Pain)                                Plies                                                    Atlantic Recording Corporation   5840    SR0000612286
3290 Country Comes To Town                                Toby Keith                                               UMG Recordings, Inc.             5381    SR0000613330
     Courtesy Of The Red, White And Blue (The Angry       Toby Keith                                               UMG Recordings, Inc.                     SR0000613330
3291 American)                                                                                                                                      5382
3292 I'm Just Talkin' About Tonight                       Toby Keith                                               UMG Recordings, Inc.             5385    SR0000613330
3293 Mockingbird                                          Toby Keith                                               UMG Recordings, Inc.             5386    SR0000613330
3294 Stays In Mexico                                      Toby Keith                                               UMG Recordings, Inc.             5388    SR0000613330
3295 Who's Your Daddy?                                    Toby Keith                                               UMG Recordings, Inc.             5389    SR0000613330
3296 You Shouldn't Kiss Me Like This                      Toby Keith                                               UMG Recordings, Inc.             5391    SR0000613330
3297 Delayed Devotion                                     Duffy                                                    UMG Recordings, Inc.             3912    SR0000613340
3298 Distant Dreamer                                      Duffy                                                    UMG Recordings, Inc.             3913    SR0000613340
3299 Hanging On Too Long                                  Duffy                                                    UMG Recordings, Inc.             3914    SR0000613340
3300 I'm Scared                                           Duffy                                                    UMG Recordings, Inc.             3915    SR0000613340
3301 Mercy                                                Duffy                                                    UMG Recordings, Inc.             3916    SR0000613340
3302 Rockferry                                            Duffy                                                    UMG Recordings, Inc.             3917    SR0000613340
3303 Serious                                              Duffy                                                    UMG Recordings, Inc.             3918    SR0000613340
3304 Stepping Stone                                       Duffy                                                    UMG Recordings, Inc.             3919    SR0000613340
3305 Syrup & Honey                                        Duffy                                                    UMG Recordings, Inc.             3920    SR0000613340
3306 Warwick Avenue                                       Duffy                                                    UMG Recordings, Inc.             3921    SR0000613340
3307 As Long As You're Looking Back                       Gary Allan                                               UMG Recordings, Inc.             4211    SR0000613393
3308 Half Of My Mistakes                                  Gary Allan                                               UMG Recordings, Inc.             4212    SR0000613393
3309 Like It's A Bad Thing                                Gary Allan                                               UMG Recordings, Inc.             4213    SR0000613393
3310 Living Hard                                          Gary Allan                                               UMG Recordings, Inc.             4214    SR0000613393
3311 She's So California                                  Gary Allan                                               UMG Recordings, Inc.             4215    SR0000613393
3312 Trying To Matter                                     Gary Allan                                               UMG Recordings, Inc.             4216    SR0000613393
3313 We Touched The Sun                                   Gary Allan                                               UMG Recordings, Inc.             4218    SR0000613393
3314 Wrecking Ball                                        Gary Allan                                               UMG Recordings, Inc.             4219    SR0000613393
3315 Yesterday's Rain                                     Gary Allan                                               UMG Recordings, Inc.             4220    SR0000613393
3316 Forever                                              Chris Brown                                              Zomba Recording LLC              3126    SR0000613921
3317 Heart Ain't A Brain                                  Chris Brown                                              Zomba Recording LLC              3128    SR0000613921
3318 Superhuman                                           Chris Brown                                              Zomba Recording LLC              3137    SR0000613921
3319 America                                              Nas                                                      UMG Recordings, Inc.             5004    SR0000614072
3320 Black President                                      Nas                                                      UMG Recordings, Inc.             5005    SR0000614072
3321 Breathe                                              Nas                                                      UMG Recordings, Inc.             5006    SR0000614072
3322 Fried Chicken                                        Nas                                                      UMG Recordings, Inc.             5007    SR0000614072
3323 Make The World Go Round                              Nas                                                      UMG Recordings, Inc.             5009    SR0000614072
3324 N.I.*.*.E.R. (The Slave and the Master)              Nas                                                      UMG Recordings, Inc.             5010    SR0000614072
3325 Project Roach                                        Nas                                                      UMG Recordings, Inc.             5011    SR0000614072
3326 Queens Get The Money                                 Nas                                                      UMG Recordings, Inc.             5012    SR0000614072
3327 Sly Fox                                              Nas                                                      UMG Recordings, Inc.             5013    SR0000614072
3328 Testify                                              Nas                                                      UMG Recordings, Inc.             5014    SR0000614072
3329 Untitled                                             Nas                                                      UMG Recordings, Inc.             5015    SR0000614072
3330 We're Not Alone                                      Nas                                                      UMG Recordings, Inc.             5016    SR0000614072
3331 Y'all My Ni**as                                      Nas                                                      UMG Recordings, Inc.             5017    SR0000614072
3332 You Can't Stop Us Now                                Nas                                                      UMG Recordings, Inc.             5018    SR0000614072
3333 All Fall Down                                        OneRepublic                                              UMG Recordings, Inc.             5062    SR0000614111
3334 All We Are                                           OneRepublic                                              UMG Recordings, Inc.             5063    SR0000614111
3335 Goodbye, Apathy                                      OneRepublic                                              UMG Recordings, Inc.             5065    SR0000614111
3336 Prodigal                                             OneRepublic                                              UMG Recordings, Inc.             5066    SR0000614111
3337 Someone To Save You                                  OneRepublic                                              UMG Recordings, Inc.             5067    SR0000614111
3338 Stop And Stare                                       OneRepublic                                              UMG Recordings, Inc.             5068    SR0000614111
3339 Won't Stop                                           OneRepublic                                              UMG Recordings, Inc.             5069    SR0000614111
3340 (There Is) No Greater Love                           Amy Winehouse                                            UMG Recordings, Inc.             3603    SR0000614121
3341 Amy Amy Amy                                          Amy Winehouse                                            UMG Recordings, Inc.             3606    SR0000614121
3342 Fuck Me Pumps                                        Amy Winehouse                                            UMG Recordings, Inc.             3611    SR0000614121
3343 I Heard Love Is Blind                                Amy Winehouse                                            UMG Recordings, Inc.             3615    SR0000614121
3344 In My Bed                                            Amy Winehouse                                            UMG Recordings, Inc.             3616    SR0000614121
3345 Intro / Stronger Than Me                             Amy Winehouse                                            UMG Recordings, Inc.             3617    SR0000614121
3346 Know You Now                                         Amy Winehouse                                            UMG Recordings, Inc.             3619    SR0000614121
3347 Moody's Mood For Love                                Amy Winehouse                                            UMG Recordings, Inc.             3625    SR0000614121
     Mr Magic (Through The Smoke)(Janice Long Session)    Amy Winehouse
                                                                                                                   UMG Recordings, Inc.                    SR0000614121
3348                                                                                                                                                3626
3349 October Song                                         Amy Winehouse                                            UMG Recordings, Inc.             3627   SR0000614121
3350 Stronger Than Me                                     Amy Winehouse                                            UMG Recordings, Inc.             3634   SR0000614121
3351 Stronger Than Me (Harmonic 33 Remix)                 Amy Winehouse                                            UMG Recordings, Inc.             3635   SR0000614121
3352 Take The Box                                         Amy Winehouse                                            UMG Recordings, Inc.             3636   SR0000614121
3353 What Is It About Men                                 Amy Winehouse                                            UMG Recordings, Inc.             3643   SR0000614121
3354 You Sent Me Flying                                   Amy Winehouse                                            UMG Recordings, Inc.             3646   SR0000614121
3355 Barry Bonds                                          Kanye West                                               UMG Recordings, Inc.             4540   SR0000615020
3356 Big Brother                                          Kanye West                                               UMG Recordings, Inc.             4541   SR0000615020
3357 Bittersweet Poetry                                   Kanye West                                               UMG Recordings, Inc.             4542   SR0000615020
3358 Can't Tell Me Nothing                                Kanye West                                               UMG Recordings, Inc.             4548   SR0000615020
3359 Champion                                             Kanye West                                               UMG Recordings, Inc.             4549   SR0000615020


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                                 Track                                               Artist                                         Plaintiff   PX-01 #    Reg. No.
3360 Drunk And Hot Girls                                    Kanye West                                               UMG Recordings, Inc.       4558    SR0000615020
3361 Everything I Am                                        Kanye West                                               UMG Recordings, Inc.       4559    SR0000615020
3362 Flashing Lights                                        Kanye West                                               UMG Recordings, Inc.       4560    SR0000615020
3363 Good Life                                              Kanye West                                               UMG Recordings, Inc.       4563    SR0000615020
3364 Good Morning                                           Kanye West                                               UMG Recordings, Inc.       4564    SR0000615020
3365 Homecoming                                             Kanye West                                               UMG Recordings, Inc.       4572    SR0000615020
3366 I Wonder                                               Kanye West                                               UMG Recordings, Inc.       4574    SR0000615020
3367 The Glory                                              Kanye West                                               UMG Recordings, Inc.       4604    SR0000615020
3368 Didn't I Tell You                                      Keyshia Cole                                             UMG Recordings, Inc.       4638    SR0000615233
3369 Fallin' Out                                            Keyshia Cole                                             UMG Recordings, Inc.       4640    SR0000615233
3370 Give Me More                                           Keyshia Cole                                             UMG Recordings, Inc.       4641    SR0000615233
3371 Got To Get My Heart Back                               Keyshia Cole                                             UMG Recordings, Inc.       4642    SR0000615233
3372 Heaven Sent                                            Keyshia Cole                                             UMG Recordings, Inc.       4643    SR0000615233
3373 I Remember                                             Keyshia Cole                                             UMG Recordings, Inc.       4645    SR0000615233
3374 Just Like You                                          Keyshia Cole                                             UMG Recordings, Inc.       4646    SR0000615233
3375 Losing You                                             Keyshia Cole                                             UMG Recordings, Inc.       4647    SR0000615233
3376 Same Thing                                             Keyshia Cole                                             UMG Recordings, Inc.       4648    SR0000615233
3377 Shoulda Let You Go                                     Keyshia Cole                                             UMG Recordings, Inc.       4649    SR0000615233
3378 Was It Worth It?                                       Keyshia Cole                                             UMG Recordings, Inc.       4650    SR0000615233
3379 Work It Out                                            Keyshia Cole                                             UMG Recordings, Inc.       4651    SR0000615233
3380 Days Go By                                             Lifehouse                                                UMG Recordings, Inc.       4806    SR0000615314
3381 From Where You Are                                     Lifehouse                                                UMG Recordings, Inc.       4810    SR0000615314
3382 Again                                                  Fuel                                                     Sony Music Entertainment   1544    SR0000616497
3383 Angels Take a Soul                                     Fuel                                                     Sony Music Entertainment   1545    SR0000616497
3384 Forever                                                Fuel                                                     Sony Music Entertainment   1554    SR0000616497
3385 Gone                                                   Fuel                                                     Sony Music Entertainment   1556    SR0000616497
3386 Halos of the Son                                       Fuel                                                     Sony Music Entertainment   1557    SR0000616497
3387 Hangin Round                                           Fuel                                                     Sony Music Entertainment   1558    SR0000616497
3388 I Should Have Told You                                 Fuel                                                     Sony Music Entertainment   1559    SR0000616497
3389 Leave the Memories Alone                               Fuel                                                     Sony Music Entertainment   1564    SR0000616497
3390 Not This Time                                          Fuel                                                     Sony Music Entertainment   1568    SR0000616497
3391 Scars in the Making                                    Fuel                                                     Sony Music Entertainment   1573    SR0000616497
3392 Wasted Time                                            Fuel                                                     Sony Music Entertainment   1579    SR0000616497
3393 Amazin'                                                Young Jeezy                                              UMG Recordings, Inc.       5418    SR0000616586
3394 By The Way                                             Young Jeezy                                              UMG Recordings, Inc.       5419    SR0000616586
3395 Circulate                                              Young Jeezy                                              UMG Recordings, Inc.       5420    SR0000616586
3396 Crazy World                                            Young Jeezy                                              UMG Recordings, Inc.       5421    SR0000616586
3397 Don't Do It                                            Young Jeezy                                              UMG Recordings, Inc.       5422    SR0000616586
3398 Don't You Know                                         Young Jeezy                                              UMG Recordings, Inc.       5423    SR0000616586
3399 Everything                                             Young Jeezy                                              UMG Recordings, Inc.       5424    SR0000616586
3400 Get Allot                                              Young Jeezy                                              UMG Recordings, Inc.       5425    SR0000616586
3401 Hustlaz Ambition                                       Young Jeezy                                              UMG Recordings, Inc.       5426    SR0000616586
3402 My President                                           Young Jeezy                                              UMG Recordings, Inc.       5427    SR0000616586
3403 Takin' It There                                        Young Jeezy                                              UMG Recordings, Inc.       5429    SR0000616586
3404 The Recession                                          Young Jeezy                                              UMG Recordings, Inc.       5430    SR0000616586
3405 Vacation                                               Young Jeezy                                              UMG Recordings, Inc.       5431    SR0000616586
3406 Welcome Back                                           Young Jeezy                                              UMG Recordings, Inc.       5432    SR0000616586
3407 What They Want                                         Young Jeezy                                              UMG Recordings, Inc.       5433    SR0000616586
3408 Who Dat                                                Young Jeezy                                              UMG Recordings, Inc.       5434    SR0000616586
3409 Word Play                                              Young Jeezy                                              UMG Recordings, Inc.       5435    SR0000616586
3410 Best For Last                                          Adele                                                    Sony Music Entertainment   689     SR0000616701
3411 Chasing Pavements                                      Adele                                                    Sony Music Entertainment   690     SR0000616701
3412 Cold Shoulder                                          Adele                                                    Sony Music Entertainment   691     SR0000616701
3413 Crazy For You                                          Adele                                                    Sony Music Entertainment   692     SR0000616701
3414 Daydreamer                                             Adele                                                    Sony Music Entertainment   693     SR0000616701
3415 First Love                                             Adele                                                    Sony Music Entertainment   695     SR0000616701
3416 Hometown Glory                                         Adele                                                    Sony Music Entertainment   697     SR0000616701
3417 Make You Feel My Love                                  Adele                                                    Sony Music Entertainment   700     SR0000616701
3418 Melt My Heart To Stone                                 Adele                                                    Sony Music Entertainment   701     SR0000616701
3419 My Same                                                Adele                                                    Sony Music Entertainment   702     SR0000616701
3420 Right As Rain                                          Adele                                                    Sony Music Entertainment   704     SR0000616701
3421 That's It, I Quit, I'm Moving On                       Adele                                                    Sony Music Entertainment   710     SR0000616701
3422 Tired                                                  Adele                                                    Sony Music Entertainment   711     SR0000616701
3423 Breakin' Dishes                                        Rihanna                                                  UMG Recordings, Inc.       5172    SR0000616718
3424 Disturbia                                              Rihanna                                                  UMG Recordings, Inc.       5181    SR0000616718
3425 Sell Me Candy                                          Rihanna                                                  UMG Recordings, Inc.       5218    SR0000616718
3426 Shut Up and Drive                                      Rihanna                                                  UMG Recordings, Inc.       5219    SR0000616718
3427 Take A Bow                                             Rihanna                                                  UMG Recordings, Inc.       5223    SR0000616718
3428 Bed Of Roses                                           Hinder                                                   UMG Recordings, Inc.       4328    SR0000617110
3429 Born To Be Wild                                        Hinder                                                   UMG Recordings, Inc.       4331    SR0000617110
3430 Take Me Home Tonight                                   Hinder                                                   UMG Recordings, Inc.       4350    SR0000617110
3431 Ballad Of The Beaconsfield Miners                      Foo Fighters                                             Sony Music Entertainment   1471    SR0000617325
3432 But, Honestly                                          Foo Fighters                                             Sony Music Entertainment   1474    SR0000617325
3433 Cheer Up, Boys (Your Make Up Is Running)               Foo Fighters                                             Sony Music Entertainment   1475    SR0000617325
3434 Come Alive                                             Foo Fighters                                             Sony Music Entertainment   1477    SR0000617325
3435 Erase/Replace                                          Foo Fighters                                             Sony Music Entertainment   1483    SR0000617325
3436 Home                                                   Foo Fighters                                             Sony Music Entertainment   1493    SR0000617325
3437 Let It Die                                             Foo Fighters                                             Sony Music Entertainment   1496    SR0000617325
3438 Long Road To Ruin                                      Foo Fighters                                             Sony Music Entertainment   1498    SR0000617325


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                              Track                                       Artist                                           Plaintiff   PX-01 #    Reg. No.
3439 Once & For All (Demo)                         Foo Fighters                                             Sony Music Entertainment   1510    SR0000617325
3440 Statues                                       Foo Fighters                                             Sony Music Entertainment   1517    SR0000617325
3441 Stranger Things Have Happened                 Foo Fighters                                             Sony Music Entertainment   1519    SR0000617325
3442 Summer's End                                  Foo Fighters                                             Sony Music Entertainment   1520    SR0000617325
3443 Don't                                         Billy Currington                                         UMG Recordings, Inc.       3735    SR0000617590
3444 Every Reason Not To Go                        Billy Currington                                         UMG Recordings, Inc.       3736    SR0000617590
3445 Everything                                    Billy Currington                                         UMG Recordings, Inc.       3737    SR0000617590
3446 Heal Me                                       Billy Currington                                         UMG Recordings, Inc.       3740    SR0000617590
3447 I Shall Return                                Billy Currington                                         UMG Recordings, Inc.       3742    SR0000617590
3448 Life, Love And The Meaning Of                 Billy Currington                                         UMG Recordings, Inc.       3744    SR0000617590
3449 No One Has Eyes Like You                      Billy Currington                                         UMG Recordings, Inc.       3745    SR0000617590
3450 People Are Crazy                              Billy Currington                                         UMG Recordings, Inc.       3747    SR0000617590
3451 Swimmin' In Sunshine                          Billy Currington                                         UMG Recordings, Inc.       3748    SR0000617590
3452 That's How Country Boys Roll                  Billy Currington                                         UMG Recordings, Inc.       3749    SR0000617590
3453 Walk On                                       Billy Currington                                         UMG Recordings, Inc.       3750    SR0000617590
3454 17                                            Kings Of Leon                                            Sony Music Entertainment   2044    SR0000617761
3455 Be Somebody                                   Kings Of Leon                                            Sony Music Entertainment   2045    SR0000617761
3456 Closer                                        Kings Of Leon                                            Sony Music Entertainment   2046    SR0000617761
3457 Cold Desert                                   Kings Of Leon                                            Sony Music Entertainment   2047    SR0000617761
3458 Manhattan                                     Kings Of Leon                                            Sony Music Entertainment   2049    SR0000617761
3459 Notion                                        Kings Of Leon                                            Sony Music Entertainment   2050    SR0000617761
3460 Revelry                                       Kings Of Leon                                            Sony Music Entertainment   2051    SR0000617761
3461 Sex On Fire                                   Kings Of Leon                                            Sony Music Entertainment   2052    SR0000617761
3462 Boys Boys Boys                                Lady GaGa                                                UMG Recordings, Inc.       4699    SR0000617841
3463 Brown Eyes                                    Lady GaGa                                                UMG Recordings, Inc.       4700    SR0000617841
3464 Eh, Eh (Nothing Else I Can Say)               Lady Gaga                                                UMG Recordings, Inc.       4707    SR0000617841
3465 I Like It Rough                               Lady GaGa                                                UMG Recordings, Inc.       4718    SR0000617841
3466 LoveGame                                      Lady GaGa                                                UMG Recordings, Inc.       4723    SR0000617841
3467 Money Honey                                   Lady GaGa                                                UMG Recordings, Inc.       4727    SR0000617841
3468 Paparazzi                                     Lady Gaga                                                UMG Recordings, Inc.       4729    SR0000617841
3469 Paper Gangsta                                 Lady GaGa                                                UMG Recordings, Inc.       4730    SR0000617841
3470 Starstruck                                    Lady GaGa                                                UMG Recordings, Inc.       4738    SR0000617841
3471 Summerboy                                     Lady GaGa                                                UMG Recordings, Inc.       4739    SR0000617841
3472 The Fame                                      Lady GaGa                                                UMG Recordings, Inc.       4744    SR0000617841
3473 After The Hurricane                           Jazmine Sullivan                                         Arista Music               249     SR0000618093
3474 Bust Your Windows                             Jazmine Sullivan                                         Arista Music               250     SR0000618093
3475 Call Me Guilty                                Jazmine Sullivan                                         Arista Music               251     SR0000618093
3476 Dream Big                                     Jazmine Sullivan                                         Arista Music               252     SR0000618093
3477 Fear                                          Jazmine Sullivan                                         Arista Music               253     SR0000618093
3478 In Love With Another Man                      Jazmine Sullivan                                         Arista Music               254     SR0000618093
3479 Lions, Tigers & Bears                         Jazmine Sullivan                                         Arista Music               255     SR0000618093
3480 Live A Lie                                    Jazmine Sullivan                                         Arista Music               256     SR0000618093
3481 My Foolish Heart                              Jazmine Sullivan                                         Arista Music               257     SR0000618093
3482 One Night Stand                               Jazmine Sullivan                                         Arista Music               259     SR0000618093
3483 Switch!                                       Jazmine Sullivan                                         Arista Music               260     SR0000618093
3484 I'm So Sure                                   Puddle Of Mudd                                           UMG Recordings, Inc.       5111    SR0000618742
3485 If I Could Love You                           Puddle Of Mudd                                           UMG Recordings, Inc.       5112    SR0000618742
3486 It Was Faith                                  Puddle Of Mudd                                           UMG Recordings, Inc.       5113    SR0000618742
3487 Moonshine                                     Puddle Of Mudd                                           UMG Recordings, Inc.       5115    SR0000618742
3488 Radiate                                       Puddle Of Mudd                                           UMG Recordings, Inc.       5121    SR0000618742
3489 Thinking About You                            Puddle Of Mudd                                           UMG Recordings, Inc.       5126    SR0000618742
3490 Circles                                       Colbie Caillat                                           UMG Recordings, Inc.       3856    SR0000619237
3491 Tell Him                                      Colbie Caillat                                           UMG Recordings, Inc.       3865    SR0000619237
3492 Turn Your Lights Down Low                     Colbie Caillat                                           UMG Recordings, Inc.       3868    SR0000619237
3493 Cross The Line                                John Legend                                              Sony Music Entertainment   1826    SR0000619653
3494 Everybody Knows                               John Legend                                              Sony Music Entertainment   1828    SR0000619653
3495 I Love, You Love                              John Legend                                              Sony Music Entertainment   1832    SR0000619653
3496 If You're Out There                           John Legend                                              Sony Music Entertainment   1833    SR0000619653
3497 Quickly                                       John Legend                                              Sony Music Entertainment   1837    SR0000619653
3498 Satisfaction                                  John Legend                                              Sony Music Entertainment   1838    SR0000619653
3499 Take Me Away                                  John Legend                                              Sony Music Entertainment   1841    SR0000619653
3500 This Time                                     John Legend                                              Sony Music Entertainment   1843    SR0000619653
3501 Can't Be My Lover                             John Legend feat. Buju Banton                            Sony Music Entertainment   1848    SR0000619653
3502 No Other Love                                 John Legend feat. Estelle                                Sony Music Entertainment   1849    SR0000619653
3503 It's Over                                     John Legend featuring Kanye west                         Sony Music Entertainment   1853    SR0000619653
3504 Heartless                                     Hinder                                                   UMG Recordings, Inc.       4335    SR0000619828
3505 One Night Stand                               Hinder                                                   UMG Recordings, Inc.       4345    SR0000619828
3506 100 Yard Dash                                 Raphael Saadiq                                           Sony Music Entertainment   2616    SR0000619872
3507 Calling                                       Raphael Saadiq                                           Sony Music Entertainment   2617    SR0000619872
3508 Keep Marchin'                                 Raphael Saadiq                                           Sony Music Entertainment   2622    SR0000619872
3509 Let's Take a Walk                             Raphael Saadiq                                           Sony Music Entertainment   2623    SR0000619872
3510 Love That Girl                                Raphael Saadiq                                           Sony Music Entertainment   2624    SR0000619872
3511 Oh Girl                                       Raphael Saadiq                                           Sony Music Entertainment   2626    SR0000619872
3512 Sometimes                                     Raphael Saadiq                                           Sony Music Entertainment   2629    SR0000619872
3513 Staying In Love                               Raphael Saadiq                                           Sony Music Entertainment   2630    SR0000619872
3514 Sure Hope You Mean It                         Raphael Saadiq                                           Sony Music Entertainment   2632    SR0000619872
3515 Just One Kiss                                 Raphael Saadiq feat. Joss Stone                          Sony Music Entertainment   2634    SR0000619872
     Big Easy                                      Raphael Saadiq feat. The Infamous Young Spodie           Sony Music Entertainment           SR0000619872
3516                                               and the Rebirth Brass Band                                                          2635


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                              Track                                                  Artist                                          Plaintiff   PX-01 #    Reg. No.
3517 Ave Mary A                                              P!nk                                                     LaFace Records LLC         600     SR0000619959
3518 Crystal Ball                                            P!nk                                                     LaFace Records LLC         601     SR0000619959
3519 Funhouse                                                P!nk                                                     LaFace Records LLC         602     SR0000619959
3520 Glitter In The Air                                      P!nk                                                     LaFace Records LLC         603     SR0000619959
3521 It's All Your Fault                                     P!nk                                                     LaFace Records LLC         604     SR0000619959
3522 Mean                                                    P!nk                                                     LaFace Records LLC         606     SR0000619959
3523 Mean (Explicit)                                         P!nk                                                     LaFace Records LLC         607     SR0000619959
3524 One Foot Wrong                                          P!nk                                                     LaFace Records LLC         610     SR0000619959
3525 Deliver Us from Evil                                    Bullet For My Valentine                                  Sony Music Entertainment   1082    SR0000619985
3526 Disappear                                               Bullet For My Valentine                                  Sony Music Entertainment   1084    SR0000619985
3527 End Of Days                                             Bullet For My Valentine                                  Sony Music Entertainment   1085    SR0000619985
3528 Eye Of The Storm                                        Bullet For My Valentine                                  Sony Music Entertainment   1086    SR0000619985
3529 Forever And Always                                      Bullet For My Valentine                                  Sony Music Entertainment   1088    SR0000619985
3530 Hearts Burst Into Fire                                  Bullet For My Valentine                                  Sony Music Entertainment   1089    SR0000619985
3531 Last To Know                                            Bullet For My Valentine                                  Sony Music Entertainment   1090    SR0000619985
3532 Say Goodnight                                           Bullet For My Valentine                                  Sony Music Entertainment   1093    SR0000619985
3533 Take It Out On Me                                       Bullet For My Valentine                                  Sony Music Entertainment   1095    SR0000619985
3534 Waking The Demon                                        Bullet For My Valentine                                  Sony Music Entertainment   1097    SR0000619985
3535 Announcement                                            Common                                                   UMG Recordings, Inc.       3869    SR0000619987
3536 Changes                                                 Common                                                   UMG Recordings, Inc.       3871    SR0000619987
3537 Everywhere                                              Common                                                   UMG Recordings, Inc.       3873    SR0000619987
3538 Gladiator                                               Common                                                   UMG Recordings, Inc.       3875    SR0000619987
3539 Inhale                                                  Common                                                   UMG Recordings, Inc.       3877    SR0000619987
3540 Make My Day                                             Common                                                   UMG Recordings, Inc.       3880    SR0000619987
3541 Punch Drunk Love                                        Common                                                   UMG Recordings, Inc.       3881    SR0000619987
3542 Sex 4 Suga                                              Common                                                   UMG Recordings, Inc.       3883    SR0000619987
3543 What A World                                            Common                                                   UMG Recordings, Inc.       3890    SR0000619987
3544 (Coffee's For Closers)                                  Fall Out Boy                                             UMG Recordings, Inc.       4115    SR0000620008
3545 20 Dollar Nose Bleed                                    Fall Out Boy                                             UMG Recordings, Inc.       4116    SR0000620008
3546 27                                                      Fall Out Boy                                             UMG Recordings, Inc.       4117    SR0000620008
3547 Disloyal Order Of Water Buffaloes                       Fall Out Boy                                             UMG Recordings, Inc.       4122    SR0000620008
3548 Headfirst Slide Into Cooperstown On A Bad Bet           Fall Out Boy                                             UMG Recordings, Inc.       4123    SR0000620008
3549 Pavlove                                                 Fall Out Boy                                             UMG Recordings, Inc.       4127    SR0000620008
3550 She's My Winona                                         Fall Out Boy                                             UMG Recordings, Inc.       4130    SR0000620008
3551 The (Shipped) Gold Standard                             Fall Out Boy                                             UMG Recordings, Inc.       4131    SR0000620008
3552 Tiffany Blews                                           Fall Out Boy                                             UMG Recordings, Inc.       4134    SR0000620008
3553 w.a.m.s.                                                Fall Out Boy                                             UMG Recordings, Inc.       4135    SR0000620008
3554 West Coast Smoker                                       Fall Out Boy                                             UMG Recordings, Inc.       4136    SR0000620008
3555 Amazing                                                 Kanye West                                               UMG Recordings, Inc.       4538    SR0000620203
3556 Bad News                                                Kanye West                                               UMG Recordings, Inc.       4539    SR0000620203
3557 Coldest Winter                                          Kanye West                                               UMG Recordings, Inc.       4553    SR0000620203
3558 Heartless                                               Kanye West                                               UMG Recordings, Inc.       4569    SR0000620203
3559 Paranoid                                                Kanye West                                               UMG Recordings, Inc.       4588    SR0000620203
3560 Pinocchio Story (Freestyle Live From Singapore)         Kanye West                                               UMG Recordings, Inc.       4589    SR0000620203
3561 RoboCop                                                 Kanye West                                               UMG Recordings, Inc.       4591    SR0000620203
3562 Say You Will                                            Kanye West                                               UMG Recordings, Inc.       4593    SR0000620203
3563 See You In My Nightmares                                Kanye West                                               UMG Recordings, Inc.       4597    SR0000620203
3564 Street Lights                                           Kanye West                                               UMG Recordings, Inc.       4602    SR0000620203
3565 Welcome To Heartbreak                                   Kanye West                                               UMG Recordings, Inc.       4612    SR0000620203
3566 Battle                                                  Colbie Caillat                                           UMG Recordings, Inc.       3853    SR0000620297
3567 Capri                                                   Colbie Caillat                                           UMG Recordings, Inc.       3855    SR0000620297
3568 Feelings Show                                           Colbie Caillat                                           UMG Recordings, Inc.       3857    SR0000620297
3569 Magic                                                   Colbie Caillat                                           UMG Recordings, Inc.       3858    SR0000620297
3570 Midnight Bottle                                         Colbie Caillat                                           UMG Recordings, Inc.       3859    SR0000620297
3571 One Fine Wire                                           Colbie Caillat                                           UMG Recordings, Inc.       3860    SR0000620297
3572 Oxygen                                                  Colbie Caillat                                           UMG Recordings, Inc.       3861    SR0000620297
3573 Realize                                                 Colbie Caillat                                           UMG Recordings, Inc.       3862    SR0000620297
3574 Tailor Made                                             Colbie Caillat                                           UMG Recordings, Inc.       3864    SR0000620297
3575 The Little Things                                       Colbie Caillat                                           UMG Recordings, Inc.       3866    SR0000620297
3576 Tied Down                                               Colbie Caillat                                           UMG Recordings, Inc.       3867    SR0000620297
3577 Beat In My Trunk                                        Hurricane Chris                                          Arista Music               231     SR0000620403
3578 Do Something                                            Hurricane Chris                                          Arista Music               232     SR0000620403
3579 Doin' My Thang                                          Hurricane Chris                                          Arista Music               233     SR0000620403
3580 Leaving You                                             Hurricane Chris                                          Arista Music               234     SR0000620403
3581 New Fashion                                             Hurricane Chris                                          Arista Music               235     SR0000620403
3582 Touch Me                                                Hurricane Chris                                          Arista Music               236     SR0000620403
3583 Walk Like That                                          Hurricane Chris                                          Arista Music               237     SR0000620403
                                                             Hurricane Chris featuring Big Poppa of Ratchet City
     Bang                                                                                                             Arista Music               238    SR0000620403
3584                                                         & Bigg Redd
3585 Playas Rock                                             Hurricane Chris featuring Boxie                          Arista Music               239    SR0000620403
3586 Getting Money                                           Hurricane Chris featuring Nicole Wray                    Arista Music               240    SR0000620403
3587 Momma                                                   Hurricane Chris featuring Nicole Wray                    Arista Music               241    SR0000620403
                                                             Hurricane Chris featuring The Game, Lil Boosie,
     A Bay Bay (The Ratchet Remix)                           Baby, E-40, Angie Locc of Lava House & Jadakiss          Arista Music               242    SR0000620403
3588
3589 Amnesia                                                 Britney Spears                                           Zomba Recording LLC        3097   SR0000620789
3590 Blur                                                    Britney Spears                                           Zomba Recording LLC        3098   SR0000620789
3591 Circus                                                  Britney Spears                                           Zomba Recording LLC        3099   SR0000620789
3592 If U Seek Amy                                           Britney Spears                                           Zomba Recording LLC        3104   SR0000620789


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                                Track                                                  Artist                                           Plaintiff       PX-01 #    Reg. No.
3593 Kill The Lights                                          Britney Spears                                           Zomba Recording LLC              3105    SR0000620789
3594 Lace and Leather                                         Britney Spears                                           Zomba Recording LLC              3106    SR0000620789
3595 Mannequin                                                Britney Spears                                           Zomba Recording LLC              3108    SR0000620789
3596 Mmm Papi                                                 Britney Spears                                           Zomba Recording LLC              3109    SR0000620789
3597 My Baby                                                  Britney Spears                                           Zomba Recording LLC              3110    SR0000620789
3598 Out From Under                                           Britney Spears                                           Zomba Recording LLC              3112    SR0000620789
3599 Phonography                                              Britney Spears                                           Zomba Recording LLC              3114    SR0000620789
3600 Rock Me In                                               Britney Spears                                           Zomba Recording LLC              3117    SR0000620789
3601 Unusual You                                              Britney Spears                                           Zomba Recording LLC              3120    SR0000620789
3602 Appetite                                                 Usher                                                    LaFace Records LLC               630     SR0000620940
3603 Before I Met You                                         Usher                                                    LaFace Records LLC               632     SR0000620940
3604 Here I Stand                                             Usher                                                    LaFace Records LLC               635     SR0000620940
3605 His Mistakes                                             Usher                                                    LaFace Records LLC               636     SR0000620940
3606 Intro                                                    Usher                                                    LaFace Records LLC               642     SR0000620940
3607 Lifetime                                                 Usher                                                    LaFace Records LLC               644     SR0000620940
3608 Love In This Club, Part II                               Usher                                                    LaFace Records LLC               645     SR0000620940
3609 Love You Gently                                          Usher                                                    LaFace Records LLC               646     SR0000620940
3610 Moving Mountains                                         Usher                                                    LaFace Records LLC               647     SR0000620940
3611 Prayer For You Interlude                                 Usher                                                    LaFace Records LLC               651     SR0000620940
3612 Something Special                                        Usher                                                    LaFace Records LLC               652     SR0000620940
3613 This Ain't Sex                                           Usher                                                    LaFace Records LLC               653     SR0000620940
3614 Trading Places                                           Usher                                                    LaFace Records LLC               654     SR0000620940
3615 What's A Man To Do                                       Usher                                                    LaFace Records LLC               659     SR0000620940
3616 Will Work For Love                                       Usher                                                    LaFace Records LLC               660     SR0000620940
3617 Best Thing                                               Usher feat. Jay-Z                                        LaFace Records LLC               663     SR0000620940
3618 What's Your Name                                         Usher feat. will.i.am                                    LaFace Records LLC               665     SR0000620940
3619 Everything Is Fine                                       Josh Turner                                              UMG Recordings, Inc.             4464    SR0000621055
3620 Firecracker                                              Josh Turner                                              UMG Recordings, Inc.             4466    SR0000621055
3621 Nowhere Fast                                             Josh Turner                                              UMG Recordings, Inc.             4483    SR0000621055
3622 One Woman Man                                            Josh Turner                                              UMG Recordings, Inc.             4484    SR0000621055
3623 So Not My Baby                                           Josh Turner                                              UMG Recordings, Inc.             4486    SR0000621055
3624 Soulmate                                                 Josh Turner                                              UMG Recordings, Inc.             4487    SR0000621055
3625 South Carolina Low Country                               Josh Turner                                              UMG Recordings, Inc.             4488    SR0000621055
3626 The Longer The Waiting                                   Josh Turner                                              UMG Recordings, Inc.             4491    SR0000621055
3627 The Way He Was Raised                                    Josh Turner                                              UMG Recordings, Inc.             4492    SR0000621055
3628 Trailerhood                                              Josh Turner                                              UMG Recordings, Inc.             4494    SR0000621055
3629 I'm In Miami Bitch                                       LMFAO                                                    UMG Recordings, Inc.             4866    SR0000621810
3630 I'm In Miami Bitch (Explicit)                            LMFAO                                                    UMG Recordings, Inc.             4867    SR0000621810
3631 1st & Love                                               Brandy                                                   Sony Music Entertainment         995     SR0000622255
3632 A Capella (Something's Missing)                          Brandy                                                   Sony Music Entertainment         996     SR0000622255
3633 Camouflage                                               Brandy                                                   Sony Music Entertainment         997     SR0000622255
3634 Fall                                                     Brandy                                                   Sony Music Entertainment         1000    SR0000622255
3635 Human                                                    Brandy                                                   Sony Music Entertainment         1002    SR0000622255
3636 Long Distance                                            Brandy                                                   Sony Music Entertainment         1004    SR0000622255
3637 Long Distance Interlude                                  Brandy                                                   Sony Music Entertainment         1005    SR0000622255
3638 Piano Man                                                Brandy                                                   Sony Music Entertainment         1010    SR0000622255
3639 Shattered Heart                                          Brandy                                                   Sony Music Entertainment         1012    SR0000622255
3640 The Definition                                           Brandy                                                   Sony Music Entertainment         1015    SR0000622255
3641 Torn Down                                                Brandy                                                   Sony Music Entertainment         1016    SR0000622255
3642 TRUE                                                     Brandy                                                   Sony Music Entertainment         1017    SR0000622255
3643 Warm It Up (With Love)                                   Brandy                                                   Sony Music Entertainment         1018    SR0000622255
3644 All Summer Long                                          Kid Rock                                                 Atlantic Recording Corporation   5669    SR0000622796
3645 Amen                                                     Kid Rock                                                 Atlantic Recording Corporation   5670    SR0000622796
3646 Blue Jeans And A Rosary                                  Kid Rock                                                 Atlantic Recording Corporation   5671    SR0000622796
3647 Don't Tell Me You Love Me                                Kid Rock                                                 Atlantic Recording Corporation   5672    SR0000622796
3648 Half Your Age                                            Kid Rock                                                 Atlantic Recording Corporation   5673    SR0000622796
3649 Lowlife (Living The Highlife)                            Kid Rock                                                 Atlantic Recording Corporation   5674    SR0000622796
3650 New Orleans                                              Kid Rock                                                 Atlantic Recording Corporation   5675    SR0000622796
3651 Rock N Roll Jesus                                        Kid Rock                                                 Atlantic Recording Corporation   5676    SR0000622796
3652 Roll On                                                  Kid Rock                                                 Atlantic Recording Corporation   5677    SR0000622796
3653 So Hott                                                  Kid Rock                                                 Atlantic Recording Corporation   5678    SR0000622796
3654 Sugar                                                    Kid Rock                                                 Atlantic Recording Corporation   5679    SR0000622796
3655 When U Love Someone                                      Kid Rock                                                 Atlantic Recording Corporation   5680    SR0000622796
3656 Bottle Poppin' (feat. Gorilla Zoe)                       Yung Joc                                                 Bad Boy Records LLC              5994    SR0000622799
3657 Brand New                                                Yung Joc                                                 Bad Boy Records LLC              5995    SR0000622799
3658 BYOB                                                     Yung Joc                                                 Bad Boy Records LLC              5996    SR0000622799
3659 Chevy Smile                                              Yung Joc                                                 Bad Boy Records LLC              5997    SR0000622799
3660 Coffee Shop (feat. Gorilla Zoe)                          Yung Joc                                                 Bad Boy Records LLC              5998    SR0000622799
3661 Cut Throat (featuring The Game, Jim Jones & Block)       Yung Joc                                                 Bad Boy Records LLC              5999    SR0000622799
     Getting to da Money (featuring Mike Carlito & Gorilla    Yung Joc                                                 Bad Boy Records LLC              6005    SR0000622799
3662 Zoe)
3663 Hell Yeah (feat. Diddy)                                  Yung Joc                                                 Bad Boy Records LLC              6008   SR0000622799
3664 Hustlemania (Skit)                                       Yung Joc                                                 Bad Boy Records LLC              6009   SR0000622799
3665 Hustlenomics                                             Yung Joc                                                 Bad Boy Records LLC              6010   SR0000622799
3666 I'm A G (feat. Bun B & Young Dro)                        Yung Joc                                                 Bad Boy Records LLC              6012   SR0000622799
3667 Livin' The Life                                          Yung Joc                                                 Bad Boy Records LLC              6016   SR0000622799
3668 Momma (feat. Jazze Pha)                                  Yung Joc                                                 Bad Boy Records LLC              6017   SR0000622799
3669 Pak Man                                                  Yung Joc                                                 Bad Boy Records LLC              6019   SR0000622799
3670 Play Your Cards                                          Yung Joc                                                 Bad Boy Records LLC              6022   SR0000622799


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                                Track                                                    Artist                                           Plaintiff       PX-01 #    Reg. No.
3671 Far From Home                                              Hinder                                                   UMG Recordings, Inc.             4333    SR0000622802
3672 Heaven Sent                                                Hinder                                                   UMG Recordings, Inc.             4336    SR0000622802
3673 Last Kiss Goodbye                                          Hinder                                                   UMG Recordings, Inc.             4339    SR0000622802
3674 Live For Today                                             Hinder                                                   UMG Recordings, Inc.             4341    SR0000622802
3675 Loaded and Alone                                           Hinder                                                   UMG Recordings, Inc.             4342    SR0000622802
3676 Lost In The Sun                                            Hinder                                                   UMG Recordings, Inc.             4343    SR0000622802
3677 Running In The Rain                                        Hinder                                                   UMG Recordings, Inc.             4347    SR0000622802
3678 Take It To The Limit                                       Hinder                                                   UMG Recordings, Inc.             4349    SR0000622802
3679 The Best is Yet to Come                                    Hinder                                                   UMG Recordings, Inc.             4351    SR0000622802
3680 Thing For You                                              Hinder                                                   UMG Recordings, Inc.             4352    SR0000622802
3681 Thunderstruck                                              Hinder                                                   UMG Recordings, Inc.             4353    SR0000622802
3682 A Beautiful Mess                                           Jason Mraz                                               Atlantic Recording Corporation   5656    SR0000623312
3683 Butterfly                                                  Jason Mraz                                               Atlantic Recording Corporation   5657    SR0000623312
3684 Coyotes                                                    Jason Mraz                                               Atlantic Recording Corporation   5658    SR0000623312
3685 Details in the Fabric (feat. James Morrison)               Jason Mraz                                               Atlantic Recording Corporation   5659    SR0000623312
3686 I'm Yours                                                  Jason Mraz                                               Atlantic Recording Corporation   5661    SR0000623312
3687 If It Kills Me                                             Jason Mraz                                               Atlantic Recording Corporation   5662    SR0000623312
3688 Live High                                                  Jason Mraz                                               Atlantic Recording Corporation   5663    SR0000623312
3689 Love For A Child                                           Jason Mraz                                               Atlantic Recording Corporation   5664    SR0000623312
3690 Lucky (feat. Colbie Caillat)                               Jason Mraz                                               Atlantic Recording Corporation   5665    SR0000623312
3691 Make It Mine                                               Jason Mraz                                               Atlantic Recording Corporation   5666    SR0000623312
3692 Only Human                                                 Jason Mraz                                               Atlantic Recording Corporation   5667    SR0000623312
3693 The Dynamo Of Volition                                     Jason Mraz                                               Atlantic Recording Corporation   5668    SR0000623312
3694 Ave Maria                                                  Beyoncé                                                  Sony Music Entertainment         775     SR0000623449
3695 Broken-Hearted Girl                                        Beyoncé                                                  Sony Music Entertainment         778     SR0000623449
3696 Disappear                                                  Beyoncé                                                  Sony Music Entertainment         784     SR0000623449
3697 Diva                                                       Beyoncé                                                  Sony Music Entertainment         785     SR0000623449
3698 Ego                                                        Beyoncé                                                  Sony Music Entertainment         786     SR0000623449
3699 Halo                                                       Beyoncé                                                  Sony Music Entertainment         789     SR0000623449
3700 Hello                                                      Beyoncé                                                  Sony Music Entertainment         792     SR0000623449
3701 Radio                                                      Beyoncé                                                  Sony Music Entertainment         805     SR0000623449
3702 Satellites                                                 Beyoncé                                                  Sony Music Entertainment         809     SR0000623449
3703 Scared Of Lonely                                           Beyoncé                                                  Sony Music Entertainment         810     SR0000623449
3704 Smash Into You                                             Beyoncé                                                  Sony Music Entertainment         813     SR0000623449
3705 Sweet Dreams                                               Beyoncé                                                  Sony Music Entertainment         816     SR0000623449
3706 That's Why You're Beautiful                                Beyoncé                                                  Sony Music Entertainment         817     SR0000623449
3707 Video Phone                                                Beyoncé                                                  Sony Music Entertainment         818     SR0000623449
3708 Bludgeoned to Death                                        Suicide Silence                                          Sony Music Entertainment         2732    SR0000623967
3709 Destruction of a Statue (Bonus Track)                      Suicide Silence                                          Sony Music Entertainment         2735    SR0000623967
3710 Eyes Sewn Shut                                             Suicide Silence                                          Sony Music Entertainment         2737    SR0000623967
3711 Girl of Glass                                              Suicide Silence                                          Sony Music Entertainment         2740    SR0000623967
3712 Green Monster                                              Suicide Silence                                          Sony Music Entertainment         2741    SR0000623967
3713 Hands of a Killer                                          Suicide Silence                                          Sony Music Entertainment         2742    SR0000623967
3714 In a Photograph                                            Suicide Silence                                          Sony Music Entertainment         2744    SR0000623967
3715 No Pity For a Coward                                       Suicide Silence                                          Sony Music Entertainment         2746    SR0000623967
3716 The Disease                                                Suicide Silence                                          Sony Music Entertainment         2751    SR0000623967
3717 The Fallen                                                 Suicide Silence                                          Sony Music Entertainment         2752    SR0000623967
3718 The Price of Beauty                                        Suicide Silence                                          Sony Music Entertainment         2754    SR0000623967
3719 Unanswered                                                 Suicide Silence                                          Sony Music Entertainment         2755    SR0000623967
3720 Diamond In The Rough                                       Anthony Hamilton                                         Arista Records LLC               408     SR0000625444
3721 Fallin' In Love                                            Anthony Hamilton                                         Arista Records LLC               409     SR0000625444
3722 Fine Again                                                 Anthony Hamilton                                         Arista Records LLC               410     SR0000625444
3723 Hard To Breathe                                            Anthony Hamilton                                         Arista Records LLC               411     SR0000625444
3724 Her Heart                                                  Anthony Hamilton                                         Arista Records LLC               412     SR0000625444
3725 I Did It For Sho                                           Anthony Hamilton                                         Arista Records LLC               413     SR0000625444
3726 Please Stay                                                Anthony Hamilton                                         Arista Records LLC               414     SR0000625444
3727 Prayin' For You/Superman                                   Anthony Hamilton                                         Arista Records LLC               415     SR0000625444
3728 Soul's On Fire                                             Anthony Hamilton                                         Arista Records LLC               416     SR0000625444
3729 The Day We Met                                             Anthony Hamilton                                         Arista Records LLC               417     SR0000625444
3730 The News                                                   Anthony Hamilton                                         Arista Records LLC               418     SR0000625444
3731 The Point Of It All                                        Anthony Hamilton                                         Arista Records LLC               419     SR0000625444
3732 As I Am (Intro)                                            Alicia Keys                                              Arista Music                     7       SR0000627148
3733 Go Ahead                                                   Alicia Keys                                              Arista Music                     16      SR0000627148
3734 I Need You                                                 Alicia Keys                                              Arista Music                     20      SR0000627148
3735 Lesson Learned                                             Alicia Keys                                              Arista Music                     27      SR0000627148
3736 Like You'll Never See Me Again                             Alicia Keys                                              Arista Music                     28      SR0000627148
3737 No One                                                     Alicia Keys                                              Arista Music                     31      SR0000627148
3738 Prelude To A Kiss                                          Alicia Keys                                              Arista Music                     34      SR0000627148
3739 Superwoman                                                 Alicia Keys                                              Arista Music                     40      SR0000627148
3740 Sure Looks Good To Me                                      Alicia Keys                                              Arista Music                     41      SR0000627148
3741 Teenage Love Affair                                        Alicia Keys                                              Arista Music                     42      SR0000627148
3742 Tell You Something (Nana's Reprise)                        Alicia Keys                                              Arista Music                     43      SR0000627148
3743 The Thing About Love                                       Alicia Keys                                              Arista Music                     45      SR0000627148
3744 Waiting For Your Love                                      Alicia Keys                                              Arista Music                     48      SR0000627148
3745 Where Do We Go From Here                                   Alicia Keys                                              Arista Music                     51      SR0000627148
3746 Wreckless Love                                             Alicia Keys                                              Arista Music                     54      SR0000627148
3747 Dark Road                                                  Annie Lennox                                             Sony Music Entertainment         751     SR0000627150
3748 Sing                                                       Annie Lennox                                             Sony Music Entertainment         752     SR0000627150
3749 All-American Girl                                          Carrie Underwood                                         Sony Music Entertainment         1134    SR0000627157


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                                 Track                                             Artist                                           Plaintiff       PX-01 #    Reg. No.
3750 Crazy Dreams                                         Carrie Underwood                                         Sony Music Entertainment         1137    SR0000627157
3751 Flat On The Floor                                    Carrie Underwood                                         Sony Music Entertainment         1141    SR0000627157
3752 Get Out Of This Town                                 Carrie Underwood                                         Sony Music Entertainment         1143    SR0000627157
3753 I Know You Won't                                     Carrie Underwood                                         Sony Music Entertainment         1148    SR0000627157
3754 I Told You So                                        Carrie Underwood                                         Sony Music Entertainment         1149    SR0000627157
3755 Just A Dream                                         Carrie Underwood                                         Sony Music Entertainment         1152    SR0000627157
3756 Last Name                                            Carrie Underwood                                         Sony Music Entertainment         1153    SR0000627157
3757 The More Boys I Meet                                 Carrie Underwood                                         Sony Music Entertainment         1164    SR0000627157
3758 Twisted                                              Carrie Underwood                                         Sony Music Entertainment         1166    SR0000627157
3759 Wheel Of The World                                   Carrie Underwood                                         Sony Music Entertainment         1170    SR0000627157
3760 You Won't Find This                                  Carrie Underwood                                         Sony Music Entertainment         1174    SR0000627157
3761 Figure It Out                                        Maroon 5                                                 UMG Recordings, Inc.             4936    SR0000627938
3762 Miss You Love You                                    Maroon 5                                                 UMG Recordings, Inc.             4954    SR0000627938
3763 Definition Of A Thug N***a                           2Pac                                                     UMG Recordings, Inc.             3515    SR0000627960
3764 Dopefiend's Diner                                    2Pac                                                     UMG Recordings, Inc.             3516    SR0000627960
3765 When I Get Free (Explicit)                           2Pac                                                     UMG Recordings, Inc.             3539    SR0000627960
3766 I Can't Save You                                     Ozzy Osbourne                                            Sony Music Entertainment         2434    SR0000628282
3767 I Don't Wanna Stop                                   Ozzy Osbourne                                            Sony Music Entertainment         2435    SR0000628282
3768 Nightmare                                            Ozzy Osbourne                                            Sony Music Entertainment         2443    SR0000628282
3769 Not Going Away                                       Ozzy Osbourne                                            Sony Music Entertainment         2446    SR0000628282
3770 2 Of Amerikaz Most Wanted (Explicit)                 2Pac                                                     UMG Recordings, Inc.             3508    SR0000628433
3771 California Love                                      2Pac                                                     UMG Recordings, Inc.             3510    SR0000628433
3772 Hail Mary                                            2Pac                                                     UMG Recordings, Inc.             3519    SR0000628433
3773 How Do U Want It                                     2Pac                                                     UMG Recordings, Inc.             3521    SR0000628433
3774 I Ain't Mad At Cha                                   2Pac                                                     UMG Recordings, Inc.             3522    SR0000628433
3775 Resist The Temptation                                2Pac                                                     UMG Recordings, Inc.             3530    SR0000628433
3776 Alligator Pie                                        Dave Matthews Band                                       Sony Music Entertainment         1348    SR0000628753
3777 Baby Blue                                            Dave Matthews Band                                       Sony Music Entertainment         1350    SR0000628753
3778 Dive In                                              Dave Matthews Band                                       Sony Music Entertainment         1351    SR0000628753
3779 Funny the Way It Is                                  Dave Matthews Band                                       Sony Music Entertainment         1352    SR0000628753
3780 Grux                                                 Dave Matthews Band                                       Sony Music Entertainment         1353    SR0000628753
3781 Lying in the Hands of God                            Dave Matthews Band                                       Sony Music Entertainment         1354    SR0000628753
3782 Seven                                                Dave Matthews Band                                       Sony Music Entertainment         1355    SR0000628753
3783 Shake Me Like A Monkey                               Dave Matthews Band                                       Sony Music Entertainment         1356    SR0000628753
3784 Spaceman                                             Dave Matthews Band                                       Sony Music Entertainment         1357    SR0000628753
3785 Squirm                                               Dave Matthews Band                                       Sony Music Entertainment         1358    SR0000628753
3786 Time Bomb                                            Dave Matthews Band                                       Sony Music Entertainment         1359    SR0000628753
3787 Why I Am                                             Dave Matthews Band                                       Sony Music Entertainment         1360    SR0000628753
3788 You & Me                                             Dave Matthews Band                                       Sony Music Entertainment         1361    SR0000628753
3789 Alienated                                            Keri Hilson                                              UMG Recordings, Inc.             4623    SR0000629123
3790 Change Me                                            Keri Hilson                                              UMG Recordings, Inc.             4624    SR0000629123
3791 Get Your Money Up                                    Keri Hilson                                              UMG Recordings, Inc.             4626    SR0000629123
3792 How Does It Feel                                     Keri Hilson                                              UMG Recordings, Inc.             4627    SR0000629123
3793 Intro                                                Keri Hilson                                              UMG Recordings, Inc.             4628    SR0000629123
3794 Intuition                                            Keri Hilson                                              UMG Recordings, Inc.             4629    SR0000629123
3795 Knock You Down                                       Keri Hilson                                              UMG Recordings, Inc.             4630    SR0000629123
3796 Make Love                                            Keri Hilson                                              UMG Recordings, Inc.             4631    SR0000629123
3797 Slow Dance                                           Keri Hilson                                              UMG Recordings, Inc.             4634    SR0000629123
3798 Tell Him The Truth                                   Keri Hilson                                              UMG Recordings, Inc.             4635    SR0000629123
3799 Where Did He Go                                      Keri Hilson                                              UMG Recordings, Inc.             4637    SR0000629123
3800 Ack Like You Know                                    Flo Rida                                                 Atlantic Recording Corporation   5540    SR0000629161
3801 All My Life                                          Flo Rida                                                 Atlantic Recording Corporation   5541    SR0000629161
3802 American Superstar (feat. Lil Wayne)                 Flo Rida                                                 Atlantic Recording Corporation   5542    SR0000629161
3803 Don't Know How To Act (feat. Yung Joc)               Flo Rida                                                 Atlantic Recording Corporation   5545    SR0000629161
3804 Elevator (feat. Timbaland)                           Flo Rida                                                 Atlantic Recording Corporation   5546    SR0000629161
3805 Freaky Deaky (feat. Trey Songz)                      Flo Rida                                                 Atlantic Recording Corporation   5548    SR0000629161
3806 In The Ayer (feat. will.I.am)                        Flo Rida                                                 Atlantic Recording Corporation   5552    SR0000629161
3807 Low (feat T-Pain)                                    Flo Rida                                                 Atlantic Recording Corporation   5554    SR0000629161
3808 Me & U                                               Flo Rida                                                 Atlantic Recording Corporation   5555    SR0000629161
3809 Money Right (feat. Rick Ross & Brisco)               Flo Rida                                                 Atlantic Recording Corporation   5557    SR0000629161
3810 Ms. Hangover                                         Flo Rida                                                 Atlantic Recording Corporation   5558    SR0000629161
3811 Priceless (feat. Birdman)                            Flo Rida                                                 Atlantic Recording Corporation   5561    SR0000629161
3812 Roll (feat. Sean Kingston)                           Flo Rida                                                 Atlantic Recording Corporation   5566    SR0000629161
3813 Still Missin                                         Flo Rida                                                 Atlantic Recording Corporation   5568    SR0000629161
3814 Cry                                                  Rihanna                                                  UMG Recordings, Inc.             5179    SR0000629434
3815 Haunted                                              Rihanna                                                  UMG Recordings, Inc.             5192    SR0000629434
3816 Do You See (Explicit)                                Warren G                                                 UMG Recordings, Inc.             5404    SR0000629800
3817 Gangsta Sermon (Explicit)                            Warren G                                                 UMG Recordings, Inc.             5405    SR0000629800
3818 Recognize (Explicit)                                 Warren G                                                 UMG Recordings, Inc.             5406    SR0000629800
3819 Super Soul Sis (Explicit)                            Warren G                                                 UMG Recordings, Inc.             5408    SR0000629800
3820 What's Next (Explicit)                               Warren G                                                 UMG Recordings, Inc.             5409    SR0000629800
3821 Damage                                               Chris Brown                                              Zomba Recording LLC              3124    SR0000630132
3822 Down                                                 Chris Brown                                              Zomba Recording LLC              3125    SR0000630132
3823 Gimme Whatcha Got                                    Chris Brown                                              Zomba Recording LLC              3127    SR0000630132
3824 Help Me                                              Chris Brown                                              Zomba Recording LLC              3129    SR0000630132
3825 Hold Up                                              Chris Brown                                              Zomba Recording LLC              3130    SR0000630132
3826 I Wanna Be                                           Chris Brown                                              Zomba Recording LLC              3131    SR0000630132
3827 I'll Call Ya                                         Chris Brown                                              Zomba Recording LLC              3132    SR0000630132
3828 Kiss Kiss                                            Chris Brown                                              Zomba Recording LLC              3133    SR0000630132


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                            Track                                                  Artist                                        Plaintiff          PX-01 #     Reg. No.
3829 Lottery                                              Chris Brown                                              Zomba Recording LLC              3134    SR0000630132
3830 Nice                                                 Chris Brown                                              Zomba Recording LLC              3135    SR0000630132
3831 Picture Perfect                                      Chris Brown                                              Zomba Recording LLC              3136    SR0000630132
3832 Take You Down                                        Chris Brown                                              Zomba Recording LLC              3138    SR0000630132
3833 Throwed                                              Chris Brown                                              Zomba Recording LLC              3139    SR0000630132
3834 With You                                             Chris Brown                                              Zomba Recording LLC              3141    SR0000630132
3835 You                                                  Chris Brown                                              Zomba Recording LLC              3142    SR0000630132
     Lay Down Sally (Album Version)                       Eric Clapton                                             UMG Recordings, Inc.                     SR0000630877
                                                                                                                                                            (change to
3836                                                                                                                                                4112    SR0000001112)
       Promises (Album Version)                           Eric Clapton                                             UMG Recordings, Inc.                     SR0000630877
                                                                                                                                                            (change to
3837                                                                                                                                                4114    SR0000001112)
3838 Back Against The Wall                                Cage The Elephant                                        Sony Music Entertainment         1104    SR0000631003
3839 Back Stabbin' Betty (Explicit)                       Cage The Elephant                                        Sony Music Entertainment         1105    SR0000631003
3840 Cover Me Again                                       Cage The Elephant                                        Sony Music Entertainment         1106    SR0000631003
3841 Drones In The Valley                                 Cage The Elephant                                        Sony Music Entertainment         1107    SR0000631003
3842 Free Love                                            Cage The Elephant                                        Sony Music Entertainment         1109    SR0000631003
3843 In One Ear                                           Cage The Elephant                                        Sony Music Entertainment         1110    SR0000631003
3844 James Brown                                          Cage The Elephant                                        Sony Music Entertainment         1112    SR0000631003
3845 Judas                                                Cage The Elephant                                        Sony Music Entertainment         1114    SR0000631003
3846 Lotus                                                Cage The Elephant                                        Sony Music Entertainment         1115    SR0000631003
3847 Soil To The Sun                                      Cage The Elephant                                        Sony Music Entertainment         1121    SR0000631003
3848 Tiny Little Robots                                   Cage The Elephant                                        Sony Music Entertainment         1122    SR0000631003
3849 Ciara To The Stage                                   Ciara                                                    Sony Music Entertainment         1299    SR0000631011
3850 G Is For Girl (A-Z)                                  Ciara                                                    Sony Music Entertainment         1300    SR0000631011
3851 I Don't Remember                                     Ciara                                                    Sony Music Entertainment         1302    SR0000631011
3852 Keep Dancin' On Me                                   Ciara                                                    Sony Music Entertainment         1303    SR0000631011
3853 Like A Surgeon                                       Ciara                                                    Sony Music Entertainment         1304    SR0000631011
3854 Pucker Up                                            Ciara                                                    Sony Music Entertainment         1306    SR0000631011
3855 Tell Me What Your Name Is                            Ciara                                                    Sony Music Entertainment         1309    SR0000631011
3856 Turntables                                           Ciara feat. Chris Brown                                  Sony Music Entertainment         1310    SR0000631011
3857 High Price                                           Ciara feat. Ludacris                                     Sony Music Entertainment         1311    SR0000631011
3858 Lover's Thing                                        Ciara feat. The-Dream                                    Sony Music Entertainment         1313    SR0000631011
3859 Love Sex Magic (Main Version)                        Ciara Featuring Justin Timberlake                        Sony Music Entertainment         1314    SR0000631011
3860 Born For This                                        Paramore                                                 Atlantic Recording Corporation   5792    SR0000631909
3861 crushcrushcrush                                      Paramore                                                 Atlantic Recording Corporation   5795    SR0000631909
3862 Fences                                               Paramore                                                 Atlantic Recording Corporation   5799    SR0000631909
3863 For A Pessimist, I'm Pretty Optimistic               Paramore                                                 Atlantic Recording Corporation   5800    SR0000631909
3864 Hallelujah                                           Paramore                                                 Atlantic Recording Corporation   5803    SR0000631909
3865 Let The Flames Begin                                 Paramore                                                 Atlantic Recording Corporation   5810    SR0000631909
3866 Miracle                                              Paramore                                                 Atlantic Recording Corporation   5812    SR0000631909
3867 Misery Business                                      Paramore                                                 Atlantic Recording Corporation   5813    SR0000631909
3868 That's What You Get                                  Paramore                                                 Atlantic Recording Corporation   5820    SR0000631909
3869 We Are Broken                                        Paramore                                                 Atlantic Recording Corporation   5823    SR0000631909
3870 When It Rains                                        Paramore                                                 Atlantic Recording Corporation   5824    SR0000631909
3871 3 a.m.                                               Eminem                                                   UMG Recordings, Inc.             4000    SR0000633152
3872 Bagpipes From Baghdad                                Eminem                                                   UMG Recordings, Inc.             4004    SR0000633152
3873 Beautiful                                            Eminem                                                   UMG Recordings, Inc.             4005    SR0000633152
3874 Deja Vu                                              Eminem                                                   UMG Recordings, Inc.             4017    SR0000633152
3875 Dr. West                                             Eminem                                                   UMG Recordings, Inc.             4019    SR0000633152
3876 Hello                                                Eminem                                                   UMG Recordings, Inc.             4033    SR0000633152
3877 Insane                                               Eminem                                                   UMG Recordings, Inc.             4034    SR0000633152
3878 Medicine Ball                                        Eminem                                                   UMG Recordings, Inc.             4043    SR0000633152
3879 Mr. Mathers                                          Eminem                                                   UMG Recordings, Inc.             4046    SR0000633152
3880 Must Be The Ganja                                    Eminem                                                   UMG Recordings, Inc.             4047    SR0000633152
3881 My Mom                                               Eminem                                                   UMG Recordings, Inc.             4052    SR0000633152
3882 Same Song & Dance                                    Eminem                                                   UMG Recordings, Inc.             4071    SR0000633152
3883 Tonya                                                Eminem                                                   UMG Recordings, Inc.             4094    SR0000633152
3884 All Your Reasons                                     Matchbox Twenty                                          Atlantic Recording Corporation   5722    SR0000633456
3885 Back 2 Good (Remastered Version)                     Matchbox Twenty                                          Atlantic Recording Corporation   5725    SR0000633456
3886 Bent (Remastered Version)                            Matchbox Twenty                                          Atlantic Recording Corporation   5727    SR0000633456
3887 Can't Let You Go                                     Matchbox Twenty                                          Atlantic Recording Corporation   5730    SR0000633456
3888 Disease (Remastered Version)                         Matchbox Twenty                                          Atlantic Recording Corporation   5737    SR0000633456
3889 How Far We've Come                                   Matchbox Twenty                                          Atlantic Recording Corporation   5744    SR0000633456
3890 I'll Believe You When                                Matchbox Twenty                                          Atlantic Recording Corporation   5747    SR0000633456
3891 If I Fall                                            Matchbox Twenty                                          Atlantic Recording Corporation   5748    SR0000633456
3892 Mad Season (Remastered Version)                      Matchbox Twenty                                          Atlantic Recording Corporation   5755    SR0000633456
3893 Push (Remastered Version)                            Matchbox Twenty                                          Atlantic Recording Corporation   5759    SR0000633456
3894 These Hard Times                                     Matchbox Twenty                                          Atlantic Recording Corporation   5770    SR0000633456
3895 Alive                                                Black Eyed Peas                                          UMG Recordings, Inc.             3753    SR0000633584
3896 Another Weekend                                      Black Eyed Peas                                          UMG Recordings, Inc.             3754    SR0000633584
3897 Boom Boom Pow                                        Black Eyed Peas                                          UMG Recordings, Inc.             3755    SR0000633584
3898 Don't Bring Me Down                                  Black Eyed Peas                                          UMG Recordings, Inc.             3757    SR0000633584
3899 Don't Phunk Around                                   Black Eyed Peas                                          UMG Recordings, Inc.             3758    SR0000633584
3900 Electric City                                        Black Eyed Peas                                          UMG Recordings, Inc.             3760    SR0000633584
3901 I Gotta Feeling                                      Black Eyed Peas                                          UMG Recordings, Inc.             3761    SR0000633584
3902 Let's Get Re-Started                                 Black Eyed Peas                                          UMG Recordings, Inc.             3763    SR0000633584
3903 Mare                                                 Black Eyed Peas                                          UMG Recordings, Inc.             3765    SR0000633584


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                                 Track                                                Artist                                           Plaintiff       PX-01 #    Reg. No.
3904 Meet Me Halfway                                         Black Eyed Peas                                          UMG Recordings, Inc.             3766    SR0000633584
3905 Missing You                                             Black Eyed Peas                                          UMG Recordings, Inc.             3767    SR0000633584
3906 Now Generation                                          Black Eyed Peas                                          UMG Recordings, Inc.             3768    SR0000633584
3907 One Tribe                                               Black Eyed Peas                                          UMG Recordings, Inc.             3769    SR0000633584
3908 Out Of My Head                                          Black Eyed Peas                                          UMG Recordings, Inc.             3770    SR0000633584
3909 Party All The Time                                      Black Eyed Peas                                          UMG Recordings, Inc.             3771    SR0000633584
3910 Pump It Harder                                          Black Eyed Peas                                          UMG Recordings, Inc.             3772    SR0000633584
3911 Ring-A-Ling                                             Black Eyed Peas                                          UMG Recordings, Inc.             3773    SR0000633584
3912 Rock That Body                                          Black Eyed Peas                                          UMG Recordings, Inc.             3774    SR0000633584
3913 Rockin To The Beat                                      Black Eyed Peas                                          UMG Recordings, Inc.             3775    SR0000633584
3914 Showdown                                                Black Eyed Peas                                          UMG Recordings, Inc.             3776    SR0000633584
3915 Simple Little Melody                                    Black Eyed Peas                                          UMG Recordings, Inc.             3778    SR0000633584
3916 That's The Joint                                        Black Eyed Peas                                          UMG Recordings, Inc.             3779    SR0000633584
3917 Where Ya Wanna Go                                       Black Eyed Peas                                          UMG Recordings, Inc.             3781    SR0000633584
3918 I Won't Tell You                                        Lacuna Coil                                              Sony Music Entertainment         2073    SR0000633888
3919 I'm Not Afraid                                          Lacuna Coil                                              Sony Music Entertainment         2074    SR0000633888
3920 Not Enough                                              Lacuna Coil                                              Sony Music Entertainment         2082    SR0000633888
3921 Oblivion                                                Lacuna Coil                                              Sony Music Entertainment         2083    SR0000633888
3922 Shallow Life                                            Lacuna Coil                                              Sony Music Entertainment         2086    SR0000633888
3923 Spellbound                                              Lacuna Coil                                              Sony Music Entertainment         2087    SR0000633888
3924 Survive                                                 Lacuna Coil                                              Sony Music Entertainment         2088    SR0000633888
3925 The Maze                                                Lacuna Coil                                              Sony Music Entertainment         2091    SR0000633888
3926 The Pain                                                Lacuna Coil                                              Sony Music Entertainment         2092    SR0000633888
3927 Unchained                                               Lacuna Coil                                              Sony Music Entertainment         2096    SR0000633888
3928 Underdog                                                Lacuna Coil                                              Sony Music Entertainment         2097    SR0000633888
3929 Wide Awake                                              Lacuna Coil                                              Sony Music Entertainment         2102    SR0000633888
3930 Wheels                                                  Foo Fighters                                             Sony Music Entertainment         1528    SR0000636262
3931 Word Forward                                            Foo Fighters                                             Sony Music Entertainment         1530    SR0000636262
3932 Breathe                                                 U2                                                       UMG Recordings, Inc.             5392    SR0000636812
3933 Cedars Of Lebanon                                       U2                                                       UMG Recordings, Inc.             5393    SR0000636812
3934 FEZ/Being Born                                          U2                                                       UMG Recordings, Inc.             5394    SR0000636812
3935 I'll Go Crazy If I Don't Go Crazy Tonight               U2                                                       UMG Recordings, Inc.             5396    SR0000636812
3936 Magnificent                                             U2                                                       UMG Recordings, Inc.             5397    SR0000636812
3937 Moment Of Surrender                                     U2                                                       UMG Recordings, Inc.             5398    SR0000636812
3938 Stand Up Comedy                                         U2                                                       UMG Recordings, Inc.             5399    SR0000636812
3939 Unknown Caller                                          U2                                                       UMG Recordings, Inc.             5400    SR0000636812
3940 White As Snow                                           U2                                                       UMG Recordings, Inc.             5401    SR0000636812
3941 Cupid                                                   Amy Winehouse                                            UMG Recordings, Inc.             3610    SR0000636832
3942 Hey Little Rich Girl                                    Amy Winehouse                                            UMG Recordings, Inc.             3614    SR0000636832
3943 Love Is A Losing Game (Demo)                            Amy Winehouse                                            UMG Recordings, Inc.             3622    SR0000636832
3944 Monkey Man                                              Amy Winehouse                                            UMG Recordings, Inc.             3624    SR0000636832
3945 Some Unholy War (Down Tempo)                            Amy Winehouse                                            UMG Recordings, Inc.             3632    SR0000636832
3946 To Know Him Is To Love Him (Live)                       Amy Winehouse                                            UMG Recordings, Inc.             3640    SR0000636832
3947 Valerie                                                 Amy Winehouse                                            UMG Recordings, Inc.             3641    SR0000636832
3948 You're Wondering Now                                    Amy Winehouse                                            UMG Recordings, Inc.             3647    SR0000636832
3949 All That Sh** Is Gone                                   Carolina Liar                                            Atlantic Recording Corporation   5515    SR0000637774
3950 Better Alone                                            Carolina Liar                                            Atlantic Recording Corporation   5516    SR0000637774
3951 California Bound                                        Carolina Liar                                            Atlantic Recording Corporation   5517    SR0000637774
3952 Coming To Terms                                         Carolina Liar                                            Atlantic Recording Corporation   5518    SR0000637774
3953 Done Stealin'                                           Carolina Liar                                            Atlantic Recording Corporation   5519    SR0000637774
3954 I'm Not Over                                            Carolina Liar                                            Atlantic Recording Corporation   5520    SR0000637774
3955 Last Night                                              Carolina Liar                                            Atlantic Recording Corporation   5521    SR0000637774
3956 Show Me What I'm Looking For                            Carolina Liar                                            Atlantic Recording Corporation   5522    SR0000637774
3957 Simple Life                                             Carolina Liar                                            Atlantic Recording Corporation   5523    SR0000637774
3958 Something To Die For                                    Carolina Liar                                            Atlantic Recording Corporation   5524    SR0000637774
3959 When You Are Near                                       Carolina Liar                                            Atlantic Recording Corporation   5525    SR0000637774
3960 Alive (nightmare)                                       Kid Cudi                                                 UMG Recordings, Inc.             4652    SR0000637865
3961 Cudi Zone                                               Kid Cudi                                                 UMG Recordings, Inc.             4656    SR0000637865
3962 Day 'N' Nite (nightmare)                                Kid Cudi                                                 UMG Recordings, Inc.             4658    SR0000637865
3963 Enter Galactic (Love Connection Part I)                 Kid Cudi                                                 UMG Recordings, Inc.             4660    SR0000637865
3964 Heart Of A Lion (Kid Cudi Theme Music)                  Kid Cudi                                                 UMG Recordings, Inc.             4662    SR0000637865
3965 Hyyerr                                                  Kid Cudi                                                 UMG Recordings, Inc.             4663    SR0000637865
3966 In My Dreams (Cudder Anthem)                            Kid Cudi                                                 UMG Recordings, Inc.             4664    SR0000637865
3967 My World                                                Kid Cudi                                                 UMG Recordings, Inc.             4670    SR0000637865
3968 Pursuit Of Happiness                                    Kid Cudi                                                 UMG Recordings, Inc.             4671    SR0000637865
3969 Simple As...                                            Kid Cudi                                                 UMG Recordings, Inc.             4674    SR0000637865
3970 Sky Might Fall                                          Kid Cudi                                                 UMG Recordings, Inc.             4675    SR0000637865
3971 Solo Dolo (nightmare)                                   Kid Cudi                                                 UMG Recordings, Inc.             4676    SR0000637865
3972 Soundtrack 2 My Life                                    Kid Cudi                                                 UMG Recordings, Inc.             4677    SR0000637865
3973 Up Up & Away                                            Kid Cudi                                                 UMG Recordings, Inc.             4682    SR0000637865
3974 Fingerprints                                            Katy Perry                                               Capitol Records, LLC             3357    SR0000638214
3975 Hot N Cold                                              Katy Perry                                               Capitol Records, LLC             3359    SR0000638214
3976 I Kissed A Girl                                         Katy Perry                                               Capitol Records, LLC             3361    SR0000638214
3977 I'm Still Breathing                                     Katy Perry                                               Capitol Records, LLC             3362    SR0000638214
3978 If You Can Afford Me                                    Katy Perry                                               Capitol Records, LLC             3363    SR0000638214
3979 Mannequin                                               Katy Perry                                               Capitol Records, LLC             3367    SR0000638214
3980 One Of The Boys                                         Katy Perry                                               Capitol Records, LLC             3369    SR0000638214
3981 Self Inflicted                                          Katy Perry                                               Capitol Records, LLC             3374    SR0000638214
3982 Thinking Of You                                         Katy Perry                                               Capitol Records, LLC             3381    SR0000638214


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3983 Ur So Gay                                            Katy Perry                                               Capitol Records, LLC             3382    SR0000638214
3984 Waking Up In Vegas                                   Katy Perry                                               Capitol Records, LLC             3383    SR0000638214
3985 18 Days                                              Saving Abel                                              UMG Recordings, Inc.             5255    SR0000639174
3986 Addicted                                             Saving Abel                                              UMG Recordings, Inc.             5256    SR0000639174
3987 Beautiful Day                                        Saving Abel                                              UMG Recordings, Inc.             5257    SR0000639174
3988 Beautiful You                                        Saving Abel                                              UMG Recordings, Inc.             5258    SR0000639174
3989 Drowning (Face Down)                                 Saving Abel                                              UMG Recordings, Inc.             5259    SR0000639174
3990 In God's Eyes                                        Saving Abel                                              UMG Recordings, Inc.             5260    SR0000639174
3991 New Tatoo                                            Saving Abel                                              UMG Recordings, Inc.             5261    SR0000639174
3992 Out Of My Face                                       Saving Abel                                              UMG Recordings, Inc.             5262    SR0000639174
3993 Running From You                                     Saving Abel                                              UMG Recordings, Inc.             5263    SR0000639174
3994 Sailed Away                                          Saving Abel                                              UMG Recordings, Inc.             5264    SR0000639174
3995 She Got Over Me                                      Saving Abel                                              UMG Recordings, Inc.             5265    SR0000639174
3996 Dumb It Down (feat. GemStones and Graham Burris)     Lupe Fiasco                                              Atlantic Recording Corporation   5696    SR0000639320
3997 Fighters (feat. Matthew Santos)                      Lupe Fiasco                                              Atlantic Recording Corporation   5697    SR0000639320
3998 Go Baby (feat GemStones)                             Lupe Fiasco                                              Atlantic Recording Corporation   5698    SR0000639320
3999 Go Go Gadget Flow                                    Lupe Fiasco                                              Atlantic Recording Corporation   5699    SR0000639320
4000 Gotta Eat                                            Lupe Fiasco                                              Atlantic Recording Corporation   5700    SR0000639320
4001 Little Weapon (feat. Bishop G and Nikki Jean)        Lupe Fiasco                                              Atlantic Recording Corporation   5703    SR0000639320
4002 Paris, Tokyo                                         Lupe Fiasco                                              Atlantic Recording Corporation   5706    SR0000639320
4003 Put You On Game                                      Lupe Fiasco                                              Atlantic Recording Corporation   5707    SR0000639320
4004 Streets On Fire                                      Lupe Fiasco                                              Atlantic Recording Corporation   5709    SR0000639320
4005 Superstar (feat. Matthew Santos)                     Lupe Fiasco                                              Atlantic Recording Corporation   5710    SR0000639320
4006 The Coolest                                          Lupe Fiasco                                              Atlantic Recording Corporation   5711    SR0000639320
4007 Free Chilly (feat. Sarah Green and GemStones)        Lupe Fiasco                                              Atlantic Recording Corporation   5715    SR0000639320
4008 Hi-Definition (feat. Snoop Dogg & Pooh Bear)         Lupe Fiasco                                              Atlantic Recording Corporation   5716    SR0000639320
4009 Hip-Hop Saved My Life (feat. Nikki Jean)             Lupe Fiasco                                              Atlantic Recording Corporation   5717    SR0000639320
4010 Intruder Alert (feat. Sarah Green)                   Lupe Fiasco                                              Atlantic Recording Corporation   5718    SR0000639320
4011 The Die (feat. GemStones)                            Lupe Fiasco                                              Atlantic Recording Corporation   5719    SR0000639320
4012 Generation                                           Simple Plan                                              Atlantic Recording Corporation   5882    SR0000639323
4013 Holding On                                           Simple Plan                                              Atlantic Recording Corporation   5884    SR0000639323
4014 I Can Wait Forever                                   Simple Plan                                              Atlantic Recording Corporation   5885    SR0000639323
4015 No Love                                              Simple Plan                                              Atlantic Recording Corporation   5893    SR0000639323
4016 Save You                                             Simple Plan                                              Atlantic Recording Corporation   5900    SR0000639323
4017 Take My Hand                                         Simple Plan                                              Atlantic Recording Corporation   5901    SR0000639323
4018 The End                                              Simple Plan                                              Atlantic Recording Corporation   5903    SR0000639323
4019 Time To Say Goodbye                                  Simple Plan                                              Atlantic Recording Corporation   5905    SR0000639323
4020 Your Love Is A Lie                                   Simple Plan                                              Atlantic Recording Corporation   5908    SR0000639323
4021 American Saturday Night                              Brad Paisley                                             Sony Music Entertainment         955     SR0000639650
4022 Anything Like Me                                     Brad Paisley                                             Sony Music Entertainment         956     SR0000639650
4023 Back To The Future                                   Brad Paisley                                             Sony Music Entertainment         957     SR0000639650
4024 Catch All The Fish                                   Brad Paisley                                             Sony Music Entertainment         960     SR0000639650
4025 Everybody's Here                                     Brad Paisley                                             Sony Music Entertainment         961     SR0000639650
4026 I Hope That's Me                                     Brad Paisley                                             Sony Music Entertainment         963     SR0000639650
4027 No                                                   Brad Paisley                                             Sony Music Entertainment         965     SR0000639650
4028 Oh Yeah, You're Gone                                 Brad Paisley                                             Sony Music Entertainment         966     SR0000639650
4029 She's Her Own Woman                                  Brad Paisley                                             Sony Music Entertainment         969     SR0000639650
4030 The Pants                                            Brad Paisley                                             Sony Music Entertainment         970     SR0000639650
4031 Water                                                Brad Paisley                                             Sony Music Entertainment         974     SR0000639650
4032 Welcome To The Future                                Brad Paisley                                             Sony Music Entertainment         975     SR0000639650
4033 You Do The Math                                      Brad Paisley                                             Sony Music Entertainment         977     SR0000639650
4034 Bad Habits                                           Maxwell                                                  Sony Music Entertainment         2204    SR0000639738
4035 Cold                                                 Maxwell                                                  Sony Music Entertainment         2205    SR0000639738
4036 Fistful Of Tears                                     Maxwell                                                  Sony Music Entertainment         2206    SR0000639738
4037 Help Somebody                                        Maxwell                                                  Sony Music Entertainment         2207    SR0000639738
4038 Love You                                             Maxwell                                                  Sony Music Entertainment         2208    SR0000639738
4039 Phoenix Rise                                         Maxwell                                                  Sony Music Entertainment         2209    SR0000639738
4040 Playing Possum                                       Maxwell                                                  Sony Music Entertainment         2210    SR0000639738
4041 Pretty Wings                                         Maxwell                                                  Sony Music Entertainment         2211    SR0000639738
4042 Stop The World                                       Maxwell                                                  Sony Music Entertainment         2212    SR0000639738
4043 Change Me                                            Chris Cagle                                              Capitol Records, LLC             3317    SR0000640838
4044 I Don't Wanna Live                                   Chris Cagle                                              Capitol Records, LLC             3318    SR0000640838
4045 If It Isn't One Thing                                Chris Cagle                                              Capitol Records, LLC             3319    SR0000640838
4046 It's Good To Be Back                                 Chris Cagle                                              Capitol Records, LLC             3320    SR0000640838
4047 Keep Me From Loving You                              Chris Cagle                                              Capitol Records, LLC             3321    SR0000640838
4048 Little Sundress                                      Chris Cagle                                              Capitol Records, LLC             3322    SR0000640838
4049 My Heart Move On                                     Chris Cagle                                              Capitol Records, LLC             3323    SR0000640838
4050 Never Ever Gone                                      Chris Cagle                                              Capitol Records, LLC             3324    SR0000640838
4051 Alone                                                Céline Dion                                              Sony Music Entertainment         1177    SR0000640988
4052 Eyes On Me                                           Céline Dion                                              Sony Music Entertainment         1183    SR0000640988
4053 My Love                                              Céline Dion                                              Sony Music Entertainment         1198    SR0000640988
4054 Airstream Song                                       Miranda Lambert                                          Sony Music Entertainment         2275    SR0000641403
4055 Dead Flowers                                         Miranda Lambert                                          Sony Music Entertainment         2281    SR0000641403
4056 Heart Like Mine                                      Miranda Lambert                                          Sony Music Entertainment         2295    SR0000641403
4057 Love Song                                            Miranda Lambert                                          Sony Music Entertainment         2303    SR0000641403
4058 Maintain the Pain                                    Miranda Lambert                                          Sony Music Entertainment         2305    SR0000641403
4059 Makin' Plans                                         Miranda Lambert                                          Sony Music Entertainment         2306    SR0000641403
4060 Me and Your Cigarettes                               Miranda Lambert                                          Sony Music Entertainment         2310    SR0000641403
4061 Only Prettier                                        Miranda Lambert                                          Sony Music Entertainment         2315    SR0000641403


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4062 Sin For A Sin                                           Miranda Lambert                                          Sony Music Entertainment   2319    SR0000641403
4063 Somewhere Trouble Don't Go                              Miranda Lambert                                          Sony Music Entertainment   2320    SR0000641403
4064 That's the Way That the World Goes 'Round               Miranda Lambert                                          Sony Music Entertainment   2321    SR0000641403
4065 Time To Get A Gun                                       Miranda Lambert                                          Sony Music Entertainment   2323    SR0000641403
4066 Virginia Bluebell                                       Miranda Lambert                                          Sony Music Entertainment   2324    SR0000641403
4067 White Liar                                              Miranda Lambert                                          Sony Music Entertainment   2326    SR0000641403
4068 Bitter Taste                                            Three Days Grace                                         Sony Music Entertainment   2873    SR0000641798
4069 Break                                                   Three Days Grace                                         Sony Music Entertainment   2874    SR0000641798
4070 Goin' Down                                              Three Days Grace                                         Sony Music Entertainment   2875    SR0000641798
4071 Last To Know                                            Three Days Grace                                         Sony Music Entertainment   2876    SR0000641798
4072 Life Starts Now                                         Three Days Grace                                         Sony Music Entertainment   2877    SR0000641798
4073 Lost In You                                             Three Days Grace                                         Sony Music Entertainment   2878    SR0000641798
4074 No More                                                 Three Days Grace                                         Sony Music Entertainment   2879    SR0000641798
4075 Someone Who Cares                                       Three Days Grace                                         Sony Music Entertainment   2880    SR0000641798
4076 The Good Life                                           Three Days Grace                                         Sony Music Entertainment   2881    SR0000641798
4077 Without You                                             Three Days Grace                                         Sony Music Entertainment   2882    SR0000641798
4078 World So Cold                                           Three Days Grace                                         Sony Music Entertainment   2883    SR0000641798
4079 Call Of The Wild                                        Pitbull                                                  Sony Music Entertainment   2555    SR0000641804
4080 Can't Stop Me Now                                       Pitbull                                                  Sony Music Entertainment   2556    SR0000641804
4081 Dope Ball (Interlude)                                   Pitbull                                                  Sony Music Entertainment   2558    SR0000641804
4082 Girls                                                   Pitbull                                                  Sony Music Entertainment   2562    SR0000641804
4083 Give Them What They Ask For                             Pitbull                                                  Sony Music Entertainment   2564    SR0000641804
4084 Hotel Room Service                                      Pitbull                                                  Sony Music Entertainment   2565    SR0000641804
4085 I Know You Want Me (Calle Ocho)                         Pitbull                                                  Sony Music Entertainment   2566    SR0000641804
4086 Juice Box                                               Pitbull                                                  Sony Music Entertainment   2568    SR0000641804
4087 Krazy                                                   Pitbull Feat. Lil Jon;Shawty Lo                          Sony Music Entertainment   2580    SR0000641804
4088 Shut It Down                                            Pitbull featuring Akon                                   Sony Music Entertainment   2585    SR0000641804
4089 Triumph                                                 Pitbull featuring Avery Storm                            Sony Music Entertainment   2587    SR0000641804
4090 Across The World                                        Pitbull featuring B.O.B.                                 Sony Music Entertainment   2588    SR0000641804
4091 Full Of S**t                                            Pitbull featuring Nayer & Bass III Euro                  Sony Music Entertainment   2593    SR0000641804
4092 Daddy's Little Girl                                     Pitbull featuring Slim                                   Sony Music Entertainment   2596    SR0000641804
4093 Bounce                                                  LMFAO                                                    UMG Recordings, Inc.       4859    SR0000641967
4094 Get Crazy                                               LMFAO                                                    UMG Recordings, Inc.       4861    SR0000641967
4095 I Don't Wanna Be                                        LMFAO                                                    UMG Recordings, Inc.       4863    SR0000641967
4096 I Shake, I Move                                         LMFAO                                                    UMG Recordings, Inc.       4864    SR0000641967
4097 I Shake, I Move (Explicit)                              LMFAO                                                    UMG Recordings, Inc.       4865    SR0000641967
4098 La La La                                                LMFAO                                                    UMG Recordings, Inc.       4868    SR0000641967
4099 Leaving U 4 The Groove                                  LMFAO                                                    UMG Recordings, Inc.       4869    SR0000641967
4100 Lil' Hipster Girl                                       LMFAO                                                    UMG Recordings, Inc.       4870    SR0000641967
4101 Rock The BeaT                                           LMFAO                                                    UMG Recordings, Inc.       4876    SR0000641967
4102 Scream My Name                                          LMFAO                                                    UMG Recordings, Inc.       4878    SR0000641967
4103 Shots                                                   LMFAO                                                    UMG Recordings, Inc.       4880    SR0000641967
4104 What Happens At The Party                               LMFAO                                                    UMG Recordings, Inc.       4886    SR0000641967
4105 Yes                                                     LMFAO                                                    UMG Recordings, Inc.       4888    SR0000641967
4106 Be Gone                                                 Brand New                                                UMG Recordings, Inc.       3814    SR0000642060
4107 Bed                                                     Brand New                                                UMG Recordings, Inc.       3815    SR0000642060
4108 Bought A Bride                                          Brand New                                                UMG Recordings, Inc.       3816    SR0000642060
4109 Daisy                                                   Brand New                                                UMG Recordings, Inc.       3817    SR0000642060
4110 Gasoline                                                Brand New                                                UMG Recordings, Inc.       3818    SR0000642060
4111 In A Jar                                                Brand New                                                UMG Recordings, Inc.       3819    SR0000642060
4112 Noro                                                    Brand New                                                UMG Recordings, Inc.       3820    SR0000642060
4113 Sink                                                    Brand New                                                UMG Recordings, Inc.       3821    SR0000642060
4114 Vices                                                   Brand New                                                UMG Recordings, Inc.       3822    SR0000642060
4115 You Stole                                               Brand New                                                UMG Recordings, Inc.       3823    SR0000642060
4116 All I Have In This World                                Rick Ross                                                UMG Recordings, Inc.       5132    SR0000642144
4117 Billionaire                                             Rick Ross                                                UMG Recordings, Inc.       5137    SR0000642144
4118 DJ Khaled Interlude                                     Rick Ross                                                UMG Recordings, Inc.       5140    SR0000642144
4119 I'm Only Human                                          Rick Ross                                                UMG Recordings, Inc.       5145    SR0000642144
4120 Maybach Music                                           Rick Ross                                                UMG Recordings, Inc.       5150    SR0000642144
4121 Money Make Me Come                                      Rick Ross                                                UMG Recordings, Inc.       5153    SR0000642144
4122 Reppin My City                                          Rick Ross                                                UMG Recordings, Inc.       5156    SR0000642144
4123 This Is The Life                                        Rick Ross                                                UMG Recordings, Inc.       5162    SR0000642144
4124 This Me                                                 Rick Ross                                                UMG Recordings, Inc.       5163    SR0000642144
4125 Trilla Intro                                            Rick Ross                                                UMG Recordings, Inc.       5164    SR0000642144
4126 We Shinin'                                              Rick Ross                                                UMG Recordings, Inc.       5166    SR0000642144
4127 Crack A Bottle                                          Eminem                                                   UMG Recordings, Inc.       4013    SR0000642488
4128 Must Be The Ganja (Explicit)                            Eminem                                                   UMG Recordings, Inc.       4048    SR0000642488
4129 Old Time's Sake (Explicit)                              Eminem                                                   UMG Recordings, Inc.       4059    SR0000642488
4130 Stay Wide Awake                                         Eminem                                                   UMG Recordings, Inc.       4082    SR0000642488
4131 We Made You                                             Eminem                                                   UMG Recordings, Inc.       4098    SR0000642488
4132 Alejandro                                               Lady Gaga                                                UMG Recordings, Inc.       4687    SR0000642917
4133 Alejandro (Radio Edit)                                  Lady Gaga                                                UMG Recordings, Inc.       4688    SR0000642917
4134 Dance In The Dark                                       Lady Gaga                                                UMG Recordings, Inc.       4702    SR0000642917
4135 Disco Heaven                                            Lady GaGa                                                UMG Recordings, Inc.       4703    SR0000642917
4136 Monster                                                 Lady Gaga                                                UMG Recordings, Inc.       4728    SR0000642917
4137 Retro, Dance, Freak                                     Lady Gaga                                                UMG Recordings, Inc.       4732    SR0000642917
4138 So Happy I Could Die                                    Lady Gaga                                                UMG Recordings, Inc.       4736    SR0000642917
4139 Speechless                                              Lady Gaga                                                UMG Recordings, Inc.       4737    SR0000642917
4140 Teeth                                                   Lady Gaga                                                UMG Recordings, Inc.       4741    SR0000642917


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                              Track                                       Artist                                            Plaintiff    PX-01 #    Reg. No.
4141 Telephone                                     Lady Gaga                                                UMG Recordings, Inc.         4742    SR0000642917
4142 Chemicals Collide                             Boys Like Girls                                          Sony Music Entertainment     922     SR0000643654
4143 Contagious                                    Boys Like Girls                                          Sony Music Entertainment     923     SR0000643654
4144 Go                                            Boys Like Girls                                          Sony Music Entertainment     927     SR0000643654
4145 Heart Heart Heartbreak                        Boys Like Girls                                          Sony Music Entertainment     928     SR0000643654
4146 Love Drunk                                    Boys Like Girls                                          Sony Music Entertainment     936     SR0000643654
4147 Real Thing                                    Boys Like Girls                                          Sony Music Entertainment     939     SR0000643654
4148 She's Got A Boyfriend Now                     Boys Like Girls                                          Sony Music Entertainment     941     SR0000643654
4149 Someone Like You                              Boys Like Girls                                          Sony Music Entertainment     943     SR0000643654
4150 The First One                                 Boys Like Girls                                          Sony Music Entertainment     946     SR0000643654
4151 The Shot Heard 'Round The World               Boys Like Girls                                          Sony Music Entertainment     949     SR0000643654
4152 Always Enough - Demo                          Casting Crowns                                           Provident Label Group, LLC   666     SR0000643694
4153 At Your Feet                                  Casting Crowns                                           Provident Label Group, LLC   668     SR0000643694
4154 Blessed Redeemer                              Casting Crowns                                           Provident Label Group, LLC   669     SR0000643694
4155 Holy One                                      Casting Crowns                                           Provident Label Group, LLC   672     SR0000643694
4156 If We've Ever Needed You - Demo               Casting Crowns                                           Provident Label Group, LLC   673     SR0000643694
4157 Jesus, Hold Me Now - Demo                     Casting Crowns                                           Provident Label Group, LLC   675     SR0000643694
4158 Joyful, Joyful                                Casting Crowns                                           Provident Label Group, LLC   676     SR0000643694
4159 Mercy                                         Casting Crowns                                           Provident Label Group, LLC   679     SR0000643694
4160 Shadow Of Your Wings                          Casting Crowns                                           Provident Label Group, LLC   683     SR0000643694
4161 To Know You - Demo                            Casting Crowns                                           Provident Label Group, LLC   685     SR0000643694
4162 Until The Whole World Hears                   Casting Crowns                                           Provident Label Group, LLC   686     SR0000643694
4163 Disengage                                     Suicide Silence                                          Sony Music Entertainment     2736    SR0000643826
4164 Genocide                                      Suicide Silence                                          Sony Music Entertainment     2739    SR0000643826
4165 No Time To Bleed                              Suicide Silence                                          Sony Music Entertainment     2747    SR0000643826
4166 Años Luz                                      Shakira                                                  Sony Music Entertainment     2689    SR0000644417
4167 Did It Again                                  Shakira                                                  Sony Music Entertainment     2691    SR0000644417
4168 Gitana                                        Shakira                                                  Sony Music Entertainment     2692    SR0000644417
4169 Give It Up To Me                              Shakira                                                  Sony Music Entertainment     2693    SR0000644417
4170 Good Stuff                                    Shakira                                                  Sony Music Entertainment     2694    SR0000644417
4171 Lo Hecho Está Hecho                           Shakira                                                  Sony Music Entertainment     2696    SR0000644417
4172 Loba                                          Shakira                                                  Sony Music Entertainment     2698    SR0000644417
4173 Long Time                                     Shakira                                                  Sony Music Entertainment     2701    SR0000644417
4174 Men in This Town                              Shakira                                                  Sony Music Entertainment     2702    SR0000644417
4175 Mon Amour                                     Shakira                                                  Sony Music Entertainment     2703    SR0000644417
4176 She Wolf                                      Shakira                                                  Sony Music Entertainment     2704    SR0000644417
4177 Why Wait                                      Shakira                                                  Sony Music Entertainment     2706    SR0000644417
4178 Spy                                           Shakira feat. Wyclef Jean                                Sony Music Entertainment     2708    SR0000644417
4179 Cold Case Love                                Rihanna                                                  UMG Recordings, Inc.         5176    SR0000644571
4180 Fire Bomb                                     Rihanna                                                  UMG Recordings, Inc.         5188    SR0000644571
4181 G4L                                           Rihanna                                                  UMG Recordings, Inc.         5190    SR0000644571
4182 Hard                                          Rihanna                                                  UMG Recordings, Inc.         5191    SR0000644571
4183 Mad House                                     Rihanna                                                  UMG Recordings, Inc.         5200    SR0000644571
4184 Photographs                                   Rihanna                                                  UMG Recordings, Inc.         5206    SR0000644571
4185 ROCKSTAR 101                                  Rihanna                                                  UMG Recordings, Inc.         5212    SR0000644571
4186 Rude Boy                                      Rihanna                                                  UMG Recordings, Inc.         5213    SR0000644571
4187 Russian Roulette                              Rihanna                                                  UMG Recordings, Inc.         5215    SR0000644571
4188 Stupid In Love                                Rihanna                                                  UMG Recordings, Inc.         5222    SR0000644571
4189 Te Amo                                        Rihanna                                                  UMG Recordings, Inc.         5225    SR0000644571
4190 The Last Song                                 Rihanna                                                  UMG Recordings, Inc.         5227    SR0000644571
4191 Wait Your Turn                                Rihanna                                                  UMG Recordings, Inc.         5231    SR0000644571
4192 Between Two Lungs                             Florence + The Machine                                   UMG Recordings, Inc.         4181    SR0000645045
4193 Blinding                                      Florence + The Machine                                   UMG Recordings, Inc.         4182    SR0000645045
4194 Cosmic Love                                   Florence + The Machine                                   UMG Recordings, Inc.         4183    SR0000645045
4195 Dog Days Are Over                             Florence + The Machine                                   UMG Recordings, Inc.         4184    SR0000645045
4196 Girl With One Eye                             Florence + The Machine                                   UMG Recordings, Inc.         4185    SR0000645045
4197 Howl                                          Florence + The Machine                                   UMG Recordings, Inc.         4186    SR0000645045
4198 Hurricane Drunk                               Florence + The Machine                                   UMG Recordings, Inc.         4187    SR0000645045
4199 I'm Not Calling You A Liar                    Florence + The Machine                                   UMG Recordings, Inc.         4188    SR0000645045
4200 My Boy Builds Coffins                         Florence + The Machine                                   UMG Recordings, Inc.         4189    SR0000645045
4201 Rabbit Heart (Raise It Up)                    Florence + The Machine                                   UMG Recordings, Inc.         4190    SR0000645045
4202 You've Got The Love                           Florence + The Machine                                   UMG Recordings, Inc.         4191    SR0000645045
4203 All Over Me                                   Josh Turner                                              UMG Recordings, Inc.         4457    SR0000645586
4204 As Fast As I Could                            Josh Turner                                              UMG Recordings, Inc.         4460    SR0000645586
4205 Eye Candy                                     Josh Turner                                              UMG Recordings, Inc.         4465    SR0000645586
4206 Friday Paycheck                               Josh Turner                                              UMG Recordings, Inc.         4467    SR0000645586
4207 Haywire                                       Josh Turner                                              UMG Recordings, Inc.         4470    SR0000645586
4208 I Wouldn't Be A Man                           Josh Turner                                              UMG Recordings, Inc.         4472    SR0000645586
4209 I'll Be There                                 Josh Turner                                              UMG Recordings, Inc.         4473    SR0000645586
4210 Let's Find A Church                           Josh Turner                                              UMG Recordings, Inc.         4476    SR0000645586
4211 Lovin' You On My Mind                         Josh Turner                                              UMG Recordings, Inc.         4480    SR0000645586
4212 The Answer                                    Josh Turner                                              UMG Recordings, Inc.         4489    SR0000645586
4213 This Kind Of Love                             Josh Turner                                              UMG Recordings, Inc.         4493    SR0000645586
4214 Your Smile                                    Josh Turner                                              UMG Recordings, Inc.         4503    SR0000645586
4215 Criminal                                      Disturbed                                                Warner Bros. Records Inc.    6351    SR0000647297
4216 Deceiver                                      Disturbed                                                Warner Bros. Records Inc.    6353    SR0000647297
4217 Divide                                        Disturbed                                                Warner Bros. Records Inc.    6357    SR0000647297
4218 Enough                                        Disturbed                                                Warner Bros. Records Inc.    6360    SR0000647297
4219 Facade                                        Disturbed                                                Warner Bros. Records Inc.    6361    SR0000647297


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                                 Track                                            Artist                                           Plaintiff   PX-01 #    Reg. No.
4220 Haunted                                              Disturbed                                                Warner Bros. Records Inc.   6366    SR0000647297
4221 Indestructible                                       Disturbed                                                Warner Bros. Records Inc.   6369    SR0000647297
4222 Inside The Fire                                      Disturbed                                                Warner Bros. Records Inc.   6370    SR0000647297
4223 Perfect Insanity                                     Disturbed                                                Warner Bros. Records Inc.   6382    SR0000647297
4224 The Curse                                            Disturbed                                                Warner Bros. Records Inc.   6394    SR0000647297
4225 The Night                                            Disturbed                                                Warner Bros. Records Inc.   6396    SR0000647297
4226 Torn                                                 Disturbed                                                Warner Bros. Records Inc.   6398    SR0000647297
4227 Break Ya Back                                        Avant                                                    Capitol Records, LLC        3226    SR0000648878
4228 French Pedicure                                      Avant                                                    Capitol Records, LLC        3227    SR0000648878
4229 Involve Yourself                                     Avant                                                    Capitol Records, LLC        3228    SR0000648878
4230 Material Things                                      Avant                                                    Capitol Records, LLC        3229    SR0000648878
4231 Out of Character                                     Avant                                                    Capitol Records, LLC        3230    SR0000648878
4232 Perfect Gentleman                                    Avant                                                    Capitol Records, LLC        3231    SR0000648878
4233 Sailing                                              Avant                                                    Capitol Records, LLC        3232    SR0000648878
4234 Sensuality                                           Avant                                                    Capitol Records, LLC        3233    SR0000648878
4235 Attention                                            Avant featuring Snoop Dogg                               Capitol Records, LLC        3235    SR0000648878
4236 Crossroads                                           John Mayer                                               Sony Music Entertainment    1860    SR0000650569
4237 Do You Know Me                                       John Mayer                                               Sony Music Entertainment    1862    SR0000650569
4238 Edge Of Desire                                       John Mayer                                               Sony Music Entertainment    1864    SR0000650569
4239 Friends, Lovers Or Nothing                           John Mayer                                               Sony Music Entertainment    1865    SR0000650569
4240 Half Of My Heart                                     John Mayer                                               Sony Music Entertainment    1868    SR0000650569
4241 Heartbreak Warfare                                   John Mayer                                               Sony Music Entertainment    1869    SR0000650569
4242 Perfectly Lonely                                     John Mayer                                               Sony Music Entertainment    1878    SR0000650569
4243 War Of My Life                                       John Mayer                                               Sony Music Entertainment    1885    SR0000650569
4244 Who Says                                             John Mayer                                               Sony Music Entertainment    1886    SR0000650569
4245 Blood                                                My Chemical Romance                                      Warner Bros. Records Inc.   6622    SR0000651990
4246 Cancer (Live In Mexico)                              My Chemical Romance                                      Warner Bros. Records Inc.   6626    SR0000651990
4247 Dead! (Live In Mexico)                               My Chemical Romance                                      Warner Bros. Records Inc.   6630    SR0000651990
4248 Disenchanted (Live In Mexico)                        My Chemical Romance                                      Warner Bros. Records Inc.   6633    SR0000651990
4249 Famous Last Words (Live In Mexico)                   My Chemical Romance                                      Warner Bros. Records Inc.   6635    SR0000651990
4250 House Of Wolves (Live In Mexico)                     My Chemical Romance                                      Warner Bros. Records Inc.   6642    SR0000651990
4251 I Don't Love You (Live In Mexico)                    My Chemical Romance                                      Warner Bros. Records Inc.   6644    SR0000651990
4252 Interlude (Live In Mexico)                           My Chemical Romance                                      Warner Bros. Records Inc.   6649    SR0000651990
4253 Mama (Live In Mexico)                                My Chemical Romance                                      Warner Bros. Records Inc.   6652    SR0000651990
4254 Sleep (Live In Mexico)                               My Chemical Romance                                      Warner Bros. Records Inc.   6657    SR0000651990
4255 Teenagers (Live In Mexico)                           My Chemical Romance                                      Warner Bros. Records Inc.   6659    SR0000651990
4256 The Black Parade Is Dead (Live In Mexico)            My Chemical Romance                                      Warner Bros. Records Inc.   6662    SR0000651990
4257 The End. (Live In Mexico)                            My Chemical Romance                                      Warner Bros. Records Inc.   6664    SR0000651990
4258 The Sharpest Lives (Live In Mexico)                  My Chemical Romance                                      Warner Bros. Records Inc.   6670    SR0000651990
4259 This Is How I Disappear (Live In Mexico)             My Chemical Romance                                      Warner Bros. Records Inc.   6672    SR0000651990
4260 Welcome To The Black Parade (Live In Mexico)         My Chemical Romance                                      Warner Bros. Records Inc.   6676    SR0000651990
4261 Hey Daddy (Daddy's Home)                             Usher                                                    Sony Music Entertainment    2903    SR0000652023
4262 More                                                 Usher                                                    Sony Music Entertainment    2909    SR0000652023
4263 Papers                                               Usher                                                    Sony Music Entertainment    2911    SR0000652023
4264 There Goes My Baby                                   Usher                                                    Sony Music Entertainment    2915    SR0000652023
4265 Lil Freak                                            Usher feat. Nicki Minaj                                  Sony Music Entertainment    2917    SR0000652023
4266 Guilty                                               Usher feat. T.I.                                         Sony Music Entertainment    2918    SR0000652023
4267 A Name In This Town                                  Josh Thompson                                            Sony Music Entertainment    1925    SR0000652025
4268 Always Been Me                                       Josh Thompson                                            Sony Music Entertainment    1926    SR0000652025
4269 Back Around                                          Josh Thompson                                            Sony Music Entertainment    1927    SR0000652025
4270 Beer On The Table                                    Josh Thompson                                            Sony Music Entertainment    1928    SR0000652025
4271 Blame It On Waylon                                   Josh Thompson                                            Sony Music Entertainment    1929    SR0000652025
4272 I Won't Go Crazy                                     Josh Thompson                                            Sony Music Entertainment    1930    SR0000652025
4273 Sinner                                               Josh Thompson                                            Sony Music Entertainment    1931    SR0000652025
4274 Way Out Here                                         Josh Thompson                                            Sony Music Entertainment    1932    SR0000652025
4275 Won't Be Lonely Long - On The Road                   Josh Thompson                                            Sony Music Entertainment    1933    SR0000652025
4276 You Ain't Seen Country Yet                           Josh Thompson                                            Sony Music Entertainment    1934    SR0000652025
4277 If I Die Young                                       The Band Perry                                           UMG Recordings, Inc.        5306    SR0000653353
4278 Postcard From Paris                                  The Band Perry                                           UMG Recordings, Inc.        5310    SR0000653353
4279 25 To Life                                           Eminem                                                   UMG Recordings, Inc.        3999    SR0000653572
4280 Almost Famous                                        Eminem                                                   UMG Recordings, Inc.        4002    SR0000653572
4281 Cinderella Man                                       Eminem                                                   UMG Recordings, Inc.        4010    SR0000653572
4282 Cold Wind Blows                                      Eminem                                                   UMG Recordings, Inc.        4012    SR0000653572
4283 Going Through Changes                                Eminem                                                   UMG Recordings, Inc.        4030    SR0000653572
4284 Love The Way You Lie                                 Eminem                                                   UMG Recordings, Inc.        4041    SR0000653572
4285 No Love                                              Eminem                                                   UMG Recordings, Inc.        4056    SR0000653572
4286 On Fire                                              Eminem                                                   UMG Recordings, Inc.        4060    SR0000653572
4287 Seduction                                            Eminem                                                   UMG Recordings, Inc.        4074    SR0000653572
4288 So Bad                                               Eminem                                                   UMG Recordings, Inc.        4077    SR0000653572
4289 Space Bound                                          Eminem                                                   UMG Recordings, Inc.        4079    SR0000653572
4290 Talkin' 2 Myself                                     Eminem                                                   UMG Recordings, Inc.        4086    SR0000653572
4291 Talkin' 2 Myself (Explicit)                          Eminem                                                   UMG Recordings, Inc.        4087    SR0000653572
4292 Untitled                                             Eminem                                                   UMG Recordings, Inc.        4095    SR0000653572
4293 W.T.P.                                               Eminem                                                   UMG Recordings, Inc.        4096    SR0000653572
4294 Won't Back Down                                      Eminem                                                   UMG Recordings, Inc.        4103    SR0000653572
4295 Won't Back Down (Explicit)                           Eminem                                                   UMG Recordings, Inc.        4104    SR0000653572
4296 You're Never Over                                    Eminem                                                   UMG Recordings, Inc.        4107    SR0000653572
4297 You're Never Over (Explicit)                         Eminem                                                   UMG Recordings, Inc.        4108    SR0000653572
4298 Adrift                                               Jack Johnson                                             UMG Recordings, Inc.        4376    SR0000653690


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                              Track                                               Artist                                           Plaintiff              PX-01 #    Reg. No.
4299 All At Once                                         Jack Johnson                                             UMG Recordings, Inc.                    4377    SR0000653690
4300 Angel                                               Jack Johnson                                             UMG Recordings, Inc.                    4378    SR0000653690
4301 Enemy                                               Jack Johnson                                             UMG Recordings, Inc.                    4386    SR0000653690
4302 Go On                                               Jack Johnson                                             UMG Recordings, Inc.                    4387    SR0000653690
4303 Hope                                                Jack Johnson                                             UMG Recordings, Inc.                    4389    SR0000653690
4304 Losing Keys                                         Jack Johnson                                             UMG Recordings, Inc.                    4392    SR0000653690
4305 Monsoon                                             Jack Johnson                                             UMG Recordings, Inc.                    4393    SR0000653690
4306 Same Girl                                           Jack Johnson                                             UMG Recordings, Inc.                    4397    SR0000653690
4307 Sleep Through The Static                            Jack Johnson                                             UMG Recordings, Inc.                    4399    SR0000653690
4308 They Do, They Don't                                 Jack Johnson                                             UMG Recordings, Inc.                    4401    SR0000653690
4309 What You Thought You Need                           Jack Johnson                                             UMG Recordings, Inc.                    4402    SR0000653690
4310 While We Wait                                       Jack Johnson                                             UMG Recordings, Inc.                    4403    SR0000653690
4311 Army Reserve                                        Pearl Jam                                                Sony Music Entertainment                2484    SR0000654748
4312 Big Wave                                            Pearl Jam                                                Sony Music Entertainment                2487    SR0000654748
4313 Come Back                                           Pearl Jam                                                Sony Music Entertainment                2494    SR0000654748
4314 Gone                                                Pearl Jam                                                Sony Music Entertainment                2504    SR0000654748
4315 Inside Job                                          Pearl Jam                                                Sony Music Entertainment                2512    SR0000654748
4316 Life Wasted                                         Pearl Jam                                                Sony Music Entertainment                2516    SR0000654748
4317 Marker In The Sand                                  Pearl Jam                                                Sony Music Entertainment                2521    SR0000654748
4318 Parachutes                                          Pearl Jam                                                Sony Music Entertainment                2526    SR0000654748
4319 Unemployable                                        Pearl Jam                                                Sony Music Entertainment                2548    SR0000654748
4320 Wasted Reprise                                      Pearl Jam                                                Sony Music Entertainment                2551    SR0000654748
4321 World Wide Suicide                                  Pearl Jam                                                Sony Music Entertainment                2554    SR0000654748
4322 A Quién Quiero Mentirle                             Marc Anthony                                             Sony Music Entertainment US Latin LLC   3015    SR0000654928
4323 Amada Amante                                        Marc Anthony                                             Sony Music Entertainment US Latin LLC   3016    SR0000654928
4324 Te Lo Pido Por Favor                                Marc Anthony                                             Sony Music Entertainment US Latin LLC   3017    SR0000654928
4325 Y Cómo Es El                                        Marc Anthony                                             Sony Music Entertainment US Latin LLC   3018    SR0000654928
4326 Be Good To Me                                       Sia                                                      Sony Music Entertainment                2709    SR0000655573
4327 Big Girl Little Girl                                Sia                                                      Sony Music Entertainment                2710    SR0000655573
4328 Cloud                                               Sia                                                      Sony Music Entertainment                2712    SR0000655573
4329 Hurting Me Now                                      Sia                                                      Sony Music Entertainment                2713    SR0000655573
4330 I'm in Here                                         Sia                                                      Sony Music Entertainment                2714    SR0000655573
4331 Never Gonna Leave Me                                Sia                                                      Sony Music Entertainment                2715    SR0000655573
4332 Oh Father                                           Sia                                                      Sony Music Entertainment                2716    SR0000655573
4333 Stop Trying                                         Sia                                                      Sony Music Entertainment                2717    SR0000655573
4334 The Co-Dependent                                    Sia                                                      Sony Music Entertainment                2718    SR0000655573
4335 All The Money In The World                          Rick Ross                                                UMG Recordings, Inc.                    5134    SR0000656701
4336 Aston Martin Music                                  Rick Ross                                                UMG Recordings, Inc.                    5135    SR0000656701
4337 B.M.F. (Blowin' Money Fast) (Explicit)              Rick Ross                                                UMG Recordings, Inc.                    5136    SR0000656701
4338 Blowin Money Fast                                   Rick Ross                                                UMG Recordings, Inc.                    5138    SR0000656701
4339 Free Mason                                          Rick Ross                                                UMG Recordings, Inc.                    5141    SR0000656701
4340 I'm Not A Star                                      Rick Ross                                                UMG Recordings, Inc.                    5144    SR0000656701
4341 Live Fast, Die Young                                Rick Ross                                                UMG Recordings, Inc.                    5147    SR0000656701
4342 Maybach Music III                                   Rick Ross                                                UMG Recordings, Inc.                    5151    SR0000656701
4343 MC Hammer                                           Rick Ross                                                UMG Recordings, Inc.                    5152    SR0000656701
4344 No. 1                                               Rick Ross                                                UMG Recordings, Inc.                    5154    SR0000656701
4345 Super High                                          Rick Ross                                                UMG Recordings, Inc.                    5159    SR0000656701
4346 Tears Of Joy                                        Rick Ross                                                UMG Recordings, Inc.                    5160    SR0000656701
4347 .execute.                                           Slipknot                                                 Roadrunner Records, Inc.                6186    SR0000656810
4348 All Hope Is Gone                                    Slipknot                                                 Roadrunner Records, Inc.                6190    SR0000656810
4349 Butcher's Hook                                      Slipknot                                                 Roadrunner Records, Inc.                6192    SR0000656810
4350 Child Of Burning Time                               Slipknot                                                 Roadrunner Records, Inc.                6193    SR0000656810
4351 Dead Memories                                       Slipknot                                                 Roadrunner Records, Inc.                6194    SR0000656810
4352 Gehenna                                             Slipknot                                                 Roadrunner Records, Inc.                6199    SR0000656810
4353 Gematria (The Killing Name)                         Slipknot                                                 Roadrunner Records, Inc.                6200    SR0000656810
4354 Psychosocial                                        Slipknot                                                 Roadrunner Records, Inc.                6206    SR0000656810
4355 Snuff                                               Slipknot                                                 Roadrunner Records, Inc.                6207    SR0000656810
4356 Sulfur                                              Slipknot                                                 Roadrunner Records, Inc.                6209    SR0000656810
4357 This Cold Black                                     Slipknot                                                 Roadrunner Records, Inc.                6214    SR0000656810
4358 Til We Die                                          Slipknot                                                 Roadrunner Records, Inc.                6215    SR0000656810
4359 Vendetta                                            Slipknot                                                 Roadrunner Records, Inc.                6216    SR0000656810
4360 Vermilion Pt. 2 (Bloodstone Mix)                    Slipknot                                                 Roadrunner Records, Inc.                6219    SR0000656810
4361 Wherein Lies Continue                               Slipknot                                                 Roadrunner Records, Inc.                6221    SR0000656810
4362 Fold Your Hands Child                               Cobra Starship                                           Fueled By Ramen LLC                     6140    SR0000657140
4363 Good Girls Go Bad (feat. Leighton Meester)          Cobra Starship                                           Fueled By Ramen LLC                     6141    SR0000657140
4364 Hot Mess                                            Cobra Starship                                           Fueled By Ramen LLC                     6142    SR0000657140
4365 Living In The Sky With Diamonds                     Cobra Starship                                           Fueled By Ramen LLC                     6144    SR0000657140
4366 Move Like You Gonna Die                             Cobra Starship                                           Fueled By Ramen LLC                     6145    SR0000657140
4367 Nice Guys Finish Last                               Cobra Starship                                           Fueled By Ramen LLC                     6146    SR0000657140
4368 Pete Wentz Is The Only Reason We're Famous          Cobra Starship                                           Fueled By Ramen LLC                     6147    SR0000657140
4369 The Scene Is Dead; Long Live The Scene              Cobra Starship                                           Fueled By Ramen LLC                     6148    SR0000657140
4370 The World Will Never Do (feat. B.o.B)               Cobra Starship                                           Fueled By Ramen LLC                     6149    SR0000657140
4371 Wet Hot American Summer                             Cobra Starship                                           Fueled By Ramen LLC                     6150    SR0000657140
4372 You're Not In On The Joke                           Cobra Starship                                           Fueled By Ramen LLC                     6151    SR0000657140
4373 All I Wanted                                        Paramore                                                 Atlantic Recording Corporation          5789    SR0000657157
4374 Brick By Boring Brick                               Paramore                                                 Atlantic Recording Corporation          5793    SR0000657157
4375 Careful                                             Paramore                                                 Atlantic Recording Corporation          5794    SR0000657157
4376 Feeling Sorry                                       Paramore                                                 Atlantic Recording Corporation          5798    SR0000657157
4377 Ignorance                                           Paramore                                                 Atlantic Recording Corporation          5805    SR0000657157


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                               Track                                                   Artist                                           Plaintiff       PX-01 #    Reg. No.
4378 Looking Up                                               Paramore                                                 Atlantic Recording Corporation   5811    SR0000657157
4379 Misguided Ghosts                                         Paramore                                                 Atlantic Recording Corporation   5814    SR0000657157
4380 Playing God                                              Paramore                                                 Atlantic Recording Corporation   5817    SR0000657157
4381 The Only Exception                                       Paramore                                                 Atlantic Recording Corporation   5821    SR0000657157
4382 Turn It Off                                              Paramore                                                 Atlantic Recording Corporation   5822    SR0000657157
4383 Where The Lines Overlap                                  Paramore                                                 Atlantic Recording Corporation   5825    SR0000657157
4384 Available (feat. Akon)                                   Flo Rida                                                 Atlantic Recording Corporation   5543    SR0000658178
4385 Be On You (feat. Ne-Yo)                                  Flo Rida                                                 Atlantic Recording Corporation   5544    SR0000658178
4386 Finally Here                                             Flo Rida                                                 Atlantic Recording Corporation   5547    SR0000658178
4387 Gotta Get It (Dancer)                                    Flo Rida                                                 Atlantic Recording Corporation   5549    SR0000658178
4388 Jump (feat. Nelly Furtado)                               Flo Rida                                                 Atlantic Recording Corporation   5553    SR0000658178
4389 Mind On My Money                                         Flo Rida                                                 Atlantic Recording Corporation   5556    SR0000658178
4390 Never                                                    Flo Rida                                                 Atlantic Recording Corporation   5559    SR0000658178
4391 R.O.O.T.S.                                               Flo Rida                                                 Atlantic Recording Corporation   5562    SR0000658178
4392 Rewind (feat. Wyclef Jean)                               Flo Rida                                                 Atlantic Recording Corporation   5564    SR0000658178
4393 Right Round                                              Flo Rida                                                 Atlantic Recording Corporation   5565    SR0000658178
4394 Shone (feat. Pleasure P)                                 Flo Rida                                                 Atlantic Recording Corporation   5567    SR0000658178
4395 Sugar (Feat. Wynter)                                     Flo Rida                                                 Atlantic Recording Corporation   5569    SR0000658178
4396 Touch Me                                                 Flo Rida                                                 Atlantic Recording Corporation   5571    SR0000658178
4397 Don't Give Up On Us                                      Sarah McLachlan                                          Sony Music Entertainment         2676    SR0000661978
4398 U Want Me 2                                              Sarah McLachlan                                          Sony Music Entertainment         2677    SR0000661978
4399 Circle The Drain (Explicit)                              Katy Perry                                               Capitol Records, LLC             3353    SR0000662268
4400 Firework                                                 Katy Perry                                               Capitol Records, LLC             3358    SR0000662268
4401 Hummingbird Heartbeat (Explicit)                         Katy Perry                                               Capitol Records, LLC             3360    SR0000662268
4402 Last Friday Night (T.G.I.F.)                             Katy Perry                                               Capitol Records, LLC             3364    SR0000662268
4403 Not Like The Movies (Explicit)                           Katy Perry                                               Capitol Records, LLC             3368    SR0000662268
4404 Peacock                                                  Katy Perry                                               Capitol Records, LLC             3371    SR0000662268
4405 Pearl (Explicit)                                         Katy Perry                                               Capitol Records, LLC             3372    SR0000662268
4406 Teenage Dream                                            Katy Perry                                               Capitol Records, LLC             3375    SR0000662268
4407 Teenage Dream (Kaskade Club Remix)                       Katy Perry                                               Capitol Records, LLC             3376    SR0000662268
4408 Teenage Dream (Kaskade Club Remix) (Explicit)            Katy Perry                                               Capitol Records, LLC             3377    SR0000662268
4409 The One That Got Away                                    Katy Perry                                               Capitol Records, LLC             3378    SR0000662268
4410 The One That Got Away (Radio Mix)                        Katy Perry                                               Capitol Records, LLC             3380    SR0000662268
4411 Who Am I Living For? (Explicit)                          Katy Perry                                               Capitol Records, LLC             3385    SR0000662268
     California Gurls (feat. Snoop Dogg) (Passion Pit Main    Katy Perry                                               Capitol Records, LLC             3386    SR0000662268
4412 Mix) (Explicit)
4413 Crazy Little Thing Called Love                           Maroon 5                                                 UMG Recordings, Inc.             4933   SR0000664531
4414 Get Back In My Life                                      Maroon 5                                                 UMG Recordings, Inc.             4938   SR0000664531
4415 Hands All Over                                           Maroon 5                                                 UMG Recordings, Inc.             4940   SR0000664531
4416 How                                                      Maroon 5                                                 UMG Recordings, Inc.             4943   SR0000664531
4417 I Can't Lie                                              Maroon 5                                                 UMG Recordings, Inc.             4944   SR0000664531
4418 If I Ain't Got You                                       Maroon 5                                                 UMG Recordings, Inc.             4945   SR0000664531
4419 Just A Feeling                                           Maroon 5                                                 UMG Recordings, Inc.             4946   SR0000664531
4420 Last Chance                                              Maroon 5                                                 UMG Recordings, Inc.             4949   SR0000664531
4421 Never Gonna Leave This Bed                               Maroon 5                                                 UMG Recordings, Inc.             4956   SR0000664531
4422 No Curtain Call                                          Maroon 5                                                 UMG Recordings, Inc.             4957   SR0000664531
4423 Out Of Goodbyes                                          Maroon 5                                                 UMG Recordings, Inc.             4960   SR0000664531
4424 Runaway                                                  Maroon 5                                                 UMG Recordings, Inc.             4963   SR0000664531
4425 Stutter                                                  Maroon 5                                                 UMG Recordings, Inc.             4969   SR0000664531
4426 Double Heart                                             The Band Perry                                           UMG Recordings, Inc.             5304   SR0000664551
4427 Independence                                             The Band Perry                                           UMG Recordings, Inc.             5307   SR0000664551
4428 Lasso                                                    The Band Perry                                           UMG Recordings, Inc.             5308   SR0000664551
4429 Miss You Being Gone                                      The Band Perry                                           UMG Recordings, Inc.             5309   SR0000664551
4430 Walk Me Down the Middle                                  The Band Perry                                           UMG Recordings, Inc.             5311   SR0000664551
4431 You Lie                                                  The Band Perry                                           UMG Recordings, Inc.             5312   SR0000664551
4432 Freeze                                                   Jordin Sparks                                            Sony Music Entertainment         1911   SR0000667919
4433 God Loves Ugly                                           Jordin Sparks                                            Sony Music Entertainment         1912   SR0000667919
4434 Just For The Record                                      Jordin Sparks                                            Sony Music Entertainment         1913   SR0000667919
4435 Next To You                                              Jordin Sparks                                            Sony Music Entertainment         1914   SR0000667919
4436 No Air Duet                                              Jordin Sparks                                            Sony Music Entertainment         1915   SR0000667919
4437 Now You Tell Me                                          Jordin Sparks                                            Sony Music Entertainment         1916   SR0000667919
4438 One Step At A Time                                       Jordin Sparks                                            Sony Music Entertainment         1917   SR0000667919
4439 Permanent Monday                                         Jordin Sparks                                            Sony Music Entertainment         1918   SR0000667919
4440 See My Side                                              Jordin Sparks                                            Sony Music Entertainment         1919   SR0000667919
4441 Shy Boy                                                  Jordin Sparks                                            Sony Music Entertainment         1920   SR0000667919
4442 This Is My Now                                           Jordin Sparks                                            Sony Music Entertainment         1922   SR0000667919
4443 Worth The Wait                                           Jordin Sparks                                            Sony Music Entertainment         1923   SR0000667919
4444 Young And In Love                                        Jordin Sparks                                            Sony Music Entertainment         1924   SR0000667919
4445 Big Night                                                Big Time Rush                                            Sony Music Entertainment         829    SR0000668082
4446 Big Time Rush                                            Big Time Rush                                            Sony Music Entertainment         830    SR0000668082
4447 City Is Ours                                             Big Time Rush                                            Sony Music Entertainment         831    SR0000668082
4448 Halfway There                                            Big Time Rush                                            Sony Music Entertainment         834    SR0000668082
4449 Nothing Even Matters                                     Big Time Rush                                            Sony Music Entertainment         840    SR0000668082
4450 Oh Yeah                                                  Big Time Rush                                            Sony Music Entertainment         841    SR0000668082
4451 Til I Forget About You                                   Big Time Rush                                            Sony Music Entertainment         844    SR0000668082
4452 Worldwide                                                Big Time Rush                                            Sony Music Entertainment         846    SR0000668082
4453 I Know You Know                                          Big Time Rush feat. Cymphonique                          Sony Music Entertainment         848    SR0000668082
4454 Count On You                                             Big Time Rush feat. Jordin Sparks                        Sony Music Entertainment         849    SR0000668082
4455 All About Tonight                                        Blake Shelton                                            Warner Bros. Records Inc.        6257   SR0000668677


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4456 Who Are You When I'm Not Looking                      Blake Shelton                                            Warner Bros. Records Inc.        6292    SR0000668677
4457 Devoción                                              Shakira                                                  Sony Music Entertainment         2690    SR0000669191
4458 Gordita (Featuring Residente Calle 13)                Shakira                                                  Sony Music Entertainment         2695    SR0000669191
4459 Lo Que Más                                            Shakira                                                  Sony Music Entertainment         2697    SR0000669191
4460 Loca (Featuring Dizzee Rascal)                        Shakira                                                  Sony Music Entertainment         2699    SR0000669191
4461 Loca (Featuring El Cata)                              Shakira                                                  Sony Music Entertainment         2700    SR0000669191
4462 Waka Waka (This Time For Africa)                      Shakira                                                  Sony Music Entertainment         2705    SR0000669191
4463 Rabiosa                                               Shakira Feat. Pitbull                                    Sony Music Entertainment         2707    SR0000669191
4464 A Star-Crossed Wasteland                              In This Moment                                           Sony Music Entertainment         1687    SR0000669909
4465 Blazin'                                               In This Moment                                           Sony Music Entertainment         1691    SR0000669909
4466 Gunshow                                               In This Moment                                           Sony Music Entertainment         1696    SR0000669909
4467 Iron Army                                             In This Moment                                           Sony Music Entertainment         1697    SR0000669909
4468 Just Drive                                            In This Moment                                           Sony Music Entertainment         1698    SR0000669909
4469 Standing Alone                                        In This Moment                                           Sony Music Entertainment         1701    SR0000669909
4470 The Last Cowboy                                       In This Moment                                           Sony Music Entertainment         1703    SR0000669909
4471 The Promise                                           In This Moment                                           Sony Music Entertainment         1704    SR0000669909
4472 The Road                                              In This Moment                                           Sony Music Entertainment         1705    SR0000669909
4473 World In Flames                                       In This Moment                                           Sony Music Entertainment         1707    SR0000669909
4474 Do It Like This                                       Black Eyed Peas                                          UMG Recordings, Inc.             3756    SR0000670148
4475 Don't Stop The Party                                  Black Eyed Peas                                          UMG Recordings, Inc.             3759    SR0000670148
4476 Light Up The Night                                    Black Eyed Peas                                          UMG Recordings, Inc.             3764    SR0000670148
4477 Fashion Beats                                         The Black Eyed Peas                                      UMG Recordings, Inc.             5313    SR0000670148
4478 Just Can't Get Enough                                 The Black Eyed Peas                                      UMG Recordings, Inc.             5314    SR0000670148
4479 Love You Long Time                                    The Black Eyed Peas                                      UMG Recordings, Inc.             5315    SR0000670148
4480 Own It                                                The Black Eyed Peas                                      UMG Recordings, Inc.             5316    SR0000670148
4481 Play It Loud                                          The Black Eyed Peas                                      UMG Recordings, Inc.             5317    SR0000670148
4482 Someday                                               The Black Eyed Peas                                      UMG Recordings, Inc.             5318    SR0000670148
4483 The Best One Yet (The Boy)                            The Black Eyed Peas                                      UMG Recordings, Inc.             5319    SR0000670148
4484 The Coming                                            The Black Eyed Peas                                      UMG Recordings, Inc.             5320    SR0000670148
4485 The Situation                                         The Black Eyed Peas                                      UMG Recordings, Inc.             5321    SR0000670148
4486 Whenever                                              The Black Eyed Peas                                      UMG Recordings, Inc.             5322    SR0000670148
4487 XOXOXO                                                The Black Eyed Peas                                      UMG Recordings, Inc.             5323    SR0000670148
4488 4th Dimensional Transition                            MGMT                                                     Sony Music Entertainment         2222    SR0000670166
4489 Electric Feel                                         MGMT                                                     Sony Music Entertainment         2223    SR0000670166
4490 Future Reflections                                    MGMT                                                     Sony Music Entertainment         2224    SR0000670166
4491 Kids                                                  MGMT                                                     Sony Music Entertainment         2225    SR0000670166
4492 Of Moons, Birds & Monsters                            MGMT                                                     Sony Music Entertainment         2226    SR0000670166
4493 Pieces of What                                        MGMT                                                     Sony Music Entertainment         2227    SR0000670166
4494 The Handshake                                         MGMT                                                     Sony Music Entertainment         2228    SR0000670166
4495 The Youth                                             MGMT                                                     Sony Music Entertainment         2229    SR0000670166
4496 Weekend Wars                                          MGMT                                                     Sony Music Entertainment         2231    SR0000670166
4497 Alone                                                 Trey Songz                                               Atlantic Recording Corporation   5910    SR0000671697
4498 Blind                                                 Trey Songz                                               Atlantic Recording Corporation   5912    SR0000671697
4499 Bottoms Up (Feat. Nicki Minaj)                        Trey Songz                                               Atlantic Recording Corporation   5913    SR0000671697
4500 Can't Be Friends                                      Trey Songz                                               Atlantic Recording Corporation   5914    SR0000671697
4501 Doorbell                                              Trey Songz                                               Atlantic Recording Corporation   5919    SR0000671697
4502 Love Faces                                            Trey Songz                                               Atlantic Recording Corporation   5926    SR0000671697
4503 Made To Be Together                                   Trey Songz                                               Atlantic Recording Corporation   5927    SR0000671697
4504 Massage                                               Trey Songz                                               Atlantic Recording Corporation   5928    SR0000671697
4505 Pain (Interlude)                                      Trey Songz                                               Atlantic Recording Corporation   5930    SR0000671697
4506 Passion (Interlude)                                   Trey Songz                                               Atlantic Recording Corporation   5932    SR0000671697
4507 Please Return My Call                                 Trey Songz                                               Atlantic Recording Corporation   5934    SR0000671697
4508 Pleasure (Interlude)                                  Trey Songz                                               Atlantic Recording Corporation   5935    SR0000671697
4509 Red Lipstick                                          Trey Songz                                               Atlantic Recording Corporation   5937    SR0000671697
4510 Unfortunate                                           Trey Songz                                               Atlantic Recording Corporation   5939    SR0000671697
4511 Unusual (Feat. Drake)                                 Trey Songz                                               Atlantic Recording Corporation   5940    SR0000671697
4512 You Just Need Me                                      Trey Songz                                               Atlantic Recording Corporation   5942    SR0000671697
4513 F**kin' Perfect                                       P!nk                                                     Sony Music Entertainment         2462    SR0000671699
4514 Raise Your Glass                                      P!nk                                                     Sony Music Entertainment         2467    SR0000671699
4515 Broken Mirrors                                        Rise Against                                             UMG Recordings, Inc.             5242    SR0000671827
4516 Disparity By Design                                   Rise Against                                             UMG Recordings, Inc.             5243    SR0000671827
4517 Endgame                                               Rise Against                                             UMG Recordings, Inc.             5244    SR0000671827
4518 Make It Stop (September's Children)                   Rise Against                                             UMG Recordings, Inc.             5247    SR0000671827
4519 Midnight Hands                                        Rise Against                                             UMG Recordings, Inc.             5248    SR0000671827
4520 Satellite                                             Rise Against                                             UMG Recordings, Inc.             5249    SR0000671827
4521 Survivor Guilt                                        Rise Against                                             UMG Recordings, Inc.             5250    SR0000671827
4522 This Is Letting Go                                    Rise Against                                             UMG Recordings, Inc.             5251    SR0000671827
4523 Wait For Me                                           Rise Against                                             UMG Recordings, Inc.             5252    SR0000671827
4524 Bang (feat. YG Hootie & Slim Dunkin)                  Waka Flocka Flame                                        Atlantic Recording Corporation   5945    SR0000672357
4525 Bricksquad (feat. Gudda Gudda)                        Waka Flocka Flame                                        Atlantic Recording Corporation   5946    SR0000672357
4526 Bustin' At 'Em                                        Waka Flocka Flame                                        Atlantic Recording Corporation   5947    SR0000672357
4527 F**k The Club Up (feat. Pastor Troy & Slim Dunkin)    Waka Flocka Flame                                        Atlantic Recording Corporation   5948    SR0000672357
4528 F**k This Industry                                    Waka Flocka Flame                                        Atlantic Recording Corporation   5949    SR0000672357
4529 For My Dawgs                                          Waka Flocka Flame                                        Atlantic Recording Corporation   5950    SR0000672357
4530 G Check (feat. YG Hootie, Bo Deal & Joe Moses)        Waka Flocka Flame                                        Atlantic Recording Corporation   5951    SR0000672357
4531 Grove St. Party (feat. Kebo Gotti)                    Waka Flocka Flame                                        Atlantic Recording Corporation   5952    SR0000672357
     Homies (feat. YG Hootie, Popa Smurf & Ice Burgundy)   Waka Flocka Flame                                        Atlantic Recording Corporation   5953    SR0000672357
4532
4533 Karma (feat. YG Hootie, Popa Smurf & Slim Dunkin)     Waka Flocka Flame                                        Atlantic Recording Corporation   5954   SR0000672357


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                               Track                                                Artist                                           Plaintiff         PX-01 #    Reg. No.
4534 Live By The Gun (feat. RA Diggs & Uncle Murda)        Waka Flocka Flame                                        Atlantic Recording Corporation     5955    SR0000672357
4535 No Hands (feat. Roscoe Dash and Wale)                 Waka Flocka Flame                                        Atlantic Recording Corporation     5956    SR0000672357
4536 O Let's Do It (Feat. Cap)                             Waka Flocka Flame                                        Atlantic Recording Corporation     5957    SR0000672357
4537 Smoke, Drank (feat. Bo Deal, Mouse & Kebo Gotti)      Waka Flocka Flame                                        Atlantic Recording Corporation     5958    SR0000672357
4538 Snake In The Grass (feat. Cartier Kitten)             Waka Flocka Flame                                        Atlantic Recording Corporation     5959    SR0000672357
     TTG (Trained To Go) (feat. French Montana, YG Hootie, Waka Flocka Flame                                        Atlantic Recording Corporation     5960    SR0000672357
4539 Joe Moses & Baby Bomb)
4540 21 (feat. Laza Morgan)                                Flo Rida                                                 Atlantic Recording Corporation     5539   SR0000672870
4541 On and On (feat. Kevin Rudolf)                        Flo Rida                                                 Atlantic Recording Corporation     5560   SR0000672870
4542 Respirator                                            Flo Rida                                                 Atlantic Recording Corporation     5563   SR0000672870
4543 Turn Around (5,4,3,2,1)                               Flo Rida                                                 Atlantic Recording Corporation     5572   SR0000672870
4544 Who Dat Girl (feat. Akon)                             Flo Rida                                                 Atlantic Recording Corporation     5573   SR0000672870
     Why You Up In Here (feat. Ludacris, Git Fresh and     Flo Rida                                                 Atlantic Recording Corporation     5574   SR0000672870
4545 Gucci Mane)
4546 All I Want Is You                                     Miguel                                                   Sony Music Entertainment           2247   SR0000673073
4547 Girl With The Tattoo Enter.lewd                       Miguel                                                   Sony Music Entertainment           2248   SR0000673073
4548 Girls Like You                                        Miguel                                                   Sony Music Entertainment           2249   SR0000673073
4549 Hard Way                                              Miguel                                                   Sony Music Entertainment           2250   SR0000673073
4550 Hero                                                  Miguel                                                   Sony Music Entertainment           2251   SR0000673073
4551 My Piece                                              Miguel                                                   Sony Music Entertainment           2252   SR0000673073
4552 Pay Me                                                Miguel                                                   Sony Music Entertainment           2253   SR0000673073
4553 Quickie                                               Miguel                                                   Sony Music Entertainment           2254   SR0000673073
4554 Sure Thing                                            Miguel                                                   Sony Music Entertainment           2255   SR0000673073
4555 Teach Me                                              Miguel                                                   Sony Music Entertainment           2256   SR0000673073
4556 To The Moon                                           Miguel                                                   Sony Music Entertainment           2257   SR0000673073
4557 Vixen                                                 Miguel                                                   Sony Music Entertainment           2258   SR0000673073
4558 Don't You Remember                                    Adele                                                    Sony Music Entertainment           694    SR0000673074
4559 He Won't Go                                           Adele                                                    Sony Music Entertainment           696    SR0000673074
4560 I Found A Boy                                         Adele                                                    Sony Music Entertainment           698    SR0000673074
4561 Lovesong                                              Adele                                                    Sony Music Entertainment           699    SR0000673074
4562 One And Only                                          Adele                                                    Sony Music Entertainment           703    SR0000673074
4563 Rolling In The Deep                                   Adele                                                    Sony Music Entertainment           705    SR0000673074
4564 Rumour Has It                                         Adele                                                    Sony Music Entertainment           706    SR0000673074
4565 Set Fire To The Rain                                  Adele                                                    Sony Music Entertainment           707    SR0000673074
4566 Someone Like You                                      Adele                                                    Sony Music Entertainment           708    SR0000673074
4567 Take It All                                           Adele                                                    Sony Music Entertainment           709    SR0000673074
4568 Turning Tables                                        Adele                                                    Sony Music Entertainment           712    SR0000673074
4569 Bodies                                                CeeLo Green                                              Elektra Entertainment Group Inc.   6024   SR0000673160
4570 Bright Lights Bigger City (feat.Wiz Khalifa)          CeeLo Green                                              Elektra Entertainment Group Inc.   6025   SR0000673160
4571 Cry Baby                                              CeeLo Green                                              Elektra Entertainment Group Inc.   6026   SR0000673160
4572 Forget You                                            CeeLo Green                                              Elektra Entertainment Group Inc.   6028   SR0000673160
4573 I Want You                                            CeeLo Green                                              Elektra Entertainment Group Inc.   6029   SR0000673160
4574 It's OK                                               CeeLo Green                                              Elektra Entertainment Group Inc.   6030   SR0000673160
4575 Love Gun (Feat. Lauren Bennett)                       CeeLo Green                                              Elektra Entertainment Group Inc.   6031   SR0000673160
4576 No One's Gonna Love You                               CeeLo Green                                              Elektra Entertainment Group Inc.   6032   SR0000673160
4577 Old Fashioned                                         CeeLo Green                                              Elektra Entertainment Group Inc.   6033   SR0000673160
4578 Satisfied                                             CeeLo Green                                              Elektra Entertainment Group Inc.   6034   SR0000673160
4579 The Lady Killer Theme (Intro)                         CeeLo Green                                              Elektra Entertainment Group Inc.   6035   SR0000673160
4580 The Lady Killer Theme (Outro)                         CeeLo Green                                              Elektra Entertainment Group Inc.   6036   SR0000673160
4581 Wildflower                                            CeeLo Green                                              Elektra Entertainment Group Inc.   6037   SR0000673160
4582 Give Me My Month                                      James Blake                                              UMG Recordings, Inc.               4412   SR0000673339
4583 I Mind                                                James Blake                                              UMG Recordings, Inc.               4413   SR0000673339
4584 I Never Learnt To Share                               James Blake                                              UMG Recordings, Inc.               4414   SR0000673339
4585 Limit To Your Love                                    James Blake                                              UMG Recordings, Inc.               4415   SR0000673339
4586 Lindisfarne II                                        James Blake                                              UMG Recordings, Inc.               4416   SR0000673339
4587 Measurements                                          James Blake                                              UMG Recordings, Inc.               4417   SR0000673339
4588 To Care (Like You)                                    James Blake                                              UMG Recordings, Inc.               4418   SR0000673339
4589 Unluck                                                James Blake                                              UMG Recordings, Inc.               4419   SR0000673339
4590 Why Don't You Call Me?                                James Blake                                              UMG Recordings, Inc.               4420   SR0000673339
4591 Breaking Inside                                       Shinedown                                                Atlantic Recording Corporation     5856   SR0000673788
4592 Call Me                                               Shinedown                                                Atlantic Recording Corporation     5858   SR0000673788
4593 Cry For Help                                          Shinedown                                                Atlantic Recording Corporation     5859   SR0000673788
4594 Cyanide Sweet Tooth Suicide                           Shinedown                                                Atlantic Recording Corporation     5861   SR0000673788
4595 Devour                                                Shinedown                                                Atlantic Recording Corporation     5862   SR0000673788
4596 I Own You                                             Shinedown                                                Atlantic Recording Corporation     5864   SR0000673788
4597 If You Only Knew                                      Shinedown                                                Atlantic Recording Corporation     5865   SR0000673788
4598 Second Chance                                         Shinedown                                                Atlantic Recording Corporation     5871   SR0000673788
4599 Sin With A Grin                                       Shinedown                                                Atlantic Recording Corporation     5872   SR0000673788
4600 Son Of Sam                                            Shinedown                                                Atlantic Recording Corporation     5873   SR0000673788
4601 Sound Of Madness                                      Shinedown                                                Atlantic Recording Corporation     5874   SR0000673788
4602 The Crow & The Butterfly                              Shinedown                                                Atlantic Recording Corporation     5876   SR0000673788
4603 The Energy                                            Shinedown                                                Atlantic Recording Corporation     5877   SR0000673788
4604 What A Shame                                          Shinedown                                                Atlantic Recording Corporation     5878   SR0000673788
4605 Break The Chain                                       Oh Land                                                  Sony Music Entertainment           2362   SR0000674211
4606 Helicopter                                            Oh Land                                                  Sony Music Entertainment           2363   SR0000674211
4607 Human                                                 Oh Land                                                  Sony Music Entertainment           2364   SR0000674211
4608 Lean                                                  Oh Land                                                  Sony Music Entertainment           2365   SR0000674211
4609 Perfection                                            Oh Land                                                  Sony Music Entertainment           2366   SR0000674211
4610 Rainbow                                               Oh Land                                                  Sony Music Entertainment           2367   SR0000674211


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4611 Sun Of A Gun                                          Oh Land                                                  Sony Music Entertainment   2368    SR0000674211
4612 Voodoo                                                Oh Land                                                  Sony Music Entertainment   2369    SR0000674211
4613 We Turn It Up                                         Oh Land                                                  Sony Music Entertainment   2370    SR0000674211
4614 White Nights                                          Oh Land                                                  Sony Music Entertainment   2371    SR0000674211
4615 Wolf & I                                              Oh Land                                                  Sony Music Entertainment   2372    SR0000674211
4616 Angel                                                 Jennifer Hudson                                          Sony Music Entertainment   1806    SR0000674220
4617 Believe                                               Jennifer Hudson                                          Sony Music Entertainment   1807    SR0000674220
4618 Don't Look Down                                       Jennifer Hudson                                          Sony Music Entertainment   1808    SR0000674220
4619 Everybody Needs Love                                  Jennifer Hudson                                          Sony Music Entertainment   1809    SR0000674220
4620 Gone                                                  Jennifer Hudson                                          Sony Music Entertainment   1810    SR0000674220
4621 I Got This                                            Jennifer Hudson                                          Sony Music Entertainment   1811    SR0000674220
4622 I Remember Me                                         Jennifer Hudson                                          Sony Music Entertainment   1812    SR0000674220
4623 No One Gonna Love You                                 Jennifer Hudson                                          Sony Music Entertainment   1813    SR0000674220
4624 Still Here                                            Jennifer Hudson                                          Sony Music Entertainment   1814    SR0000674220
4625 The Star-Spangled Banner                              Jennifer Hudson                                          Sony Music Entertainment   1815    SR0000674220
4626 Where You At                                          Jennifer Hudson                                          Sony Music Entertainment   1816    SR0000674220
4627 Why Is It So Hard                                     Jennifer Hudson                                          Sony Music Entertainment   1817    SR0000674220
4628 Abracadabra                                           Jessie J                                                 UMG Recordings, Inc.       4434    SR0000674861
4629 Big White Room                                        Jessie J                                                 UMG Recordings, Inc.       4435    SR0000674861
4630 Casualty Of Love                                      Jessie J                                                 UMG Recordings, Inc.       4436    SR0000674861
4631 Do It Like A Dude                                     Jessie J                                                 UMG Recordings, Inc.       4437    SR0000674861
4632 I Need This                                           Jessie J                                                 UMG Recordings, Inc.       4438    SR0000674861
4633 L.O.V.E.                                              Jessie J                                                 UMG Recordings, Inc.       4439    SR0000674861
4634 Mamma Knows Best                                      Jessie J                                                 UMG Recordings, Inc.       4441    SR0000674861
4635 Nobody's Perfect                                      Jessie J                                                 UMG Recordings, Inc.       4443    SR0000674861
4636 Price Tag                                             Jessie J                                                 UMG Recordings, Inc.       4444    SR0000674861
4637 Rainbow                                               Jessie J                                                 UMG Recordings, Inc.       4445    SR0000674861
4638 Stand Up                                              Jessie J                                                 UMG Recordings, Inc.       4446    SR0000674861
4639 Who You Are                                           Jessie J                                                 UMG Recordings, Inc.       4447    SR0000674861
4640 Who's Laughing Now                                    Jessie J                                                 UMG Recordings, Inc.       4448    SR0000674861
4641 Look At Me Now (Explicit)                             Chris Brown feat. Lil Wayne & Busta Rhymes               Sony Music Entertainment   1271    SR0000677541
4642 Look At Me Now                                        Chris Brown featuring Lil Wayne & Busta Rhymes           Sony Music Entertainment   1284    SR0000677541
4643 Day Dreams                                            Raphael Saadiq                                           Sony Music Entertainment   2618    SR0000677734
4644 Go To Hell                                            Raphael Saadiq                                           Sony Music Entertainment   2619    SR0000677734
4645 Good Man                                              Raphael Saadiq                                           Sony Music Entertainment   2620    SR0000677734
4646 Heart Attack                                          Raphael Saadiq                                           Sony Music Entertainment   2621    SR0000677734
4647 Movin' Down the Line                                  Raphael Saadiq                                           Sony Music Entertainment   2625    SR0000677734
4648 Over You                                              Raphael Saadiq                                           Sony Music Entertainment   2627    SR0000677734
4649 Radio                                                 Raphael Saadiq                                           Sony Music Entertainment   2628    SR0000677734
4650 Stone Rollin                                          Raphael Saadiq                                           Sony Music Entertainment   2631    SR0000677734
4651 The Answer                                            Raphael Saadiq                                           Sony Music Entertainment   2633    SR0000677734
4652 Just Don't                                            Raphael Saadiq feat. Yukimi Nakano                       Sony Music Entertainment   2636    SR0000677734
4653 Americano                                             Lady Gaga                                                UMG Recordings, Inc.       4689    SR0000678406
4654 Bad Kids                                              Lady Gaga                                                UMG Recordings, Inc.       4693    SR0000678406
4655 Black Jesus (Amen Fashion)                            Lady Gaga                                                UMG Recordings, Inc.       4696    SR0000678406
4656 Bloody Mary                                           Lady Gaga                                                UMG Recordings, Inc.       4697    SR0000678406
4657 Born This Way                                         Lady Gaga                                                UMG Recordings, Inc.       4698    SR0000678406
4658 Electric Chapel                                       Lady Gaga                                                UMG Recordings, Inc.       4708    SR0000678406
4659 Fashion Of His Love                                   Lady Gaga                                                UMG Recordings, Inc.       4709    SR0000678406
4660 Fasion Of His Love (Fernando Garibay Remix)           Lady Gaga                                                UMG Recordings, Inc.       4711    SR0000678406
4661 Government Hooker                                     Lady Gaga                                                UMG Recordings, Inc.       4713    SR0000678406
4662 Hair                                                  Lady Gaga                                                UMG Recordings, Inc.       4715    SR0000678406
4663 Heavy Metal Lover                                     Lady Gaga                                                UMG Recordings, Inc.       4716    SR0000678406
4664 Highway Unicorn (Road To Love)                        Lady Gaga                                                UMG Recordings, Inc.       4717    SR0000678406
4665 Judas                                                 Lady Gaga                                                UMG Recordings, Inc.       4720    SR0000678406
4666 Judas (DJ White Shadow Remix)                         Lady Gaga                                                UMG Recordings, Inc.       4721    SR0000678406
4667 Marry The Night                                       Lady Gaga                                                UMG Recordings, Inc.       4725    SR0000678406
4668 Scheiße                                               Lady Gaga                                                UMG Recordings, Inc.       4733    SR0000678406
4669 Scheiße (DJ White Shadow Remix)                       Lady Gaga                                                UMG Recordings, Inc.       4734    SR0000678406
4670 The Queen                                             Lady Gaga                                                UMG Recordings, Inc.       4745    SR0000678406
4671 You & I                                               Lady Gaga                                                UMG Recordings, Inc.       4747    SR0000678406
4672 You And I                                             Lady Gaga                                                UMG Recordings, Inc.       4748    SR0000678406
4673 Raise Up                                              Ledisi                                                   UMG Recordings, Inc.       4779    SR0000678487
4674 Shine                                                 Ledisi                                                   UMG Recordings, Inc.       4780    SR0000678487
4675 Stay Together                                         Ledisi                                                   UMG Recordings, Inc.       4783    SR0000678487
4676 Celebrity                                             Big Sean                                                 UMG Recordings, Inc.       3719    SR0000678630
4677 Dance (Ass)                                           Big Sean                                                 UMG Recordings, Inc.       3720    SR0000678630
4678 Don't Tell Me You Love Me                             Big Sean                                                 UMG Recordings, Inc.       3721    SR0000678630
4679 Get It                                                Big Sean                                                 UMG Recordings, Inc.       3722    SR0000678630
4680 High                                                  Big Sean                                                 UMG Recordings, Inc.       3723    SR0000678630
4681 Intro                                                 Big Sean                                                 UMG Recordings, Inc.       3724    SR0000678630
4682 Marvin & Chardonnay                                   Big Sean                                                 UMG Recordings, Inc.       3725    SR0000678630
4683 Memories Pt 2                                         Big Sean                                                 UMG Recordings, Inc.       3726    SR0000678630
4684 My House                                              Big Sean                                                 UMG Recordings, Inc.       3727    SR0000678630
4685 So Much More                                          Big Sean                                                 UMG Recordings, Inc.       3728    SR0000678630
4686 Wait For Me                                           Big Sean                                                 UMG Recordings, Inc.       3729    SR0000678630
4687 What Goes Around                                      Big Sean                                                 UMG Recordings, Inc.       3730    SR0000678630
4688 A Kiss                                                Bad Meets Evil                                           UMG Recordings, Inc.       3702    SR0000678636
4689 Above The Law                                         Bad Meets Evil                                           UMG Recordings, Inc.       3703    SR0000678636


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                               Track                                       Artist                                           Plaintiff   PX-01 #    Reg. No.
4690 Above The Law (Explicit)                       Bad Meets Evil                                           UMG Recordings, Inc.       3704    SR0000678636
4691 Echo                                           Bad Meets Evil                                           UMG Recordings, Inc.       3705    SR0000678636
4692 I'm On Everything                              Bad Meets Evil                                           UMG Recordings, Inc.       3707    SR0000678636
4693 I'm On Everything (Explicit)                   Bad Meets Evil                                           UMG Recordings, Inc.       3708    SR0000678636
4694 Lighters                                       Bad Meets Evil                                           UMG Recordings, Inc.       3709    SR0000678636
4695 Living Proof                                   Bad Meets Evil                                           UMG Recordings, Inc.       3710    SR0000678636
4696 Loud Noises                                    Bad Meets Evil                                           UMG Recordings, Inc.       3711    SR0000678636
4697 Loud Noises (Explicit)                         Bad Meets Evil                                           UMG Recordings, Inc.       3712    SR0000678636
4698 Take From Me                                   Bad Meets Evil                                           UMG Recordings, Inc.       3713    SR0000678636
4699 The Reunion                                    Bad Meets Evil                                           UMG Recordings, Inc.       3714    SR0000678636
4700 The Reunion (Explicit)                         Bad Meets Evil                                           UMG Recordings, Inc.       3715    SR0000678636
4701 Welcome 2 Hell                                 Bad Meets Evil                                           UMG Recordings, Inc.       3716    SR0000678636
4702 Welcome 2 Hell (Explicit)                      Bad Meets Evil                                           UMG Recordings, Inc.       3717    SR0000678636
4703 All Night Long                                 LMFAO                                                    UMG Recordings, Inc.       4858    SR0000678646
4704 Champagne Showers                              LMFAO                                                    UMG Recordings, Inc.       4860    SR0000678646
4705 Hot Dog                                        LMFAO                                                    UMG Recordings, Inc.       4862    SR0000678646
4706 One Day                                        LMFAO                                                    UMG Recordings, Inc.       4871    SR0000678646
4707 Put That A$$ To Work                           LMFAO                                                    UMG Recordings, Inc.       4873    SR0000678646
4708 Reminds Me Of You                              LMFAO                                                    UMG Recordings, Inc.       4874    SR0000678646
4709 Reminds Me Of You (Explicit)                   LMFAO                                                    UMG Recordings, Inc.       4875    SR0000678646
4710 Rock The Beat II                               LMFAO                                                    UMG Recordings, Inc.       4877    SR0000678646
4711 Sexy And I Know It                             LMFAO                                                    UMG Recordings, Inc.       4879    SR0000678646
4712 Sorry For Party Rocking                        LMFAO                                                    UMG Recordings, Inc.       4881    SR0000678646
4713 Take It To The Hole                            LMFAO                                                    UMG Recordings, Inc.       4882    SR0000678646
4714 Take It To The Hole (Explicit)                 LMFAO                                                    UMG Recordings, Inc.       4883    SR0000678646
4715 We Came Here To Party                          LMFAO                                                    UMG Recordings, Inc.       4884    SR0000678646
4716 We Came Here To Party (Explicit)               LMFAO                                                    UMG Recordings, Inc.       4885    SR0000678646
4717 With You                                       LMFAO                                                    UMG Recordings, Inc.       4887    SR0000678646
4718 Crying For You                                 Charlie Wilson                                           Sony Music Entertainment   1223    SR0000679365
4719 I Can't Let Go                                 Charlie Wilson                                           Sony Music Entertainment   1224    SR0000679365
4720 Life Of The Party                              Charlie Wilson                                           Sony Music Entertainment   1225    SR0000679365
4721 Lotto                                          Charlie Wilson                                           Sony Music Entertainment   1226    SR0000679365
4722 My Girl Is A Dime                              Charlie Wilson                                           Sony Music Entertainment   1227    SR0000679365
4723 Never Got Enough                               Charlie Wilson                                           Sony Music Entertainment   1228    SR0000679365
4724 Once And Forever                               Charlie Wilson                                           Sony Music Entertainment   1229    SR0000679365
4725 Where Would I Be                               Charlie Wilson                                           Sony Music Entertainment   1230    SR0000679365
4726 You Are                                        Charlie Wilson                                           Sony Music Entertainment   1231    SR0000679365
4727 I Wanna Be Your Man                            Charlie Wilson Featuring Fantasia                        Sony Music Entertainment   1232    SR0000679365
4728 All Back                                       Chris Brown                                              Sony Music Entertainment   1249    SR0000679366
4729 Beg For It                                     Chris Brown                                              Sony Music Entertainment   1251    SR0000679366
4730 Oh My Love                                     Chris Brown                                              Sony Music Entertainment   1256    SR0000679366
4731 Oh My Love (Explicit)                          Chris Brown                                              Sony Music Entertainment   1257    SR0000679366
4732 Say It With Me                                 Chris Brown                                              Sony Music Entertainment   1258    SR0000679366
4733 She Ain't You                                  Chris Brown                                              Sony Music Entertainment   1259    SR0000679366
4734 Should've Kissed You                           Chris Brown                                              Sony Music Entertainment   1260    SR0000679366
4735 Up To You                                      Chris Brown                                              Sony Music Entertainment   1265    SR0000679366
4736 Yeah 3x                                        Chris Brown                                              Sony Music Entertainment   1267    SR0000679366
4737 Beautiful People                               Chris Brown feat. Benny Benassi                          Sony Music Entertainment   1268    SR0000679366
4738 No BS (Explicit)                               Chris Brown feat. Kevin McCall                           Sony Music Entertainment   1270    SR0000679366
4739 Wet The Bed                                    Chris Brown feat. Ludacris                               Sony Music Entertainment   1273    SR0000679366
4740 Bomb (Explicit)                                Chris Brown feat. Wiz Khalifa                            Sony Music Entertainment   1279    SR0000679366
4741 Love The Girls (Explicit)                      Chris Brown featuring Eva Simons                         Sony Music Entertainment   1281    SR0000679366
4742 Next To You                                    Chris Brown featuring Justin Bieber                      Sony Music Entertainment   1283    SR0000679366
4743 Deuces                                         Chris Brown featuring Tyga & Kevin McCall                Sony Music Entertainment   1288    SR0000679366
4744 4 Real                                         Avril Lavigne                                            Sony Music Entertainment   754     SR0000680182
4745 Alice                                          Avril Lavigne                                            Sony Music Entertainment   755     SR0000680182
4746 Bad Reputation                                 Avril Lavigne                                            Sony Music Entertainment   756     SR0000680182
4747 Black Star                                     Avril Lavigne                                            Sony Music Entertainment   757     SR0000680182
4748 Darlin                                         Avril Lavigne                                            Sony Music Entertainment   758     SR0000680182
4749 Everybody Hurts                                Avril Lavigne                                            Sony Music Entertainment   759     SR0000680182
4750 Goodbye                                        Avril Lavigne                                            Sony Music Entertainment   761     SR0000680182
4751 I Love You                                     Avril Lavigne                                            Sony Music Entertainment   762     SR0000680182
4752 Knockin' on Heaven's Door                      Avril Lavigne                                            Sony Music Entertainment   763     SR0000680182
4753 Not Enough                                     Avril Lavigne                                            Sony Music Entertainment   764     SR0000680182
4754 Push                                           Avril Lavigne                                            Sony Music Entertainment   765     SR0000680182
4755 Remember When                                  Avril Lavigne                                            Sony Music Entertainment   766     SR0000680182
4756 Smile                                          Avril Lavigne                                            Sony Music Entertainment   767     SR0000680182
4757 Stop Standing There                            Avril Lavigne                                            Sony Music Entertainment   768     SR0000680182
4758 Wish You Were Here                             Avril Lavigne                                            Sony Music Entertainment   770     SR0000680182
4759 A Man Don't Have to Die                        Brad Paisley                                             Sony Music Entertainment   953     SR0000680360
4760 Be The Lake                                    Brad Paisley                                             Sony Music Entertainment   958     SR0000680360
4761 Camouflage                                     Brad Paisley                                             Sony Music Entertainment   959     SR0000680360
4762 I Do Now                                       Brad Paisley                                             Sony Music Entertainment   962     SR0000680360
4763 New Favorite Memory                            Brad Paisley                                             Sony Music Entertainment   964     SR0000680360
4764 Old Alabama                                    Brad Paisley                                             Sony Music Entertainment   967     SR0000680360
4765 One of Those Lives                             Brad Paisley                                             Sony Music Entertainment   968     SR0000680360
4766 This Is Country Music                          Brad Paisley                                             Sony Music Entertainment   972     SR0000680360
4767 Toothbrush                                     Brad Paisley                                             Sony Music Entertainment   973     SR0000680360
4768 Working On A Tan                               Brad Paisley                                             Sony Music Entertainment   976     SR0000680360


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                                Track                                             Artist                                         Plaintiff    PX-01 #    Reg. No.
4769 Don't Drink the Water                               Brad Paisley feat. Blake Shelton                         Sony Music Entertainment    978     SR0000680360
4770 Eastwood                                            Brad Paisley feat. Clint Eastwood                        Sony Music Entertainment    979     SR0000680360
4771 Love Her Like She's Leavin'                         Brad Paisley feat. Don Henley                            Sony Music Entertainment    980     SR0000680360
     Life's Railway to Heaven                            Brad Paisley feat. Marty Stuart, Sheryl Crow and         Sony Music Entertainment            SR0000680360
4772                                                     Carl Jackson                                                                         981
4773 Remind Me                                           Brad Praisley                                            Sony Music Entertainment    982     SR0000680360
4774 Apprehension                                        Manchester Orchestra                                     Sony Music Entertainment    2168    SR0000680374
4775 April Fool                                          Manchester Orchestra                                     Sony Music Entertainment    2169    SR0000680374
4776 Deer                                                Manchester Orchestra                                     Sony Music Entertainment    2170    SR0000680374
4777 Leaky Breaks                                        Manchester Orchestra                                     Sony Music Entertainment    2171    SR0000680374
4778 Leave It Alone                                      Manchester Orchestra                                     Sony Music Entertainment    2172    SR0000680374
4779 Mighty                                              Manchester Orchestra                                     Sony Music Entertainment    2173    SR0000680374
4780 Pale Black Eye                                      Manchester Orchestra                                     Sony Music Entertainment    2174    SR0000680374
4781 Pensacola                                           Manchester Orchestra                                     Sony Music Entertainment    2175    SR0000680374
4782 Simple Math                                         Manchester Orchestra                                     Sony Music Entertainment    2176    SR0000680374
4783 Virgin                                              Manchester Orchestra                                     Sony Music Entertainment    2177    SR0000680374
4784 ...To Be Loved                                      Papa Roach                                               UMG Recordings, Inc.        5070    SR0000680576
4785 Just Go (Never Look Back)                           Papa Roach                                               UMG Recordings, Inc.        5079    SR0000680576
4786 Bulletproof Heart                                   My Chemical Romance                                      Warner Bros. Records Inc.   6623    SR0000681139
4787 Na Na Na (Na Na Na Na Na Na Na Na Na)               My Chemical Romance                                      Warner Bros. Records Inc.   6653    SR0000681139
4788 Planetary (GO!)                                     My Chemical Romance                                      Warner Bros. Records Inc.   6654    SR0000681139
4789 Save Yourself, I'll Hold Them Back                  My Chemical Romance                                      Warner Bros. Records Inc.   6655    SR0000681139
4790 The Kids From Yesterday                             My Chemical Romance                                      Warner Bros. Records Inc.   6667    SR0000681139
4791 The Only Hope For Me Is You                         My Chemical Romance                                      Warner Bros. Records Inc.   6668    SR0000681139
4792 Vampire Money                                       My Chemical Romance                                      Warner Bros. Records Inc.   6674    SR0000681139
4793 E.T.                                                Katy Perry                                               Capitol Records, LLC        3355    SR0000681293
4794 E.T. (feat. Kayne West)                             Katy Perry                                               Capitol Records, LLC        3356    SR0000681293
4795 Each Other                                          Kelly Rowland                                            UMG Recordings, Inc.        4620    SR0000681564
4796 Heaven & Earth                                      Kelly Rowland                                            UMG Recordings, Inc.        4621    SR0000681564
4797 Give Me Everything                                  Pitbull                                                  Sony Music Entertainment    2563    SR0000681904
4798 Pause                                               Pitbull                                                  Sony Music Entertainment    2570    SR0000681904
4799 Something For The DJs                               Pitbull                                                  Sony Music Entertainment    2571    SR0000681904
4800 International Love                                  Pitbull Featuring Chris Brown                            Sony Music Entertainment    2589    SR0000681904
4801 Come N Go                                           Pitbull Featuring Enrique Iglesias                       Sony Music Entertainment    2590    SR0000681904
4802 Where Do We Go                                      Pitbull Featuring Jamie Foxx                             Sony Music Entertainment    2591    SR0000681904
4803 Castle Made Of Sand                                 Pitbull Featuring Kelly Rowland & Jamie Drastik          Sony Music Entertainment    2592    SR0000681904
4804 Took My Love                                        Pitbull Featuring Red Foo, Vein & David Rush             Sony Music Entertainment    2595    SR0000681904
4805 Hey Baby (Drop It To The Floor)                     Pitbull featuring T-Pain                                 Sony Music Entertainment    2597    SR0000681904
4806 Shake Senora                                        Pitbull Featuring T-Pain & Sean Paul                     Sony Music Entertainment    2598    SR0000681904
4807 Mr. Worldwide (Intro)                               Pitbull Featuring Vein                                   Sony Music Entertainment    2600    SR0000681904
4808 Mr. Right Now                                       Pitbull Featuring Akon & DJ Frank E                      Sony Music Entertainment    2586    SR0000683282
4809 My Kinda Girl                                       Pitbull Featuring Nelly                                  Sony Music Entertainment    2594    SR0000683282
4810 Shake Senora Remix                                  Pitbull Featuring T-Pain, Sean Paul & Ludacris           Sony Music Entertainment    2599    SR0000683282
4811 Oye Baby                                            Pitbull vs. Nicola Fasano                                Sony Music Entertainment    2601    SR0000683282
4812 All Of The Lights                                   Kanye West                                               UMG Recordings, Inc.        4536    SR0000683430
4813 All Of The Lights (Interlude)                       Kanye West                                               UMG Recordings, Inc.        4537    SR0000683430
4814 Blame Game                                          Kanye West                                               UMG Recordings, Inc.        4544    SR0000683430
4815 Devil In A New Dress                                Kanye West                                               UMG Recordings, Inc.        4554    SR0000683430
4816 Don't Like.1                                        Kanye West                                               UMG Recordings, Inc.        4556    SR0000683430
4817 Gorgeous                                            Kanye West                                               UMG Recordings, Inc.        4565    SR0000683430
4818 Hell Of A Life                                      Kanye West                                               UMG Recordings, Inc.        4570    SR0000683430
4819 Lost In The World                                   Kanye West                                               UMG Recordings, Inc.        4580    SR0000683430
4820 Monster                                             Kanye West                                               UMG Recordings, Inc.        4583    SR0000683430
4821 New God Flow.1                                      Kanye West                                               UMG Recordings, Inc.        4585    SR0000683430
4822 POWER                                               Kanye West                                               UMG Recordings, Inc.        4590    SR0000683430
4823 Runaway                                             Kanye West                                               UMG Recordings, Inc.        4592    SR0000683430
4824 So Appalled                                         Kanye West                                               UMG Recordings, Inc.        4600    SR0000683430
4825 Who Will Survive In America                         Kanye West                                               UMG Recordings, Inc.        4613    SR0000683430
4826 Dark Fantasy                                        Kanye West                                               UMG Recordings, Inc.        4615    SR0000683430
4827 Gotta Have It                                       JAY-Z                                                    UMG Recordings, Inc.        4423    SR0000683714
4828 Made In America                                     JAY-Z                                                    UMG Recordings, Inc.        4424    SR0000683714
4829 Murder To Excellence                                JAY-Z                                                    UMG Recordings, Inc.        4425    SR0000683714
4830 No Church In The Wild                               JAY-Z                                                    UMG Recordings, Inc.        4426    SR0000683714
4831 Otis                                                JAY-Z                                                    UMG Recordings, Inc.        4427    SR0000683714
4832 That's My Bitch                                     JAY-Z                                                    UMG Recordings, Inc.        4429    SR0000683714
4833 Welcome To The Jungle                               JAY-Z                                                    UMG Recordings, Inc.        4430    SR0000683714
4834 Who Gon Stop Me                                     JAY-Z                                                    UMG Recordings, Inc.        4431    SR0000683714
4835 1+1                                                 Beyoncé                                                  Sony Music Entertainment    774     SR0000683948
4836 Best Thing I Never Had                              Beyoncé                                                  Sony Music Entertainment    777     SR0000683948
4837 Countdown                                           Beyoncé                                                  Sony Music Entertainment    780     SR0000683948
4838 Dance For You                                       Beyoncé                                                  Sony Music Entertainment    782     SR0000683948
4839 End Of Time                                         Beyoncé                                                  Sony Music Entertainment    787     SR0000683948
4840 I Care                                              Beyoncé                                                  Sony Music Entertainment    793     SR0000683948
4841 I Miss You                                          Beyoncé                                                  Sony Music Entertainment    794     SR0000683948
4842 I Was Here                                          Beyoncé                                                  Sony Music Entertainment    795     SR0000683948
4843 Lay Up Under Me                                     Beyoncé                                                  Sony Music Entertainment    798     SR0000683948
4844 Love On Top                                         Beyoncé                                                  Sony Music Entertainment    799     SR0000683948
4845 Rather Die Young                                    Beyoncé                                                  Sony Music Entertainment    806     SR0000683948
4846 Run The World (Girls)                               Beyoncé                                                  Sony Music Entertainment    808     SR0000683948


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4847 Schoolin' Life                                    Beyoncé                                                  Sony Music Entertainment         811     SR0000683948
4848 Start Over                                        Beyoncé                                                  Sony Music Entertainment         815     SR0000683948
4849 Party                                             Beyoncé feat. André 3000                                 Sony Music Entertainment         820     SR0000683948
4850 Every Other Memory                                Eli Young Band                                           UMG Recordings, Inc.             3933    SR0000684024
4851 How Quickly You Forget                            Eli Young Band                                           UMG Recordings, Inc.             3934    SR0000684024
4852 Life At Best                                      Eli Young Band                                           UMG Recordings, Inc.             3935    SR0000684024
4853 My Old Man's Son                                  Eli Young Band                                           UMG Recordings, Inc.             3936    SR0000684024
4854 On My Way                                         Eli Young Band                                           UMG Recordings, Inc.             3937    SR0000684024
4855 Recover                                           Eli Young Band                                           UMG Recordings, Inc.             3938    SR0000684024
4856 Say Goodnight                                     Eli Young Band                                           UMG Recordings, Inc.             3939    SR0000684024
4857 The Falling                                       Eli Young Band                                           UMG Recordings, Inc.             3940    SR0000684024
4858 War On A Desperate Man                            Eli Young Band                                           UMG Recordings, Inc.             3941    SR0000684024
4859 California King Bed                               Rihanna                                                  UMG Recordings, Inc.             5173    SR0000684805
4860 Cheers (Drink To That)                            Rihanna                                                  UMG Recordings, Inc.             5174    SR0000684805
4861 Complicated                                       Rihanna                                                  UMG Recordings, Inc.             5177    SR0000684805
4862 Fading                                            Rihanna                                                  UMG Recordings, Inc.             5185    SR0000684805
4863 Love The Way You Lie (Part II)                    Rihanna                                                  UMG Recordings, Inc.             5198    SR0000684805
4864 Man Down                                          Rihanna                                                  UMG Recordings, Inc.             5201    SR0000684805
4865 Raining Men                                       Rihanna                                                  UMG Recordings, Inc.             5208    SR0000684805
4866 S&M                                               Rihanna                                                  UMG Recordings, Inc.             5216    SR0000684805
4867 Skin                                              Rihanna                                                  UMG Recordings, Inc.             5220    SR0000684805
4868 Blind                                             Jason Derulo                                             Warner Bros. Records Inc.        6528    SR0000685175
4869 Encore                                            Jason Derulo                                             Warner Bros. Records Inc.        6529    SR0000685175
4870 Fallen                                            Jason Derulo                                             Warner Bros. Records Inc.        6530    SR0000685175
4871 In My Head                                        Jason Derulo                                             Warner Bros. Records Inc.        6531    SR0000685175
4872 Love Hangover                                     Jason Derulo                                             Warner Bros. Records Inc.        6532    SR0000685175
4873 Ridin' Solo                                       Jason Derulo                                             Warner Bros. Records Inc.        6534    SR0000685175
4874 Strobelight (Bonus Track)                         Jason Derulo                                             Warner Bros. Records Inc.        6535    SR0000685175
4875 The Sky's The Limit                               Jason Derulo                                             Warner Bros. Records Inc.        6538    SR0000685175
4876 What If                                           Jason Derulo                                             Warner Bros. Records Inc.        6540    SR0000685175
4877 Whatcha Say                                       Jason Derulo                                             Warner Bros. Records Inc.        6541    SR0000685175
4878 A Welcome Burden                                  Disturbed                                                Warner Bros. Records Inc.        6344    SR0000685183
4879 Numb                                              Disturbed                                                Warner Bros. Records Inc.        6378    SR0000685183
4880 Hillbilly Bone (feat. Trace Adkins)               Blake Shelton                                            Warner Bros. Records Inc.        6271    SR0000685229
4881 Kiss My Country Ass                               Blake Shelton                                            Warner Bros. Records Inc.        6275    SR0000685229
4882 As You Turn Away                                  Lady Antebellum                                          Capitol Records, LLC             3412    SR0000686148
4883 Cold As Stone                                     Lady Antebellum                                          Capitol Records, LLC             3416    SR0000686148
4884 Dancin' Away With My Heart                        Lady Antebellum                                          Capitol Records, LLC             3418    SR0000686148
4885 Friday Night                                      Lady Antebellum                                          Capitol Records, LLC             3420    SR0000686148
4886 Heart Of The World                                Lady Antebellum                                          Capitol Records, LLC             3425    SR0000686148
4887 Love I've Found In You                            Lady Antebellum                                          Capitol Records, LLC             3431    SR0000686148
4888 Singing Me Home                                   Lady Antebellum                                          Capitol Records, LLC             3433    SR0000686148
4889 Somewhere Love Remains                            Lady Antebellum                                          Capitol Records, LLC             3434    SR0000686148
4890 When You Were Mine                                Lady Antebellum                                          Capitol Records, LLC             3437    SR0000686148
4891 Running Out of Time                               Simple Plan                                              Atlantic Recording Corporation   5899    SR0000686779
4892 When I'm Gone (Acoustic Version)                  Simple Plan                                              Atlantic Recording Corporation   5906    SR0000686779
4893 LaserLight                                        Jessie J                                                 UMG Recordings, Inc.             4440    SR0000689415
4894 My Shadow                                         Jessie J                                                 UMG Recordings, Inc.             4442    SR0000689415
4895 Birthday Cake                                     Rihanna                                                  UMG Recordings, Inc.             5170    SR0000689431
4896 Cockiness (Love It)                               Rihanna                                                  UMG Recordings, Inc.             5175    SR0000689431
4897 Do Ya Thang                                       Rihanna                                                  UMG Recordings, Inc.             5182    SR0000689431
4898 Drunk On Love                                     Rihanna                                                  UMG Recordings, Inc.             5184    SR0000689431
4899 Farewell                                          Rihanna                                                  UMG Recordings, Inc.             5186    SR0000689431
4900 Fool In Love                                      Rihanna                                                  UMG Recordings, Inc.             5189    SR0000689431
4901 Red Lipstick                                      Rihanna                                                  UMG Recordings, Inc.             5209    SR0000689431
4902 Roc Me Out                                        Rihanna                                                  UMG Recordings, Inc.             5211    SR0000689431
4903 Talk That Talk                                    Rihanna                                                  UMG Recordings, Inc.             5224    SR0000689431
4904 Watch N Learn                                     Rihanna                                                  UMG Recordings, Inc.             5232    SR0000689431
4905 We All Want Love                                  Rihanna                                                  UMG Recordings, Inc.             5233    SR0000689431
4906 Where Have You Been                               Rihanna                                                  UMG Recordings, Inc.             5237    SR0000689431
4907 Digital (Did You Tell)                            Stone Sour                                               Roadrunner Records, Inc.         6224    SR0000689549
4908 Home Again                                        Stone Sour                                               Roadrunner Records, Inc.         6226    SR0000689549
4909 Nylon 6/6                                         Stone Sour                                               Roadrunner Records, Inc.         6229    SR0000689549
4910 Pieces                                            Stone Sour                                               Roadrunner Records, Inc.         6231    SR0000689549
4911 Say You'll Haunt Me                               Stone Sour                                               Roadrunner Records, Inc.         6233    SR0000689549
4912 The Bitter End                                    Stone Sour                                               Roadrunner Records, Inc.         6235    SR0000689549
4913 Threadbare                                        Stone Sour                                               Roadrunner Records, Inc.         6236    SR0000689549
4914 Bronte                                            Gotye                                                    UMG Recordings, Inc.             4293    SR0000692982
4915 Don't Worry, We'll Be Watching You                Gotye                                                    UMG Recordings, Inc.             4294    SR0000692982
4916 Easy Way Out                                      Gotye                                                    UMG Recordings, Inc.             4295    SR0000692982
4917 Eyes Wide Open                                    Gotye                                                    UMG Recordings, Inc.             4296    SR0000692982
4918 Giving Me A Chance                                Gotye                                                    UMG Recordings, Inc.             4297    SR0000692982
4919 I Feel Better                                     Gotye                                                    UMG Recordings, Inc.             4298    SR0000692982
4920 In Your Light                                     Gotye                                                    UMG Recordings, Inc.             4299    SR0000692982
4921 Making Mirrors                                    Gotye                                                    UMG Recordings, Inc.             4300    SR0000692982
4922 Save Me                                           Gotye                                                    UMG Recordings, Inc.             4301    SR0000692982
4923 Smoke And Mirrors                                 Gotye                                                    UMG Recordings, Inc.             4302    SR0000692982
4924 Somebody That I Used To Know                      Gotye                                                    UMG Recordings, Inc.             4303    SR0000692982
4925 State Of The Art                                  Gotye                                                    UMG Recordings, Inc.             4304    SR0000692982


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                              Track                                                  Artist                                          Plaintiff   PX-01 #    Reg. No.
4926 Born To Die                                            Lana Del Rey                                             UMG Recordings, Inc.        4754    SR0000692991
4927 Carmen                                                 Lana Del Rey                                             UMG Recordings, Inc.        4756    SR0000692991
4928 Lolita                                                 Lana Del Rey                                             UMG Recordings, Inc.        4761    SR0000692991
4929 Lucky Ones                                             Lana Del Rey                                             UMG Recordings, Inc.        4762    SR0000692991
4930 Million Dollar Man                                     Lana Del Rey                                             UMG Recordings, Inc.        4763    SR0000692991
4931 National Anthem                                        Lana Del Rey                                             UMG Recordings, Inc.        4764    SR0000692991
4932 This Is What Makes Us Girls                            Lana Del Rey                                             UMG Recordings, Inc.        4768    SR0000692991
4933 Drink On It                                            Blake Shelton                                            Warner Bros. Records Inc.   6264    SR0000693085
4934 Get Some                                               Blake Shelton                                            Warner Bros. Records Inc.   6265    SR0000693085
4935 God Gave Me You                                        Blake Shelton                                            Warner Bros. Records Inc.   6266    SR0000693085
4936 Good Ole Boys                                          Blake Shelton                                            Warner Bros. Records Inc.   6267    SR0000693085
4937 Hey                                                    Blake Shelton                                            Warner Bros. Records Inc.   6270    SR0000693085
4938 Honey Bee                                              Blake Shelton                                            Warner Bros. Records Inc.   6272    SR0000693085
4939 I'm Sorry                                              Blake Shelton                                            Warner Bros. Records Inc.   6274    SR0000693085
4940 Over                                                   Blake Shelton                                            Warner Bros. Records Inc.   6281    SR0000693085
4941 Ready To Roll                                          Blake Shelton                                            Warner Bros. Records Inc.   6283    SR0000693085
4942 Red River Blue                                         Blake Shelton                                            Warner Bros. Records Inc.   6284    SR0000693085
4943 Sunny In Seattle                                       Blake Shelton                                            Warner Bros. Records Inc.   6288    SR0000693085
4944 Alone                                                  Kelly Clarkson                                           Sony Music Entertainment    1985    SR0000693113
4945 Breaking Your Own Heart                                Kelly Clarkson                                           Sony Music Entertainment    1986    SR0000693113
4946 Dark Side                                              Kelly Clarkson                                           Sony Music Entertainment    1987    SR0000693113
4947 Don't Be A Girl About It                               Kelly Clarkson                                           Sony Music Entertainment    1988    SR0000693113
4948 Einstein                                               Kelly Clarkson                                           Sony Music Entertainment    1989    SR0000693113
4949 Hello                                                  Kelly Clarkson                                           Sony Music Entertainment    1990    SR0000693113
4950 Honestly                                               Kelly Clarkson                                           Sony Music Entertainment    1991    SR0000693113
4951 I Forgive You                                          Kelly Clarkson                                           Sony Music Entertainment    1992    SR0000693113
4952 Standing In Front Of You                               Kelly Clarkson                                           Sony Music Entertainment    1994    SR0000693113
4953 Stronger (What Doesn't Kill You) (Audio)               Kelly Clarkson                                           Sony Music Entertainment    1995    SR0000693113
4954 The Sun Will Rise                                      Kelly Clarkson                                           Sony Music Entertainment    1996    SR0000693113
4955 The War Is Over                                        Kelly Clarkson                                           Sony Music Entertainment    1997    SR0000693113
4956 You Can't Win                                          Kelly Clarkson                                           Sony Music Entertainment    1999    SR0000693113
4957 You Love Me                                            Kelly Clarkson                                           Sony Music Entertainment    2000    SR0000693113
4958 It's Time                                              Imagine Dragons                                          UMG Recordings, Inc.        4364    SR0000695196
4959 My Fault                                               Imagine Dragons                                          UMG Recordings, Inc.        4365    SR0000695196
4960 Radioactive                                            Imagine Dragons                                          UMG Recordings, Inc.        4368    SR0000695196
4961 Round and Round                                        Imagine Dragons                                          UMG Recordings, Inc.        4369    SR0000695196
4962 Dehumanized                                            Disturbed                                                Warner Bros. Records Inc.   6354    SR0000695381
4963 God Of The Mind                                        Disturbed                                                Warner Bros. Records Inc.   6364    SR0000695381
4964 Hell                                                   Disturbed                                                Warner Bros. Records Inc.   6367    SR0000695381
4965 Monster                                                Disturbed                                                Warner Bros. Records Inc.   6377    SR0000695381
4966 Parasite                                               Disturbed                                                Warner Bros. Records Inc.   6381    SR0000695381
4967 Run                                                    Disturbed                                                Warner Bros. Records Inc.   6386    SR0000695381
4968 Sickened                                               Disturbed                                                Warner Bros. Records Inc.   6389    SR0000695381
4969 This Moment                                            Disturbed                                                Warner Bros. Records Inc.   6397    SR0000695381
4970 Two Worlds                                             Disturbed                                                Warner Bros. Records Inc.   6399    SR0000695381
4971 Dressin' Up                                            Katy Perry                                               Capitol Records, LLC        3354    SR0000695553
4972 The One That Got Away (Acoustic)                       Katy Perry                                               Capitol Records, LLC        3379    SR0000695553
4973 Who Am I Living For?                                   Katy Perry                                               Capitol Records, LLC        3384    SR0000695553
4974 A Song For You                                         Amy Winehouse                                            UMG Recordings, Inc.        3604    SR0000695755
4975 Best Friends, Right?                                   Amy Winehouse                                            UMG Recordings, Inc.        3608    SR0000695755
4976 Between The Cheats                                     Amy Winehouse                                            UMG Recordings, Inc.        3609    SR0000695755
4977 Half Time                                              Amy Winehouse                                            UMG Recordings, Inc.        3612    SR0000695755
4978 Like Smoke                                             Amy Winehouse                                            UMG Recordings, Inc.        3620    SR0000695755
4979 Our Day Will Come                                      Amy Winehouse                                            UMG Recordings, Inc.        3628    SR0000695755
4980 Tears Dry                                              Amy Winehouse                                            UMG Recordings, Inc.        3637    SR0000695755
4981 The Girl From Ipanema                                  Amy Winehouse                                            UMG Recordings, Inc.        3639    SR0000695755
4982 Will You Still Love Me Tomorrow?                       Amy Winehouse                                            UMG Recordings, Inc.        3644    SR0000695755
4983 All Along                                              Kid Cudi                                                 UMG Recordings, Inc.        4653    SR0000696989
4984 Ashin' Kusher                                          Kid Cudi                                                 UMG Recordings, Inc.        4654    SR0000696989
4985 Don't Play This Song                                   Kid Cudi                                                 UMG Recordings, Inc.        4659    SR0000696989
4986 GHOST!                                                 Kid Cudi                                                 UMG Recordings, Inc.        4661    SR0000696989
4987 MANIAC                                                 Kid Cudi                                                 UMG Recordings, Inc.        4666    SR0000696989
4988 Marijuana                                              Kid Cudi                                                 UMG Recordings, Inc.        4667    SR0000696989
4989 Mojo So Dope                                           Kid Cudi                                                 UMG Recordings, Inc.        4668    SR0000696989
4990 REVOFEV                                                Kid Cudi                                                 UMG Recordings, Inc.        4672    SR0000696989
4991 Scott Mescudi Vs. The World                            Kid Cudi                                                 UMG Recordings, Inc.        4673    SR0000696989
4992 The End                                                Kid Cudi                                                 UMG Recordings, Inc.        4678    SR0000696989
4993 The Mood                                               Kid Cudi                                                 UMG Recordings, Inc.        4679    SR0000696989
4994 These Worries                                          Kid Cudi                                                 UMG Recordings, Inc.        4680    SR0000696989
4995 Trapped In My Mind                                     Kid Cudi                                                 UMG Recordings, Inc.        4681    SR0000696989
4996 We Aite (Wake Your Mind Up)                            Kid Cudi                                                 UMG Recordings, Inc.        4683    SR0000696989
4997 Wild'n Cuz I'm Young                                   Kid Cudi                                                 UMG Recordings, Inc.        4684    SR0000696989
4998 All For You                                            Keith Urban                                              Capitol Records, LLC        3387    SR0000697018
4999 Georgia Woods                                          Keith Urban                                              Capitol Records, LLC        3392    SR0000697018
5000 Long Hot Summer                                        Keith Urban                                              Capitol Records, LLC        3397    SR0000697018
5001 Right On Back To You                                   Keith Urban                                              Capitol Records, LLC        3402    SR0000697018
5002 Shut Out The Lights                                    Keith Urban                                              Capitol Records, LLC        3405    SR0000697018
5003 You Gonna Fly                                          Keith Urban                                              Capitol Records, LLC        3409    SR0000697018
5004 Cancerous Skies                                        Suicide Silence                                          Sony Music Entertainment    2733    SR0000697040


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                              Track                                                   Artist                                         Plaintiff   PX-01 #    Reg. No.
5005 Cross-Eyed Catastrophe                                  Suicide Silence                                          Sony Music Entertainment   2734    SR0000697040
5006 Fuck Everything                                         Suicide Silence                                          Sony Music Entertainment   2738    SR0000697040
5007 Human Violence                                          Suicide Silence                                          Sony Music Entertainment   2743    SR0000697040
5008 March To The Black Crown                                Suicide Silence                                          Sony Music Entertainment   2745    SR0000697040
5009 O.C.D.                                                  Suicide Silence                                          Sony Music Entertainment   2748    SR0000697040
5010 Slaves to Substance                                     Suicide Silence                                          Sony Music Entertainment   2749    SR0000697040
5011 Smashed                                                 Suicide Silence                                          Sony Music Entertainment   2750    SR0000697040
5012 The Only Thing That Sets Us Apart                       Suicide Silence                                          Sony Music Entertainment   2753    SR0000697040
5013 Witness the Addiction                                   Suicide Silence                                          Sony Music Entertainment   2756    SR0000697040
5014 You Only Live Once                                      Suicide Silence                                          Sony Music Entertainment   2757    SR0000697040
5015 Alone With You                                          Jake Owen                                                Sony Music Entertainment   1780    SR0000697851
5016 Anywhere With You                                       Jake Owen                                                Sony Music Entertainment   1781    SR0000697851
5017 Apple Pie Moonshine                                     Jake Owen                                                Sony Music Entertainment   1782    SR0000697851
5018 Barefoot Blue Jean Night                                Jake Owen                                                Sony Music Entertainment   1783    SR0000697851
5019 Heaven                                                  Jake Owen                                                Sony Music Entertainment   1784    SR0000697851
5020 Keepin' It Country                                      Jake Owen                                                Sony Music Entertainment   1785    SR0000697851
5021 Nobody Feelin' No Pain                                  Jake Owen                                                Sony Music Entertainment   1786    SR0000697851
5022 Settin' The World On Fire                               Jake Owen                                                Sony Music Entertainment   1787    SR0000697851
5023 The Journey Of Your Life                                Jake Owen                                                Sony Music Entertainment   1788    SR0000697851
5024 The One That Got Away                                   Jake Owen                                                Sony Music Entertainment   1789    SR0000697851
5025 Wide Awake                                              Jake Owen                                                Sony Music Entertainment   1790    SR0000697851
5026 All Over Again                                          Big Time Rush                                            Sony Music Entertainment   828     SR0000697856
5027 Cover Girl                                              Big Time Rush                                            Sony Music Entertainment   832     SR0000697856
5028 Elevate                                                 Big Time Rush                                            Sony Music Entertainment   833     SR0000697856
5029 If I Ruled The World                                    Big Time Rush                                            Sony Music Entertainment   835     SR0000697856
5030 Invisible                                               Big Time Rush                                            Sony Music Entertainment   836     SR0000697856
5031 Love Me Love Me                                         Big Time Rush                                            Sony Music Entertainment   837     SR0000697856
5032 Music Sounds Better                                     Big Time Rush                                            Sony Music Entertainment   838     SR0000697856
5033 No Idea                                                 Big Time Rush                                            Sony Music Entertainment   839     SR0000697856
5034 Show Me                                                 Big Time Rush                                            Sony Music Entertainment   842     SR0000697856
5035 Superstar                                               Big Time Rush                                            Sony Music Entertainment   843     SR0000697856
5036 Time Of Our Life                                        Big Time Rush                                            Sony Music Entertainment   845     SR0000697856
5037 You're Not Alone                                        Big Time Rush                                            Sony Music Entertainment   847     SR0000697856
5038 100 Proof                                               Kellie Pickler                                           Sony Music Entertainment   1974    SR0000697940
5039 Little House On The Highway                             Kellie Pickler                                           Sony Music Entertainment   1975    SR0000697940
5040 Long As I Never See You Again                           Kellie Pickler                                           Sony Music Entertainment   1976    SR0000697940
5041 Mother's Day                                            Kellie Pickler                                           Sony Music Entertainment   1977    SR0000697940
5042 Rockaway (The Rockin' Chair Song)                       Kellie Pickler                                           Sony Music Entertainment   1978    SR0000697940
5043 Stop Cheatin' On Me                                     Kellie Pickler                                           Sony Music Entertainment   1979    SR0000697940
5044 The Letter (To Daddy)                                   Kellie Pickler                                           Sony Music Entertainment   1980    SR0000697940
5045 Tough                                                   Kellie Pickler                                           Sony Music Entertainment   1981    SR0000697940
5046 Turn On The Radio And Dance                             Kellie Pickler                                           Sony Music Entertainment   1982    SR0000697940
5047 Unlock That Honky Tonk                                  Kellie Pickler                                           Sony Music Entertainment   1983    SR0000697940
5048 Where's Tammy Wynette                                   Kellie Pickler                                           Sony Music Entertainment   1984    SR0000697940
5049 Break It Down Camacho                                   iwrestledabearonce                                       Sony Music Entertainment   1750    SR0000697986
5050 Deodorant Can't Fix Ugly                                iwrestledabearonce                                       Sony Music Entertainment   1751    SR0000697986
5051 Gold Jacket, Green Jacket                               iwrestledabearonce                                       Sony Music Entertainment   1752    SR0000697986
5052 I'm Gonna Shoot                                         iwrestledabearonce                                       Sony Music Entertainment   1753    SR0000697986
5053 It Is "Bro" Isn't It?                                   iwrestledabearonce                                       Sony Music Entertainment   1754    SR0000697986
5054 Karate Nipples                                          iwrestledabearonce                                       Sony Music Entertainment   1755    SR0000697986
5055 Next Visible Delicious                                  iwrestledabearonce                                       Sony Music Entertainment   1756    SR0000697986
5056 Stay to the Right                                       iwrestledabearonce                                       Sony Music Entertainment   1757    SR0000697986
5057 This Head Music Makes My Eyes Rain                      iwrestledabearonce                                       Sony Music Entertainment   1758    SR0000697986
5058 You Know That Ain't Them Dogs' Real Voice               iwrestledabearonce                                       Sony Music Entertainment   1759    SR0000697986
5059 A Pirate Looks At Forty                                 Jack Johnson                                             UMG Recordings, Inc.       4375    SR0000699030
5060 Mudfootball                                             Jack Johnson                                             UMG Recordings, Inc.       4394    SR0000699030
5061 Blunderbuss                                             Jack White                                               Sony Music Entertainment   1768    SR0000699383
5062 Freedom At 21                                           Jack White                                               Sony Music Entertainment   1769    SR0000699383
5063 Hip (Eponymous) Poor Boy                                Jack White                                               Sony Music Entertainment   1770    SR0000699383
5064 Hypocritical Kiss                                       Jack White                                               Sony Music Entertainment   1771    SR0000699383
5065 I Guess I Should Go To Sleep                            Jack White                                               Sony Music Entertainment   1772    SR0000699383
5066 I'm Shakin'                                             Jack White                                               Sony Music Entertainment   1773    SR0000699383
5067 Love Interruption                                       Jack White                                               Sony Music Entertainment   1774    SR0000699383
5068 Missing Pieces                                          Jack White                                               Sony Music Entertainment   1775    SR0000699383
5069 On And On And On                                        Jack White                                               Sony Music Entertainment   1776    SR0000699383
5070 Sixteen Saltines                                        Jack White                                               Sony Music Entertainment   1777    SR0000699383
5071 Trash Tongue Talker                                     Jack White                                               Sony Music Entertainment   1778    SR0000699383
5072 Weep Themselves To Sleep                                Jack White                                               Sony Music Entertainment   1779    SR0000699383
5073 50 Ways To Say Goodbye                                  Train                                                    Sony Music Entertainment   2886    SR0000700152
5074 Drive By                                                Train                                                    Sony Music Entertainment   2887    SR0000700152
5075 Blown Away                                              Carrie Underwood                                         Sony Music Entertainment   1136    SR0000700157
5076 Cupid's Got A Shotgun                                   Carrie Underwood                                         Sony Music Entertainment   1138    SR0000700157
5077 Do You Think About Me                                   Carrie Underwood                                         Sony Music Entertainment   1139    SR0000700157
5078 Forever Changed                                         Carrie Underwood                                         Sony Music Entertainment   1142    SR0000700157
5079 Good Girl                                               Carrie Underwood                                         Sony Music Entertainment   1144    SR0000700157
5080 Good In Goodbye                                         Carrie Underwood                                         Sony Music Entertainment   1145    SR0000700157
5081 Leave Love Alone                                        Carrie Underwood                                         Sony Music Entertainment   1154    SR0000700157
5082 Nobody Ever Told You                                    Carrie Underwood                                         Sony Music Entertainment   1156    SR0000700157
5083 One Way Ticket                                          Carrie Underwood                                         Sony Music Entertainment   1157    SR0000700157


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                               Track                                       Artist                                          Plaintiff   PX-01 #    Reg. No.
5084 See You Again                                 Carrie Underwood                                         Sony Music Entertainment   1158    SR0000700157
5085 Thank God For Hometowns                       Carrie Underwood                                         Sony Music Entertainment   1162    SR0000700157
5086 Two Black Cadillacs                           Carrie Underwood                                         Sony Music Entertainment   1167    SR0000700157
5087 Who Are You                                   Carrie Underwood                                         Sony Music Entertainment   1172    SR0000700157
5088 Wine After Whiskey                            Carrie Underwood                                         Sony Music Entertainment   1173    SR0000700157
5089 Hands Are Clever                              Alex Clare                                               UMG Recordings, Inc.       3593    SR0000700527
5090 Humming Bird                                  Alex Clare                                               UMG Recordings, Inc.       3594    SR0000700527
5091 I Won't Let You Down                          Alex Clare                                               UMG Recordings, Inc.       3595    SR0000700527
5092 Love You                                      Alex Clare                                               UMG Recordings, Inc.       3596    SR0000700527
5093 Relax My Beloved                              Alex Clare                                               UMG Recordings, Inc.       3597    SR0000700527
5094 Sanctuary                                     Alex Clare                                               UMG Recordings, Inc.       3598    SR0000700527
5095 Treading Water                                Alex Clare                                               UMG Recordings, Inc.       3599    SR0000700527
5096 Up All Night                                  Alex Clare                                               UMG Recordings, Inc.       3600    SR0000700527
5097 When Doves Cry                                Alex Clare                                               UMG Recordings, Inc.       3601    SR0000700527
5098 Whispering                                    Alex Clare                                               UMG Recordings, Inc.       3602    SR0000700527
5099 Against You                                   Lacuna Coil                                              Sony Music Entertainment   2060    SR0000700777
5100 End of Time                                   Lacuna Coil                                              Sony Music Entertainment   2065    SR0000700777
5101 Fire                                          Lacuna Coil                                              Sony Music Entertainment   2067    SR0000700777
5102 Give Me Something More                        Lacuna Coil                                              Sony Music Entertainment   2070    SR0000700777
5103 I Don't Believe in Tomorrow                   Lacuna Coil                                              Sony Music Entertainment   2072    SR0000700777
5104 Intoxicated                                   Lacuna Coil                                              Sony Music Entertainment   2076    SR0000700777
5105 Kill the Light                                Lacuna Coil                                              Sony Music Entertainment   2077    SR0000700777
5106 Losing My Religion                            Lacuna Coil                                              Sony Music Entertainment   2078    SR0000700777
5107 My Spirit                                     Lacuna Coil                                              Sony Music Entertainment   2079    SR0000700777
5108 The Army Inside                               Lacuna Coil                                              Sony Music Entertainment   2089    SR0000700777
5109 Trip the Darkness                             Lacuna Coil                                              Sony Music Entertainment   2095    SR0000700777
5110 Upsidedown                                    Lacuna Coil                                              Sony Music Entertainment   2098    SR0000700777
5111 Astronaut Chick                               Future                                                   Sony Music Entertainment   1592    SR0000701457
5112 Neva End                                      Future                                                   Sony Music Entertainment   1593    SR0000701457
5113 Permanent Scar                                Future                                                   Sony Music Entertainment   1594    SR0000701457
5114 Permanent Scar (Explicit)                     Future                                                   Sony Music Entertainment   1595    SR0000701457
5115 Same Damn Time                                Future                                                   Sony Music Entertainment   1596    SR0000701457
5116 Straight Up                                   Future                                                   Sony Music Entertainment   1597    SR0000701457
5117 Tony Montana                                  Future                                                   Sony Music Entertainment   1598    SR0000701457
5118 Tony Montana (Explicit)                       Future                                                   Sony Music Entertainment   1599    SR0000701457
5119 Truth Gonna Hurt You                          Future                                                   Sony Music Entertainment   1600    SR0000701457
5120 Turn On The Lights                            Future                                                   Sony Music Entertainment   1601    SR0000701457
5121 You Deserve It                                Future                                                   Sony Music Entertainment   1602    SR0000701457
5122 You Deserve It (Explicit)                     Future                                                   Sony Music Entertainment   1603    SR0000701457
5123 The Future Is Now                             Future featuring Big Rube                                Sony Music Entertainment   1605    SR0000701457
5124 I'm Trippin                                   Future featuring Juicy J                                 Sony Music Entertainment   1606    SR0000701457
5125 Parachute                                     Future featuring R. Kelly                                Sony Music Entertainment   1607    SR0000701457
5126 Homicide                                      Future featuring Snoop Dogg                              Sony Music Entertainment   1608    SR0000701457
5127 Magic                                         Future featuring T.I.                                    Sony Music Entertainment   1609    SR0000701457
5128 Long Live The Pimp                            Future featuring Trae The Truth                          Sony Music Entertainment   1610    SR0000701457
5129 Harder To Breathe                             Maroon 5                                                 UMG Recordings, Inc.       4941    SR0000702833
5130 Must Get Out                                  Maroon 5                                                 UMG Recordings, Inc.       4955    SR0000702833
5131 Not Coming Home                               Maroon 5                                                 UMG Recordings, Inc.       4958    SR0000702833
5132 Rag Doll                                      Maroon 5                                                 UMG Recordings, Inc.       4962    SR0000702833
5133 Secret                                        Maroon 5                                                 UMG Recordings, Inc.       4965    SR0000702833
5134 Shiver                                        Maroon 5                                                 UMG Recordings, Inc.       4968    SR0000702833
5135 Sunday Morning                                Maroon 5                                                 UMG Recordings, Inc.       4970    SR0000702833
5136 Tangled                                       Maroon 5                                                 UMG Recordings, Inc.       4972    SR0000702833
5137 The Sun                                       Maroon 5                                                 UMG Recordings, Inc.       4974    SR0000702833
5138 Through With You                              Maroon 5                                                 UMG Recordings, Inc.       4976    SR0000702833
5139 Everything About You                          One Direction                                            Sony Music Entertainment   2380    SR0000703645
5140 Gotta Be You                                  One Direction                                            Sony Music Entertainment   2381    SR0000703645
5141 I Want                                        One Direction                                            Sony Music Entertainment   2384    SR0000703645
5142 I Wish                                        One Direction                                            Sony Music Entertainment   2385    SR0000703645
5143 Moments                                       One Direction                                            Sony Music Entertainment   2390    SR0000703645
5144 More Than This                                One Direction                                            Sony Music Entertainment   2391    SR0000703645
5145 One Thing                                     One Direction                                            Sony Music Entertainment   2392    SR0000703645
5146 Same Mistakes                                 One Direction                                            Sony Music Entertainment   2394    SR0000703645
5147 Save You Tonight                              One Direction                                            Sony Music Entertainment   2395    SR0000703645
5148 Stand Up                                      One Direction                                            Sony Music Entertainment   2397    SR0000703645
5149 Stole My Heart                                One Direction                                            Sony Music Entertainment   2398    SR0000703645
5150 Taken                                         One Direction                                            Sony Music Entertainment   2401    SR0000703645
5151 Tell Me A Lie                                 One Direction                                            Sony Music Entertainment   2402    SR0000703645
5152 What Makes You Beautiful                      One Direction                                            Sony Music Entertainment   2404    SR0000703645
5153 2024                                          Cage The Elephant                                        Sony Music Entertainment   1099    SR0000703665
5154 Aberdeen                                      Cage The Elephant                                        Sony Music Entertainment   1100    SR0000703665
5155 Always Something                              Cage The Elephant                                        Sony Music Entertainment   1102    SR0000703665
5156 Around My Head                                Cage The Elephant                                        Sony Music Entertainment   1103    SR0000703665
5157 Flow                                          Cage The Elephant                                        Sony Music Entertainment   1108    SR0000703665
5158 Indy Kidz                                     Cage The Elephant                                        Sony Music Entertainment   1111    SR0000703665
5159 Japanese Buffalo                              Cage The Elephant                                        Sony Music Entertainment   1113    SR0000703665
5160 Right Before My Eyes                          Cage The Elephant                                        Sony Music Entertainment   1116    SR0000703665
5161 Rubber Ball                                   Cage The Elephant                                        Sony Music Entertainment   1117    SR0000703665
5162 Sabertooth Tiger                              Cage The Elephant                                        Sony Music Entertainment   1118    SR0000703665


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                              Track                                                  Artist                                           Plaintiff       PX-01 #    Reg. No.
5163 Sell Yourself                                          Cage The Elephant                                        Sony Music Entertainment         1119    SR0000703665
5164 Shake Me Down                                          Cage The Elephant                                        Sony Music Entertainment         1120    SR0000703665
5165 Adrenalize                                             In This Moment                                           Sony Music Entertainment         1688    SR0000703747
5166 Aries                                                  In This Moment                                           Sony Music Entertainment         1689    SR0000703747
5167 Beast Within                                           In This Moment                                           Sony Music Entertainment         1690    SR0000703747
5168 Blood                                                  In This Moment                                           Sony Music Entertainment         1692    SR0000703747
5169 Burn                                                   In This Moment                                           Sony Music Entertainment         1693    SR0000703747
5170 Comanche                                               In This Moment                                           Sony Music Entertainment         1694    SR0000703747
5171 From the Ashes                                         In This Moment                                           Sony Music Entertainment         1695    SR0000703747
5172 Rise With Me                                           In This Moment                                           Sony Music Entertainment         1699    SR0000703747
5173 Scarlet                                                In This Moment                                           Sony Music Entertainment         1700    SR0000703747
5174 The Blood Legion                                       In This Moment                                           Sony Music Entertainment         1702    SR0000703747
5175 Whore                                                  In This Moment                                           Sony Music Entertainment         1706    SR0000703747
5176 You're Gonna' Listen                                   In This Moment                                           Sony Music Entertainment         1708    SR0000703747
5177 arms                                                   Christina Perri                                          Atlantic Recording Corporation   5526    SR0000704080
5178 bang bang bang                                         Christina Perri                                          Atlantic Recording Corporation   5528    SR0000704080
5179 bluebird                                               Christina Perri                                          Atlantic Recording Corporation   5530    SR0000704080
5180 interlude                                              Christina Perri                                          Atlantic Recording Corporation   5531    SR0000704080
5181 miles                                                  Christina Perri                                          Atlantic Recording Corporation   5532    SR0000704080
5182 mine                                                   Christina Perri                                          Atlantic Recording Corporation   5533    SR0000704080
5183 penguin                                                Christina Perri                                          Atlantic Recording Corporation   5535    SR0000704080
5184 sad song                                               Christina Perri                                          Atlantic Recording Corporation   5536    SR0000704080
5185 the lonely                                             Christina Perri                                          Atlantic Recording Corporation   5537    SR0000704080
5186 tragedy                                                Christina Perri                                          Atlantic Recording Corporation   5538    SR0000704080
5187 Betty's a Bombshell                                    Grouplove                                                Atlantic Recording Corporation   5592    SR0000704081
5188 Chloe                                                  Grouplove                                                Atlantic Recording Corporation   5593    SR0000704081
5189 Close Your Eyes and Count to Ten                       Grouplove                                                Atlantic Recording Corporation   5594    SR0000704081
5190 Cruel and Beautiful World                              Grouplove                                                Atlantic Recording Corporation   5596    SR0000704081
5191 Itchin' On A Photograph                                Grouplove                                                Atlantic Recording Corporation   5601    SR0000704081
5192 Love Will Save Your Soul                               Grouplove                                                Atlantic Recording Corporation   5602    SR0000704081
5193 Lovely Cup                                             Grouplove                                                Atlantic Recording Corporation   5603    SR0000704081
5194 Naked Kids                                             Grouplove                                                Atlantic Recording Corporation   5604    SR0000704081
5195 Slow                                                   Grouplove                                                Atlantic Recording Corporation   5605    SR0000704081
5196 Spun                                                   Grouplove                                                Atlantic Recording Corporation   5606    SR0000704081
5197 Tongue Tied                                            Grouplove                                                Atlantic Recording Corporation   5607    SR0000704081
5198 All Black Everything                                   Lupe Fiasco                                              Atlantic Recording Corporation   5692    SR0000704469
5199 Beautiful Lasers (2 Ways) (feat. MDMA)                 Lupe Fiasco                                              Atlantic Recording Corporation   5693    SR0000704469
5200 BREAK THE CHAIN (feat. Eric Turner & Sway)             Lupe Fiasco                                              Atlantic Recording Corporation   5694    SR0000704469
5201 Coming Up (feat. MDMA)                                 Lupe Fiasco                                              Atlantic Recording Corporation   5695    SR0000704469
5202 I Don't Wanna Care Right Now (feat. MDMA)              Lupe Fiasco                                              Atlantic Recording Corporation   5701    SR0000704469
5203 Letting Go (feat. Sarah Green)                         Lupe Fiasco                                              Atlantic Recording Corporation   5702    SR0000704469
5204 Never Forget You (feat. John Legend)                   Lupe Fiasco                                              Atlantic Recording Corporation   5704    SR0000704469
5205 Out Of My Head (feat. Trey Songz)                      Lupe Fiasco                                              Atlantic Recording Corporation   5705    SR0000704469
5206 State Run Radio (feat. Matt Mahaffey)                  Lupe Fiasco                                              Atlantic Recording Corporation   5708    SR0000704469
5207 The Show Goes On                                       Lupe Fiasco                                              Atlantic Recording Corporation   5712    SR0000704469
5208 Till I Get There                                       Lupe Fiasco                                              Atlantic Recording Corporation   5713    SR0000704469
5209 Words I Never Said (feat. Skylar Grey)                 Lupe Fiasco                                              Atlantic Recording Corporation   5714    SR0000704469
5210 Crimson                                                Otherwise                                                Sony Music Entertainment         2407    SR0000704620
5211 Die for You                                            Otherwise                                                Sony Music Entertainment         2408    SR0000704620
5212 Don't Be Afraid                                        Otherwise                                                Sony Music Entertainment         2409    SR0000704620
5213 Full Circle                                            Otherwise                                                Sony Music Entertainment         2410    SR0000704620
5214 Heaven (feat. Ashley Costello)                         Otherwise                                                Sony Music Entertainment         2411    SR0000704620
5215 I                                                      Otherwise                                                Sony Music Entertainment         2412    SR0000704620
5216 I Don't Apologize (1000 Pictures)                      Otherwise                                                Sony Music Entertainment         2413    SR0000704620
5217 II                                                     Otherwise                                                Sony Music Entertainment         2414    SR0000704620
5218 III                                                    Otherwise                                                Sony Music Entertainment         2415    SR0000704620
5219 Lighthouse                                             Otherwise                                                Sony Music Entertainment         2416    SR0000704620
5220 Scream Now                                             Otherwise                                                Sony Music Entertainment         2417    SR0000704620
5221 Silence Reigns                                         Otherwise                                                Sony Music Entertainment         2418    SR0000704620
5222 Soldiers                                               Otherwise                                                Sony Music Entertainment         2419    SR0000704620
5223 Vegas Girl                                             Otherwise                                                Sony Music Entertainment         2420    SR0000704620
     All I Want For Christmas Is You (SuperFestive!) Duet   Justin Bieber                                                                             4505
                                                                                                                     UMG Recordings, Inc.                     SR0000704701
5224 with Mariah Carey
5225 All I Want Is You                                      Justin Bieber                                            UMG Recordings, Inc.             4506   SR0000704701
5226 Christmas Eve                                          Justin Bieber                                            UMG Recordings, Inc.             4513   SR0000704701
5227 Christmas Love                                         Justin Bieber                                            UMG Recordings, Inc.             4514   SR0000704701
5228 Drummer Boy                                            Justin Bieber                                            UMG Recordings, Inc.             4517   SR0000704701
5229 Fa La La                                               Justin Bieber                                            UMG Recordings, Inc.             4518   SR0000704701
5230 Home This Christmas                                    Justin Bieber                                            UMG Recordings, Inc.             4520   SR0000704701
5231 Mistletoe                                              Justin Bieber                                            UMG Recordings, Inc.             4522   SR0000704701
5232 Only Thing I Ever Get For Christmas                    Justin Bieber                                            UMG Recordings, Inc.             4525   SR0000704701
5233 Santa Claus Is Coming To Town                          Justin Bieber                                            UMG Recordings, Inc.             4528   SR0000704701
5234 Silent Night                                           Justin Bieber                                            UMG Recordings, Inc.             4530   SR0000704701
5235 Someday At Christmas                                   Justin Bieber                                            UMG Recordings, Inc.             4531   SR0000704701
     The Christmas Song (Chestnuts Roasting On An Open      Justin Bieber                                            UMG Recordings, Inc.                    SR0000704701
5236 Fire)                                                                                                                                            4533
5237 Bad Religion                                           Frank Ocean                                              UMG Recordings, Inc.             4192   SR0000704928
5238 Crack Rock                                             Frank Ocean                                              UMG Recordings, Inc.             4193   SR0000704928
5239 End                                                    Frank Ocean                                              UMG Recordings, Inc.             4194   SR0000704928


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                                Track                                                 Artist                                          Plaintiff       PX-01 #    Reg. No.
5240 Fertilizer                                             Frank Ocean                                              UMG Recordings, Inc.             4195    SR0000704928
5241 Forrest Gump                                           Frank Ocean                                              UMG Recordings, Inc.             4196    SR0000704928
5242 Lost                                                   Frank Ocean                                              UMG Recordings, Inc.             4197    SR0000704928
5243 Lost (Explicit)                                        Frank Ocean                                              UMG Recordings, Inc.             4198    SR0000704928
5244 Monks                                                  Frank Ocean                                              UMG Recordings, Inc.             4199    SR0000704928
5245 Not Just Money                                         Frank Ocean                                              UMG Recordings, Inc.             4200    SR0000704928
5246 Pilot Jones                                            Frank Ocean                                              UMG Recordings, Inc.             4201    SR0000704928
5247 Pink Matter                                            Frank Ocean                                              UMG Recordings, Inc.             4202    SR0000704928
5248 Pyramids                                               Frank Ocean                                              UMG Recordings, Inc.             4203    SR0000704928
5249 Sierra Leone                                           Frank Ocean                                              UMG Recordings, Inc.             4204    SR0000704928
5250 Start                                                  Frank Ocean                                              UMG Recordings, Inc.             4205    SR0000704928
5251 Super Rich Kids                                        Frank Ocean                                              UMG Recordings, Inc.             4206    SR0000704928
5252 Sweet Life                                             Frank Ocean                                              UMG Recordings, Inc.             4207    SR0000704928
5253 White                                                  Frank Ocean                                              UMG Recordings, Inc.             4209    SR0000704928
5254 All Alone                                              fun.                                                     Fueled By Ramen LLC              6152    SR0000704930
5255 All Alright                                            fun.                                                     Fueled By Ramen LLC              6153    SR0000704930
5256 Carry On                                               fun.                                                     Fueled By Ramen LLC              6154    SR0000704930
5257 It Gets Better                                         fun.                                                     Fueled By Ramen LLC              6155    SR0000704930
5258 One Foot                                               fun.                                                     Fueled By Ramen LLC              6156    SR0000704930
5259 Out on the Town (Bonus Track)                          fun.                                                     Fueled By Ramen LLC              6157    SR0000704930
5260 Some Nights                                            fun.                                                     Fueled By Ramen LLC              6158    SR0000704930
5261 Some Nights (Intro)                                    fun.                                                     Fueled By Ramen LLC              6159    SR0000704930
5262 Stars                                                  fun.                                                     Fueled By Ramen LLC              6160    SR0000704930
5263 We Are Young (feat. Janelle Monae)                     fun.                                                     Fueled By Ramen LLC              6161    SR0000704930
5264 Why Am I the One                                       fun.                                                     Fueled By Ramen LLC              6162    SR0000704930
5265 Beautiful Goodbye                                      Maroon 5                                                 UMG Recordings, Inc.             4932    SR0000705167
5266 Daylight                                               Maroon 5                                                 UMG Recordings, Inc.             4934    SR0000705167
5267 Doin' Dirt                                             Maroon 5                                                 UMG Recordings, Inc.             4935    SR0000705167
5268 Fortune Teller                                         Maroon 5                                                 UMG Recordings, Inc.             4937    SR0000705167
5269 Kiss                                                   Maroon 5                                                 UMG Recordings, Inc.             4947    SR0000705167
5270 Ladykiller                                             Maroon 5                                                 UMG Recordings, Inc.             4948    SR0000705167
5271 Let's Stay Together                                    Maroon 5                                                 UMG Recordings, Inc.             4950    SR0000705167
5272 Love Somebody                                          Maroon 5                                                 UMG Recordings, Inc.             4951    SR0000705167
5273 Lucky Strike                                           Maroon 5                                                 UMG Recordings, Inc.             4952    SR0000705167
5274 Sad                                                    Maroon 5                                                 UMG Recordings, Inc.             4964    SR0000705167
5275 The Man Who Never Lied                                 Maroon 5                                                 UMG Recordings, Inc.             4973    SR0000705167
5276 Tickets                                                Maroon 5                                                 UMG Recordings, Inc.             4977    SR0000705167
5277 Wasted Years                                           Maroon 5                                                 UMG Recordings, Inc.             4978    SR0000705167
5278 Wipe Your Eyes                                         Maroon 5                                                 UMG Recordings, Inc.             4979    SR0000705167
5279 Death To My Hometown                                   Bruce Springsteen                                        Sony Music Entertainment         1055    SR0000705192
5280 Easy Money                                             Bruce Springsteen                                        Sony Music Entertainment         1056    SR0000705192
5281 Jack Of All Trades                                     Bruce Springsteen                                        Sony Music Entertainment         1060    SR0000705192
5282 Land of Hope and Dreams                                Bruce Springsteen                                        Sony Music Entertainment         1061    SR0000705192
5283 Rocky Ground                                           Bruce Springsteen                                        Sony Music Entertainment         1064    SR0000705192
5284 Shackled And Drawn                                     Bruce Springsteen                                        Sony Music Entertainment         1066    SR0000705192
5285 Swallowed Up (In The Belly Of The Whale)               Bruce Springsteen                                        Sony Music Entertainment         1068    SR0000705192
5286 This Depression                                        Bruce Springsteen                                        Sony Music Entertainment         1070    SR0000705192
5287 We Are Alive                                           Bruce Springsteen                                        Sony Music Entertainment         1073    SR0000705192
5288 We Take Care Of Our Own                                Bruce Springsteen                                        Sony Music Entertainment         1074    SR0000705192
5289 Wrecking Ball                                          Bruce Springsteen                                        Sony Music Entertainment         1075    SR0000705192
5290 You've Got It                                          Bruce Springsteen                                        Sony Music Entertainment         1076    SR0000705192
5291 backwards (Bonus Track)                                Christina Perri                                          Atlantic Recording Corporation   5527    SR0000705202
5292 black + blue (Bonus Track)                             Christina Perri                                          Atlantic Recording Corporation   5529    SR0000705202
5293 my eyes (Bonus Track)                                  Christina Perri                                          Atlantic Recording Corporation   5534    SR0000705202
5294 A Place Where You Belong                               Bullet For My Valentine                                  Sony Music Entertainment         1077    SR0000706395
5295 Alone                                                  Bullet For My Valentine                                  Sony Music Entertainment         1078    SR0000706395
5296 Begging For Mercy                                      Bullet For My Valentine                                  Sony Music Entertainment         1079    SR0000706395
5297 Bittersweet Memories                                   Bullet For My Valentine                                  Sony Music Entertainment         1080    SR0000706395
5298 Breaking Out, Breaking Down                            Bullet For My Valentine                                  Sony Music Entertainment         1081    SR0000706395
5299 Dignity                                                Bullet For My Valentine                                  Sony Music Entertainment         1083    SR0000706395
5300 Fever                                                  Bullet For My Valentine                                  Sony Music Entertainment         1087    SR0000706395
5301 Pleasure And Pain                                      Bullet For My Valentine                                  Sony Music Entertainment         1091    SR0000706395
5302 Pretty On The Outside                                  Bullet For My Valentine                                  Sony Music Entertainment         1092    SR0000706395
5303 The Last Fight                                         Bullet For My Valentine                                  Sony Music Entertainment         1096    SR0000706395
5304 Your Betrayal                                          Bullet For My Valentine                                  Sony Music Entertainment         1098    SR0000706395
5305 Ice Cold (Explicit)                                    Rick Ross                                                UMG Recordings, Inc.             5146    SR0000706411
5306 Triple Beam Dream                                      Rick Ross                                                UMG Recordings, Inc.             5165    SR0000706411
5307 Ghetto Dreams                                          2 Chainz                                                 UMG Recordings, Inc.             3505    SR0000706415
5308 Wut We Doin?                                           2 Chainz                                                 UMG Recordings, Inc.             3507    SR0000706415
5309 backagain                                              Musiq Soulchild                                          Atlantic Recording Corporation   5775    SR0000706644
5310 dearjohn                                               Musiq Soulchild                                          Atlantic Recording Corporation   5776    SR0000706644
5311 deserveumore                                           Musiq Soulchild                                          Atlantic Recording Corporation   5777    SR0000706644
5312 ifuleave (feat. Mary J. Blige)                         Musiq Soulchild                                          Atlantic Recording Corporation   5778    SR0000706644
5313 iwannabe (feat. Damian Marley)                         Musiq Soulchild                                          Atlantic Recording Corporation   5779    SR0000706644
5314 loveofmylife                                           Musiq Soulchild                                          Atlantic Recording Corporation   5780    SR0000706644
5315 moneyright                                             Musiq Soulchild                                          Atlantic Recording Corporation   5781    SR0000706644
5316 Radio                                                  Musiq Soulchild                                          Atlantic Recording Corporation   5782    SR0000706644
5317 sobeautiful                                            Musiq Soulchild                                          Atlantic Recording Corporation   5783    SR0000706644
5318 someone                                                Musiq Soulchild                                          Atlantic Recording Corporation   5784    SR0000706644


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5319 special                                      Musiq Soulchild                                          Atlantic Recording Corporation   5785    SR0000706644
5320 until                                        Musiq Soulchild                                          Atlantic Recording Corporation   5786    SR0000706644
5321 Fallen                                       Imagine Dragons                                          UMG Recordings, Inc.             4362    SR0000706680
5322 Working Man                                  Imagine Dragons                                          UMG Recordings, Inc.             4374    SR0000706680
5323 Amsterdam                                    Imagine Dragons                                          UMG Recordings, Inc.             4359    SR0000707482
5324 Bleeding Out                                 Imagine Dragons                                          UMG Recordings, Inc.             4360    SR0000707482
5325 Every Night                                  Imagine Dragons                                          UMG Recordings, Inc.             4361    SR0000707482
5326 Hear Me                                      Imagine Dragons                                          UMG Recordings, Inc.             4363    SR0000707482
5327 Nothing Left To Say / Rocks                  Imagine Dragons                                          UMG Recordings, Inc.             4366    SR0000707482
5328 On Top of the World                          Imagine Dragons                                          UMG Recordings, Inc.             4367    SR0000707482
5329 Selene                                       Imagine Dragons                                          UMG Recordings, Inc.             4370    SR0000707482
5330 The River                                    Imagine Dragons                                          UMG Recordings, Inc.             4371    SR0000707482
5331 Tiptoe                                       Imagine Dragons                                          UMG Recordings, Inc.             4372    SR0000707482
5332 Underdog                                     Imagine Dragons                                          UMG Recordings, Inc.             4373    SR0000707482
5333 Colours                                      Grouplove                                                Atlantic Recording Corporation   5595    SR0000707748
5334 Don't Say Oh Well                            Grouplove                                                Atlantic Recording Corporation   5597    SR0000707748
5335 Get Giddy                                    Grouplove                                                Atlantic Recording Corporation   5598    SR0000707748
5336 Getaway Car                                  Grouplove                                                Atlantic Recording Corporation   5599    SR0000707748
5337 Goldcoast                                    Grouplove                                                Atlantic Recording Corporation   5600    SR0000707748
5338 BURN IT DOWN                                 Linkin Park                                              Warner Bros. Records Inc.        6546    SR0000708311
5339 Castle of Glass                              Linkin Park                                              Warner Bros. Records Inc.        6549    SR0000708311
5340 I'LL BE GONE                                 Linkin Park                                              Warner Bros. Records Inc.        6561    SR0000708311
5341 IN MY REMAINS                                Linkin Park                                              Warner Bros. Records Inc.        6563    SR0000708311
5342 Lies Greed Misery                            Linkin Park                                              Warner Bros. Records Inc.        6569    SR0000708311
5343 Lost In The Echo                             Linkin Park                                              Warner Bros. Records Inc.        6570    SR0000708311
5344 POWERLESS                                    Linkin Park                                              Warner Bros. Records Inc.        6576    SR0000708311
5345 ROADS UNTRAVELED                             Linkin Park                                              Warner Bros. Records Inc.        6580    SR0000708311
5346 SKIN TO BONE                                 Linkin Park                                              Warner Bros. Records Inc.        6583    SR0000708311
5347 TINFOIL                                      Linkin Park                                              Warner Bros. Records Inc.        6585    SR0000708311
5348 UNTIL IT BREAKS                              Linkin Park                                              Warner Bros. Records Inc.        6586    SR0000708311
5349 VICTIMIZED                                   Linkin Park                                              Warner Bros. Records Inc.        6588    SR0000708311
5350 Are We All We Are (Explicit)                 P!nk                                                     Sony Music Entertainment         2459    SR0000709056
5351 Beam Me Up                                   P!nk                                                     Sony Music Entertainment         2460    SR0000709056
5352 Here Comes The Weekend                       P!nk                                                     Sony Music Entertainment         2463    SR0000709056
5353 How Come You're Not Here                     P!nk                                                     Sony Music Entertainment         2464    SR0000709056
5354 Just Give Me A Reason                        P!nk                                                     Sony Music Entertainment         2465    SR0000709056
5355 Slut Like You                                P!nk                                                     Sony Music Entertainment         2468    SR0000709056
5356 The Great Escape                             P!nk                                                     Sony Music Entertainment         2470    SR0000709056
5357 The Truth About Love                         P!nk                                                     Sony Music Entertainment         2471    SR0000709056
5358 True Love (Explicit)                         P!nk                                                     Sony Music Entertainment         2473    SR0000709056
5359 Try                                          P!nk                                                     Sony Music Entertainment         2474    SR0000709056
5360 Walk of Shame                                P!nk                                                     Sony Music Entertainment         2475    SR0000709056
5361 Walk of Shame (Explicit)                     P!nk                                                     Sony Music Entertainment         2476    SR0000709056
5362 Where Did The Beat Go?                       P!nk                                                     Sony Music Entertainment         2477    SR0000709056
5363 Anna Sun                                     Walk The Moon                                            Sony Music Entertainment         2922    SR0000709118
5364 Next In Line                                 WALK THE MOON                                            Sony Music Entertainment         2923    SR0000709118
5365 Tightrope                                    WALK THE MOON                                            Sony Music Entertainment         2924    SR0000709118
5366 Forever In Love                              Kenny G                                                  Sony Music Entertainment         2022    SR0000709272
5367 Morning                                      Kenny G                                                  Sony Music Entertainment         2023    SR0000709272
5368 Sentimental                                  Kenny G                                                  Sony Music Entertainment         2024    SR0000709272
5369 Sister Rose                                  Kenny G                                                  Sony Music Entertainment         2025    SR0000709272
5370 The Wedding Song                             Kenny G                                                  Sony Music Entertainment         2026    SR0000709272
5371 Chaos & Piss (Explicit)                      P!nk                                                     Sony Music Entertainment         2461    SR0000709377
5372 Timebomb (Explicit)                          P!nk                                                     Sony Music Entertainment         2472    SR0000709377
5373 Follow You Down                              Zedd                                                     UMG Recordings, Inc.             5439    SR0000709927
5374 Shave It Up                                  Zedd                                                     UMG Recordings, Inc.             5442    SR0000709927
5375 Atlantis                                     Ellie Goulding                                           UMG Recordings, Inc.             3944    SR0000709960
5376 Dead In The Water                            Ellie Goulding                                           UMG Recordings, Inc.             3946    SR0000709960
5377 Don't Say A Word                             Ellie Goulding                                           UMG Recordings, Inc.             3947    SR0000709960
5378 Explosions                                   Ellie Goulding                                           UMG Recordings, Inc.             3949    SR0000709960
5379 Figure 8                                     Ellie Goulding                                           UMG Recordings, Inc.             3950    SR0000709960
5380 Halcyon                                      Ellie Goulding                                           UMG Recordings, Inc.             3952    SR0000709960
5381 Hanging On                                   Ellie Goulding                                           UMG Recordings, Inc.             3953    SR0000709960
5382 I Know You Care                              Ellie Goulding                                           UMG Recordings, Inc.             3956    SR0000709960
5383 In My City                                   Ellie Goulding                                           UMG Recordings, Inc.             3957    SR0000709960
5384 Joy                                          Ellie Goulding                                           UMG Recordings, Inc.             3958    SR0000709960
5385 My Blood                                     Ellie Goulding                                           UMG Recordings, Inc.             3961    SR0000709960
5386 Only You                                     Ellie Goulding                                           UMG Recordings, Inc.             3962    SR0000709960
5387 Ritual                                       Ellie Goulding                                           UMG Recordings, Inc.             3963    SR0000709960
5388 Without Your Love                            Ellie Goulding                                           UMG Recordings, Inc.             3969    SR0000709960
5389 Hearts Drawn In The Sand                     Easton Corbin                                            UMG Recordings, Inc.             3926    SR0000709972
5390 I Think Of You                               Easton Corbin                                            UMG Recordings, Inc.             3927    SR0000709972
5391 A Thing For You                              Easton Corbin                                            UMG Recordings, Inc.             3922    SR0000709974
5392 All Over The Road                            Easton Corbin                                            UMG Recordings, Inc.             3923    SR0000709974
5393 Are You With Me                              Easton Corbin                                            UMG Recordings, Inc.             3924    SR0000709974
5394 Dance Real Slow                              Easton Corbin                                            UMG Recordings, Inc.             3925    SR0000709974
5395 That's Gonna Leave A Memory                  Easton Corbin                                            UMG Recordings, Inc.             3930    SR0000709974
5396 This Feels A Lot Like Love                   Easton Corbin                                            UMG Recordings, Inc.             3931    SR0000709974
5397 Tulsa Texas                                  Easton Corbin                                            UMG Recordings, Inc.             3932    SR0000709974


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5398 All Around The World                                       Justin Bieber                                            UMG Recordings, Inc.       4504    SR0000710074
5399 As Long As You Love Me                                     Justin Bieber                                            UMG Recordings, Inc.       4507    SR0000710074
5400 Be Alright                                                 Justin Bieber                                            UMG Recordings, Inc.       4508    SR0000710074
5401 Beauty And A Beat                                          Justin Bieber                                            UMG Recordings, Inc.       4509    SR0000710074
5402 Boyfriend (Album Version)                                  Justin Bieber                                            UMG Recordings, Inc.       4511    SR0000710074
5403 Catching Feelings                                          Justin Bieber                                            UMG Recordings, Inc.       4512    SR0000710074
5404 Fall                                                       Justin Bieber                                            UMG Recordings, Inc.       4519    SR0000710074
5405 Maria                                                      Justin Bieber                                            UMG Recordings, Inc.       4521    SR0000710074
5406 One Love                                                   Justin Bieber                                            UMG Recordings, Inc.       4524    SR0000710074
5407 Out Of Town Girl                                           Justin Bieber                                            UMG Recordings, Inc.       4526    SR0000710074
5408 Right Here                                                 Justin Bieber                                            UMG Recordings, Inc.       4527    SR0000710074
5409 She Don't Like The Lights                                  Justin Bieber                                            UMG Recordings, Inc.       4529    SR0000710074
5410 Take You                                                   Justin Bieber                                            UMG Recordings, Inc.       4532    SR0000710074
5411 Thought Of You                                             Justin Bieber                                            UMG Recordings, Inc.       4534    SR0000710074
5412 Can You Hear Me Now                                        Brandy                                                   Sony Music Entertainment   998     SR0000710136
5413 Do You Know What You Have                                  Brandy                                                   Sony Music Entertainment   999     SR0000710136
5414 Hardly Breathing                                           Brandy                                                   Sony Music Entertainment   1001    SR0000710136
5415 Let Me Go                                                  Brandy                                                   Sony Music Entertainment   1003    SR0000710136
5416 Music                                                      Brandy                                                   Sony Music Entertainment   1006    SR0000710136
5417 No Such Thing As Too Late                                  Brandy                                                   Sony Music Entertainment   1007    SR0000710136
5418 Outro                                                      Brandy                                                   Sony Music Entertainment   1008    SR0000710136
5419 Paint This House                                           Brandy                                                   Sony Music Entertainment   1009    SR0000710136
5420 Scared Of Beautiful                                        Brandy                                                   Sony Music Entertainment   1011    SR0000710136
5421 Slower                                                     Brandy                                                   Sony Music Entertainment   1013    SR0000710136
5422 So Sick                                                    Brandy                                                   Sony Music Entertainment   1014    SR0000710136
5423 What You Need                                              Brandy                                                   Sony Music Entertainment   1019    SR0000710136
5424 Wildest Dreams                                             Brandy                                                   Sony Music Entertainment   1020    SR0000710136
5425 Wish Your Love Away                                        Brandy                                                   Sony Music Entertainment   1021    SR0000710136
5426 Without You                                                Brandy                                                   Sony Music Entertainment   1022    SR0000710136
5427 Put It Down                                                Brandy featuring Chris Brown                             Sony Music Entertainment   1023    SR0000710136
5428 Can't Give Up Now                                          Mary Mary                                                Sony Music Entertainment   2194    SR0000711038
5429 Dirt                                                       Mary Mary                                                Sony Music Entertainment   2195    SR0000711038
5430 Go Get It                                                  Mary Mary                                                Sony Music Entertainment   2196    SR0000711038
5431 God Bless                                                  Mary Mary                                                Sony Music Entertainment   2197    SR0000711038
5432 I'm Running                                                Mary Mary                                                Sony Music Entertainment   2199    SR0000711038
5433 Sunday Morning                                             Mary Mary                                                Sony Music Entertainment   2201    SR0000711038
5434 Cobras Never Say Die                                       Cobra Starship                                           Fueled By Ramen LLC        6139    SR0000711457
5435 I May Be Rude But I'm The Truth                            Cobra Starship                                           Fueled By Ramen LLC        6143    SR0000711457
5436 2012 (Explicit)                                            Chris Brown                                              Sony Music Entertainment   1247    SR0000711816
5437 4 Years Old                                                Chris Brown                                              Sony Music Entertainment   1248    SR0000711816
5438 Bassline (Explicit)                                        Chris Brown                                              Sony Music Entertainment   1250    SR0000711816
5439 Biggest Fan (Explicit)                                     Chris Brown                                              Sony Music Entertainment   1252    SR0000711816
5440 Don't Judge Me                                             Chris Brown                                              Sony Music Entertainment   1253    SR0000711816
5441 Don't Wake Me Up                                           Chris Brown                                              Sony Music Entertainment   1254    SR0000711816
5442 Free Run                                                   Chris Brown                                              Sony Music Entertainment   1255    SR0000711816
5443 Strip                                                      Chris Brown                                              Sony Music Entertainment   1261    SR0000711816
5444 Stuck On Stupid                                            Chris Brown                                              Sony Music Entertainment   1262    SR0000711816
5445 Sweet Love                                                 Chris Brown                                              Sony Music Entertainment   1263    SR0000711816
5446 Tell Somebody                                              Chris Brown                                              Sony Music Entertainment   1264    SR0000711816
5447 Wait For You                                               Chris Brown                                              Sony Music Entertainment   1266    SR0000711816
5448 Till I Die (Explicit)                                      Chris Brown feat. Big Sean & Wiz Khalifa                 Sony Music Entertainment   1269    SR0000711816
5449 Trumpet Lights                                             Chris Brown feat. Sabrina Antionette                     Sony Music Entertainment   1275    SR0000711816
5450 Party Hard / Cadillac (Interlude)                          Chris Brown feat. Sevyn                                  Sony Music Entertainment   1276    SR0000711816
5451 Remember My Name                                           Chris Brown feat. Sevyn                                  Sony Music Entertainment   1277    SR0000711816
5452 Touch Me                                                   Chris Brown feat. Sevyn                                  Sony Music Entertainment   1278    SR0000711816
5453 Mirage (Explicit)                                          Chris Brown featuring Nas                                Sony Music Entertainment   1286    SR0000711816
5454 Party Hard / Cadillac (Interlude) (Explicit)               Chris Brown featuring Sevyn                              Sony Music Entertainment   1287    SR0000711816
5455 Without You                                                Lana Del Rey                                             UMG Recordings, Inc.       4770    SR0000711860
     Burning Desire                                             Lana Del Rey                                             UMG Recordings, Inc.               SR0000711860
5456                                                                                                                                                4755    SR0000412526
5457 American                                                   Lana Del Rey                                             UMG Recordings, Inc.       4749    SR0000712342
5458 Bel Air                                                    Lana Del Rey                                             UMG Recordings, Inc.       4750    SR0000712342
5459 Blue Velvet                                                Lana Del Rey                                             UMG Recordings, Inc.       4752    SR0000712342
5460 Body Electric                                              Lana Del Rey                                             UMG Recordings, Inc.       4753    SR0000712342
5461 Cola                                                       Lana Del Rey                                             UMG Recordings, Inc.       4757    SR0000712342
5462 Gods & Monsters                                            Lana Del Rey                                             UMG Recordings, Inc.       4760    SR0000712342
5463 Yayo                                                       Lana Del Rey                                             UMG Recordings, Inc.       4771    SR0000712342
5464 A Fool's Dance                                             Phillip Phillips                                         UMG Recordings, Inc.       5089    SR0000712841
5465 Can't Go Wrong                                             Phillip Phillips                                         UMG Recordings, Inc.       5090    SR0000712841
5466 Drive Me                                                   Phillip Phillips                                         UMG Recordings, Inc.       5091    SR0000712841
5467 Get Up Get Down                                            Phillip Phillips                                         UMG Recordings, Inc.       5092    SR0000712841
5468 Gone, Gone, Gone                                           Phillip Phillips                                         UMG Recordings, Inc.       5093    SR0000712841
5469 Hazel                                                      Phillip Phillips                                         UMG Recordings, Inc.       5094    SR0000712841
5470 Hold On                                                    Phillip Phillips                                         UMG Recordings, Inc.       5095    SR0000712841
5471 Man On The Moon                                            Phillip Phillips                                         UMG Recordings, Inc.       5097    SR0000712841
5472 So Easy                                                    Phillip Phillips                                         UMG Recordings, Inc.       5098    SR0000712841
5473 Tell Me A Story                                            Phillip Phillips                                         UMG Recordings, Inc.       5099    SR0000712841
5474 Wanted Is Love                                             Phillip Phillips                                         UMG Recordings, Inc.       5100    SR0000712841
5475 Where We Came From                                         Phillip Phillips                                         UMG Recordings, Inc.       5101    SR0000712841


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5476 Wicked Game                                             Phillip Phillips                                         UMG Recordings, Inc.             5102    SR0000712841
5477 Drinks for You (Ladies Anthem)                          Pitbull                                                  Sony Music Entertainment         2559    SR0000714643
5478 Echa Pa'lla (Manos Pa'rriba)                            Pitbull                                                  Sony Music Entertainment         2560    SR0000714643
5479 I'm Off That                                            Pitbull                                                  Sony Music Entertainment         2567    SR0000714643
5480 Outta Nowhere (Explicit)                                Pitbull                                                  Sony Music Entertainment         2569    SR0000714643
5481 Tchu Tchu Tcha                                          Pitbull                                                  Sony Music Entertainment         2572    SR0000714643
5482 Last Night                                              Pitbull feat. Afrojack & Havana Brown                    Sony Music Entertainment         2573    SR0000714643
5483 Everybody Fucks (Explicit)                              Pitbull feat. Akon & David Rush                          Sony Music Entertainment         2574    SR0000714643
5484 Hope We Meet Again                                      Pitbull feat. Chris Brown                                Sony Music Entertainment         2575    SR0000714643
5485 Feel This Moment                                        Pitbull feat. Christina Aguilera                         Sony Music Entertainment         2576    SR0000714643
5486 Outta Nowhere                                           Pitbull feat. Danny Mercer                               Sony Music Entertainment         2577    SR0000714643
5487 Tchu Tchu Tcha                                          Pitbull feat. Enrique Iglesias                           Sony Music Entertainment         2578    SR0000714643
5488 Global Warming                                          Pitbull feat. Sensato                                    Sony Music Entertainment         2581    SR0000714643
5489 Have Some Fun                                           Pitbull feat. The Wanted & Afrojack                      Sony Music Entertainment         2582    SR0000714643
5490 Party Ain't Over                                        Pitbull feat. Usher & Afrojack                           Sony Music Entertainment         2583    SR0000714643
5491 11:59 (Explicit)                                        Pitbull feat. Vein                                       Sony Music Entertainment         2584    SR0000714643
5492 English Town                                            Matchbox Twenty                                          Atlantic Recording Corporation   5739    SR0000714896
5493 How Long                                                Matchbox Twenty                                          Atlantic Recording Corporation   5745    SR0000714896
5494 I Will                                                  Matchbox Twenty                                          Atlantic Recording Corporation   5746    SR0000714896
5495 Like Sugar                                              Matchbox Twenty                                          Atlantic Recording Corporation   5753    SR0000714896
5496 Our Song                                                Matchbox Twenty                                          Atlantic Recording Corporation   5756    SR0000714896
5497 Overjoyed                                               Matchbox Twenty                                          Atlantic Recording Corporation   5757    SR0000714896
5498 Put Your Hands Up                                       Matchbox Twenty                                          Atlantic Recording Corporation   5760    SR0000714896
5499 Radio                                                   Matchbox Twenty                                          Atlantic Recording Corporation   5761    SR0000714896
5500 She's So Mean                                           Matchbox Twenty                                          Atlantic Recording Corporation   5764    SR0000714896
5501 Sleeping At The Wheel                                   Matchbox Twenty                                          Atlantic Recording Corporation   5765    SR0000714896
5502 2 Reasons (feat. T.I.)                                  Trey Songz                                               Atlantic Recording Corporation   5909    SR0000715080
5503 Bad Decisions                                           Trey Songz                                               Atlantic Recording Corporation   5911    SR0000715080
5504 Chapter V                                               Trey Songz                                               Atlantic Recording Corporation   5915    SR0000715080
5505 Check Me Out (feat. Diddy & Meek Mill)                  Trey Songz                                               Atlantic Recording Corporation   5916    SR0000715080
5506 Dive In                                                 Trey Songz                                               Atlantic Recording Corporation   5917    SR0000715080
5507 Don't Be Scared (feat. Rick Ross)                       Trey Songz                                               Atlantic Recording Corporation   5918    SR0000715080
5508 Forever Yours                                           Trey Songz                                               Atlantic Recording Corporation   5920    SR0000715080
5509 Fumble                                                  Trey Songz                                               Atlantic Recording Corporation   5921    SR0000715080
5510 Hail Mary (feat. Young Jeezy & Lil Wayne)               Trey Songz                                               Atlantic Recording Corporation   5922    SR0000715080
5511 Heart Attack                                            Trey Songz                                               Atlantic Recording Corporation   5923    SR0000715080
5512 Inside Interlewd                                        Trey Songz                                               Atlantic Recording Corporation   5924    SR0000715080
5513 Interlude4U                                             Trey Songz                                               Atlantic Recording Corporation   5925    SR0000715080
5514 Never Again                                             Trey Songz                                               Atlantic Recording Corporation   5929    SR0000715080
5515 Panty Wetter                                            Trey Songz                                               Atlantic Recording Corporation   5931    SR0000715080
5516 Playin' Hard                                            Trey Songz                                               Atlantic Recording Corporation   5933    SR0000715080
5517 Pretty Girl's Lie                                       Trey Songz                                               Atlantic Recording Corporation   5936    SR0000715080
5518 Simply Amazing                                          Trey Songz                                               Atlantic Recording Corporation   5938    SR0000715080
5519 Without A Woman                                         Trey Songz                                               Atlantic Recording Corporation   5941    SR0000715080
5520 Gorilla                                                 Bruno Mars                                               Atlantic Recording Corporation   5512    SR0000715738
5521 Locked Out of Heaven                                    Bruno Mars                                               Atlantic Recording Corporation   5513    SR0000715738
5522 Treasure                                                Bruno Mars                                               Atlantic Recording Corporation   5514    SR0000715738
5523 Bluffin (feat. Berner)                                  Wiz Khalifa                                              Atlantic Recording Corporation   5963    SR0000715951
5524 Fall Asleep                                             Wiz Khalifa                                              Atlantic Recording Corporation   5964    SR0000715951
5525 Got Everything (feat. Courtney Noelle)                  Wiz Khalifa                                              Atlantic Recording Corporation   5965    SR0000715951
5526 Initiation (feat. Lola Monroe)                          Wiz Khalifa                                              Atlantic Recording Corporation   5966    SR0000715951
5527 Intro                                                   Wiz Khalifa                                              Atlantic Recording Corporation   5967    SR0000715951
5528 It's Nothin (feat. 2 Chainz)                            Wiz Khalifa                                              Atlantic Recording Corporation   5968    SR0000715951
5529 Let It Go (feat. Akon)                                  Wiz Khalifa                                              Atlantic Recording Corporation   5969    SR0000715951
5530 Medicated (feat. Chevy Woods & Juicy J)                 Wiz Khalifa                                              Atlantic Recording Corporation   5970    SR0000715951
5531 No Limit                                                Wiz Khalifa                                              Atlantic Recording Corporation   5971    SR0000715951
5532 Paperbond                                               Wiz Khalifa                                              Atlantic Recording Corporation   5972    SR0000715951
5533 Remember You (feat. The Weeknd)                         Wiz Khalifa                                              Atlantic Recording Corporation   5973    SR0000715951
     Rise Above (feat. Pharrell, Tuki Carter & Amber Rose)   Wiz Khalifa                                              Atlantic Recording Corporation   5974    SR0000715951
5534
5535 The Bluff (feat. Cam'Ron)                               Wiz Khalifa                                              Atlantic Recording Corporation   5975   SR0000715951
5536 The Plan (feat. Juicy J)                                Wiz Khalifa                                              Atlantic Recording Corporation   5976   SR0000715951
5537 Time                                                    Wiz Khalifa                                              Atlantic Recording Corporation   5977   SR0000715951
5538 Up In It                                                Wiz Khalifa                                              Atlantic Recording Corporation   5978   SR0000715951
5539 Work Hard, Play Hard                                    Wiz Khalifa                                              Atlantic Recording Corporation   5979   SR0000715951
5540 Be Your Everything                                      Boys Like Girls                                          Sony Music Entertainment         919    SR0000717244
5541 Life Of The Party                                       Boys Like Girls                                          Sony Music Entertainment         935    SR0000717244
5542 The First Time                                          Boys Like Girls                                          Sony Music Entertainment         947    SR0000717244
5543 Blue Ocean Floor                                        Justin Timberlake                                        Sony Music Entertainment         1946   SR0000717770
5544 Body Count                                              Justin Timberlake                                        Sony Music Entertainment         1947   SR0000717770
5545 Don't Hold The Wall                                     Justin Timberlake                                        Sony Music Entertainment         1948   SR0000717770
5546 Dress On                                                Justin Timberlake                                        Sony Music Entertainment         1949   SR0000717770
5547 Let The Groove Get In                                   Justin Timberlake                                        Sony Music Entertainment         1950   SR0000717770
5548 Pusher Love Girl                                        Justin Timberlake                                        Sony Music Entertainment         1952   SR0000717770
5549 Spaceship Coupe                                         Justin Timberlake                                        Sony Music Entertainment         1954   SR0000717770
5550 Strawberry Bubblegum                                    Justin Timberlake                                        Sony Music Entertainment         1955   SR0000717770
5551 That Girl                                               Justin Timberlake                                        Sony Music Entertainment         1958   SR0000717770
5552 Tunnel Vision                                           Justin Timberlake                                        Sony Music Entertainment         1960   SR0000717770
5553 Entombed                                                Deftones                                                 Warner Bros. Records Inc.        6308   SR0000719493


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5554 Gauze                                               Deftones                                                 Warner Bros. Records Inc.        6310    SR0000719493
5555 Goon Squad                                          Deftones                                                 Warner Bros. Records Inc.        6311    SR0000719493
5556 Graphic Nature                                      Deftones                                                 Warner Bros. Records Inc.        6312    SR0000719493
5557 Leathers                                            Deftones                                                 Warner Bros. Records Inc.        6317    SR0000719493
5558 Poltergeist                                         Deftones                                                 Warner Bros. Records Inc.        6331    SR0000719493
5559 Romantic Dreams                                     Deftones                                                 Warner Bros. Records Inc.        6332    SR0000719493
5560 Rosemary                                            Deftones                                                 Warner Bros. Records Inc.        6333    SR0000719493
5561 Swerve City                                         Deftones                                                 Warner Bros. Records Inc.        6338    SR0000719493
5562 Tempest                                             Deftones                                                 Warner Bros. Records Inc.        6339    SR0000719493
5563 What Happened To You?                               Deftones                                                 Warner Bros. Records Inc.        6342    SR0000719493
5564 Alone Together                                      Fall Out Boy                                             UMG Recordings, Inc.             4118    SR0000720423
5565 Death Valley                                        Fall Out Boy                                             UMG Recordings, Inc.             4121    SR0000720423
5566 Just One Yesterday                                  Fall Out Boy                                             UMG Recordings, Inc.             4124    SR0000720423
5567 Miss Missing You                                    Fall Out Boy                                             UMG Recordings, Inc.             4125    SR0000720423
     My Songs Know What You Did In The Dark (Light Em    Fall Out Boy                                             UMG Recordings, Inc.                     SR0000720423
5568 Up)                                                                                                                                           4126
5569 Rat A Tat                                           Fall Out Boy                                             UMG Recordings, Inc.             4128    SR0000720423
5570 Save Rock And Roll                                  Fall Out Boy                                             UMG Recordings, Inc.             4129    SR0000720423
5571 The Mighty Fall                                     Fall Out Boy                                             UMG Recordings, Inc.             4132    SR0000720423
5572 The Phoenix                                         Fall Out Boy                                             UMG Recordings, Inc.             4133    SR0000720423
5573 Where Did The Party Go                              Fall Out Boy                                             UMG Recordings, Inc.             4138    SR0000720423
5574 Young Volcanoes                                     Fall Out Boy                                             UMG Recordings, Inc.             4139    SR0000720423
5575 Boys 'Round Here (feat. Pistol Annies & Friends)    Blake Shelton                                            Warner Bros. Records Inc.        6259    SR0000721082
5576 Country On The Radio                                Blake Shelton                                            Warner Bros. Records Inc.        6260    SR0000721082
5577 Do You Remember                                     Blake Shelton                                            Warner Bros. Records Inc.        6261    SR0000721082
5578 Doin' What She Likes                                Blake Shelton                                            Warner Bros. Records Inc.        6262    SR0000721082
5579 Granddaddy's Gun                                    Blake Shelton                                            Warner Bros. Records Inc.        6269    SR0000721082
5580 I Still Got A Finger                                Blake Shelton                                            Warner Bros. Records Inc.        6273    SR0000721082
5581 Lay Low                                             Blake Shelton                                            Warner Bros. Records Inc.        6276    SR0000721082
5582 Mine Would Be You                                   Blake Shelton                                            Warner Bros. Records Inc.        6277    SR0000721082
5583 My Eyes (feat. Gwen Sebastian)                      Blake Shelton                                            Warner Bros. Records Inc.        6278    SR0000721082
5584 Small Town Big Time                                 Blake Shelton                                            Warner Bros. Records Inc.        6286    SR0000721082
5585 Sure Be Cool If You Did                             Blake Shelton                                            Warner Bros. Records Inc.        6289    SR0000721082
5586 Ten Times Crazier                                   Blake Shelton                                            Warner Bros. Records Inc.        6290    SR0000721082
5587 Damn Good Friends                                   Elle Varner                                              Sony Music Entertainment         1426    SR0000721189
5588 Leaf                                                Elle Varner                                              Sony Music Entertainment         1427    SR0000721189
5589 Not Tonight                                         Elle Varner                                              Sony Music Entertainment         1428    SR0000721189
5590 Oh What A Night                                     Elle Varner                                              Sony Music Entertainment         1429    SR0000721189
5591 Sound Proof Room                                    Elle Varner                                              Sony Music Entertainment         1432    SR0000721189
5592 Stop The Clock                                      Elle Varner                                              Sony Music Entertainment         1433    SR0000721189
5593 Welcome Home                                        Elle Varner                                              Sony Music Entertainment         1434    SR0000721189
5594 Blood Brothers                                      Luke Bryan                                               Capitol Records, LLC             3440    SR0000722027
5595 Crash My Party                                      Luke Bryan                                               Capitol Records, LLC             3441    SR0000722027
5596 Dirt Road Diary                                     Luke Bryan                                               Capitol Records, LLC             3442    SR0000722027
5597 Always Gonna Be You                                 Kenny Chesney                                            Sony Music Entertainment         2001    SR0000722762
5598 El Cerrito Place                                    Kenny Chesney                                            Sony Music Entertainment         2003    SR0000722762
5599 I'm A Small Town                                    Kenny Chesney                                            Sony Music Entertainment         2005    SR0000722762
5600 Makes Me Wonder                                     Kenny Chesney                                            Sony Music Entertainment         2009    SR0000722762
5601 Sing 'Em Good My Friend                             Kenny Chesney                                            Sony Music Entertainment         2013    SR0000722762
5602 Time Flies                                          Kenny Chesney                                            Sony Music Entertainment         2015    SR0000722762
5603 To Get To You (55th And 3rd)                        Kenny Chesney                                            Sony Music Entertainment         2016    SR0000722762
5604 Welcome To The Fishbowl                             Kenny Chesney                                            Sony Music Entertainment         2017    SR0000722762
5605 While He Still Knows Who I Am                       Kenny Chesney                                            Sony Music Entertainment         2019    SR0000722762
     You And Tequila (With Grace Potter) (Live At Red    Kenny Chesney                                            Sony Music Entertainment                 SR0000722762
5606 Rocks Amphitheatre)                                                                                                                           2020
5607 Black Skinhead                                      Kanye West                                               UMG Recordings, Inc.             4543    SR0000724178
5608 Blood On The Leaves                                 Kanye West                                               UMG Recordings, Inc.             4545    SR0000724178
5609 Bound 2                                             Kanye West                                               UMG Recordings, Inc.             4546    SR0000724178
5610 Guilt Trip                                          Kanye West                                               UMG Recordings, Inc.             4567    SR0000724178
5611 Hold My Liquor                                      Kanye West                                               UMG Recordings, Inc.             4571    SR0000724178
5612 I Am A God                                          Kanye West                                               UMG Recordings, Inc.             4573    SR0000724178
5613 I'm In It                                           Kanye West                                               UMG Recordings, Inc.             4576    SR0000724178
5614 New Slaves                                          Kanye West                                               UMG Recordings, Inc.             4586    SR0000724178
5615 On Sight                                            Kanye West                                               UMG Recordings, Inc.             4587    SR0000724178
5616 Send It Up                                          Kanye West                                               UMG Recordings, Inc.             4598    SR0000724178
5617 Broken Man                                          Boys Like Girls                                          Sony Music Entertainment         920     SR0000724396
5618 Dance Hall Drug                                     Boys Like Girls                                          Sony Music Entertainment         925     SR0000724396
5619 Five Minutes To Midnight                            Boys Like Girls                                          Sony Music Entertainment         926     SR0000724396
5620 Heels Over Head                                     Boys Like Girls                                          Sony Music Entertainment         929     SR0000724396
5621 Hero/Heroine                                        Boys Like Girls                                          Sony Music Entertainment         930     SR0000724396
5622 Holiday                                             Boys Like Girls                                          Sony Music Entertainment         932     SR0000724396
5623 Learning To Fall                                    Boys Like Girls                                          Sony Music Entertainment         933     SR0000724396
5624 Me, You And My Medication                           Boys Like Girls                                          Sony Music Entertainment         937     SR0000724396
5625 On Top Of The World                                 Boys Like Girls                                          Sony Music Entertainment         938     SR0000724396
5626 The Great Escape                                    Boys Like Girls                                          Sony Music Entertainment         948     SR0000724396
5627 Thunder                                             Boys Like Girls                                          Sony Music Entertainment         950     SR0000724396
5628 Up Against The Wall                                 Boys Like Girls                                          Sony Music Entertainment         951     SR0000724396
5629 (One Of Those) Crazy Girls                          Paramore                                                 Atlantic Recording Corporation   5788    SR0000724441
5630 Anklebiters                                         Paramore                                                 Atlantic Recording Corporation   5790    SR0000724441


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                                 Track                                                 Artist                                           Plaintiff         PX-01 #    Reg. No.
5631 Be Alone                                                 Paramore                                                 Atlantic Recording Corporation     5791    SR0000724441
5632 Daydreaming                                              Paramore                                                 Atlantic Recording Corporation     5796    SR0000724441
5633 Fast In My Car                                           Paramore                                                 Atlantic Recording Corporation     5797    SR0000724441
5634 Future                                                   Paramore                                                 Atlantic Recording Corporation     5801    SR0000724441
5635 Grow Up                                                  Paramore                                                 Atlantic Recording Corporation     5802    SR0000724441
5636 Hate To See Your Heart Break                             Paramore                                                 Atlantic Recording Corporation     5804    SR0000724441
5637 Interlude: Holiday                                       Paramore                                                 Atlantic Recording Corporation     5806    SR0000724441
5638 Interlude: I'm Not Angry Anymore                         Paramore                                                 Atlantic Recording Corporation     5807    SR0000724441
5639 Interlude: Moving On                                     Paramore                                                 Atlantic Recording Corporation     5808    SR0000724441
5640 Last Hope                                                Paramore                                                 Atlantic Recording Corporation     5809    SR0000724441
5641 Now                                                      Paramore                                                 Atlantic Recording Corporation     5815    SR0000724441
5642 Part II                                                  Paramore                                                 Atlantic Recording Corporation     5816    SR0000724441
5643 Proof                                                    Paramore                                                 Atlantic Recording Corporation     5818    SR0000724441
5644 Still Into You                                           Paramore                                                 Atlantic Recording Corporation     5819    SR0000724441
5645 6am                                                      Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6038    SR0000724442
5646 Break The Walls                                          Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6039    SR0000724442
5647 Fools Gold                                               Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6040    SR0000724442
5648 Get Away                                                 Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6041    SR0000724442
5649 House On Fire                                            Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6042    SR0000724442
5650 Keepin Our Eyes Out                                      Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6043    SR0000724442
5651 Last Raindrop                                            Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6044    SR0000724442
5652 MerryGoRound                                             Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6045    SR0000724442
5653 Out Of My League                                         Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6046    SR0000724442
5654 Spark                                                    Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6047    SR0000724442
5655 The End                                                  Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6048    SR0000724442
5656 The Walker                                               Fitz & The Tantrums                                      Elektra Entertainment Group Inc.   6049    SR0000724442
5657 Biting Down                                              Lorde                                                    UMG Recordings, Inc.               4890    SR0000724529
5658 Bravado                                                  Lorde                                                    UMG Recordings, Inc.               4891    SR0000724529
5659 Million Dollar Bills                                     Lorde                                                    UMG Recordings, Inc.               4893    SR0000724529
5660 Royals                                                   Lorde                                                    UMG Recordings, Inc.               4896    SR0000724529
5661 The Love Club                                            Lorde                                                    UMG Recordings, Inc.               4900    SR0000724529
5662 Heartbreak Road                                          Darius Rucker                                            Capitol Records, LLC               3325    SR0000724693
5663 I Will Love You Still (feat. Mallary Hope)               Darius Rucker                                            Capitol Records, LLC               3326    SR0000724693
5664 Leavin' The Light On                                     Darius Rucker                                            Capitol Records, LLC               3327    SR0000724693
5665 Lie To Me                                                Darius Rucker                                            Capitol Records, LLC               3328    SR0000724693
5666 Lost In You                                              Darius Rucker                                            Capitol Records, LLC               3329    SR0000724693
5667 Love Without You (feat. Sheryl Crow)                     Darius Rucker                                            Capitol Records, LLC               3330    SR0000724693
5668 Miss You                                                 Darius Rucker                                            Capitol Records, LLC               3331    SR0000724693
5669 Radio                                                    Darius Rucker                                            Capitol Records, LLC               3332    SR0000724693
5670 Shine                                                    Darius Rucker                                            Capitol Records, LLC               3333    SR0000724693
5671 Take Me Home                                             Darius Rucker                                            Capitol Records, LLC               3334    SR0000724693
5672 True Believers                                           Darius Rucker                                            Capitol Records, LLC               3335    SR0000724693
5673 Wagon Wheel                                              Darius Rucker                                            Capitol Records, LLC               3336    SR0000724693
5674 All For Love                                             Lady Antebellum                                          Capitol Records, LLC               3410    SR0000724696
5675 And The Radio Played                                     Lady Antebellum                                          Capitol Records, LLC               3411    SR0000724696
5676 Better Man                                               Lady Antebellum                                          Capitol Records, LLC               3413    SR0000724696
5677 Better Off Now (That You're Gone)                        Lady Antebellum                                          Capitol Records, LLC               3414    SR0000724696
5678 Can't Stand The Rain                                     Lady Antebellum                                          Capitol Records, LLC               3415    SR0000724696
5679 Get To Me                                                Lady Antebellum                                          Capitol Records, LLC               3422    SR0000724696
5680 Goodbye Town                                             Lady Antebellum                                          Capitol Records, LLC               3424    SR0000724696
5681 It Ain't Pretty                                          Lady Antebellum                                          Capitol Records, LLC               3427    SR0000724696
5682 Life As We Know It                                       Lady Antebellum                                          Capitol Records, LLC               3429    SR0000724696
5683 Long Teenage Goodbye                                     Lady Antebellum                                          Capitol Records, LLC               3430    SR0000724696
5684 Nothin' Like The First Time                              Lady Antebellum                                          Capitol Records, LLC               3432    SR0000724696
5685 Center Stage                                             Capital Cities                                           Capitol Records, LLC               3305    SR0000725325
5686 Chartreuse                                               Capital Cities                                           Capitol Records, LLC               3306    SR0000725325
5687 Chasing You                                              Capital Cities                                           Capitol Records, LLC               3307    SR0000725325
5688 Farrah Fawcett Hair (feat. Andre 3000)                   Capital Cities                                           Capitol Records, LLC               3308    SR0000725325
5689 I Sold My Bed, But Not My Stereo                         Capital Cities                                           Capitol Records, LLC               3309    SR0000725325
5690 Kangaroo Court                                           Capital Cities                                           Capitol Records, LLC               3310    SR0000725325
5691 Lazy Lies                                                Capital Cities                                           Capitol Records, LLC               3311    SR0000725325
5692 Love Away                                                Capital Cities                                           Capitol Records, LLC               3312    SR0000725325
5693 Origami                                                  Capital Cities                                           Capitol Records, LLC               3313    SR0000725325
5694 Patience Gets Us Nowhere Fast                            Capital Cities                                           Capitol Records, LLC               3314    SR0000725325
5695 Safe and Sound                                           Capital Cities                                           Capitol Records, LLC               3315    SR0000725325
5696 Tell Me How To Live                                      Capital Cities                                           Capitol Records, LLC               3316    SR0000725325
5697 Day That I Die (feat. Amos Lee)                          Zac Brown Band                                           Atlantic Recording Corporation     5980    SR0000726685
5698 Goodbye In Her Eyes                                      Zac Brown Band                                           Atlantic Recording Corporation     5981    SR0000726685
5699 Island Song                                              Zac Brown Band                                           Atlantic Recording Corporation     5982    SR0000726685
5700 Lance's Song                                             Zac Brown Band                                           Atlantic Recording Corporation     5983    SR0000726685
5701 Last But Not Least                                       Zac Brown Band                                           Atlantic Recording Corporation     5984    SR0000726685
5702 Natural Disaster                                         Zac Brown Band                                           Atlantic Recording Corporation     5985    SR0000726685
5703 Overnight (feat. Trombone Shorty)                        Zac Brown Band                                           Atlantic Recording Corporation     5986    SR0000726685
5704 Sweet Annie                                              Zac Brown Band                                           Atlantic Recording Corporation     5987    SR0000726685
5705 The Wind                                                 Zac Brown Band                                           Atlantic Recording Corporation     5988    SR0000726685
5706 Uncaged                                                  Zac Brown Band                                           Atlantic Recording Corporation     5989    SR0000726685
5707 A Passed Life                                            Fozzy                                                    Sony Music Entertainment           1533    SR0000726755
5708 Blood Happens                                            Fozzy                                                    Sony Music Entertainment           1534    SR0000726755
5709 Dark Passenger                                           Fozzy                                                    Sony Music Entertainment           1535    SR0000726755


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                              Track                                             Artist                                               Plaintiff   PX-01 #    Reg. No.
5710 Inside My Head                                         Fozzy                                                    Sony Music Entertainment    1536    SR0000726755
5711 Sandpaper                                              Fozzy                                                    Sony Music Entertainment    1537    SR0000726755
5712 She's My Addiction                                     Fozzy                                                    Sony Music Entertainment    1538    SR0000726755
5713 Shine Forever                                          Fozzy                                                    Sony Music Entertainment    1539    SR0000726755
5714 Sin and Bones                                          Fozzy                                                    Sony Music Entertainment    1540    SR0000726755
5715 Spider in My Mouth                                     Fozzy                                                    Sony Music Entertainment    1541    SR0000726755
5716 Storm the Beaches                                      Fozzy                                                    Sony Music Entertainment    1542    SR0000726755
5717 A.M.                                                   Chris Young                                              Sony Music Entertainment    1289    SR0000726878
5718 Forgiveness                                            Chris Young                                              Sony Music Entertainment    1291    SR0000726878
5719 Hold You To It                                         Chris Young                                              Sony Music Entertainment    1293    SR0000726878
5720 Lighters In the Air                                    Chris Young                                              Sony Music Entertainment    1294    SR0000726878
5721 Nothin' But the Cooler Left                            Chris Young                                              Sony Music Entertainment    1295    SR0000726878
5722 Text Me Texas                                          Chris Young                                              Sony Music Entertainment    1296    SR0000726878
5723 We're Gonna Find It Tonight                            Chris Young                                              Sony Music Entertainment    1297    SR0000726878
5724 Who I Am With You                                      Chris Young                                              Sony Music Entertainment    1298    SR0000726878
5725 Swingin Party                                          Lorde                                                    UMG Recordings, Inc.        4898    SR0000726964
5726 Tennis Court                                           Lorde                                                    UMG Recordings, Inc.        4899    SR0000726964
5727 Happy On The Hey Now (A Song For Kristi)               Kenny Chesney                                            Sony Music Entertainment    2004    SR0000726972
5728 It's That Time Of Day                                  Kenny Chesney                                            Sony Music Entertainment    2006    SR0000726972
5729 Life On A Rock                                         Kenny Chesney                                            Sony Music Entertainment    2007    SR0000726972
5730 Lindy                                                  Kenny Chesney                                            Sony Music Entertainment    2008    SR0000726972
5731 Marley                                                 Kenny Chesney                                            Sony Music Entertainment    2010    SR0000726972
5732 Must Be Something I Missed                             Kenny Chesney                                            Sony Music Entertainment    2011    SR0000726972
5733 Spread The Love (featuring The Wailers with Elan)      Kenny Chesney                                            Sony Music Entertainment    2014    SR0000726972
5734 When I See This Bar                                    Kenny Chesney                                            Sony Music Entertainment    2018    SR0000726972
5735 Coconut Tree (with Willie Nelson)                      Kenny Chesney with Willie Nelson                         Sony Music Entertainment    2021    SR0000726972
5736 3000 Miles                                             Emblem3                                                  Sony Music Entertainment    1436    SR0000726978
5737 Do It All Again                                        Emblem3                                                  Sony Music Entertainment    1438    SR0000726978
5738 Girl Next Door                                         Emblem3                                                  Sony Music Entertainment    1439    SR0000726978
5739 I Love LA                                              Emblem3                                                  Sony Music Entertainment    1440    SR0000726978
5740 I Wish                                                 Emblem3                                                  Sony Music Entertainment    1441    SR0000726978
5741 Jaiden                                                 Emblem3                                                  Sony Music Entertainment    1442    SR0000726978
5742 Just For One Day                                       Emblem3                                                  Sony Music Entertainment    1443    SR0000726978
5743 Nothing To Lose                                        Emblem3                                                  Sony Music Entertainment    1444    SR0000726978
5744 One Day                                                Emblem3                                                  Sony Music Entertainment    1445    SR0000726978
5745 Reason                                                 Emblem3                                                  Sony Music Entertainment    1446    SR0000726978
5746 Spaghetti                                              Emblem3                                                  Sony Music Entertainment    1447    SR0000726978
5747 Sunset Blvd                                            Emblem3                                                  Sony Music Entertainment    1448    SR0000726978
5748 Teenage Kings                                          Emblem3                                                  Sony Music Entertainment    1449    SR0000726978
5749 XO                                                     Emblem3                                                  Sony Music Entertainment    1450    SR0000726978
5750 1000 Times                                             Sara Bareilles                                           Sony Music Entertainment    2664    SR0000727195
5751 Cassiopeia                                             Sara Bareilles                                           Sony Music Entertainment    2666    SR0000727195
5752 Chasing The Sun                                        Sara Bareilles                                           Sony Music Entertainment    2667    SR0000727195
5753 December                                               Sara Bareilles                                           Sony Music Entertainment    2668    SR0000727195
5754 Eden                                                   Sara Bareilles                                           Sony Music Entertainment    2669    SR0000727195
5755 Hercules                                               Sara Bareilles                                           Sony Music Entertainment    2670    SR0000727195
5756 I Choose You                                           Sara Bareilles                                           Sony Music Entertainment    2671    SR0000727195
5757 Islands                                                Sara Bareilles                                           Sony Music Entertainment    2672    SR0000727195
5758 Little Black Dress                                     Sara Bareilles                                           Sony Music Entertainment    2673    SR0000727195
5759 Satellite Call                                         Sara Bareilles                                           Sony Music Entertainment    2675    SR0000727195
5760 Haunt                                                  Bastille                                                 Capitol Records, LLC        3242    SR0000728185
5761 Haunt (Demo)                                           Bastille                                                 Capitol Records, LLC        3243    SR0000728185
5762 Overjoyed                                              Bastille                                                 Capitol Records, LLC        3250    SR0000728185
5763 Beer In The Headlights                                 Luke Bryan                                               Capitol Records, LLC        3438    SR0000728445
5764 Better Than My Heart                                   Luke Bryan                                               Capitol Records, LLC        3439    SR0000728445
5765 Drink A Beer                                           Luke Bryan                                               Capitol Records, LLC        3443    SR0000728445
5766 Goodbye Girl                                           Luke Bryan                                               Capitol Records, LLC        3444    SR0000728445
5767 Out Like That                                          Luke Bryan                                               Capitol Records, LLC        3445    SR0000728445
5768 Play It Again                                          Luke Bryan                                               Capitol Records, LLC        3446    SR0000728445
5769 Shut It Down                                           Luke Bryan                                               Capitol Records, LLC        3447    SR0000728445
5770 Sunburnt Lips                                          Luke Bryan                                               Capitol Records, LLC        3448    SR0000728445
5771 That's My Kind Of Night                                Luke Bryan                                               Capitol Records, LLC        3449    SR0000728445
5772 We Run This Town                                       Luke Bryan                                               Capitol Records, LLC        3450    SR0000728445
5773 What Is It With You                                    Luke Bryan                                               Capitol Records, LLC        3451    SR0000728445
5774 Your Mama Should've Named You Whiskey                  Luke Bryan                                               Capitol Records, LLC        3452    SR0000728445
5775 Roller Coaster                                         Luke Bryan                                               UMG Recordings, Inc.        4906    SR0000728445
5776 **** On The Radio (Remember The Days)                  Nelly Furtado                                            UMG Recordings, Inc.        5022    SR0000729667
5777 Forca                                                  Nelly Furtado                                            UMG Recordings, Inc.        5024    SR0000729667
5778 Fotografía                                             Nelly Furtado                                            UMG Recordings, Inc.        5025    SR0000729667
5779 Girlfriend In The City                                 Nelly Furtado                                            UMG Recordings, Inc.        5026    SR0000729667
5780 I'm Like A Bird                                        Nelly Furtado                                            UMG Recordings, Inc.        5027    SR0000729667
5781 Powerless (Say What You Want)                          Nelly Furtado                                            UMG Recordings, Inc.        5032    SR0000729667
5782 Stars                                                  Nelly Furtado                                            UMG Recordings, Inc.        5033    SR0000729667
5783 Turn Off The Light                                     Nelly Furtado                                            UMG Recordings, Inc.        5035    SR0000729667
5784 Diet Mountain Dew                                      Lana Del Rey                                             UMG Recordings, Inc.        4759    SR0000729848
5785 Summertime Sadness                                     Lana Del Rey                                             UMG Recordings, Inc.        4767    SR0000729848
5786 Chaining Day                                           J. Cole                                                  Sony Music Entertainment    1760    SR0000730319
5787 Let Nas Down                                           J. Cole                                                  Sony Music Entertainment    1761    SR0000730319
5788 Mo Money (Interlude)                                   J. Cole                                                  Sony Music Entertainment    1762    SR0000730319


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                               Track                                       Artist                                            Plaintiff   PX-01 #    Reg. No.
5789 Power Trip (Explicit)                          J. Cole                                                  Sony Music Entertainment    1763    SR0000730319
5790 Rich Niggaz                                    J. Cole                                                  Sony Music Entertainment    1764    SR0000730319
5791 Trouble                                        J. Cole                                                  Sony Music Entertainment    1765    SR0000730319
5792 Where's Jermaine? (Skit)                       J. Cole                                                  Sony Music Entertainment    1766    SR0000730319
5793 Crooked Smile                                  J. Cole feat. TLC                                        Sony Music Entertainment    1767    SR0000730319
5794 23 Degrees And South                           Billy Currington                                         UMG Recordings, Inc.        3731    SR0000730540
5795 Another Day Without You                        Billy Currington                                         UMG Recordings, Inc.        3732    SR0000730540
5796 Banana Pancakes                                Billy Currington                                         UMG Recordings, Inc.        3733    SR0000730540
5797 Closer Tonight                                 Billy Currington                                         UMG Recordings, Inc.        3734    SR0000730540
5798 Hallelujah                                     Billy Currington                                         UMG Recordings, Inc.        3738    SR0000730540
5799 Hard To Be A Hippie                            Billy Currington                                         UMG Recordings, Inc.        3739    SR0000730540
5800 One Way Ticket                                 Billy Currington                                         UMG Recordings, Inc.        3746    SR0000730540
5801 We Are Tonight                                 Billy Currington                                         UMG Recordings, Inc.        3751    SR0000730540
5802 Wingman                                        Billy Currington                                         UMG Recordings, Inc.        3752    SR0000730540
5803 2nd Round                                      Usher                                                    Sony Music Entertainment    2898    SR0000731104
5804 Can't Stop Won't Stop                          Usher                                                    Sony Music Entertainment    2899    SR0000731104
5805 Climax                                         Usher                                                    Sony Music Entertainment    2900    SR0000731104
5806 Dive                                           Usher                                                    Sony Music Entertainment    2901    SR0000731104
5807 Euphoria                                       Usher                                                    Sony Music Entertainment    2902    SR0000731104
5808 I Care For U                                   Usher                                                    Sony Music Entertainment    2904    SR0000731104
5809 I.F.U.                                         Usher                                                    Sony Music Entertainment    2905    SR0000731104
5810 Lemme See                                      Usher                                                    Sony Music Entertainment    2906    SR0000731104
5811 Lessons For The Lover                          Usher                                                    Sony Music Entertainment    2907    SR0000731104
5812 Numb                                           Usher                                                    Sony Music Entertainment    2910    SR0000731104
5813 Say The Words                                  Usher                                                    Sony Music Entertainment    2912    SR0000731104
5814 Show Me                                        Usher                                                    Sony Music Entertainment    2913    SR0000731104
5815 Sins Of My Father                              Usher                                                    Sony Music Entertainment    2914    SR0000731104
5816 What Happened To U                             Usher                                                    Sony Music Entertainment    2916    SR0000731104
5817 Hot Thing                                      Usher featuring A$AP Rocky                               Sony Music Entertainment    2920    SR0000731104
5818 Looking 4 Myself                               Usher featuring Luke Steele                              Sony Music Entertainment    2921    SR0000731104
5819 Cheated                                        Boys Like Girls                                          Sony Music Entertainment    921     SR0000731314
5820 Crazy World                                    Boys Like Girls                                          Sony Music Entertainment    924     SR0000731314
5821 Hey You                                        Boys Like Girls                                          Sony Music Entertainment    931     SR0000731314
5822 Leaving California                             Boys Like Girls                                          Sony Music Entertainment    934     SR0000731314
5823 Red Cup Hands Up Long Brown Hair               Boys Like Girls                                          Sony Music Entertainment    940     SR0000731314
5824 Shoot                                          Boys Like Girls                                          Sony Music Entertainment    942     SR0000731314
5825 Stuck in the Middle                            Boys Like Girls                                          Sony Music Entertainment    944     SR0000731314
5826 Take Me Home                                   Boys Like Girls                                          Sony Music Entertainment    945     SR0000731314
5827 Aim High                                       John Legend                                              Sony Music Entertainment    1822    SR0000732352
5828 Asylum                                         John Legend                                              Sony Music Entertainment    1824    SR0000732352
5829 Caught Up                                      John Legend                                              Sony Music Entertainment    1825    SR0000732352
5830 Dreams                                         John Legend                                              Sony Music Entertainment    1827    SR0000732352
5831 For The First Time                             John Legend                                              Sony Music Entertainment    1829    SR0000732352
5832 Hold On Longer                                 John Legend                                              Sony Music Entertainment    1831    SR0000732352
5833 Love In The Future (Intro)                     John Legend                                              Sony Music Entertainment    1834    SR0000732352
5834 Open Your Eyes                                 John Legend                                              Sony Music Entertainment    1836    SR0000732352
5835 Save The Night                                 John Legend                                              Sony Music Entertainment    1839    SR0000732352
5836 So Gone                                        John Legend                                              Sony Music Entertainment    1840    SR0000732352
5837 Tomorrow                                       John Legend                                              Sony Music Entertainment    1844    SR0000732352
5838 Wanna Be Loved                                 John Legend                                              Sony Music Entertainment    1845    SR0000732352
5839 What If I Told You? (Interlude)                John Legend                                              Sony Music Entertainment    1846    SR0000732352
5840 You & I (Nobody In The World)                  John Legend                                              Sony Music Entertainment    1847    SR0000732352
5841 We Loved It                                    John Legend feat. Seal                                   Sony Music Entertainment    1851    SR0000732352
5842 Angel (Interlude)                              John Legend feat. Stacy Barthe                           Sony Music Entertainment    1852    SR0000732352
5843 400 Lux                                        Lorde                                                    UMG Recordings, Inc.        4889    SR0000732619
5844 Glory And Gore                                 Lorde                                                    UMG Recordings, Inc.        4892    SR0000732619
5845 Ribs                                           Lorde                                                    UMG Recordings, Inc.        4895    SR0000732619
5846 Still Sane                                     Lorde                                                    UMG Recordings, Inc.        4897    SR0000732619
5847 White Teeth Teens                              Lorde                                                    UMG Recordings, Inc.        4901    SR0000732619
5848 Black Leather Jacket                           Keith Urban                                              Capitol Records, LLC        3388    SR0000733375
5849 Come Back To Me                                Keith Urban                                              Capitol Records, LLC        3389    SR0000733375
5850 Cop Car                                        Keith Urban                                              Capitol Records, LLC        3390    SR0000733375
5851 Even The Stars Fall 4 U                        Keith Urban                                              Capitol Records, LLC        3391    SR0000733375
5852 Gonna B Good                                   Keith Urban                                              Capitol Records, LLC        3393    SR0000733375
5853 Good Thing                                     Keith Urban                                              Capitol Records, LLC        3394    SR0000733375
5854 Heart Like Mine                                Keith Urban                                              Capitol Records, LLC        3395    SR0000733375
5855 Little Bit Of Everything                       Keith Urban                                              Capitol Records, LLC        3396    SR0000733375
5856 Love's Poster Child                            Keith Urban                                              Capitol Records, LLC        3398    SR0000733375
5857 Lucky Charm                                    Keith Urban                                              Capitol Records, LLC        3399    SR0000733375
5858 Raise 'Em Up                                   Keith Urban                                              Capitol Records, LLC        3400    SR0000733375
5859 Red Camaro                                     Keith Urban                                              Capitol Records, LLC        3401    SR0000733375
5860 Shame                                          Keith Urban                                              Capitol Records, LLC        3403    SR0000733375
5861 She's My 11                                    Keith Urban                                              Capitol Records, LLC        3404    SR0000733375
5862 Somewhere In My Car                            Keith Urban                                              Capitol Records, LLC        3406    SR0000733375
5863 We Were Us                                     Keith Urban                                              Capitol Records, LLC        3408    SR0000733375
5864 Ain't Even Drinkin'                            Tyler Farr                                               Sony Music Entertainment    2888    SR0000735228
5865 Cowgirl                                        Tyler Farr                                               Sony Music Entertainment    2889    SR0000735228
5866 Dirty                                          Tyler Farr                                               Sony Music Entertainment    2890    SR0000735228
5867 Living With the Blues                          Tyler Farr                                               Sony Music Entertainment    2892    SR0000735228


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5868 Whiskey in My Water                              Tyler Farr                                               Sony Music Entertainment   2895    SR0000735228
5869 Wish I Had a Boat                                Tyler Farr                                               Sony Music Entertainment   2896    SR0000735228
5870 Chicks, Trucks, and Beer                         Tyler Farr feat. Colt Ford                               Sony Music Entertainment   2897    SR0000735228
5871 #GETITRIGHT                                      Miley Cyrus                                              Sony Music Entertainment   2260    SR0000735242
5872 Adore You                                        Miley Cyrus                                              Sony Music Entertainment   2261    SR0000735242
5873 Do My Thang                                      Miley Cyrus                                              Sony Music Entertainment   2262    SR0000735242
5874 Drive                                            Miley Cyrus                                              Sony Music Entertainment   2263    SR0000735242
5875 Maybe You're Right                               Miley Cyrus                                              Sony Music Entertainment   2264    SR0000735242
5876 On My Own                                        Miley Cyrus                                              Sony Music Entertainment   2265    SR0000735242
5877 Rooting for My Baby                              Miley Cyrus                                              Sony Music Entertainment   2266    SR0000735242
5878 Someone Else                                     Miley Cyrus                                              Sony Music Entertainment   2267    SR0000735242
5879 Love Money Party                                 Miley Cyrus feat. Big Sean                               Sony Music Entertainment   2269    SR0000735242
5880 SMS (Bangerz)                                    Miley Cyrus feat. Britney Spears                         Sony Music Entertainment   2270    SR0000735242
5881 FU                                               Miley Cyrus feat. French Montana                         Sony Music Entertainment   2271    SR0000735242
5882 My Darlin'                                       Miley Cyrus feat. Future                                 Sony Music Entertainment   2272    SR0000735242
5883 Hands in the Air                                 Miley Cyrus feat. Ludacris                               Sony Music Entertainment   2273    SR0000735242
5884 4x4                                              Miley Cyrus feat. Nelly                                  Sony Music Entertainment   2274    SR0000735242
5885 Clarity                                          Zedd                                                     UMG Recordings, Inc.       5436    SR0000736147
5886 Hourglass                                        Zedd                                                     UMG Recordings, Inc.       5440    SR0000736147
5887 Spectrum                                         Zedd                                                     UMG Recordings, Inc.       5443    SR0000736147
5888 Stay The Night                                   Zedd                                                     UMG Recordings, Inc.       5445    SR0000736147
5889 Boom Skit                                        M.I.A.                                                   UMG Recordings, Inc.       4908    SR0000736308
5890 Bring The Noize                                  M.I.A.                                                   UMG Recordings, Inc.       4909    SR0000736308
5891 Double Bubble Trouble                            M.I.A.                                                   UMG Recordings, Inc.       4911    SR0000736308
5892 Karmageddon                                      M.I.A.                                                   UMG Recordings, Inc.       4912    SR0000736308
5893 Know It Ain't Right                              M.I.A.                                                   UMG Recordings, Inc.       4913    SR0000736308
5894 Lights                                           M.I.A.                                                   UMG Recordings, Inc.       4914    SR0000736308
5895 MATANGI                                          M.I.A.                                                   UMG Recordings, Inc.       4915    SR0000736308
5896 Only 1                                           M.I.A.                                                   UMG Recordings, Inc.       4916    SR0000736308
5897 Sexodus                                          M.I.A.                                                   UMG Recordings, Inc.       4917    SR0000736308
5898 Warriors                                         M.I.A.                                                   UMG Recordings, Inc.       4918    SR0000736308
5899 ARTPOP                                           Lady Gaga                                                UMG Recordings, Inc.       4691    SR0000737557
5900 Aura                                             Lady Gaga                                                UMG Recordings, Inc.       4692    SR0000737557
5901 Do What U Want                                   Lady Gaga                                                UMG Recordings, Inc.       4704    SR0000737557
5902 Donatella                                        Lady Gaga                                                UMG Recordings, Inc.       4705    SR0000737557
5903 Dope                                             Lady Gaga                                                UMG Recordings, Inc.       4706    SR0000737557
5904 Fashion!                                         Lady Gaga                                                UMG Recordings, Inc.       4710    SR0000737557
5905 G.U.Y.                                           Lady Gaga                                                UMG Recordings, Inc.       4712    SR0000737557
5906 Gypsy                                            Lady Gaga                                                UMG Recordings, Inc.       4714    SR0000737557
5907 Jewels N' Drugs                                  Lady Gaga                                                UMG Recordings, Inc.       4719    SR0000737557
5908 MANiCURE                                         Lady Gaga                                                UMG Recordings, Inc.       4724    SR0000737557
5909 Mary Jane Holland                                Lady Gaga                                                UMG Recordings, Inc.       4726    SR0000737557
5910 Sexxx Dreams                                     Lady Gaga                                                UMG Recordings, Inc.       4735    SR0000737557
5911 Swine                                            Lady Gaga                                                UMG Recordings, Inc.       4740    SR0000737557
5912 Venus                                            Lady Gaga                                                UMG Recordings, Inc.       4746    SR0000737557
5913 Cookie                                           R. Kelly                                                 Sony Music Entertainment   2602    SR0000737848
5914 Every Position                                   R. Kelly                                                 Sony Music Entertainment   2603    SR0000737848
5915 Marry The P***y (Explicit)                       R. Kelly                                                 Sony Music Entertainment   2605    SR0000737848
5916 Physical                                         R. Kelly                                                 Sony Music Entertainment   2606    SR0000737848
5917 Prelude                                          R. Kelly                                                 Sony Music Entertainment   2607    SR0000737848
5918 Prelude (Explicit)                               R. Kelly                                                 Sony Music Entertainment   2608    SR0000737848
5919 Throw This Money On You (Explicit)               R. Kelly                                                 Sony Music Entertainment   2609    SR0000737848
5920 You Deserve Better                               R. Kelly                                                 Sony Music Entertainment   2610    SR0000737848
5921 My Story                                         R. Kelly feat. 2 Chainz                                  Sony Music Entertainment   2611    SR0000737848
5922 Tear It Up (Explicit)                            R. Kelly feat. Future                                    Sony Music Entertainment   2612    SR0000737848
5923 All The Way (Explicit)                           R. Kelly feat. Kelly Rowland                             Sony Music Entertainment   2613    SR0000737848
5924 Legs Shakin'                                     R. Kelly feat. Ludacris                                  Sony Music Entertainment   2614    SR0000737848
5925 Show Ya P***y                                    R. Kelly feat. Migos & Juicy J                           Sony Music Entertainment   2615    SR0000737848
5926 Alien                                            Britney Spears                                           Sony Music Entertainment   1024    SR0000738040
5927 Body Ache                                        Britney Spears                                           Sony Music Entertainment   1025    SR0000738040
5928 Brightest Morning Star                           Britney Spears                                           Sony Music Entertainment   1026    SR0000738040
5929 Don't Cry                                        Britney Spears                                           Sony Music Entertainment   1027    SR0000738040
5930 Hold On Tight                                    Britney Spears                                           Sony Music Entertainment   1028    SR0000738040
5931 Now That I Found You                             Britney Spears                                           Sony Music Entertainment   1029    SR0000738040
5932 Passenger                                        Britney Spears                                           Sony Music Entertainment   1030    SR0000738040
5933 Perfume (The Dreaming Mix)                       Britney Spears                                           Sony Music Entertainment   1032    SR0000738040
5934 Til It's Gone                                    Britney Spears                                           Sony Music Entertainment   1033    SR0000738040
5935 Chillin' With You                                Britney Spears feat. Jamie Lynn                          Sony Music Entertainment   1035    SR0000738040
5936 Tik Tik Boom                                     Britney Spears feat. T.I.                                Sony Music Entertainment   1036    SR0000738040
5937 It Should Be Easy                                Britney Spears feat. will.i.am                           Sony Music Entertainment   1037    SR0000738040
5938 Beautiful                                        Carly Rae Jepsen                                         UMG Recordings, Inc.       3824    SR0000738473
5939 Curiosity                                        Carly Rae Jepsen                                         UMG Recordings, Inc.       3825    SR0000738473
5940 Drive                                            Carly Rae Jepsen                                         UMG Recordings, Inc.       3826    SR0000738473
5941 Guitar String / Wedding Ring                     Carly Rae Jepsen                                         UMG Recordings, Inc.       3827    SR0000738473
5942 Hurt So Good                                     Carly Rae Jepsen                                         UMG Recordings, Inc.       3828    SR0000738473
5943 I Know You Have A Girlfriend                     Carly Rae Jepsen                                         UMG Recordings, Inc.       3829    SR0000738473
5944 More Than A Memory                               Carly Rae Jepsen                                         UMG Recordings, Inc.       3830    SR0000738473
5945 Sweetie                                          Carly Rae Jepsen                                         UMG Recordings, Inc.       3831    SR0000738473
5946 Tiny Little Bows                                 Carly Rae Jepsen                                         UMG Recordings, Inc.       3833    SR0000738473


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5947 Tonight I'm Getting Over You                            Carly Rae Jepsen                                         UMG Recordings, Inc.        3834    SR0000738473
5948 Turn Me Up                                              Carly Rae Jepsen                                         UMG Recordings, Inc.        3835    SR0000738473
5949 Wrong Feels So Right                                    Carly Rae Jepsen                                         UMG Recordings, Inc.        3836    SR0000738473
5950 Your Heart Is A Muscle                                  Carly Rae Jepsen                                         UMG Recordings, Inc.        3837    SR0000738473
5951 Alive                                                   One Direction                                            Sony Music Entertainment    2374    SR0000740363
5952 Better Than Words                                       One Direction                                            Sony Music Entertainment    2376    SR0000740363
5953 Diana                                                   One Direction                                            Sony Music Entertainment    2377    SR0000740363
5954 Does He Know?                                           One Direction                                            Sony Music Entertainment    2378    SR0000740363
5955 Don't Forget Where You Belong                           One Direction                                            Sony Music Entertainment    2379    SR0000740363
5956 Half a Heart                                            One Direction                                            Sony Music Entertainment    2382    SR0000740363
5957 Happily                                                 One Direction                                            Sony Music Entertainment    2383    SR0000740363
5958 Little Black Dress                                      One Direction                                            Sony Music Entertainment    2387    SR0000740363
5959 Little White Lies                                       One Direction                                            Sony Music Entertainment    2388    SR0000740363
5960 Midnight Memories                                       One Direction                                            Sony Music Entertainment    2389    SR0000740363
5961 Right Now                                               One Direction                                            Sony Music Entertainment    2393    SR0000740363
5962 Something Great                                         One Direction                                            Sony Music Entertainment    2396    SR0000740363
5963 Strong                                                  One Direction                                            Sony Music Entertainment    2400    SR0000740363
5964 Through the Dark                                        One Direction                                            Sony Music Entertainment    2403    SR0000740363
5965 Why Don't We Go There                                   One Direction                                            Sony Music Entertainment    2405    SR0000740363
5966 You & I                                                 One Direction                                            Sony Music Entertainment    2406    SR0000740363
5967 I Shot The Sheriff                                      Eric Clapton                                             UMG Recordings, Inc.        4110    SR0000742060
5968 Knockin' On Heaven's Door                               Eric Clapton                                             UMG Recordings, Inc.        4111    SR0000742060
5969 Hello World                                             Kid Ink                                                  Sony Music Entertainment    2027    SR0000742556
5970 More Than A King                                        Kid Ink                                                  Sony Music Entertainment    2029    SR0000742556
5971 My System (Explicit)                                    Kid Ink                                                  Sony Music Entertainment    2030    SR0000742556
5972 Rollin'                                                 Kid Ink                                                  Sony Music Entertainment    2031    SR0000742556
5973 Star Player (Explicit)                                  Kid Ink                                                  Sony Music Entertainment    2033    SR0000742556
5974 Tattoo Of My Name                                       Kid Ink                                                  Sony Music Entertainment    2034    SR0000742556
5975 The Movement                                            Kid Ink                                                  Sony Music Entertainment    2035    SR0000742556
5976 We Just Came to Party                                   Kid Ink feat. August Alsina                              Sony Music Entertainment    2037    SR0000742556
5977 Main Chick                                              Kid Ink feat. Chris Brown                                Sony Music Entertainment    2038    SR0000742556
5978 I Don't Care                                            Kid Ink feat. Maejor Ali                                 Sony Music Entertainment    2041    SR0000742556
5979 Murda                                                   Kid Ink feat. Pusha T                                    Sony Music Entertainment    2042    SR0000742556
5980 Not A Bad Thing                                         Justin Timberlake                                        Sony Music Entertainment    1951    SR0000743696
5981 TKO                                                     Justin Timberlake                                        Sony Music Entertainment    1959    SR0000743696
5982 Epos                                                    Zedd                                                     UMG Recordings, Inc.        5437    SR0000745858
5983 Fall Into The Sky                                       Zedd                                                     UMG Recordings, Inc.        5438    SR0000745858
5984 Stache                                                  Zedd                                                     UMG Recordings, Inc.        5444    SR0000745858
5985 Anagram                                                 Young the Giant                                          Fueled By Ramen LLC         6165    SR0000746139
5986 Camera                                                  Young the Giant                                          Fueled By Ramen LLC         6166    SR0000746139
5987 Crystallized                                            Young the Giant                                          Fueled By Ramen LLC         6167    SR0000746139
5988 Daydreamer                                              Young the Giant                                          Fueled By Ramen LLC         6168    SR0000746139
5989 Eros                                                    Young the Giant                                          Fueled By Ramen LLC         6169    SR0000746139
5990 Firelight                                               Young the Giant                                          Fueled By Ramen LLC         6170    SR0000746139
5991 In My Home                                              Young the Giant                                          Fueled By Ramen LLC         6171    SR0000746139
5992 Mind Over Matter                                        Young the Giant                                          Fueled By Ramen LLC         6172    SR0000746139
5993 Paralysis                                               Young the Giant                                          Fueled By Ramen LLC         6173    SR0000746139
5994 Slow Dive                                               Young the Giant                                          Fueled By Ramen LLC         6174    SR0000746139
5995 Teachers                                                Young the Giant                                          Fueled By Ramen LLC         6175    SR0000746139
5996 Waves                                                   Young the Giant                                          Fueled By Ramen LLC         6176    SR0000746139
5997 ***Flawless (Explicit)                                  Beyoncé                                                  Sony Music Entertainment    773     SR0000747291
5998 Haunted (Explicit)                                      Beyoncé                                                  Sony Music Entertainment    790     SR0000747291
5999 Heaven                                                  Beyoncé                                                  Sony Music Entertainment    791     SR0000747291
6000 Jealous                                                 Beyoncé                                                  Sony Music Entertainment    797     SR0000747291
6001 No Angel                                                Beyoncé                                                  Sony Music Entertainment    802     SR0000747291
6002 Partition (Explicit)                                    Beyoncé                                                  Sony Music Entertainment    803     SR0000747291
6003 Pretty Hurts                                            Beyoncé                                                  Sony Music Entertainment    804     SR0000747291
6004 Rocket (Explicit)                                       Beyoncé                                                  Sony Music Entertainment    807     SR0000747291
6005 XO                                                      Beyoncé                                                  Sony Music Entertainment    819     SR0000747291
6006 Blue                                                    Beyoncé feat. Blue Ivy                                   Sony Music Entertainment    822     SR0000747291
6007 Mine (Explicit)                                         Beyoncé feat. Drake                                      Sony Music Entertainment    823     SR0000747291
6008 Superpower                                              Beyoncé feat. Frank Ocean                                Sony Music Entertainment    824     SR0000747291
6009 Drunk in Love                                           Beyoncé feat. Jay-Z                                      Sony Music Entertainment    825     SR0000747291
6010 Durban Skies                                            Bastille                                                 Capitol Records, LLC        3239    SR0000748676
6011 Laughter Lines                                          Bastille                                                 Capitol Records, LLC        3245    SR0000748676
6012 Of The Night                                            Bastille                                                 Capitol Records, LLC        3249    SR0000748676
6013 Poet                                                    Bastille                                                 Capitol Records, LLC        3251    SR0000748676
6014 Previously On Other People's Heartache...               Bastille                                                 Capitol Records, LLC        3253    SR0000748676
6015 Skulls                                                  Bastille                                                 Capitol Records, LLC        3254    SR0000748676
6016 Sleepsong                                               Bastille                                                 Capitol Records, LLC        3255    SR0000748676
6017 The Draw                                                Bastille                                                 Capitol Records, LLC        3256    SR0000748676
6018 The Silence                                             Bastille                                                 Capitol Records, LLC        3257    SR0000748676
6019 Tuning Out...                                           Bastille                                                 Capitol Records, LLC        3261    SR0000748676
6020 Weight Of Living, Pt. II                                Bastille                                                 Capitol Records, LLC        3263    SR0000748676
6021 What Would You Do                                       Bastille                                                 Capitol Records, LLC        3264    SR0000748676
6022 Animal                                                  Ellie Goulding                                           UMG Recordings, Inc.        3942    SR0000752677
6023 Believe Me                                              Ellie Goulding                                           UMG Recordings, Inc.        3945    SR0000752677
6024 Every Time You Go                                       Ellie Goulding                                           UMG Recordings, Inc.        3948    SR0000752677
6025 Guns And Horses                                         Ellie Goulding                                           UMG Recordings, Inc.        3951    SR0000752677


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6026 Home                                                     Ellie Goulding                                         UMG Recordings, Inc.             3954    SR0000752677
6027 Human                                                    Ellie Goulding                                         UMG Recordings, Inc.             3955    SR0000752677
6028 Little Dreams                                            Ellie Goulding                                         UMG Recordings, Inc.             3960    SR0000752677
6029 Salt Skin                                                Ellie Goulding                                         UMG Recordings, Inc.             3964    SR0000752677
6030 This Love (Will Be Your Downfall)                        Ellie Goulding                                         UMG Recordings, Inc.             3966    SR0000752677
6031 Under The Sheets                                         Ellie Goulding                                         UMG Recordings, Inc.             3967    SR0000752677
6032 Wish I Stayed                                            Ellie Goulding                                         UMG Recordings, Inc.             3968    SR0000752677
6033 Your Biggest Mistake                                     Ellie Goulding                                         UMG Recordings, Inc.             3970    SR0000752677
6034 Your Song                                                Ellie Goulding                                         UMG Recordings, Inc.             3971    SR0000752677
6035 Bad Blood                                                Bastille                                               Capitol Records, LLC             3236    SR0000753441
6036 Bad Blood (Live Piano Version)                           Bastille                                               Capitol Records, LLC             3237    SR0000753441
6037 Daniel in the Den                                        Bastille                                               Capitol Records, LLC             3238    SR0000753441
6038 Flaws                                                    Bastille                                               Capitol Records, LLC             3240    SR0000753441
6039 Get Home                                                 Bastille                                               Capitol Records, LLC             3241    SR0000753441
6040 Icarus                                                   Bastille                                               Capitol Records, LLC             3244    SR0000753441
6041 Laura Palmer                                             Bastille                                               Capitol Records, LLC             3246    SR0000753441
6042 Laura Palmer (Abbey Road Sessions)                       Bastille                                               Capitol Records, LLC             3247    SR0000753441
6043 Oblivion                                                 Bastille                                               Capitol Records, LLC             3248    SR0000753441
6044 Pompeii                                                  Bastille                                               Capitol Records, LLC             3252    SR0000753441
6045 These Streets                                            Bastille                                               Capitol Records, LLC             3258    SR0000753441
6046 Things We Lost in the Fire                               Bastille                                               Capitol Records, LLC             3259    SR0000753441
6047 Things We Lost in the Fire (Abbey Road Sessions)         Bastille                                               Capitol Records, LLC             3260    SR0000753441
6048 Weight of Living, Pt. I                                  Bastille                                               Capitol Records, LLC             3262    SR0000753441
6049 I Cry                                                    Flo Rida                                               Atlantic Recording Corporation   5550    SR0000754532
6050 In My Mind (Part 2) (feat. Georgi Kay)                   Flo Rida                                               Atlantic Recording Corporation   5551    SR0000754532
6051 Sweet Spot (feat. Jennifer Lopez)                        Flo Rida                                               Atlantic Recording Corporation   5570    SR0000754532
6052 Wild Ones (feat. Sia)                                    Flo Rida                                               Atlantic Recording Corporation   5575    SR0000754532
6053 Money and the Power (Explicit)                           Kid Ink                                                Sony Music Entertainment         2028    SR0000761343
6054 Bossin' Up (Explicit)                                    Kid Ink feat. A$AP Ferg & French Montana               Sony Music Entertainment         2036    SR0000761343
6055 Marry Me                                                 Jason Derulo                                           Warner Bros. Records Inc.        6533    SR0000763207
6056 Stupid Love                                              Jason Derulo                                           Warner Bros. Records Inc.        6536    SR0000763207
6057 Talk Dirty (feat. 2 Chainz)                              Jason Derulo                                           Warner Bros. Records Inc.        6537    SR0000763207
6058 Vertigo (feat. Jordin Sparks)                            Jason Derulo                                           Warner Bros. Records Inc.        6539    SR0000763207
6059 With The Lights On                                       Jason Derulo                                           Warner Bros. Records Inc.        6542    SR0000763207
6060 Clique                                                   Kanye West                                             UMG Recordings, Inc.             4550    SR0000763373
6061 Clique (Explicit)                                        Kanye West                                             UMG Recordings, Inc.             4551    SR0000763373
6062 Mercy.1                                                  Kanye West                                             UMG Recordings, Inc.             4582    SR0000763373
6063 The One (Explicit)                                       Kanye West                                             UMG Recordings, Inc.             4606    SR0000763373
6064 To The World                                             Kanye West                                             UMG Recordings, Inc.             4608    SR0000763373
6065 Creepers (Explicit)                                      Kid Cudi                                               UMG Recordings, Inc.             4655    SR0000763373
6066 Lazy Wonderland                                          Broken Bells                                           Sony Music Entertainment         1038    SR0000767354
6067 Leave It Alone                                           Broken Bells                                           Sony Music Entertainment         1039    SR0000767354
6068 Medicine                                                 Broken Bells                                           Sony Music Entertainment         1040    SR0000767354
6069 No Matter What You're Told                               Broken Bells                                           Sony Music Entertainment         1041    SR0000767354
6070 Perfect World                                            Broken Bells                                           Sony Music Entertainment         1042    SR0000767354
6071 The Angel and the Fool                                   Broken Bells                                           Sony Music Entertainment         1043    SR0000767354
6072 The Changing Lights                                      Broken Bells                                           Sony Music Entertainment         1044    SR0000767354
6073 The Remains of Rock & Roll                               Broken Bells                                           Sony Music Entertainment         1045    SR0000767354
6074 Love In An Elevator                                      Aerosmith                                              UMG Recordings, Inc.             3581    SRu000161912
6075 What It Takes                                            Aerosmith                                              UMG Recordings, Inc.             3583    SRu000161912




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